                                                     Case 1:22-cv-00518-JLR-RWL               Document 116-5            Filed 11/16/23        Page 1 of 94
                                                                                     Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                         Spread Tip credit
                    Bates                                                                                                                                                      Overtime of hours minimum
       Name        number      Week-end date                  Clock in date                  Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Adrian Pizarro    212SH263    Sunday, January 16, 2022    Wednesday, January 12, 2022      1/12/22 2:00 PM    1/12/22 10:00 PM                  8.00
Adrian Pizarro    212SH263    Sunday, January 16, 2022     Thursday, January 13, 2022      1/13/22 2:00 PM     1/13/22 9:30 PM                  7.50
Adrian Pizarro    212SH263    Sunday, January 16, 2022        Friday, January 14, 2022    1/14/22 12:00 PM    1/14/22 11:00 PM                11.00                                         1
Adrian Pizarro    212SH263    Sunday, January 16, 2022      Saturday, January 15, 2022     1/15/22 2:00 PM    1/15/22 11:00 PM                  9.00
Adrian Pizarro    212SH263    Sunday, January 16, 2022       Sunday, January 16, 2022      1/16/22 2:00 PM    1/16/22 10:00 PM                  8.00
Adrian Pizarro                                                                                                                    Sum Of Total time:   43.50         40.00       3.50              $10.00
Adrian Pizarro    212SH263    Sunday, January 23, 2022       Monday, January 17, 2022      1/17/22 2:00 PM     1/17/22 9:00 PM                  7.00
Adrian Pizarro    212SH263    Sunday, January 23, 2022       Tuesday, January 18, 2022     1/18/22 2:00 PM    1/18/22 10:00 PM                  8.00
Adrian Pizarro    212SH263    Sunday, January 23, 2022    Wednesday, January 19, 2022      1/19/22 2:00 PM    1/19/22 10:00 PM                  8.00
Adrian Pizarro    212SH263    Sunday, January 23, 2022     Thursday, January 20, 2022      1/20/22 2:00 PM    1/20/22 10:00 PM                  8.00
Adrian Pizarro    212SH263    Sunday, January 23, 2022         Friday, January 21, 2022    1/21/22 2:00 PM    1/21/22 10:00 PM                  8.00
Adrian Pizarro    212SH263    Sunday, January 23, 2022      Saturday, January 22, 2022     1/22/22 2:00 PM    1/22/22 11:00 PM                  9.00
Adrian Pizarro                                                                                                                    Sum Of Total time:   48.00         40.00       8.00              $10.00
Adrian Pizarro    212SH263    Sunday, January 30, 2022      Monday, January 24, 2022       1/24/22 2:00 PM     1/24/22 9:00 PM                  7.00
Adrian Pizarro    212SH263    Sunday, January 30, 2022      Tuesday, January 25, 2022      1/25/22 2:00 PM    1/25/22 10:00 PM                  8.00
Adrian Pizarro    212SH263    Sunday, January 30, 2022    Wednesday, January 26, 2022      1/26/22 2:00 PM    1/26/22 10:00 PM                  8.00
Adrian Pizarro    212SH263    Sunday, January 30, 2022     Thursday, January 27, 2022      1/27/22 2:00 PM    1/27/22 10:00 PM                  8.00
Adrian Pizarro    212SH263    Sunday, January 30, 2022        Friday, January 28, 2022     1/28/22 1:00 PM    1/29/22 12:00 AM                11.00                                         1
Adrian Pizarro                                                                                                                    Sum Of Total time:   42.00         40.00       2.00              $10.00
Adrian Pizarro    212SH263   Sunday, February 06, 2022      Tuesday, February 01, 2022      2/1/22 2:00 PM     2/1/22 10:00 PM                  8.00
Adrian Pizarro                                                                                                                    Sum Of Total time:   8.00          8.00        0.00              $10.00

Benny Torres      212SH184    Sunday, August 21, 2016        Saturday, August 20, 2016     8/20/16 4:08 PM     8/20/16 9:03 PM                  4.92
Benny Torres                                                                                                                      Sum Of Total time:   4.92          4.92        0.00              $7.50
Benny Torres      212SH184    Sunday, August 28, 2016         Tuesday, August 23, 2016     8/23/16 3:59 PM    8/23/16 10:45 PM                  6.77
Benny Torres      212SH184    Sunday, August 28, 2016      Wednesday, August 24, 2016      8/24/16 3:56 PM    8/25/16 12:49 AM                  8.88
Benny Torres      212SH184    Sunday, August 28, 2016       Thursday, August 25, 2016      8/25/16 4:04 PM     8/25/16 9:38 PM                  5.57
Benny Torres      212SH184    Sunday, August 28, 2016           Friday, August 26, 2016    8/26/16 3:56 PM    8/26/16 11:02 PM                  7.10
Benny Torres      212SH184    Sunday, August 28, 2016        Saturday, August 27, 2016     8/27/16 4:08 PM    8/27/16 11:32 PM                  7.40
Benny Torres                                                                                                                      Sum Of Total time:   35.72         35.72       0.00              $7.50

Charles Gabriel   212SH185    Sunday, January 24, 2016      Thursday, January 21, 2016     1/21/16 4:00 PM     1/21/16 9:20 PM                  5.33
Charles Gabriel   212SH185    Sunday, January 24, 2016        Friday, January 22, 2016     1/22/16 4:00 PM    1/22/16 10:30 PM                  6.50
Charles Gabriel                                                                                                                   Sum Of Total time:   11.83         11.83       0.00              $7.50
Charles Gabriel   212SH185    Sunday, January 31, 2016       Monday, January 25, 2016      1/25/16 4:00 PM     1/25/16 8:00 PM                  4.00
Charles Gabriel   212SH185    Sunday, January 31, 2016       Tuesday, January 26, 2016     1/26/16 7:24 PM    1/26/16 11:01 PM                  3.62
Charles Gabriel   212SH185    Sunday, January 31, 2016      Thursday, January 28, 2016     1/28/16 4:06 PM    1/28/16 11:06 PM                  7.00
Charles Gabriel   212SH185    Sunday, January 31, 2016         Friday, January 29, 2016    1/29/16 4:04 PM    1/29/16 10:30 PM                  6.43
Charles Gabriel   212SH185    Sunday, January 31, 2016      Saturday, January 30, 2016     1/30/16 4:01 PM    1/30/16 11:58 PM                  7.95

                                                                                               Page 1 of 94
            Case 1:22-cv-00518-JLR-RWL          Document 116-5            Filed 11/16/23            Page 2 of 94
                                       Exhibit 5 - Group 1 unpaid wages


                                                          Full                          Total tip       Total   Total
                    Bates                              minimum Hourly tip Overtime       credit      unpaid OT unpaid
       Name        number       Week-end date            wage       credit   premium     taken        premium   SOH
Adrian Pizarro    212SH263    Sunday, January 16, 2022 $15.00
Adrian Pizarro    212SH263    Sunday, January 16, 2022 $15.00
Adrian Pizarro    212SH263    Sunday, January 16, 2022 $15.00                                                   $15.00
Adrian Pizarro    212SH263    Sunday, January 16, 2022 $15.00
Adrian Pizarro    212SH263    Sunday, January 16, 2022 $15.00
Adrian Pizarro                                           $15.00      $5.00      $7.50   $217.50       $26.25
Adrian Pizarro    212SH263    Sunday, January 23, 2022 $15.00
Adrian Pizarro    212SH263    Sunday, January 23, 2022 $15.00
Adrian Pizarro    212SH263    Sunday, January 23, 2022 $15.00
Adrian Pizarro    212SH263    Sunday, January 23, 2022 $15.00
Adrian Pizarro    212SH263    Sunday, January 23, 2022 $15.00
Adrian Pizarro    212SH263    Sunday, January 23, 2022 $15.00
Adrian Pizarro                                           $15.00      $5.00      $7.50   $240.00       $60.00
Adrian Pizarro    212SH263    Sunday, January 30, 2022   $15.00
Adrian Pizarro    212SH263    Sunday, January 30, 2022 $15.00
Adrian Pizarro    212SH263    Sunday, January 30, 2022 $15.00
Adrian Pizarro    212SH263    Sunday, January 30, 2022 $15.00
Adrian Pizarro    212SH263    Sunday, January 30, 2022 $15.00                                                   $15.00
Adrian Pizarro                                           $15.00      $5.00      $7.50   $210.00       $15.00
Adrian Pizarro    212SH263   Sunday, February 06, 2022 $15.00
Adrian Pizarro                                           $15.00      $5.00      $7.50   $40.00         $0.00
                                                       Adrian Pizarro subtotal:         $707.50       $101.25   $30.00
Benny Torres      212SH184     Sunday, August 21, 2016   $9.00
Benny Torres                                             $9.00       $1.50      $4.50    $7.38         $0.00
Benny Torres      212SH184     Sunday, August 28, 2016   $9.00
Benny Torres      212SH184     Sunday, August 28, 2016   $9.00
Benny Torres      212SH184     Sunday, August 28, 2016   $9.00
Benny Torres      212SH184     Sunday, August 28, 2016   $9.00
Benny Torres      212SH184     Sunday, August 28, 2016   $9.00
Benny Torres                                             $9.00       $1.50      $4.50    $53.58        $0.00
                                                       Benny Torres subtotal:            $60.96        $0.00    $0.00
Charles Gabriel   212SH185    Sunday, January 24, 2016   $9.00
Charles Gabriel   212SH185    Sunday, January 24, 2016   $9.00
Charles Gabriel                                          $9.00       $1.50      $4.50    $17.75        $0.00
Charles Gabriel   212SH185    Sunday, January 31, 2016   $9.00
Charles Gabriel   212SH185    Sunday, January 31, 2016   $9.00
Charles Gabriel   212SH185    Sunday, January 31, 2016   $9.00
Charles Gabriel   212SH185    Sunday, January 31, 2016   $9.00
Charles Gabriel   212SH185    Sunday, January 31, 2016   $9.00

                                                 Page 2 of 94
                                                     Case 1:22-cv-00518-JLR-RWL               Document 116-5            Filed 11/16/23        Page 3 of 94
                                                                                     Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                         Spread Tip credit
                    Bates                                                                                                                                                      Overtime of hours minimum
       Name        number      Week-end date                  Clock in date                  Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Charles Gabriel   212SH185    Sunday, January 31, 2016        Sunday, January 31, 2016     1/31/16 3:57 PM    1/31/16 10:13 PM                  6.27
Charles Gabriel                                                                                                                   Sum Of Total time:   35.27         35.27       0.00              $7.50
Charles Gabriel   212SH185   Sunday, February 07, 2016      Tuesday, February 02, 2016      2/2/16 4:00 PM     2/2/16 10:28 PM                  6.47
Charles Gabriel   212SH185   Sunday, February 07, 2016     Thursday, February 04, 2016      2/4/16 4:01 PM     2/4/16 10:48 PM                  6.78
Charles Gabriel   212SH185   Sunday, February 07, 2016        Friday, February 05, 2016     2/5/16 4:08 PM     2/5/16 11:16 PM                  7.13
Charles Gabriel   212SH185   Sunday, February 07, 2016     Saturday, February 06, 2016      2/6/16 4:02 PM     2/6/16 11:15 PM                  7.22
Charles Gabriel   212SH185   Sunday, February 07, 2016       Sunday, February 07, 2016      2/7/16 4:08 PM      2/7/16 9:50 PM                  5.70
Charles Gabriel                                                                                                                   Sum Of Total time:   33.30         33.30       0.00              $7.50
Charles Gabriel   212SH185   Sunday, February 14, 2016      Tuesday, February 09, 2016      2/9/16 4:02 PM      2/9/16 7:02 PM                  3.00
Charles Gabriel   212SH185   Sunday, February 14, 2016   Wednesday, February 10, 2016      2/10/16 3:59 PM     2/10/16 9:40 PM                  5.68
Charles Gabriel   212SH185   Sunday, February 14, 2016    Thursday, February 11, 2016      2/11/16 4:02 PM     2/11/16 9:55 PM                  5.88
Charles Gabriel   212SH185   Sunday, February 14, 2016        Friday, February 12, 2016    2/12/16 3:57 PM    2/12/16 11:47 PM                  7.83
Charles Gabriel   212SH185   Sunday, February 14, 2016     Saturday, February 13, 2016     2/13/16 3:23 PM    2/14/16 12:50 AM                  9.45
Charles Gabriel   212SH185   Sunday, February 14, 2016       Sunday, February 14, 2016     2/14/16 1:33 PM    2/14/16 11:48 PM                10.25                                         1
Charles Gabriel                                                                                                                   Sum Of Total time:   42.09         40.00       2.09              $7.50
Charles Gabriel   212SH185   Sunday, February 21, 2016      Tuesday, February 16, 2016     2/16/16 4:21 PM     2/16/16 9:40 PM                  5.32
Charles Gabriel   212SH185   Sunday, February 21, 2016   Wednesday, February 17, 2016      2/17/16 4:00 PM     2/17/16 9:30 PM                  5.50
Charles Gabriel   212SH185   Sunday, February 21, 2016        Friday, February 19, 2016    2/19/16 4:02 PM    2/19/16 11:20 PM                  7.30
Charles Gabriel   212SH185   Sunday, February 21, 2016     Saturday, February 20, 2016     2/20/16 4:59 PM    2/20/16 11:26 PM                  6.45                                        1
Charles Gabriel   212SH185   Sunday, February 21, 2016     Saturday, February 20, 2016    2/20/16 11:07 AM     2/20/16 4:59 PM                  5.87
Charles Gabriel                                                                                                                   Sum Of Total time:   30.44         30.44       0.00              $7.50
Charles Gabriel   212SH185   Sunday, February 28, 2016      Tuesday, February 23, 2016     2/23/16 4:01 PM    2/23/16 10:30 PM                  6.48
Charles Gabriel   212SH185   Sunday, February 28, 2016   Wednesday, February 24, 2016      2/24/16 4:07 PM     2/24/16 8:12 PM                  4.08
Charles Gabriel   212SH185   Sunday, February 28, 2016    Thursday, February 25, 2016      2/25/16 3:57 PM    2/25/16 10:33 PM                  6.60
Charles Gabriel   212SH185   Sunday, February 28, 2016     Saturday, February 27, 2016     2/27/16 3:56 PM    2/27/16 11:08 PM                  7.20
Charles Gabriel                                                                                                                   Sum Of Total time:   24.36         24.36       0.00              $7.50
Charles Gabriel   212SH186     Sunday, March 06, 2016       Monday, February 29, 2016      2/29/16 3:57 PM    2/29/16 10:11 PM                  6.23
Charles Gabriel   212SH186     Sunday, March 06, 2016        Thursday, March 03, 2016       3/3/16 4:06 PM     3/4/16 12:07 AM                  8.02
Charles Gabriel   212SH186     Sunday, March 06, 2016           Friday, March 04, 2016      3/4/16 3:57 PM     3/4/16 11:05 PM                  7.13
Charles Gabriel   212SH186     Sunday, March 06, 2016        Saturday, March 05, 2016       3/5/16 3:56 PM     3/5/16 11:08 PM                  7.20
Charles Gabriel                                                                                                                   Sum Of Total time:   28.58         28.58       0.00              $7.50
Charles Gabriel   212SH186     Sunday, March 13, 2016         Monday, March 07, 2016        3/7/16 3:52 PM     3/7/16 10:08 PM                  6.27
Charles Gabriel   212SH186     Sunday, March 13, 2016        Thursday, March 10, 2016      3/10/16 4:02 PM    3/10/16 11:42 PM                  7.67
Charles Gabriel   212SH186     Sunday, March 13, 2016        Saturday, March 12, 2016      3/12/16 3:56 PM    3/12/16 11:02 PM                  7.10
Charles Gabriel                                                                                                                   Sum Of Total time:   21.04         21.04       0.00              $7.50
Charles Gabriel   212SH186     Sunday, March 20, 2016        Monday, March 14, 2016        3/14/16 3:56 PM    3/14/16 10:28 PM                  6.53
Charles Gabriel   212SH186     Sunday, March 20, 2016        Tuesday, March 15, 2016       3/15/16 3:56 PM     3/15/16 9:21 PM                  5.42
Charles Gabriel   212SH186     Sunday, March 20, 2016      Wednesday, March 16, 2016       3/16/16 3:59 PM     3/16/16 9:53 PM                  5.90
Charles Gabriel   212SH186     Sunday, March 20, 2016       Thursday, March 17, 2016       3/17/16 3:56 PM     3/17/16 7:24 PM                  3.47

                                                                                               Page 3 of 94
            Case 1:22-cv-00518-JLR-RWL          Document 116-5            Filed 11/16/23         Page 4 of 94
                                       Exhibit 5 - Group 1 unpaid wages


                                                         Full                        Total tip       Total   Total
                    Bates                              minimum Hourly tip Overtime    credit      unpaid OT unpaid
       Name        number      Week-end date            wage    credit    premium     taken        premium   SOH
Charles Gabriel   212SH185    Sunday, January 31, 2016  $9.00
Charles Gabriel                                         $9.00    $1.50      $4.50     $52.91        $0.00
Charles Gabriel   212SH185   Sunday, February 07, 2016  $9.00
Charles Gabriel   212SH185   Sunday, February 07, 2016  $9.00
Charles Gabriel   212SH185   Sunday, February 07, 2016  $9.00
Charles Gabriel   212SH185   Sunday, February 07, 2016  $9.00
Charles Gabriel   212SH185   Sunday, February 07, 2016  $9.00
Charles Gabriel                                         $9.00    $1.50      $4.50     $49.95        $0.00
Charles Gabriel   212SH185   Sunday, February 14, 2016  $9.00
Charles Gabriel   212SH185   Sunday, February 14, 2016  $9.00
Charles Gabriel   212SH185   Sunday, February 14, 2016  $9.00
Charles Gabriel   212SH185   Sunday, February 14, 2016  $9.00
Charles Gabriel   212SH185   Sunday, February 14, 2016  $9.00
Charles Gabriel   212SH185   Sunday, February 14, 2016  $9.00                                                $9.00
Charles Gabriel                                         $9.00    $1.50      $4.50     $63.14        $9.41
Charles Gabriel   212SH185   Sunday, February 21, 2016  $9.00
Charles Gabriel   212SH185   Sunday, February 21, 2016  $9.00
Charles Gabriel   212SH185   Sunday, February 21, 2016  $9.00
Charles Gabriel   212SH185   Sunday, February 21, 2016  $9.00                                                $9.00
Charles Gabriel   212SH185   Sunday, February 21, 2016  $9.00
Charles Gabriel                                         $9.00    $1.50      $4.50     $45.66        $0.00
Charles Gabriel   212SH185   Sunday, February 28, 2016  $9.00
Charles Gabriel   212SH185   Sunday, February 28, 2016  $9.00
Charles Gabriel   212SH185   Sunday, February 28, 2016  $9.00
Charles Gabriel   212SH185   Sunday, February 28, 2016  $9.00
Charles Gabriel                                         $9.00    $1.50      $4.50     $36.54        $0.00
Charles Gabriel   212SH186     Sunday, March 06, 2016   $9.00
Charles Gabriel   212SH186     Sunday, March 06, 2016   $9.00
Charles Gabriel   212SH186     Sunday, March 06, 2016   $9.00
Charles Gabriel   212SH186     Sunday, March 06, 2016   $9.00
Charles Gabriel                                         $9.00    $1.50      $4.50     $42.87        $0.00
Charles Gabriel   212SH186     Sunday, March 13, 2016   $9.00
Charles Gabriel   212SH186     Sunday, March 13, 2016   $9.00
Charles Gabriel   212SH186     Sunday, March 13, 2016   $9.00
Charles Gabriel                                         $9.00    $1.50      $4.50     $31.56        $0.00
Charles Gabriel   212SH186     Sunday, March 20, 2016   $9.00
Charles Gabriel   212SH186     Sunday, March 20, 2016   $9.00
Charles Gabriel   212SH186     Sunday, March 20, 2016   $9.00
Charles Gabriel   212SH186     Sunday, March 20, 2016   $9.00

                                                 Page 4 of 94
                                                   Case 1:22-cv-00518-JLR-RWL               Document 116-5            Filed 11/16/23        Page 5 of 94
                                                                                   Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                       Spread Tip credit
                    Bates                                                                                                                                                    Overtime of hours minimum
       Name        number    Week-end date                 Clock in date                   Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Charles Gabriel   212SH186   Sunday, March 20, 2016        Saturday, March 19, 2016     3/19/16 3:58 PM     3/20/16 12:09 AM                  8.18
Charles Gabriel                                                                                                                 Sum Of Total time:   29.50         29.50       0.00              $7.50
Charles Gabriel   212SH186   Sunday, March 27, 2016        Monday, March 21, 2016       3/21/16 3:57 PM     3/21/16 10:02 PM                  6.08
Charles Gabriel   212SH186   Sunday, March 27, 2016        Tuesday, March 22, 2016      3/22/16 3:59 PM     3/22/16 10:49 PM                  6.83
Charles Gabriel   212SH186   Sunday, March 27, 2016       Thursday, March 24, 2016      3/24/16 3:56 PM     3/24/16 11:07 PM                  7.18
Charles Gabriel   212SH186   Sunday, March 27, 2016       Saturday, March 26, 2016      3/26/16 3:56 PM     3/26/16 11:22 PM                  7.43
Charles Gabriel                                                                                                                 Sum Of Total time:   27.52         27.52       0.00              $7.50
Charles Gabriel   212SH186    Sunday, April 03, 2016       Monday, March 28, 2016       3/28/16 4:06 PM      3/28/16 8:48 PM                  4.70
Charles Gabriel   212SH186    Sunday, April 03, 2016       Tuesday, March 29, 2016      3/29/16 3:56 PM     3/29/16 10:04 PM                  6.13
Charles Gabriel   212SH186    Sunday, April 03, 2016      Thursday, March 31, 2016      3/31/16 3:59 PM     3/31/16 10:28 PM                  6.48
Charles Gabriel   212SH186    Sunday, April 03, 2016        Saturday, April 02, 2016     4/2/16 3:57 PM      4/2/16 11:14 PM                  7.28
Charles Gabriel                                                                                                                 Sum Of Total time:   24.59         24.59       0.00              $7.50
Charles Gabriel   212SH186    Sunday, April 10, 2016         Monday, April 04, 2016       4/4/16 3:56 PM      4/4/16 9:12 PM                  5.27
Charles Gabriel   212SH186    Sunday, April 10, 2016         Tuesday, April 05, 2016      4/5/16 3:56 PM      4/5/16 9:59 PM                  6.05
Charles Gabriel   212SH186    Sunday, April 10, 2016        Thursday, April 07, 2016      4/7/16 3:57 PM      4/7/16 7:32 PM                  3.58
Charles Gabriel   212SH186    Sunday, April 10, 2016        Saturday, April 09, 2016      4/9/16 3:57 PM    4/10/16 12:23 AM                  8.43
Charles Gabriel                                                                                                                 Sum Of Total time:   23.33         23.33       0.00              $7.50
Charles Gabriel   212SH186    Sunday, April 17, 2016         Tuesday, April 12, 2016    4/12/16 3:56 PM      4/12/16 9:35 PM                  5.65
Charles Gabriel   212SH186    Sunday, April 17, 2016        Thursday, April 14, 2016    4/14/16 2:56 PM     4/14/16 10:55 PM                  7.98
Charles Gabriel   212SH186    Sunday, April 17, 2016           Friday, April 15, 2016   4/15/16 3:59 PM     4/15/16 11:08 PM                  7.15
Charles Gabriel   212SH186    Sunday, April 17, 2016        Saturday, April 16, 2016    4/16/16 4:02 PM     4/16/16 11:02 PM                  7.00
Charles Gabriel                                                                                                                 Sum Of Total time:   27.78         27.78       0.00              $7.50
Charles Gabriel   212SH186    Sunday, April 24, 2016         Monday, April 18, 2016     4/18/16 3:57 PM      4/18/16 5:53 PM                  1.93
Charles Gabriel   212SH186    Sunday, April 24, 2016         Tuesday, April 19, 2016    4/19/16 3:55 PM     4/19/16 10:57 PM                  7.03
Charles Gabriel   212SH187    Sunday, April 24, 2016      Wednesday, April 20, 2016     4/20/16 3:58 PM      4/20/16 9:24 PM                  5.43
Charles Gabriel   212SH187    Sunday, April 24, 2016       Thursday, April 21, 2016     4/21/16 3:55 PM     4/22/16 12:21 AM                  8.43
Charles Gabriel   212SH187    Sunday, April 24, 2016           Friday, April 22, 2016   4/22/16 3:58 PM     4/22/16 11:59 PM                  8.02
Charles Gabriel   212SH187    Sunday, April 24, 2016        Saturday, April 23, 2016    4/23/16 3:58 PM     4/23/16 11:10 PM                  7.20
Charles Gabriel                                                                                                                 Sum Of Total time:   38.04         38.04       0.00              $7.50
Charles Gabriel   212SH187    Sunday, May 01, 2016           Tuesday, April 26, 2016    4/26/16 3:54 PM      4/26/16 9:47 PM                  5.88
Charles Gabriel   212SH187    Sunday, May 01, 2016          Thursday, April 28, 2016    4/28/16 3:58 PM     4/28/16 10:12 PM                  6.23
Charles Gabriel   212SH187    Sunday, May 01, 2016          Saturday, April 30, 2016    4/30/16 3:51 PM     4/30/16 11:43 PM                  7.87
Charles Gabriel                                                                                                                 Sum Of Total time:   19.98         19.98       0.00              $7.50
Charles Gabriel   212SH187    Sunday, May 08, 2016        Wednesday, May 04, 2016         5/4/16 3:56 PM     5/4/16 11:25 PM                  7.48
Charles Gabriel   212SH187    Sunday, May 08, 2016         Thursday, May 05, 2016         5/5/16 3:57 PM     5/5/16 10:07 PM                  6.17
Charles Gabriel   212SH187    Sunday, May 08, 2016             Friday, May 06, 2016       5/6/16 3:54 PM     5/6/16 10:44 PM                  6.83
Charles Gabriel   212SH187    Sunday, May 08, 2016          Saturday, May 07, 2016        5/7/16 3:57 PM     5/7/16 10:00 PM                  6.05
Charles Gabriel                                                                                                                 Sum Of Total time:   26.53         26.53       0.00              $7.50
Charles Gabriel   212SH187    Sunday, May 15, 2016        Wednesday, May 11, 2016       5/11/16 3:56 PM     5/11/16 10:51 PM                  6.92

                                                                                             Page 5 of 94
            Case 1:22-cv-00518-JLR-RWL       Document 116-5            Filed 11/16/23          Page 6 of 94
                                    Exhibit 5 - Group 1 unpaid wages


                                                       Full                        Total tip       Total   Total
                    Bates                            minimum Hourly tip Overtime    credit      unpaid OT unpaid
       Name        number    Week-end date            wage    credit    premium     taken        premium   SOH
Charles Gabriel   212SH186   Sunday, March 20, 2016   $9.00
Charles Gabriel                                       $9.00    $1.50      $4.50     $44.25        $0.00
Charles Gabriel   212SH186   Sunday, March 27, 2016   $9.00
Charles Gabriel   212SH186   Sunday, March 27, 2016   $9.00
Charles Gabriel   212SH186   Sunday, March 27, 2016   $9.00
Charles Gabriel   212SH186   Sunday, March 27, 2016   $9.00
Charles Gabriel                                       $9.00    $1.50      $4.50     $41.28        $0.00
Charles Gabriel   212SH186    Sunday, April 03, 2016  $9.00
Charles Gabriel   212SH186    Sunday, April 03, 2016  $9.00
Charles Gabriel   212SH186    Sunday, April 03, 2016  $9.00
Charles Gabriel   212SH186    Sunday, April 03, 2016  $9.00
Charles Gabriel                                       $9.00    $1.50      $4.50     $36.89        $0.00
Charles Gabriel   212SH186    Sunday, April 10, 2016  $9.00
Charles Gabriel   212SH186    Sunday, April 10, 2016  $9.00
Charles Gabriel   212SH186    Sunday, April 10, 2016  $9.00
Charles Gabriel   212SH186    Sunday, April 10, 2016  $9.00
Charles Gabriel                                       $9.00    $1.50      $4.50     $35.00        $0.00
Charles Gabriel   212SH186    Sunday, April 17, 2016  $9.00
Charles Gabriel   212SH186    Sunday, April 17, 2016  $9.00
Charles Gabriel   212SH186    Sunday, April 17, 2016  $9.00
Charles Gabriel   212SH186    Sunday, April 17, 2016  $9.00
Charles Gabriel                                       $9.00    $1.50      $4.50     $41.67        $0.00
Charles Gabriel   212SH186    Sunday, April 24, 2016  $9.00
Charles Gabriel   212SH186    Sunday, April 24, 2016  $9.00
Charles Gabriel   212SH187    Sunday, April 24, 2016  $9.00
Charles Gabriel   212SH187    Sunday, April 24, 2016  $9.00
Charles Gabriel   212SH187    Sunday, April 24, 2016  $9.00
Charles Gabriel   212SH187    Sunday, April 24, 2016  $9.00
Charles Gabriel                                       $9.00    $1.50      $4.50     $57.06        $0.00
Charles Gabriel   212SH187     Sunday, May 01, 2016   $9.00
Charles Gabriel   212SH187     Sunday, May 01, 2016   $9.00
Charles Gabriel   212SH187     Sunday, May 01, 2016   $9.00
Charles Gabriel                                       $9.00    $1.50      $4.50     $29.97        $0.00
Charles Gabriel   212SH187     Sunday, May 08, 2016   $9.00
Charles Gabriel   212SH187     Sunday, May 08, 2016   $9.00
Charles Gabriel   212SH187     Sunday, May 08, 2016   $9.00
Charles Gabriel   212SH187     Sunday, May 08, 2016   $9.00
Charles Gabriel                                       $9.00    $1.50      $4.50     $39.80        $0.00
Charles Gabriel   212SH187     Sunday, May 15, 2016   $9.00

                                              Page 6 of 94
                                                   Case 1:22-cv-00518-JLR-RWL              Document 116-5            Filed 11/16/23        Page 7 of 94
                                                                                  Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                      Spread Tip credit
                    Bates                                                                                                                                                   Overtime of hours minimum
       Name        number    Week-end date                 Clock in date                  Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Charles Gabriel   212SH187    Sunday, May 15, 2016          Thursday, May 12, 2016      5/12/16 3:58 PM    5/12/16 11:10 PM                  7.20
Charles Gabriel   212SH187    Sunday, May 15, 2016             Friday, May 13, 2016     5/13/16 3:04 PM     5/13/16 9:53 PM                  6.82
Charles Gabriel   212SH187    Sunday, May 15, 2016          Saturday, May 14, 2016      5/14/16 3:56 PM    5/14/16 10:48 PM                  6.87
Charles Gabriel   212SH187    Sunday, May 15, 2016            Sunday, May 15, 2016     5/15/16 11:13 AM    5/15/16 10:54 PM                11.68                                         1
Charles Gabriel                                                                                                                Sum Of Total time:   39.49         39.49       0.00              $7.50
Charles Gabriel   212SH187    Sunday, May 22, 2016           Tuesday, May 17, 2016      5/17/16 3:57 PM    5/17/16 10:31 PM                  6.57
Charles Gabriel   212SH187    Sunday, May 22, 2016        Wednesday, May 18, 2016       5/18/16 3:56 PM    5/18/16 11:13 PM                  7.28
Charles Gabriel   212SH187    Sunday, May 22, 2016         Thursday, May 19, 2016       5/19/16 3:57 PM    5/19/16 10:55 PM                  6.97
Charles Gabriel   212SH187    Sunday, May 22, 2016             Friday, May 20, 2016     5/20/16 4:00 PM    5/20/16 11:47 PM                  7.78
Charles Gabriel   212SH187    Sunday, May 22, 2016          Saturday, May 21, 2016      5/21/16 3:57 PM    5/21/16 10:41 PM                  6.73
Charles Gabriel   212SH187    Sunday, May 22, 2016            Sunday, May 22, 2016      5/22/16 4:04 PM    5/22/16 11:16 PM                  7.20
Charles Gabriel                                                                                                                Sum Of Total time:   42.53         40.00       2.53              $7.50
Charles Gabriel   212SH187    Sunday, May 29, 2016        Wednesday, May 25, 2016       5/25/16 3:58 PM    5/25/16 10:54 PM                  6.93
Charles Gabriel   212SH187    Sunday, May 29, 2016         Thursday, May 26, 2016       5/26/16 3:56 PM    5/26/16 10:34 PM                  6.63
Charles Gabriel                                                                                                                Sum Of Total time:   13.56         13.56       0.00              $7.50
Charles Gabriel   212SH187    Sunday, June 05, 2016       Wednesday, June 01, 2016       6/1/16 3:58 PM     6/1/16 10:13 PM                  6.25
Charles Gabriel   212SH187    Sunday, June 05, 2016        Thursday, June 02, 2016       6/2/16 4:05 PM     6/2/16 11:02 PM                  6.95
Charles Gabriel   212SH187    Sunday, June 05, 2016           Friday, June 03, 2016      6/3/16 3:57 PM      6/3/16 9:53 PM                  5.93
Charles Gabriel   212SH187    Sunday, June 05, 2016         Saturday, June 04, 2016      6/4/16 3:58 PM     6/4/16 10:08 PM                  6.17
Charles Gabriel   212SH187    Sunday, June 05, 2016          Sunday, June 05, 2016       6/5/16 3:55 PM      6/5/16 9:32 PM                  5.62
Charles Gabriel                                                                                                                Sum Of Total time:   30.92         30.92       0.00              $7.50
Charles Gabriel   212SH187    Sunday, June 12, 2016       Wednesday, June 08, 2016       6/8/16 3:58 PM     6/8/16 10:20 PM                  6.37
Charles Gabriel   212SH188    Sunday, June 12, 2016        Thursday, June 09, 2016       6/9/16 3:57 PM     6/9/16 11:11 PM                  7.23
Charles Gabriel   212SH188    Sunday, June 12, 2016            Friday, June 10, 2016    6/10/16 3:57 PM    6/10/16 10:52 PM                  6.92
Charles Gabriel   212SH188    Sunday, June 12, 2016         Saturday, June 11, 2016     6/11/16 3:54 PM     6/11/16 9:58 PM                  6.07
Charles Gabriel                                                                                                                Sum Of Total time:   26.59         26.59       0.00              $7.50
Charles Gabriel   212SH188    Sunday, June 19, 2016          Tuesday, June 14, 2016     6/14/16 4:00 PM    6/14/16 10:32 PM                  6.53
Charles Gabriel   212SH188    Sunday, June 19, 2016            Friday, June 17, 2016    6/17/16 3:57 PM    6/17/16 11:13 PM                  7.27
Charles Gabriel   212SH188    Sunday, June 19, 2016         Saturday, June 18, 2016     6/18/16 3:57 PM    6/18/16 10:12 PM                  6.25
Charles Gabriel   212SH188    Sunday, June 19, 2016           Sunday, June 19, 2016     6/19/16 4:00 PM    6/19/16 11:00 PM                  7.00
Charles Gabriel                                                                                                                Sum Of Total time:   27.05         27.05       0.00              $7.50
Charles Gabriel   212SH188    Sunday, June 26, 2016          Monday, June 20, 2016      6/20/16 3:58 PM    6/20/16 10:51 PM                  6.88
Charles Gabriel   212SH188    Sunday, June 26, 2016          Tuesday, June 21, 2016     6/21/16 3:57 PM     6/21/16 9:37 PM                  5.67
Charles Gabriel   212SH188    Sunday, June 26, 2016       Wednesday, June 22, 2016      6/22/16 3:57 PM     6/22/16 9:55 PM                  5.97
Charles Gabriel   212SH188    Sunday, June 26, 2016        Thursday, June 23, 2016      6/23/16 3:54 PM    6/23/16 10:51 PM                  6.95
Charles Gabriel   212SH188    Sunday, June 26, 2016            Friday, June 24, 2016    6/24/16 3:59 PM    6/24/16 11:19 PM                  7.33
Charles Gabriel   212SH188    Sunday, June 26, 2016         Saturday, June 25, 2016     6/25/16 3:58 PM     6/25/16 8:56 PM                  4.97
Charles Gabriel                                                                                                                Sum Of Total time:   37.77         37.77       0.00              $7.50
Charles Gabriel   212SH188     Sunday, July 03, 2016         Tuesday, June 28, 2016     6/28/16 3:57 PM    6/28/16 11:05 PM                  7.13

                                                                                            Page 7 of 94
            Case 1:22-cv-00518-JLR-RWL       Document 116-5            Filed 11/16/23          Page 8 of 94
                                    Exhibit 5 - Group 1 unpaid wages


                                                       Full                        Total tip       Total   Total
                    Bates                            minimum Hourly tip Overtime    credit      unpaid OT unpaid
       Name        number    Week-end date            wage    credit    premium     taken        premium   SOH
Charles Gabriel   212SH187    Sunday, May 15, 2016    $9.00
Charles Gabriel   212SH187    Sunday, May 15, 2016    $9.00
Charles Gabriel   212SH187    Sunday, May 15, 2016    $9.00
Charles Gabriel   212SH187    Sunday, May 15, 2016    $9.00                                                $9.00
Charles Gabriel                                       $9.00    $1.50      $4.50     $59.24        $0.00
Charles Gabriel   212SH187    Sunday, May 22, 2016    $9.00
Charles Gabriel   212SH187    Sunday, May 22, 2016    $9.00
Charles Gabriel   212SH187    Sunday, May 22, 2016    $9.00
Charles Gabriel   212SH187    Sunday, May 22, 2016    $9.00
Charles Gabriel   212SH187    Sunday, May 22, 2016    $9.00
Charles Gabriel   212SH187    Sunday, May 22, 2016    $9.00
Charles Gabriel                                       $9.00    $1.50      $4.50     $63.80       $11.39
Charles Gabriel   212SH187    Sunday, May 29, 2016    $9.00
Charles Gabriel   212SH187    Sunday, May 29, 2016    $9.00
Charles Gabriel                                       $9.00    $1.50      $4.50     $20.34        $0.00
Charles Gabriel   212SH187    Sunday, June 05, 2016   $9.00
Charles Gabriel   212SH187    Sunday, June 05, 2016   $9.00
Charles Gabriel   212SH187    Sunday, June 05, 2016   $9.00
Charles Gabriel   212SH187    Sunday, June 05, 2016   $9.00
Charles Gabriel   212SH187    Sunday, June 05, 2016   $9.00
Charles Gabriel                                       $9.00    $1.50      $4.50     $46.38        $0.00
Charles Gabriel   212SH187    Sunday, June 12, 2016   $9.00
Charles Gabriel   212SH188    Sunday, June 12, 2016   $9.00
Charles Gabriel   212SH188    Sunday, June 12, 2016   $9.00
Charles Gabriel   212SH188    Sunday, June 12, 2016   $9.00
Charles Gabriel                                       $9.00    $1.50      $4.50     $39.89        $0.00
Charles Gabriel   212SH188    Sunday, June 19, 2016   $9.00
Charles Gabriel   212SH188    Sunday, June 19, 2016   $9.00
Charles Gabriel   212SH188    Sunday, June 19, 2016   $9.00
Charles Gabriel   212SH188    Sunday, June 19, 2016   $9.00
Charles Gabriel                                       $9.00    $1.50      $4.50     $40.58        $0.00
Charles Gabriel   212SH188    Sunday, June 26, 2016   $9.00
Charles Gabriel   212SH188    Sunday, June 26, 2016   $9.00
Charles Gabriel   212SH188    Sunday, June 26, 2016   $9.00
Charles Gabriel   212SH188    Sunday, June 26, 2016   $9.00
Charles Gabriel   212SH188    Sunday, June 26, 2016   $9.00
Charles Gabriel   212SH188    Sunday, June 26, 2016   $9.00
Charles Gabriel                                       $9.00    $1.50      $4.50     $56.66        $0.00
Charles Gabriel   212SH188     Sunday, July 03, 2016  $9.00

                                              Page 8 of 94
                                                    Case 1:22-cv-00518-JLR-RWL                Document 116-5            Filed 11/16/23        Page 9 of 94
                                                                                     Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                         Spread Tip credit
                    Bates                                                                                                                                                      Overtime of hours minimum
       Name        number     Week-end date                  Clock in date                   Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Charles Gabriel   212SH188      Sunday, July 03, 2016       Wednesday, June 29, 2016      6/29/16 3:57 PM      6/29/16 9:07 PM                  5.17
Charles Gabriel   212SH188      Sunday, July 03, 2016        Thursday, June 30, 2016      6/30/16 3:59 PM      6/30/16 9:02 PM                  5.05
Charles Gabriel   212SH188      Sunday, July 03, 2016            Friday, July 01, 2016     7/1/16 3:49 PM      7/1/16 10:28 PM                  6.65
Charles Gabriel   212SH188      Sunday, July 03, 2016         Saturday, July 02, 2016      7/2/16 3:56 PM      7/2/16 10:45 PM                  6.82
Charles Gabriel                                                                                                                   Sum Of Total time:   30.82         30.82       0.00              $7.50
Charles Gabriel   212SH188      Sunday, July 10, 2016          Monday, July 04, 2016      7/4/16 12:58 PM       7/4/16 9:22 PM                  8.40
Charles Gabriel   212SH188      Sunday, July 10, 2016        Wednesday, July 06, 2016      7/6/16 4:03 PM       7/6/16 8:15 PM                  4.20
Charles Gabriel   212SH188      Sunday, July 10, 2016            Friday, July 08, 2016     7/8/16 3:57 PM      7/8/16 10:36 PM                  6.65
Charles Gabriel                                                                                                                   Sum Of Total time:   19.25         19.25       0.00              $7.50
Charles Gabriel   212SH188      Sunday, July 17, 2016           Tuesday, July 12, 2016    7/12/16 4:04 PM      7/12/16 9:32 PM                  5.47
Charles Gabriel   212SH188      Sunday, July 17, 2016        Wednesday, July 13, 2016     7/13/16 3:57 PM     7/13/16 10:01 PM                  6.07
Charles Gabriel   212SH188      Sunday, July 17, 2016             Friday, July 15, 2016   7/15/16 4:04 PM     7/15/16 10:02 PM                  5.97
Charles Gabriel   212SH188      Sunday, July 17, 2016          Saturday, July 16, 2016    7/16/16 4:00 PM     7/16/16 10:30 PM                  6.50
Charles Gabriel                                                                                                                   Sum Of Total time:   24.01         24.01       0.00              $7.50
Charles Gabriel   212SH188      Sunday, July 24, 2016           Tuesday, July 19, 2016    7/19/16 3:54 PM     7/19/16 10:04 PM                  6.17
Charles Gabriel   212SH188      Sunday, July 24, 2016        Wednesday, July 20, 2016     7/20/16 3:56 PM     7/20/16 11:31 PM                  7.58
Charles Gabriel   212SH188      Sunday, July 24, 2016             Friday, July 22, 2016   7/22/16 3:56 PM     7/23/16 12:00 AM                  8.07
Charles Gabriel   212SH188      Sunday, July 24, 2016          Saturday, July 23, 2016    7/23/16 3:57 PM     7/23/16 11:19 PM                  7.37
Charles Gabriel                                                                                                                   Sum Of Total time:   29.19         29.19       0.00              $7.50
Charles Gabriel   212SH188      Sunday, July 31, 2016             Friday, July 29, 2016   7/29/16 4:03 PM     7/29/16 10:04 PM                  6.02
Charles Gabriel   212SH189      Sunday, July 31, 2016          Saturday, July 30, 2016    7/30/16 3:56 PM     7/31/16 12:05 AM                  8.15
Charles Gabriel                                                                                                                   Sum Of Total time:   14.17         14.17       0.00              $7.50
Charles Gabriel   212SH189   Sunday, August 07, 2016         Monday, August 01, 2016        8/1/16 4:02 PM      8/1/16 9:52 PM                  5.83
Charles Gabriel   212SH189   Sunday, August 07, 2016         Monday, August 01, 2016        8/1/16 4:00 PM      8/1/16 4:02 PM                  0.03
Charles Gabriel   212SH189   Sunday, August 07, 2016      Wednesday, August 03, 2016        8/3/16 3:56 PM     8/3/16 10:32 PM                  6.60
Charles Gabriel   212SH189   Sunday, August 07, 2016           Friday, August 05, 2016      8/5/16 3:56 PM     8/5/16 11:14 PM                  7.30
Charles Gabriel   212SH189   Sunday, August 07, 2016        Saturday, August 06, 2016       8/6/16 3:58 PM     8/6/16 11:25 PM                  7.45
Charles Gabriel   212SH189   Sunday, August 07, 2016         Sunday, August 07, 2016        8/7/16 3:57 PM     8/8/16 12:13 AM                  8.27
Charles Gabriel                                                                                                                   Sum Of Total time:   35.48         35.48       0.00              $7.50
Charles Gabriel   212SH189   Sunday, August 14, 2016         Monday, August 08, 2016       8/8/16 4:08 PM      8/8/16 10:46 PM                  6.63
Charles Gabriel   212SH189   Sunday, August 14, 2016         Sunday, August 14, 2016      8/14/16 4:08 PM     8/14/16 10:06 PM                  5.97
Charles Gabriel                                                                                                                   Sum Of Total time:   12.60         12.60       0.00              $7.50
Charles Gabriel   212SH189   Sunday, August 21, 2016         Monday, August 15, 2016      8/15/16 3:57 PM     8/15/16 10:30 PM                  6.55
Charles Gabriel                                                                                                                   Sum Of Total time:   6.55          6.55        0.00              $7.50

Cora Bethea       212SH281   Sunday, January 16, 2022      Thursday, January 13, 2022     1/13/22 3:00 PM      1/13/22 8:00 PM                  5.00
Cora Bethea       212SH281   Sunday, January 16, 2022        Friday, January 14, 2022     1/14/22 4:00 PM     1/14/22 10:00 PM                  6.00
Cora Bethea       212SH281   Sunday, January 16, 2022      Saturday, January 15, 2022     1/15/22 4:00 PM     1/15/22 11:30 PM                  7.50
Cora Bethea                                                                                                                       Sum Of Total time:   18.50         18.50       0.00              $10.00

                                                                                               Page 9 of 94
           Case 1:22-cv-00518-JLR-RWL         Document 116-5             Filed 11/16/23    Page 10 of 94
                                      Exhibit 5 - Group 1 unpaid wages


                                                          Full                       Total tip    Total   Total
                    Bates                              minimum Hourly tip Overtime    credit   unpaid OT unpaid
       Name        number      Week-end date             wage       credit   premium   taken    premium   SOH
Charles Gabriel   212SH188       Sunday, July 03, 2016   $9.00
Charles Gabriel   212SH188       Sunday, July 03, 2016   $9.00
Charles Gabriel   212SH188       Sunday, July 03, 2016   $9.00
Charles Gabriel   212SH188       Sunday, July 03, 2016   $9.00
Charles Gabriel                                          $9.00      $1.50      $4.50  $46.23      $0.00
Charles Gabriel   212SH188       Sunday, July 10, 2016   $9.00
Charles Gabriel   212SH188       Sunday, July 10, 2016   $9.00
Charles Gabriel   212SH188       Sunday, July 10, 2016   $9.00
Charles Gabriel                                          $9.00      $1.50      $4.50  $28.88      $0.00
Charles Gabriel   212SH188       Sunday, July 17, 2016   $9.00
Charles Gabriel   212SH188       Sunday, July 17, 2016   $9.00
Charles Gabriel   212SH188       Sunday, July 17, 2016   $9.00
Charles Gabriel   212SH188       Sunday, July 17, 2016   $9.00
Charles Gabriel                                          $9.00      $1.50      $4.50  $36.02      $0.00
Charles Gabriel   212SH188       Sunday, July 24, 2016   $9.00
Charles Gabriel   212SH188       Sunday, July 24, 2016   $9.00
Charles Gabriel   212SH188       Sunday, July 24, 2016   $9.00
Charles Gabriel   212SH188       Sunday, July 24, 2016   $9.00
Charles Gabriel                                          $9.00      $1.50      $4.50  $43.79      $0.00
Charles Gabriel   212SH188       Sunday, July 31, 2016   $9.00
Charles Gabriel   212SH189       Sunday, July 31, 2016   $9.00
Charles Gabriel                                          $9.00      $1.50      $4.50  $21.26      $0.00
Charles Gabriel   212SH189    Sunday, August 07, 2016    $9.00
Charles Gabriel   212SH189    Sunday, August 07, 2016    $9.00
Charles Gabriel   212SH189    Sunday, August 07, 2016    $9.00
Charles Gabriel   212SH189    Sunday, August 07, 2016    $9.00
Charles Gabriel   212SH189    Sunday, August 07, 2016    $9.00
Charles Gabriel   212SH189    Sunday, August 07, 2016    $9.00
Charles Gabriel                                          $9.00      $1.50      $4.50  $53.22      $0.00
Charles Gabriel   212SH189    Sunday, August 14, 2016    $9.00
Charles Gabriel   212SH189    Sunday, August 14, 2016    $9.00
Charles Gabriel                                          $9.00      $1.50      $4.50  $18.90      $0.00
Charles Gabriel   212SH189    Sunday, August 21, 2016    $9.00
Charles Gabriel                                          $9.00      $1.50      $4.50   $9.83      $0.00
                                                       Charles Gabriel subtotal:     $1,251.24   $20.79  $27.00
Cora Bethea       212SH281   Sunday, January 16, 2022    $15.00
Cora Bethea       212SH281   Sunday, January 16, 2022 $15.00
Cora Bethea       212SH281   Sunday, January 16, 2022 $15.00
Cora Bethea                                              $15.00     $5.00      $7.50  $92.50      $0.00

                                               Page 10 of 94
                                                Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23       Page 11 of 94
                                                                                 Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                     Spread Tip credit
                Bates                                                                                                                                                      Overtime of hours minimum
      Name     number      Week-end date                 Clock in date                   Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Cora Bethea   212SH282    Sunday, January 23, 2022       Tuesday, January 18, 2022     1/18/22 4:00 PM    1/18/22 10:00 PM                  6.00
Cora Bethea   212SH282    Sunday, January 23, 2022      Thursday, January 20, 2022     1/20/22 4:00 PM    1/20/22 10:00 PM                  6.00
Cora Bethea   212SH282    Sunday, January 23, 2022         Friday, January 21, 2022    1/21/22 4:01 PM    1/21/22 11:43 PM                  7.70
Cora Bethea   212SH282    Sunday, January 23, 2022      Saturday, January 22, 2022     1/22/22 4:02 PM    1/23/22 12:08 AM                  8.10
Cora Bethea                                                                                                                   Sum Of Total time:   27.80         27.80       0.00              $10.00
Cora Bethea   212SH282    Sunday, January 30, 2022       Monday, January 24, 2022      1/24/22 4:13 PM     1/24/22 9:12 PM                  4.98
Cora Bethea   212SH282    Sunday, January 30, 2022       Tuesday, January 25, 2022     1/25/22 4:00 PM    1/25/22 10:50 PM                  6.83
Cora Bethea   212SH282    Sunday, January 30, 2022      Thursday, January 27, 2022     1/27/22 4:12 PM    1/27/22 11:06 PM                  6.90
Cora Bethea   212SH282    Sunday, January 30, 2022         Friday, January 28, 2022    1/28/22 4:26 PM     1/29/22 1:59 AM                  9.55
Cora Bethea   212SH282    Sunday, January 30, 2022      Saturday, January 29, 2022     1/29/22 3:55 PM    1/29/22 10:45 PM                  6.83
Cora Bethea                                                                                                                   Sum Of Total time:   35.09         35.09       0.00              $10.00
Cora Bethea   212SH282   Sunday, February 06, 2022     Thursday, February 03, 2022      2/3/22 4:28 PM     2/3/22 10:14 PM                  5.77
Cora Bethea   212SH282   Sunday, February 06, 2022        Friday, February 04, 2022     2/4/22 3:48 PM      2/4/22 9:54 PM                  6.10
Cora Bethea   212SH282   Sunday, February 06, 2022       Sunday, February 06, 2022      2/6/22 4:00 PM     2/6/22 11:00 PM                  7.00
Cora Bethea                                                                                                                   Sum Of Total time:   18.87         18.87       0.00              $10.00
Cora Bethea   212SH282   Sunday, February 13, 2022     Thursday, February 10, 2022    2/10/22 10:31 PM    2/10/22 10:31 PM                  0.00
Cora Bethea   212SH282   Sunday, February 13, 2022       Friday, February 11, 2022     2/11/22 3:29 PM    2/12/22 12:28 AM                  8.98
Cora Bethea   212SH282   Sunday, February 13, 2022     Saturday, February 12, 2022     2/12/22 3:31 PM     2/13/22 2:27 AM                10.93                                         1
Cora Bethea                                                                                                                   Sum Of Total time:   19.91         19.91       0.00              $10.00
Cora Bethea   212SH282   Sunday, February 20, 2022      Monday, February 14, 2022      2/14/22 3:25 PM    2/15/22 12:28 AM                  9.05
Cora Bethea   212SH282   Sunday, February 20, 2022     Thursday, February 17, 2022     2/17/22 4:03 PM    2/17/22 10:37 PM                  6.57
Cora Bethea   212SH282   Sunday, February 20, 2022       Friday, February 18, 2022     2/18/22 4:01 PM    2/19/22 12:26 AM                  8.42
Cora Bethea   212SH282   Sunday, February 20, 2022     Saturday, February 19, 2022     2/19/22 4:10 PM    2/20/22 12:14 AM                  8.07
Cora Bethea                                                                                                                   Sum Of Total time:   32.11         32.11       0.00              $10.00
Cora Bethea   212SH282   Sunday, February 27, 2022     Thursday, February 24, 2022     2/24/22 3:53 PM    2/24/22 11:18 PM                  7.42
Cora Bethea   212SH282   Sunday, February 27, 2022       Friday, February 25, 2022     2/25/22 4:01 PM    2/25/22 11:52 PM                  7.85
Cora Bethea   212SH282   Sunday, February 27, 2022     Saturday, February 26, 2022     2/26/22 4:34 PM    2/27/22 12:01 AM                  7.45
Cora Bethea                                                                                                                   Sum Of Total time:   22.72         22.72       0.00              $10.00
Cora Bethea   212SH282     Sunday, March 06, 2022        Thursday, March 03, 2022       3/3/22 4:30 PM     3/3/22 11:10 PM                  6.67
Cora Bethea   212SH282     Sunday, March 06, 2022          Friday, March 04, 2022       3/4/22 5:59 PM     3/5/22 12:11 AM                  6.20
Cora Bethea   212SH282     Sunday, March 06, 2022        Saturday, March 05, 2022       3/5/22 4:01 PM     3/6/22 12:11 AM                  8.17
Cora Bethea                                                                                                                   Sum Of Total time:   21.04         21.04       0.00              $10.00
Cora Bethea   212SH282     Sunday, March 13, 2022        Thursday, March 10, 2022      3/10/22 4:07 PM    3/10/22 11:30 PM                  7.38
Cora Bethea   212SH282     Sunday, March 13, 2022          Friday, March 11, 2022      3/11/22 3:56 PM    3/11/22 11:49 PM                  7.88
Cora Bethea   212SH282     Sunday, March 13, 2022        Saturday, March 12, 2022      3/12/22 4:02 PM    3/12/22 11:05 PM                  7.05
Cora Bethea                                                                                                                   Sum Of Total time:   22.31         22.31       0.00              $10.00
Cora Bethea   212SH282     Sunday, March 20, 2022          Friday, March 18, 2022      3/18/22 3:55 PM    3/19/22 12:13 AM                  8.30
Cora Bethea   212SH283     Sunday, March 20, 2022        Saturday, March 19, 2022      3/19/22 4:34 PM    3/19/22 11:59 PM                  7.42
Cora Bethea                                                                                                                   Sum Of Total time:   15.72         15.72       0.00              $10.00

                                                                                          Page 11 of 94
          Case 1:22-cv-00518-JLR-RWL        Document 116-5             Filed 11/16/23         Page 12 of 94
                                    Exhibit 5 - Group 1 unpaid wages


                                                      Full                        Total tip       Total   Total
                 Bates                              minimum Hourly tip Overtime    credit      unpaid OT unpaid
      Name      number      Week-end date            wage    credit    premium     taken        premium   SOH
Cora Bethea    212SH282    Sunday, January 23, 2022 $15.00
Cora Bethea    212SH282    Sunday, January 23, 2022 $15.00
Cora Bethea    212SH282    Sunday, January 23, 2022 $15.00
Cora Bethea    212SH282    Sunday, January 23, 2022 $15.00
Cora Bethea                                          $15.00   $5.00      $7.50    $139.00        $0.00
Cora Bethea    212SH282    Sunday, January 30, 2022 $15.00
Cora Bethea    212SH282    Sunday, January 30, 2022 $15.00
Cora Bethea    212SH282    Sunday, January 30, 2022 $15.00
Cora Bethea    212SH282    Sunday, January 30, 2022 $15.00
Cora Bethea    212SH282    Sunday, January 30, 2022 $15.00
Cora Bethea                                          $15.00   $5.00      $7.50    $175.45        $0.00
Cora Bethea    212SH282   Sunday, February 06, 2022 $15.00
Cora Bethea    212SH282   Sunday, February 06, 2022 $15.00
Cora Bethea    212SH282   Sunday, February 06, 2022 $15.00
Cora Bethea                                          $15.00   $5.00      $7.50     $94.35        $0.00
Cora Bethea    212SH282   Sunday, February 13, 2022 $15.00
Cora Bethea    212SH282   Sunday, February 13, 2022 $15.00
Cora Bethea    212SH282   Sunday, February 13, 2022 $15.00                                                $15.00
Cora Bethea                                          $15.00   $5.00      $7.50     $99.55        $0.00
Cora Bethea    212SH282   Sunday, February 20, 2022 $15.00
Cora Bethea    212SH282   Sunday, February 20, 2022 $15.00
Cora Bethea    212SH282   Sunday, February 20, 2022 $15.00
Cora Bethea    212SH282   Sunday, February 20, 2022 $15.00
Cora Bethea                                          $15.00   $5.00      $7.50    $160.55        $0.00
Cora Bethea    212SH282   Sunday, February 27, 2022  $15.00
Cora Bethea    212SH282   Sunday, February 27, 2022 $15.00
Cora Bethea    212SH282   Sunday, February 27, 2022 $15.00
Cora Bethea                                          $15.00   $5.00      $7.50    $113.60        $0.00
Cora Bethea    212SH282     Sunday, March 06, 2022 $15.00
Cora Bethea    212SH282     Sunday, March 06, 2022 $15.00
Cora Bethea    212SH282     Sunday, March 06, 2022 $15.00
Cora Bethea                                          $15.00   $5.00      $7.50    $105.20        $0.00
Cora Bethea    212SH282     Sunday, March 13, 2022 $15.00
Cora Bethea    212SH282     Sunday, March 13, 2022 $15.00
Cora Bethea    212SH282     Sunday, March 13, 2022 $15.00
Cora Bethea                                          $15.00   $5.00      $7.50    $111.55        $0.00
Cora Bethea    212SH282     Sunday, March 20, 2022 $15.00
Cora Bethea    212SH283     Sunday, March 20, 2022 $15.00
Cora Bethea                                          $15.00   $5.00      $7.50     $78.60        $0.00

                                             Page 12 of 94
                                                   Case 1:22-cv-00518-JLR-RWL                Document 116-5             Filed 11/16/23       Page 13 of 94
                                                                                     Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                         Spread Tip credit
                    Bates                                                                                                                                                      Overtime of hours minimum
      Name         number     Week-end date                 Clock in date                    Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Cora Bethea       212SH283    Sunday, March 27, 2022        Thursday, March 24, 2022      3/24/22 4:05 PM     3/24/22 11:40 PM                  7.58
Cora Bethea       212SH283    Sunday, March 27, 2022          Friday, March 25, 2022      3/25/22 4:06 PM     3/26/22 12:25 AM                  8.32
Cora Bethea       212SH283    Sunday, March 27, 2022        Saturday, March 26, 2022      3/26/22 4:18 PM     3/27/22 12:15 AM                  7.95
Cora Bethea                                                                                                                       Sum Of Total time:   23.85         23.85       0.00              $10.00
Cora Bethea       212SH283     Sunday, April 03, 2022       Thursday, March 31, 2022      3/31/22 4:33 PM     3/31/22 11:50 PM                  7.28
Cora Bethea       212SH283     Sunday, April 03, 2022           Friday, April 01, 2022     4/1/22 4:31 PM      4/2/22 12:22 AM                  7.85
Cora Bethea       212SH283     Sunday, April 03, 2022         Saturday, April 02, 2022     4/2/22 4:14 PM      4/3/22 12:03 AM                  7.82
Cora Bethea                                                                                                                       Sum Of Total time:   22.95         22.95       0.00              $10.00
Cora Bethea       212SH283     Sunday, April 10, 2022         Thursday, April 07, 2022      4/7/22 4:31 PM     4/7/22 10:50 PM                  6.32
Cora Bethea       212SH283     Sunday, April 10, 2022           Friday, April 08, 2022      4/8/22 4:18 PM     4/9/22 12:39 AM                  8.35
Cora Bethea       212SH283     Sunday, April 10, 2022         Saturday, April 09, 2022      4/9/22 4:07 PM    4/10/22 12:02 AM                  7.92
Cora Bethea                                                                                                                       Sum Of Total time:   22.59         22.59       0.00              $10.00
Cora Bethea       212SH283     Sunday, April 17, 2022            Friday, April 15, 2022   4/15/22 4:32 PM     4/15/22 11:56 PM                  7.40
Cora Bethea                                                                                                                       Sum Of Total time:   7.40          7.40        0.00              $10.00
Cora Bethea       212SH283     Sunday, April 24, 2022         Thursday, April 21, 2022    4/21/22 4:12 PM     4/21/22 11:17 PM                  7.08
Cora Bethea       212SH283     Sunday, April 24, 2022           Friday, April 22, 2022    4/22/22 4:07 PM     4/22/22 11:00 PM                  6.88
Cora Bethea       212SH283     Sunday, April 24, 2022         Saturday, April 23, 2022    4/23/22 3:55 PM     4/24/22 12:43 AM                  8.80
Cora Bethea                                                                                                                       Sum Of Total time:   22.76         22.76       0.00              $10.00
Cora Bethea       212SH283      Sunday, May 01, 2022          Thursday, April 28, 2022    4/28/22 4:38 PM     4/28/22 11:15 PM                  6.62
Cora Bethea       212SH283      Sunday, May 01, 2022             Friday, April 29, 2022   4/29/22 4:36 PM     4/29/22 11:38 PM                  7.03
Cora Bethea       212SH283      Sunday, May 01, 2022          Saturday, April 30, 2022    4/30/22 4:27 PM      5/1/22 12:08 AM                  7.68
Cora Bethea                                                                                                                       Sum Of Total time:   21.33         21.33       0.00              $10.00
Cora Bethea       212SH283      Sunday, May 08, 2022          Thursday, May 05, 2022        5/5/22 4:05 PM     5/5/22 10:54 PM                  6.82
Cora Bethea       212SH283      Sunday, May 08, 2022            Friday, May 06, 2022        5/6/22 4:41 PM     5/7/22 12:17 AM                  7.60
Cora Bethea       212SH283      Sunday, May 08, 2022          Saturday, May 07, 2022        5/7/22 4:36 PM     5/8/22 12:51 AM                  8.25
Cora Bethea                                                                                                                       Sum Of Total time:   22.67         22.67       0.00              $10.00
Cora Bethea       212SH283      Sunday, May 15, 2022          Thursday, May 12, 2022      5/12/22 4:31 PM     5/12/22 11:06 PM                  6.58
Cora Bethea       212SH283      Sunday, May 15, 2022             Friday, May 13, 2022     5/13/22 4:40 PM     5/14/22 12:14 AM                  7.57
Cora Bethea       212SH283      Sunday, May 15, 2022          Saturday, May 14, 2022      5/14/22 4:08 PM     5/15/22 12:34 AM                  8.43
Cora Bethea                                                                                                                       Sum Of Total time:   22.58         22.58       0.00              $10.00

Damian Zabrodin   212SH283   Sunday, January 09, 2022      Thursday, January 06, 2022       1/6/22 5:44 PM     1/6/22 11:00 PM                  5.27
Damian Zabrodin   212SH283   Sunday, January 09, 2022        Sunday, January 09, 2022       1/9/22 5:01 PM     1/9/22 11:00 PM                  5.98
Damian Zabrodin                                                                                                                   Sum Of Total time:   11.25         11.25       0.00              $10.00
Damian Zabrodin   212SH283   Sunday, January 16, 2022    Wednesday, January 12, 2022      1/12/22 4:30 PM      1/12/22 9:19 PM                  4.82
Damian Zabrodin   212SH283   Sunday, January 16, 2022     Thursday, January 13, 2022      1/13/22 4:26 PM     1/13/22 11:00 PM                  6.57
Damian Zabrodin   212SH284   Sunday, January 16, 2022       Sunday, January 16, 2022      1/16/22 3:50 PM     1/16/22 10:24 PM                  6.57
Damian Zabrodin                                                                                                                   Sum Of Total time:   17.96         17.96       0.00              $10.00
Damian Zabrodin   212SH284   Sunday, January 23, 2022    Wednesday, January 19, 2022      1/19/22 3:30 PM     1/19/22 11:53 PM                  8.38

                                                                                              Page 13 of 94
          Case 1:22-cv-00518-JLR-RWL         Document 116-5             Filed 11/16/23   Page 14 of 94
                                     Exhibit 5 - Group 1 unpaid wages


                                                        Full                       Total tip    Total   Total
                    Bates                            minimum Hourly tip Overtime     credit  unpaid OT unpaid
      Name         number     Week-end date            wage      credit    premium   taken    premium   SOH
Cora Bethea       212SH283    Sunday, March 27, 2022 $15.00
Cora Bethea       212SH283    Sunday, March 27, 2022 $15.00
Cora Bethea       212SH283    Sunday, March 27, 2022 $15.00
Cora Bethea                                            $15.00     $5.00      $7.50  $119.25     $0.00
Cora Bethea       212SH283     Sunday, April 03, 2022 $15.00
Cora Bethea       212SH283     Sunday, April 03, 2022 $15.00
Cora Bethea       212SH283     Sunday, April 03, 2022 $15.00
Cora Bethea                                            $15.00     $5.00      $7.50  $114.75     $0.00
Cora Bethea       212SH283     Sunday, April 10, 2022 $15.00
Cora Bethea       212SH283     Sunday, April 10, 2022 $15.00
Cora Bethea       212SH283     Sunday, April 10, 2022 $15.00
Cora Bethea                                            $15.00     $5.00      $7.50  $112.95     $0.00
Cora Bethea       212SH283     Sunday, April 17, 2022 $15.00
Cora Bethea                                            $15.00     $5.00      $7.50  $37.00      $0.00
Cora Bethea       212SH283     Sunday, April 24, 2022 $15.00
Cora Bethea       212SH283     Sunday, April 24, 2022 $15.00
Cora Bethea       212SH283     Sunday, April 24, 2022 $15.00
Cora Bethea                                            $15.00     $5.00      $7.50  $113.80     $0.00
Cora Bethea       212SH283      Sunday, May 01, 2022 $15.00
Cora Bethea       212SH283      Sunday, May 01, 2022 $15.00
Cora Bethea       212SH283      Sunday, May 01, 2022 $15.00
Cora Bethea                                            $15.00     $5.00      $7.50  $106.65     $0.00
Cora Bethea       212SH283      Sunday, May 08, 2022 $15.00
Cora Bethea       212SH283      Sunday, May 08, 2022 $15.00
Cora Bethea       212SH283      Sunday, May 08, 2022 $15.00
Cora Bethea                                            $15.00     $5.00      $7.50  $113.35     $0.00
Cora Bethea       212SH283      Sunday, May 15, 2022 $15.00
Cora Bethea       212SH283      Sunday, May 15, 2022 $15.00
Cora Bethea       212SH283      Sunday, May 15, 2022 $15.00
Cora Bethea                                            $15.00     $5.00      $7.50  $112.90     $0.00
                                                     Cora Bethea subtotal:         $2,001.00    $0.00  $15.00
Damian Zabrodin   212SH283   Sunday, January 09, 2022 $15.00
Damian Zabrodin   212SH283   Sunday, January 09, 2022 $15.00
Damian Zabrodin                                        $15.00     $5.00      $7.50  $56.25      $0.00
Damian Zabrodin   212SH283   Sunday, January 16, 2022 $15.00
Damian Zabrodin   212SH283   Sunday, January 16, 2022 $15.00
Damian Zabrodin   212SH284   Sunday, January 16, 2022 $15.00
Damian Zabrodin                                        $15.00     $5.00      $7.50  $89.80      $0.00
Damian Zabrodin   212SH284   Sunday, January 23, 2022 $15.00

                                              Page 14 of 94
                                                      Case 1:22-cv-00518-JLR-RWL                Document 116-5             Filed 11/16/23       Page 15 of 94
                                                                                        Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                            Spread Tip credit
                    Bates                                                                                                                                                         Overtime of hours minimum
       Name        number        Week-end date                 Clock in date                    Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Damian Zabrodin   212SH284      Sunday, January 23, 2022      Thursday, January 20, 2022      1/20/22 3:50 PM     1/20/22 9:35 PM                  5.75
Damian Zabrodin   212SH284      Sunday, January 23, 2022        Friday, January 21, 2022      1/21/22 4:01 PM    1/21/22 11:30 PM                  7.48
Damian Zabrodin                                                                                                                      Sum Of Total time:   21.61         21.61       0.00              $10.00

Gisely Rosa       212SH162      Sunday, August 02, 2020        Wednesday, July 29, 2020       7/29/20 4:00 PM    7/29/20 10:30 PM                  6.50
Gisely Rosa       212SH162      Sunday, August 02, 2020           Thursday, July 30, 2020    7/30/20 10:56 PM    7/30/20 10:56 PM                  0.00
Gisely Rosa       212SH162      Sunday, August 02, 2020           Thursday, July 30, 2020     7/30/20 4:00 PM    7/30/20 11:00 PM                  7.00
Gisely Rosa       212SH162      Sunday, August 02, 2020              Friday, July 31, 2020    7/31/20 3:59 PM    7/31/20 11:05 PM                  7.10
Gisely Rosa       212SH162      Sunday, August 02, 2020        Saturday, August 01, 2020       8/1/20 3:48 PM     8/1/20 11:08 PM                  7.33
Gisely Rosa                                                                                                                          Sum Of Total time:   27.93         27.93       0.00              $10.00
Gisely Rosa       212SH162      Sunday, August 09, 2020        Monday, August 03, 2020         8/3/20 3:56 PM     8/3/20 10:16 PM                  6.33
Gisely Rosa       212SH162      Sunday, August 09, 2020        Tuesday, August 04, 2020        8/4/20 3:57 PM      8/4/20 9:39 PM                  5.70
Gisely Rosa       212SH162      Sunday, August 09, 2020       Thursday, August 06, 2020        8/6/20 4:08 PM      8/6/20 7:31 PM                  3.38
Gisely Rosa                                                                                                                          Sum Of Total time:   15.41         15.41       0.00              $10.00

Haley Melendez    212SH286      Sunday, August 21, 2022         Sunday, August 21, 2022      8/21/22 11:55 AM     8/21/22 5:26 PM                  5.52
Haley Melendez                                                                                                                       Sum Of Total time:   5.52          5.52        0.00              $10.00
Haley Melendez    212SH286      Sunday, August 28, 2022       Thursday, August 25, 2022       8/25/22 3:38 PM    8/25/22 11:12 PM                  7.57
Haley Melendez    212SH286      Sunday, August 28, 2022         Friday, August 26, 2022      8/26/22 11:38 AM    8/27/22 12:52 AM                13.23                                         1
Haley Melendez                                                                                                                       Sum Of Total time:   20.80         20.80       0.00              $10.00
Haley Melendez    212SH286   Sunday, September 04, 2022     Wednesday, August 31, 2022       8/31/22 12:01 PM    8/31/22 11:34 PM                11.55                                         1
Haley Melendez    212SH286   Sunday, September 04, 2022    Thursday, September 01, 2022       9/1/22 12:02 PM      9/1/22 5:55 PM                  5.88
Haley Melendez                                                                                                                       Sum Of Total time:   17.43         17.43       0.00              $10.00
Haley Melendez    212SH286   Sunday, September 11, 2022      Friday, September 09, 2022       9/9/22 11:38 AM      9/9/22 8:44 PM                  9.10
Haley Melendez    212SH286   Sunday, September 11, 2022    Saturday, September 10, 2022       9/10/22 3:59 PM    9/10/22 11:00 PM                  7.02
Haley Melendez                                                                                                                       Sum Of Total time:   16.12         16.12       0.00              $10.00
Haley Melendez    212SH286   Sunday, September 18, 2022    Thursday, September 15, 2022       9/15/22 4:06 PM    9/15/22 11:02 PM                  6.93
Haley Melendez                                                                                                                       Sum Of Total time:   6.93          6.93        0.00              $10.00
Haley Melendez    212SH286     Sunday, October 02, 2022    Thursday, September 29, 2022       9/29/22 4:04 PM    9/29/22 10:45 PM                  6.68
Haley Melendez    212SH286     Sunday, October 02, 2022      Friday, September 30, 2022      9/30/22 11:45 AM     9/30/22 4:16 PM                  4.52
Haley Melendez                                                                                                                       Sum Of Total time:   11.20         11.20       0.00              $10.00
Haley Melendez    212SH286     Sunday, October 09, 2022      Thursday, October 06, 2022       10/6/22 4:32 PM    10/6/22 11:21 PM                  6.82
Haley Melendez    212SH286     Sunday, October 09, 2022        Friday, October 07, 2022      10/7/22 12:23 PM     10/7/22 5:14 PM                  4.85
Haley Melendez                                                                                                                       Sum Of Total time:   11.67         11.67       0.00              $10.00
Haley Melendez    212SH286     Sunday, October 16, 2022    Wednesday, October 12, 2022 10/12/22 4:37 PM 10/12/22 10:21 PM                          5.73
Haley Melendez    212SH286     Sunday, October 16, 2022     Thursday, October 13, 2022 10/13/22 11:56 AM 10/13/22 5:19 PM                          5.38
Haley Melendez                                                                                                                       Sum Of Total time:   11.11         11.11       0.00              $10.00

Hector Conoz      212SH232      Sunday, August 08, 2021        Saturday, August 07, 2021       8/7/21 4:40 PM     8/7/21 10:00 PM                 5.33

                                                                                                 Page 15 of 94
              Case 1:22-cv-00518-JLR-RWL          Document 116-5             Filed 11/16/23          Page 16 of 94
                                          Exhibit 5 - Group 1 unpaid wages


                                                            Full                         Total tip       Total   Total
                     Bates                               minimum Hourly tip Overtime      credit      unpaid OT unpaid
       Name         number         Week-end date           wage       credit   premium    taken        premium   SOH
Damian Zabrodin    212SH284      Sunday, January 23, 2022 $15.00
Damian Zabrodin    212SH284      Sunday, January 23, 2022 $15.00
Damian Zabrodin                                            $15.00     $5.00      $7.50   $108.05        $0.00
                                                         Damian Zabrodin subtotal:       $254.10        $0.00    $0.00
Gisely Rosa        212SH162       Sunday, August 02, 2020 $15.00
Gisely Rosa        212SH162       Sunday, August 02, 2020 $15.00
Gisely Rosa        212SH162       Sunday, August 02, 2020 $15.00
Gisely Rosa        212SH162       Sunday, August 02, 2020 $15.00
Gisely Rosa        212SH162       Sunday, August 02, 2020 $15.00
Gisely Rosa                                                $15.00     $5.00      $7.50   $139.65        $0.00
Gisely Rosa        212SH162       Sunday, August 09, 2020 $15.00
Gisely Rosa        212SH162       Sunday, August 09, 2020 $15.00
Gisely Rosa        212SH162       Sunday, August 09, 2020 $15.00
Gisely Rosa                                                $15.00     $5.00      $7.50   $77.05         $0.00
                                                         Gisely Rosa subtotal:           $216.70        $0.00    $0.00
Haley Melendez     212SH286       Sunday, August 21, 2022 $15.00
Haley Melendez                                             $15.00     $5.00      $7.50    $27.60        $0.00
Haley Melendez     212SH286       Sunday, August 28, 2022 $15.00
Haley Melendez     212SH286       Sunday, August 28, 2022 $15.00                                                 $15.00
Haley Melendez                                             $15.00     $5.00      $7.50   $104.00        $0.00
Haley Melendez     212SH286   Sunday, September 04, 2022 $15.00                                                  $15.00
Haley Melendez     212SH286   Sunday, September 04, 2022 $15.00
Haley Melendez                                             $15.00     $5.00      $7.50    $87.15        $0.00
Haley Melendez     212SH286   Sunday, September 11, 2022 $15.00
Haley Melendez     212SH286   Sunday, September 11, 2022 $15.00
Haley Melendez                                             $15.00     $5.00      $7.50    $80.60        $0.00
Haley Melendez     212SH286   Sunday, September 18, 2022 $15.00
Haley Melendez                                             $15.00     $5.00      $7.50    $34.65        $0.00
Haley Melendez     212SH286     Sunday, October 02, 2022 $15.00
Haley Melendez     212SH286     Sunday, October 02, 2022 $15.00
Haley Melendez                                             $15.00     $5.00      $7.50    $56.00        $0.00
Haley Melendez     212SH286     Sunday, October 09, 2022 $15.00
Haley Melendez     212SH286     Sunday, October 09, 2022 $15.00
Haley Melendez                                             $15.00     $5.00      $7.50    $58.35        $0.00
Haley Melendez     212SH286     Sunday, October 16, 2022 $15.00
Haley Melendez     212SH286     Sunday, October 16, 2022 $15.00
Haley Melendez                                             $15.00     $5.00      $7.50   $55.55         $0.00
                                                         Haley Melendez subtotal:        $503.90        $0.00   $30.00
Hector Conoz       212SH232       Sunday, August 08, 2021 $15.00

                                                   Page 16 of 94
                                                  Case 1:22-cv-00518-JLR-RWL                Document 116-5             Filed 11/16/23       Page 17 of 94
                                                                                    Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                        Spread Tip credit
                 Bates                                                                                                                                                        Overtime of hours minimum
      Name      number        Week-end date                   Clock in date                 Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Hector Conoz                                                                                                                      Sum Of Total time:  5.33          5.33        0.00             $10.00
Hector Conoz   212SH232      Sunday, August 15, 2021        Tuesday, August 10, 2021     8/10/21 4:27 PM     8/10/21 11:59 PM                  7.53
Hector Conoz   212SH232      Sunday, August 15, 2021      Wednesday, August 11, 2021     8/11/21 3:41 PM     8/11/21 10:49 PM                  7.13
Hector Conoz   212SH232      Sunday, August 15, 2021       Thursday, August 12, 2021     8/12/21 4:36 PM     8/12/21 10:41 PM                  6.08
Hector Conoz   212SH232      Sunday, August 15, 2021          Friday, August 13, 2021    8/13/21 3:11 PM     8/13/21 11:33 PM                  8.37
Hector Conoz   212SH232      Sunday, August 15, 2021         Sunday, August 15, 2021     8/15/21 6:13 PM     8/15/21 11:13 PM                  5.00
Hector Conoz                                                                                                                     Sum Of Total time:   34.11         34.11       0.00              $10.00
Hector Conoz   212SH232      Sunday, August 22, 2021      Wednesday, August 18, 2021     8/18/21 3:45 PM     8/18/21 11:06 PM                  7.35
Hector Conoz   212SH232      Sunday, August 22, 2021       Thursday, August 19, 2021     8/19/21 4:30 PM     8/19/21 11:35 PM                  7.08
Hector Conoz   212SH232      Sunday, August 22, 2021          Friday, August 20, 2021    8/20/21 4:11 PM     8/20/21 11:57 PM                  7.77
Hector Conoz   212SH232      Sunday, August 22, 2021        Saturday, August 21, 2021    8/21/21 4:38 PM     8/21/21 11:29 PM                  6.85
Hector Conoz                                                                                                                     Sum Of Total time:   29.05         29.05       0.00              $10.00
Hector Conoz   212SH232      Sunday, August 29, 2021      Wednesday, August 25, 2021     8/25/21 3:26 PM     8/25/21 11:04 PM                  7.63
Hector Conoz   212SH232      Sunday, August 29, 2021       Thursday, August 26, 2021     8/26/21 4:22 PM     8/26/21 11:07 PM                  6.75
Hector Conoz   212SH232      Sunday, August 29, 2021          Friday, August 27, 2021    8/27/21 3:11 PM     8/27/21 11:35 PM                  8.40
Hector Conoz   212SH232      Sunday, August 29, 2021        Saturday, August 28, 2021    8/28/21 4:51 PM     8/28/21 11:24 PM                  6.55
Hector Conoz   212SH232      Sunday, August 29, 2021         Sunday, August 29, 2021     8/29/21 4:14 PM     8/29/21 10:54 PM                  6.67
Hector Conoz                                                                                                                     Sum Of Total time:   36.00         36.00       0.00              $10.00
Hector Conoz   212SH232   Sunday, September 05, 2021         Tuesday, August 31, 2021    8/31/21 3:32 PM     8/31/21 11:12 PM                  7.67
Hector Conoz   212SH232   Sunday, September 05, 2021   Wednesday, September 01, 2021      9/1/21 3:15 PM      9/1/21 11:31 PM                  8.27
Hector Conoz   212SH232   Sunday, September 05, 2021       Friday, September 03, 2021     9/3/21 3:48 PM      9/3/21 11:21 PM                  7.55
Hector Conoz   212SH232   Sunday, September 05, 2021     Saturday, September 04, 2021     9/4/21 3:42 PM      9/4/21 11:32 PM                  7.83
Hector Conoz                                                                                                                     Sum Of Total time:   31.32         31.32       0.00              $10.00
Hector Conoz   212SH232   Sunday, September 12, 2021      Tuesday, September 07, 2021     9/7/21 4:07 PM      9/7/21 11:05 PM                  6.97
Hector Conoz   212SH232   Sunday, September 12, 2021   Wednesday, September 08, 2021      9/8/21 3:05 PM      9/8/21 11:52 PM                  8.78
Hector Conoz   212SH232   Sunday, September 12, 2021        Friday, September 10, 2021   9/10/21 4:20 PM     9/10/21 11:09 PM                  6.82
Hector Conoz   212SH232   Sunday, September 12, 2021     Saturday, September 11, 2021    9/11/21 4:10 PM     9/11/21 11:33 PM                  7.38
Hector Conoz   212SH232   Sunday, September 12, 2021       Sunday, September 12, 2021    9/12/21 6:12 PM     9/12/21 11:51 PM                  5.65
Hector Conoz                                                                                                                     Sum Of Total time:   35.60         35.60       0.00              $10.00
Hector Conoz   212SH232   Sunday, September 19, 2021   Wednesday, September 15, 2021     9/15/21 5:22 PM      9/15/21 9:51 PM                  4.48
Hector Conoz   212SH232   Sunday, September 19, 2021        Friday, September 17, 2021   9/17/21 4:02 PM     9/18/21 12:00 AM                  7.97
Hector Conoz   212SH232   Sunday, September 19, 2021     Saturday, September 18, 2021    9/18/21 4:52 PM     9/18/21 11:38 PM                  6.77
Hector Conoz                                                                                                                     Sum Of Total time:   19.22         19.22       0.00              $10.00
Hector Conoz   212SH232   Sunday, September 26, 2021   Wednesday, September 22, 2021     9/22/21 4:02 PM     9/22/21 10:58 PM                  6.93
Hector Conoz   212SH232   Sunday, September 26, 2021    Thursday, September 23, 2021     9/23/21 3:58 PM     9/23/21 10:54 PM                  6.93
Hector Conoz   212SH232   Sunday, September 26, 2021        Friday, September 24, 2021   9/24/21 5:06 PM     9/24/21 11:46 PM                  6.67
Hector Conoz   212SH233   Sunday, September 26, 2021     Saturday, September 25, 2021    9/25/21 4:37 PM     9/26/21 12:11 AM                  7.57
Hector Conoz                                                                                                                     Sum Of Total time:   28.10         28.10       0.00              $10.00
Hector Conoz   212SH233     Sunday, October 03, 2021   Wednesday, September 29, 2021     9/29/21 5:21 PM     9/30/21 12:06 AM                  6.75

                                                                                             Page 17 of 94
          Case 1:22-cv-00518-JLR-RWL         Document 116-5             Filed 11/16/23        Page 18 of 94
                                     Exhibit 5 - Group 1 unpaid wages


                                                      Full                        Total tip       Total   Total
                 Bates                              minimum Hourly tip Overtime    credit      unpaid OT unpaid
      Name      number        Week-end date          wage    credit    premium     taken        premium   SOH
Hector Conoz                                         $15.00   $5.00      $7.50     $26.65         $0.00
Hector Conoz   212SH232      Sunday, August 15, 2021 $15.00
Hector Conoz   212SH232      Sunday, August 15, 2021 $15.00
Hector Conoz   212SH232      Sunday, August 15, 2021 $15.00
Hector Conoz   212SH232      Sunday, August 15, 2021 $15.00
Hector Conoz   212SH232      Sunday, August 15, 2021 $15.00
Hector Conoz                                         $15.00   $5.00      $7.50     $170.55       $0.00
Hector Conoz   212SH232      Sunday, August 22, 2021 $15.00
Hector Conoz   212SH232      Sunday, August 22, 2021 $15.00
Hector Conoz   212SH232      Sunday, August 22, 2021 $15.00
Hector Conoz   212SH232      Sunday, August 22, 2021 $15.00
Hector Conoz                                         $15.00   $5.00      $7.50     $145.25       $0.00
Hector Conoz   212SH232      Sunday, August 29, 2021 $15.00
Hector Conoz   212SH232      Sunday, August 29, 2021 $15.00
Hector Conoz   212SH232      Sunday, August 29, 2021 $15.00
Hector Conoz   212SH232      Sunday, August 29, 2021 $15.00
Hector Conoz   212SH232      Sunday, August 29, 2021 $15.00
Hector Conoz                                         $15.00   $5.00      $7.50     $180.00       $0.00
Hector Conoz   212SH232   Sunday, September 05, 2021 $15.00
Hector Conoz   212SH232   Sunday, September 05, 2021 $15.00
Hector Conoz   212SH232   Sunday, September 05, 2021 $15.00
Hector Conoz   212SH232   Sunday, September 05, 2021 $15.00
Hector Conoz                                         $15.00   $5.00      $7.50     $156.60       $0.00
Hector Conoz   212SH232   Sunday, September 12, 2021 $15.00
Hector Conoz   212SH232   Sunday, September 12, 2021 $15.00
Hector Conoz   212SH232   Sunday, September 12, 2021 $15.00
Hector Conoz   212SH232   Sunday, September 12, 2021 $15.00
Hector Conoz   212SH232   Sunday, September 12, 2021 $15.00
Hector Conoz                                         $15.00   $5.00      $7.50     $178.00       $0.00
Hector Conoz   212SH232   Sunday, September 19, 2021 $15.00
Hector Conoz   212SH232   Sunday, September 19, 2021 $15.00
Hector Conoz   212SH232   Sunday, September 19, 2021 $15.00
Hector Conoz                                         $15.00   $5.00      $7.50     $96.10        $0.00
Hector Conoz   212SH232   Sunday, September 26, 2021 $15.00
Hector Conoz   212SH232   Sunday, September 26, 2021 $15.00
Hector Conoz   212SH232   Sunday, September 26, 2021 $15.00
Hector Conoz   212SH233   Sunday, September 26, 2021 $15.00
Hector Conoz                                         $15.00   $5.00      $7.50     $140.50       $0.00
Hector Conoz   212SH233     Sunday, October 03, 2021 $15.00

                                              Page 18 of 94
                                                  Case 1:22-cv-00518-JLR-RWL                Document 116-5             Filed 11/16/23        Page 19 of 94
                                                                                    Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                         Spread Tip credit
                 Bates                                                                                                                                                         Overtime of hours minimum
      Name      number       Week-end date                   Clock in date                  Time in              Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Hector Conoz   212SH233     Sunday, October 03, 2021         Friday, October 01, 2021     10/1/21 3:54 PM     10/2/21 12:00 AM                  8.10
Hector Conoz   212SH233     Sunday, October 03, 2021       Saturday, October 02, 2021     10/2/21 4:10 PM     10/2/21 11:39 PM                  7.48
Hector Conoz                                                                                                                      Sum Of Total time:   22.33         22.33       0.00              $10.00
Hector Conoz   212SH233     Sunday, October 10, 2021     Wednesday, October 06, 2021      10/6/21 3:19 PM     10/6/21 11:45 PM                  8.43
Hector Conoz   212SH233     Sunday, October 10, 2021      Thursday, October 07, 2021      10/7/21 4:34 PM     10/7/21 11:39 PM                  7.08
Hector Conoz   212SH233     Sunday, October 10, 2021         Friday, October 08, 2021     10/8/21 4:45 PM     10/8/21 11:45 PM                  7.00
Hector Conoz   212SH233     Sunday, October 10, 2021       Saturday, October 09, 2021     10/9/21 5:03 PM     10/9/21 11:40 PM                  6.62
Hector Conoz                                                                                                                      Sum Of Total time:   29.13         29.13       0.00              $10.00
Hector Conoz   212SH233     Sunday, October 17, 2021     Wednesday, October 13, 2021     10/13/21 3:10 PM    10/13/21 11:52 PM                  8.70
Hector Conoz   212SH233     Sunday, October 17, 2021      Thursday, October 14, 2021     10/14/21 4:05 PM    10/14/21 11:05 PM                  7.00
Hector Conoz   212SH233     Sunday, October 17, 2021         Friday, October 15, 2021    10/15/21 3:25 PM    10/15/21 11:19 PM                  7.90
Hector Conoz   212SH233     Sunday, October 17, 2021       Saturday, October 16, 2021    10/16/21 4:36 PM    10/16/21 11:59 PM                  7.38
Hector Conoz                                                                                                                      Sum Of Total time:   30.98         30.98       0.00              $10.00
Hector Conoz   212SH233     Sunday, October 24, 2021     Wednesday, October 20, 2021     10/20/21 3:18 PM    10/20/21 11:16 PM                  7.97
Hector Conoz   212SH233     Sunday, October 24, 2021      Thursday, October 21, 2021     10/21/21 4:09 PM    10/22/21 12:08 AM                  7.98
Hector Conoz   212SH233     Sunday, October 24, 2021         Friday, October 22, 2021    10/22/21 3:38 PM    10/22/21 11:39 PM                  8.02
Hector Conoz   212SH233     Sunday, October 24, 2021       Saturday, October 23, 2021    10/23/21 4:31 PM    10/23/21 11:59 PM                  7.47
Hector Conoz                                                                                                                      Sum Of Total time:   31.44         31.44       0.00              $10.00
Hector Conoz   212SH233     Sunday, October 31, 2021     Wednesday, October 27, 2021     10/27/21 3:49 PM    10/28/21 12:01 AM                  8.20
Hector Conoz   212SH233     Sunday, October 31, 2021      Thursday, October 28, 2021     10/28/21 3:55 PM    10/29/21 12:07 AM                  8.20
Hector Conoz   212SH233     Sunday, October 31, 2021          Friday, October 29, 2021   10/29/21 4:14 PM    10/29/21 11:34 PM                  7.33
Hector Conoz   212SH233     Sunday, October 31, 2021       Saturday, October 30, 2021    10/30/21 4:50 PM    10/30/21 10:03 PM                  5.22
Hector Conoz                                                                                                                      Sum Of Total time:   28.95         28.95       0.00              $10.00
Hector Conoz   212SH233   Sunday, November 07, 2021       Monday, November 01, 2021       11/1/21 4:28 PM     11/1/21 10:41 PM                  6.22
Hector Conoz   212SH233   Sunday, November 07, 2021       Tuesday, November 02, 2021      11/2/21 3:53 PM     11/3/21 12:10 AM                  8.28
Hector Conoz   212SH233   Sunday, November 07, 2021    Wednesday, November 03, 2021       11/3/21 5:36 PM     11/3/21 11:35 PM                  5.98
Hector Conoz   212SH233   Sunday, November 07, 2021     Thursday, November 04, 2021       11/4/21 4:07 PM     11/5/21 12:06 AM                  7.98
Hector Conoz   212SH233   Sunday, November 07, 2021      Saturday, November 06, 2021      11/6/21 3:58 PM     11/7/21 12:50 AM                  8.87
Hector Conoz                                                                                                                      Sum Of Total time:   37.33         37.33       0.00              $10.00
Hector Conoz   212SH233   Sunday, November 14, 2021    Wednesday, November 10, 2021      11/10/21 3:41 PM 11/10/21 11:34 PM                     7.88
Hector Conoz   212SH233   Sunday, November 14, 2021        Friday, November 12, 2021     11/12/21 3:13 PM 11/13/21 12:30 AM                     9.28
Hector Conoz                                                                                                                      Sum Of Total time:   17.16         17.16       0.00              $10.00
Hector Conoz   212SH233   Sunday, November 21, 2021       Monday, November 15, 2021      11/15/21 3:38 PM    11/15/21 11:21 PM                  7.72
Hector Conoz   212SH233   Sunday, November 21, 2021    Wednesday, November 17, 2021      11/17/21 3:03 PM    11/17/21 11:20 PM                  8.28
Hector Conoz   212SH233   Sunday, November 21, 2021     Thursday, November 18, 2021      11/18/21 3:51 PM    11/18/21 11:57 PM                  8.10
Hector Conoz   212SH234   Sunday, November 21, 2021        Friday, November 19, 2021     11/19/21 5:02 PM    11/19/21 11:00 PM                  5.97
Hector Conoz   212SH234   Sunday, November 21, 2021      Saturday, November 20, 2021     11/20/21 4:51 PM    11/21/21 12:03 AM                  7.20
Hector Conoz                                                                                                                      Sum Of Total time:   37.27         37.27       0.00              $10.00
Hector Conoz   212SH234   Sunday, November 28, 2021    Wednesday, November 24, 2021      11/24/21 3:48 PM 11/24/21 11:36 PM                     7.80

                                                                                             Page 19 of 94
          Case 1:22-cv-00518-JLR-RWL         Document 116-5             Filed 11/16/23         Page 20 of 94
                                     Exhibit 5 - Group 1 unpaid wages


                                                       Full                        Total tip       Total   Total
                 Bates                               minimum Hourly tip Overtime    credit      unpaid OT unpaid
      Name      number        Week-end date           wage    credit    premium     taken        premium   SOH
Hector Conoz   212SH233     Sunday, October 03, 2021 $15.00
Hector Conoz   212SH233     Sunday, October 03, 2021 $15.00
Hector Conoz                                          $15.00   $5.00      $7.50    $111.65        $0.00
Hector Conoz   212SH233     Sunday, October 10, 2021 $15.00
Hector Conoz   212SH233     Sunday, October 10, 2021 $15.00
Hector Conoz   212SH233     Sunday, October 10, 2021 $15.00
Hector Conoz   212SH233     Sunday, October 10, 2021 $15.00
Hector Conoz                                          $15.00   $5.00      $7.50    $145.65        $0.00
Hector Conoz   212SH233     Sunday, October 17, 2021 $15.00
Hector Conoz   212SH233     Sunday, October 17, 2021 $15.00
Hector Conoz   212SH233     Sunday, October 17, 2021 $15.00
Hector Conoz   212SH233     Sunday, October 17, 2021 $15.00
Hector Conoz                                          $15.00   $5.00      $7.50    $154.90        $0.00
Hector Conoz   212SH233     Sunday, October 24, 2021  $15.00
Hector Conoz   212SH233     Sunday, October 24, 2021 $15.00
Hector Conoz   212SH233     Sunday, October 24, 2021 $15.00
Hector Conoz   212SH233     Sunday, October 24, 2021 $15.00
Hector Conoz                                          $15.00   $5.00      $7.50    $157.20        $0.00
Hector Conoz   212SH233     Sunday, October 31, 2021 $15.00
Hector Conoz   212SH233     Sunday, October 31, 2021 $15.00
Hector Conoz   212SH233     Sunday, October 31, 2021 $15.00
Hector Conoz   212SH233     Sunday, October 31, 2021 $15.00
Hector Conoz                                          $15.00   $5.00      $7.50    $144.75        $0.00
Hector Conoz   212SH233   Sunday, November 07, 2021 $15.00
Hector Conoz   212SH233   Sunday, November 07, 2021 $15.00
Hector Conoz   212SH233   Sunday, November 07, 2021 $15.00
Hector Conoz   212SH233   Sunday, November 07, 2021 $15.00
Hector Conoz   212SH233   Sunday, November 07, 2021 $15.00
Hector Conoz                                          $15.00   $5.00      $7.50    $186.65        $0.00
Hector Conoz   212SH233   Sunday, November 14, 2021 $15.00
Hector Conoz   212SH233   Sunday, November 14, 2021 $15.00
Hector Conoz                                          $15.00   $5.00      $7.50     $85.80        $0.00
Hector Conoz   212SH233   Sunday, November 21, 2021 $15.00
Hector Conoz   212SH233   Sunday, November 21, 2021 $15.00
Hector Conoz   212SH233   Sunday, November 21, 2021 $15.00
Hector Conoz   212SH234   Sunday, November 21, 2021 $15.00
Hector Conoz   212SH234   Sunday, November 21, 2021 $15.00
Hector Conoz                                          $15.00   $5.00      $7.50    $186.35        $0.00
Hector Conoz   212SH234   Sunday, November 28, 2021 $15.00

                                              Page 20 of 94
                                                  Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23        Page 21 of 94
                                                                                   Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                        Spread Tip credit
                 Bates                                                                                                                                                        Overtime of hours minimum
       Name     number       Week-end date                   Clock in date                 Time in              Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Hector Conoz   212SH234   Sunday, November 28, 2021      Thursday, November 25, 2021    11/25/21 3:54 PM 11/25/21 10:49 PM                     6.92
Hector Conoz   212SH234   Sunday, November 28, 2021        Friday, November 26, 2021    11/26/21 4:18 PM 11/26/21 11:21 PM                     7.05
Hector Conoz   212SH234   Sunday, November 28, 2021      Saturday, November 27, 2021    11/27/21 6:46 PM 11/27/21 11:54 PM                     5.13
Hector Conoz   212SH234   Sunday, November 28, 2021      Saturday, November 27, 2021    11/27/21 6:40 PM 11/27/21 6:41 PM                      0.02
Hector Conoz                                                                                                                     Sum Of Total time:   26.92         26.92       0.00              $10.00
Hector Conoz   212SH234   Sunday, December 05, 2021    Wednesday, December 01, 2021      12/1/21 3:41 PM     12/1/21 11:45 PM                  8.07
Hector Conoz   212SH234   Sunday, December 05, 2021     Thursday, December 02, 2021      12/2/21 3:34 PM     12/2/21 11:00 PM                  7.43
Hector Conoz   212SH234   Sunday, December 05, 2021      Saturday, December 04, 2021     12/4/21 4:25 PM     12/5/21 12:26 AM                  8.02
Hector Conoz   212SH234   Sunday, December 05, 2021       Sunday, December 05, 2021      12/5/21 4:42 PM     12/5/21 11:14 PM                  6.53
Hector Conoz                                                                                                                     Sum Of Total time:   30.05         30.05       0.00              $10.00
Hector Conoz   212SH234   Sunday, December 12, 2021    Wednesday, December 08, 2021    12/8/21 3:02 PM       12/8/21 11:23 PM                  8.35
Hector Conoz   212SH234   Sunday, December 12, 2021     Thursday, December 09, 2021    12/9/21 3:50 PM      12/10/21 12:00 AM                  8.17
Hector Conoz   212SH234   Sunday, December 12, 2021        Friday, December 10, 2021 12/10/21 4:07 PM       12/11/21 12:46 AM                  8.65
Hector Conoz   212SH234   Sunday, December 12, 2021      Saturday, December 11, 2021 12/11/21 12:42 PM      12/11/21 11:54 PM                11.20                                         1
Hector Conoz   212SH234   Sunday, December 12, 2021       Sunday, December 12, 2021 12/12/21 4:03 PM        12/12/21 11:49 PM                  7.77
Hector Conoz                                                                                                                     Sum Of Total time:   44.14         40.00       4.14              $10.00
Hector Conoz   212SH234   Sunday, December 19, 2021       Tuesday, December 14, 2021    12/14/21 3:06 PM    12/14/21 11:00 PM                  7.90
Hector Conoz   212SH234   Sunday, December 19, 2021    Wednesday, December 15, 2021     12/15/21 5:33 PM    12/15/21 11:46 PM                  6.22
Hector Conoz   212SH234   Sunday, December 19, 2021         Friday, December 17, 2021   12/17/21 3:54 PM    12/18/21 12:43 AM                  8.82
Hector Conoz   212SH234   Sunday, December 19, 2021      Saturday, December 18, 2021    12/18/21 4:40 PM    12/18/21 11:00 PM                  6.33
Hector Conoz                                                                                                                     Sum Of Total time:   29.27         29.27       0.00              $10.00
Hector Conoz   212SH234   Sunday, December 26, 2021    Wednesday, December 22, 2021     12/22/21 2:21 PM 12/22/21 11:07 PM                     8.77
Hector Conoz   212SH234   Sunday, December 26, 2021     Thursday, December 23, 2021     12/23/21 4:53 PM 12/24/21 12:01 AM                     7.13
Hector Conoz                                                                                                                     Sum Of Total time:   15.90         15.90       0.00              $10.00
Hector Conoz   212SH234     Sunday, January 02, 2022     Monday, December 27, 2021      12/27/21 2:17 PM    12/27/21 10:58 PM                  8.68
Hector Conoz   212SH234     Sunday, January 02, 2022     Tuesday, December 28, 2021     12/28/21 3:08 PM    12/28/21 11:38 PM                  8.50
Hector Conoz   212SH234     Sunday, January 02, 2022   Wednesday, December 29, 2021     12/29/21 4:58 PM    12/29/21 11:00 PM                  6.03
Hector Conoz   212SH234     Sunday, January 02, 2022    Thursday, December 30, 2021     12/30/21 5:02 PM    12/31/21 12:05 AM                  7.05
Hector Conoz   212SH234     Sunday, January 02, 2022       Friday, December 31, 2021    12/31/21 5:08 PM    12/31/21 11:30 PM                  6.37
Hector Conoz                                                                                                                     Sum Of Total time:   36.63         36.63       0.00              $10.00

Jake Willis    212SH199    Sunday, February 21, 2016    Wednesday, February 17, 2016     2/17/16 4:00 PM     2/17/16 10:40 PM                  6.67
Jake Willis    212SH199    Sunday, February 21, 2016     Thursday, February 18, 2016     2/18/16 4:00 PM     2/18/16 10:10 PM                  6.17
Jake Willis    212SH199    Sunday, February 21, 2016        Friday, February 19, 2016    2/19/16 4:00 PM     2/19/16 10:15 PM                  6.25
Jake Willis                                                                                                                      Sum Of Total time:   19.09         19.09       0.00              $7.50
Jake Willis    212SH199    Sunday, February 28, 2016       Monday, February 22, 2016     2/22/16 4:00 PM     2/22/16 10:00 PM                  6.00
Jake Willis    212SH199    Sunday, February 28, 2016      Thursday, February 25, 2016    2/25/16 4:00 PM     2/25/16 11:00 PM                  7.00
Jake Willis    212SH199    Sunday, February 28, 2016        Friday, February 26, 2016    2/26/16 4:00 PM     2/27/16 12:01 AM                  8.02
Jake Willis    212SH199    Sunday, February 28, 2016      Saturday, February 27, 2016   2/27/16 11:03 AM      2/27/16 4:22 PM                  5.32

                                                                                            Page 21 of 94
              Case 1:22-cv-00518-JLR-RWL         Document 116-5             Filed 11/16/23   Page 22 of 94
                                         Exhibit 5 - Group 1 unpaid wages


                                                            Full                      Total tip    Total   Total
                     Bates                               minimum Hourly tip Overtime    credit  unpaid OT unpaid
       Name         number       Week-end date             wage      credit   premium   taken    premium   SOH
Hector Conoz       212SH234   Sunday, November 28, 2021 $15.00
Hector Conoz       212SH234   Sunday, November 28, 2021 $15.00
Hector Conoz       212SH234   Sunday, November 28, 2021 $15.00
Hector Conoz       212SH234   Sunday, November 28, 2021 $15.00
Hector Conoz                                               $15.00    $5.00      $7.50  $134.60     $0.00
Hector Conoz       212SH234   Sunday, December 05, 2021 $15.00
Hector Conoz       212SH234   Sunday, December 05, 2021 $15.00
Hector Conoz       212SH234   Sunday, December 05, 2021 $15.00
Hector Conoz       212SH234   Sunday, December 05, 2021 $15.00
Hector Conoz                                               $15.00    $5.00      $7.50  $150.25     $0.00
Hector Conoz       212SH234   Sunday, December 12, 2021 $15.00
Hector Conoz       212SH234   Sunday, December 12, 2021 $15.00
Hector Conoz       212SH234   Sunday, December 12, 2021 $15.00
Hector Conoz       212SH234   Sunday, December 12, 2021 $15.00                                             $15.00
Hector Conoz       212SH234   Sunday, December 12, 2021 $15.00
Hector Conoz                                               $15.00    $5.00      $7.50  $220.70    $31.05
Hector Conoz       212SH234   Sunday, December 19, 2021 $15.00
Hector Conoz       212SH234   Sunday, December 19, 2021 $15.00
Hector Conoz       212SH234   Sunday, December 19, 2021 $15.00
Hector Conoz       212SH234   Sunday, December 19, 2021 $15.00
Hector Conoz                                               $15.00    $5.00      $7.50  $146.35     $0.00
Hector Conoz       212SH234   Sunday, December 26, 2021 $15.00
Hector Conoz       212SH234   Sunday, December 26, 2021 $15.00
Hector Conoz                                               $15.00    $5.00      $7.50  $79.50      $0.00
Hector Conoz       212SH234     Sunday, January 02, 2022   $15.00
Hector Conoz       212SH234     Sunday, January 02, 2022 $15.00
Hector Conoz       212SH234     Sunday, January 02, 2022 $15.00
Hector Conoz       212SH234     Sunday, January 02, 2022 $15.00
Hector Conoz       212SH234     Sunday, January 02, 2022 $15.00
Hector Conoz                                               $15.00    $5.00      $7.50  $183.15     $0.00
                                                         Hector Conoz subtotal:       $3,181.15   $31.05  $15.00
Jake Willis        212SH199    Sunday, February 21, 2016   $9.00
Jake Willis        212SH199    Sunday, February 21, 2016   $9.00
Jake Willis        212SH199    Sunday, February 21, 2016   $9.00
Jake Willis                                                $9.00     $1.50      $4.50  $28.64      $0.00
Jake Willis        212SH199    Sunday, February 28, 2016   $9.00
Jake Willis        212SH199    Sunday, February 28, 2016   $9.00
Jake Willis        212SH199    Sunday, February 28, 2016   $9.00
Jake Willis        212SH199    Sunday, February 28, 2016   $9.00

                                                  Page 22 of 94
                                                Case 1:22-cv-00518-JLR-RWL              Document 116-5             Filed 11/16/23       Page 23 of 94
                                                                                Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                    Spread Tip credit
                Bates                                                                                                                                                     Overtime of hours minimum
       Name    number      Week-end date                 Clock in date                  Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Jake Willis   212SH199   Sunday, February 28, 2016      Sunday, February 28, 2016    2/28/16 11:20 AM    2/28/16 10:26 PM                11.10                                         1
Jake Willis                                                                                                                  Sum Of Total time:   37.44         37.44       0.00              $7.50
Jake Willis   212SH199     Sunday, March 06, 2016        Tuesday, March 01, 2016       3/1/16 5:04 PM     3/1/16 11:25 PM                  6.35
Jake Willis   212SH199     Sunday, March 06, 2016       Thursday, March 03, 2016       3/3/16 4:07 PM     3/4/16 12:07 AM                  8.00
Jake Willis   212SH199     Sunday, March 06, 2016          Friday, March 04, 2016      3/4/16 4:08 PM     3/4/16 11:12 PM                  7.07
Jake Willis   212SH199     Sunday, March 06, 2016       Saturday, March 05, 2016       3/5/16 4:03 PM     3/5/16 10:36 PM                  6.55
Jake Willis   212SH199     Sunday, March 06, 2016         Sunday, March 06, 2016      3/6/16 11:26 AM      3/6/16 9:37 PM                10.18                                         1
Jake Willis                                                                                                                  Sum Of Total time:   38.15         38.15       0.00              $7.50
Jake Willis   212SH199     Sunday, March 13, 2016        Tuesday, March 08, 2016       3/8/16 4:14 PM     3/8/16 11:04 PM                  6.83
Jake Willis   212SH199     Sunday, March 13, 2016     Wednesday, March 09, 2016        3/9/16 4:00 PM     3/9/16 10:29 PM                  6.48
Jake Willis   212SH199     Sunday, March 13, 2016          Friday, March 11, 2016     3/11/16 3:58 PM    3/12/16 12:11 AM                  8.22
Jake Willis   212SH199     Sunday, March 13, 2016       Saturday, March 12, 2016      3/12/16 3:54 PM    3/12/16 10:01 PM                  6.12
Jake Willis   212SH199     Sunday, March 13, 2016         Sunday, March 13, 2016     3/13/16 11:24 AM    3/13/16 11:48 PM                12.40                                         1
Jake Willis                                                                                                                  Sum Of Total time:   40.05         40.00       0.05              $7.50
Jake Willis   212SH199     Sunday, March 20, 2016     Wednesday, March 16, 2016       3/16/16 3:55 PM    3/16/16 11:12 PM                  7.28
Jake Willis   212SH199     Sunday, March 20, 2016      Thursday, March 17, 2016       3/17/16 4:03 PM    3/17/16 10:55 PM                  6.87
Jake Willis   212SH199     Sunday, March 20, 2016         Friday, March 18, 2016      3/18/16 4:03 PM    3/18/16 11:07 PM                  7.07
Jake Willis   212SH199     Sunday, March 20, 2016       Saturday, March 19, 2016      3/19/16 4:11 PM    3/20/16 12:02 AM                  7.85
Jake Willis   212SH199     Sunday, March 20, 2016        Sunday, March 20, 2016      3/20/16 11:16 AM    3/20/16 10:59 PM                11.72                                         1
Jake Willis                                                                                                                  Sum Of Total time:   40.79         40.00       0.79              $7.50
Jake Willis   212SH199     Sunday, March 27, 2016     Wednesday, March 23, 2016       3/23/16 4:07 PM    3/23/16 11:36 PM                  7.48
Jake Willis   212SH200     Sunday, March 27, 2016      Thursday, March 24, 2016       3/24/16 2:54 PM    3/24/16 10:53 PM                  7.98
Jake Willis   212SH200     Sunday, March 27, 2016         Friday, March 25, 2016      3/25/16 5:45 PM    3/25/16 11:12 PM                  5.45
Jake Willis   212SH200     Sunday, March 27, 2016       Saturday, March 26, 2016      3/26/16 4:37 PM    3/26/16 11:05 PM                  6.47
Jake Willis   212SH200     Sunday, March 27, 2016        Sunday, March 27, 2016      3/27/16 11:19 AM    3/27/16 10:33 PM                11.23                                         1
Jake Willis                                                                                                                  Sum Of Total time:   38.61         38.61       0.00              $7.50
Jake Willis   212SH200      Sunday, April 03, 2016    Wednesday, March 30, 2016       3/30/16 4:00 PM    3/30/16 10:49 PM                  6.82
Jake Willis   212SH200      Sunday, April 03, 2016     Thursday, March 31, 2016       3/31/16 4:03 PM    3/31/16 10:45 PM                  6.70
Jake Willis   212SH200      Sunday, April 03, 2016       Saturday, April 02, 2016      4/2/16 3:58 PM     4/2/16 10:20 PM                  6.37
Jake Willis                                                                                                                  Sum Of Total time:   19.89         19.89       0.00              $7.50
Jake Willis   212SH200      Sunday, April 10, 2016      Wednesday, April 06, 2016      4/6/16 4:32 PM     4/6/16 10:48 PM                  6.27
Jake Willis   212SH200      Sunday, April 10, 2016       Thursday, April 07, 2016      4/7/16 4:08 PM     4/7/16 10:13 PM                  6.08
Jake Willis   212SH200      Sunday, April 10, 2016          Friday, April 08, 2016     4/8/16 3:31 PM      4/8/16 7:24 PM                  3.88
Jake Willis   212SH200      Sunday, April 10, 2016        Saturday, April 09, 2016    4/9/16 12:42 PM      4/9/16 2:36 PM                  1.90
Jake Willis   212SH200      Sunday, April 10, 2016        Saturday, April 09, 2016     4/9/16 4:10 PM    4/10/16 12:23 AM                  8.22
Jake Willis   212SH200      Sunday, April 10, 2016         Sunday, April 10, 2016     4/10/16 3:09 PM     4/10/16 9:13 PM                  6.07
Jake Willis                                                                                                                  Sum Of Total time:   32.42         32.42       0.00              $7.50
Jake Willis   212SH200      Sunday, April 17, 2016         Monday, April 11, 2016     4/11/16 4:04 PM     4/11/16 7:10 PM                  3.10
Jake Willis   212SH200      Sunday, April 17, 2016        Thursday, April 14, 2016    4/14/16 3:24 PM    4/14/16 10:53 PM                  7.48

                                                                                         Page 23 of 94
              Case 1:22-cv-00518-JLR-RWL        Document 116-5             Filed 11/16/23         Page 24 of 94
                                        Exhibit 5 - Group 1 unpaid wages


                                                          Full                        Total tip       Total   Total
                     Bates                              minimum Hourly tip Overtime    credit      unpaid OT unpaid
       Name         number      Week-end date            wage    credit    premium     taken        premium   SOH
Jake Willis        212SH199   Sunday, February 28, 2016  $9.00                                                 $9.00
Jake Willis                                              $9.00    $1.50      $4.50     $56.16         $0.00
Jake Willis        212SH199     Sunday, March 06, 2016   $9.00
Jake Willis        212SH199     Sunday, March 06, 2016   $9.00
Jake Willis        212SH199     Sunday, March 06, 2016   $9.00
Jake Willis        212SH199     Sunday, March 06, 2016   $9.00
Jake Willis        212SH199     Sunday, March 06, 2016   $9.00                                                 $9.00
Jake Willis                                              $9.00    $1.50      $4.50     $57.23        $0.00
Jake Willis        212SH199     Sunday, March 13, 2016   $9.00
Jake Willis        212SH199     Sunday, March 13, 2016   $9.00
Jake Willis        212SH199     Sunday, March 13, 2016   $9.00
Jake Willis        212SH199     Sunday, March 13, 2016   $9.00
Jake Willis        212SH199     Sunday, March 13, 2016   $9.00                                                 $9.00
Jake Willis                                              $9.00    $1.50      $4.50     $60.08        $0.23
Jake Willis        212SH199     Sunday, March 20, 2016   $9.00
Jake Willis        212SH199     Sunday, March 20, 2016   $9.00
Jake Willis        212SH199     Sunday, March 20, 2016   $9.00
Jake Willis        212SH199     Sunday, March 20, 2016   $9.00
Jake Willis        212SH199     Sunday, March 20, 2016   $9.00                                                 $9.00
Jake Willis                                              $9.00    $1.50      $4.50     $61.19        $3.56
Jake Willis        212SH199     Sunday, March 27, 2016   $9.00
Jake Willis        212SH200     Sunday, March 27, 2016   $9.00
Jake Willis        212SH200     Sunday, March 27, 2016   $9.00
Jake Willis        212SH200     Sunday, March 27, 2016   $9.00
Jake Willis        212SH200     Sunday, March 27, 2016   $9.00                                                 $9.00
Jake Willis                                              $9.00    $1.50      $4.50     $57.92        $0.00
Jake Willis        212SH200      Sunday, April 03, 2016  $9.00
Jake Willis        212SH200      Sunday, April 03, 2016  $9.00
Jake Willis        212SH200      Sunday, April 03, 2016  $9.00
Jake Willis                                              $9.00    $1.50      $4.50     $29.84        $0.00
Jake Willis        212SH200      Sunday, April 10, 2016  $9.00
Jake Willis        212SH200      Sunday, April 10, 2016  $9.00
Jake Willis        212SH200      Sunday, April 10, 2016  $9.00
Jake Willis        212SH200      Sunday, April 10, 2016  $9.00
Jake Willis        212SH200      Sunday, April 10, 2016  $9.00
Jake Willis        212SH200      Sunday, April 10, 2016  $9.00
Jake Willis                                              $9.00    $1.50      $4.50     $48.63        $0.00
Jake Willis        212SH200      Sunday, April 17, 2016  $9.00
Jake Willis        212SH200      Sunday, April 17, 2016  $9.00

                                                 Page 24 of 94
                                              Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23       Page 25 of 94
                                                                               Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                   Spread Tip credit
                Bates                                                                                                                                                    Overtime of hours minimum
       Name    number    Week-end date                 Clock in date                   Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Jake Willis   212SH200    Sunday, April 17, 2016          Friday, April 15, 2016     4/15/16 4:16 PM    4/15/16 11:11 PM                  6.92
Jake Willis   212SH200    Sunday, April 17, 2016        Saturday, April 16, 2016     4/16/16 4:03 PM    4/16/16 11:59 PM                  7.93
Jake Willis                                                                                                                 Sum Of Total time:   25.43         25.43       0.00              $7.50
Jake Willis   212SH200    Sunday, April 24, 2016        Thursday, April 21, 2016     4/21/16 4:32 PM    4/22/16 12:23 AM                  7.85
Jake Willis   212SH200    Sunday, April 24, 2016           Friday, April 22, 2016    4/22/16 5:19 PM    4/23/16 12:02 AM                  6.72
Jake Willis   212SH200    Sunday, April 24, 2016        Saturday, April 23, 2016     4/23/16 3:59 PM    4/23/16 11:10 PM                  7.18
Jake Willis   212SH200    Sunday, April 24, 2016          Sunday, April 24, 2016    4/24/16 11:07 AM     4/24/16 1:46 PM                  2.65
Jake Willis                                                                                                                 Sum Of Total time:   24.40         24.40       0.00              $7.50
Jake Willis   212SH200    Sunday, May 01, 2016        Wednesday, April 27, 2016      4/27/16 4:01 PM    4/27/16 11:24 PM                  7.38
Jake Willis   212SH200    Sunday, May 01, 2016             Friday, April 29, 2016    4/29/16 3:22 PM    4/29/16 11:33 PM                  8.18
Jake Willis   212SH200    Sunday, May 01, 2016          Saturday, April 30, 2016     4/30/16 4:00 PM    4/30/16 10:50 PM                  6.83
Jake Willis                                                                                                                 Sum Of Total time:   22.39         22.39       0.00              $7.50
Jake Willis   212SH200    Sunday, May 08, 2016            Monday, May 02, 2016        5/2/16 4:05 PM     5/2/16 10:26 PM                  6.35
Jake Willis   212SH200    Sunday, May 08, 2016            Tuesday, May 03, 2016       5/3/16 4:52 PM     5/3/16 10:00 PM                  5.13
Jake Willis   212SH200    Sunday, May 08, 2016              Friday, May 06, 2016      5/6/16 6:33 PM     5/6/16 11:26 PM                  4.88
Jake Willis   212SH200    Sunday, May 08, 2016           Saturday, May 07, 2016       5/7/16 4:41 PM     5/7/16 11:29 PM                  6.80
Jake Willis   212SH200    Sunday, May 08, 2016             Sunday, May 08, 2016       5/8/16 4:41 PM      5/8/16 5:36 PM                  0.92
Jake Willis                                                                                                                 Sum Of Total time:   24.08         24.08       0.00              $7.50
Jake Willis   212SH200    Sunday, May 15, 2016           Monday, May 09, 2016         5/9/16 4:02 PM     5/9/16 11:21 PM                  7.32
Jake Willis   212SH201    Sunday, May 15, 2016          Thursday, May 12, 2016       5/12/16 3:52 PM     5/12/16 9:38 PM                  5.77
Jake Willis   212SH201    Sunday, May 15, 2016            Friday, May 13, 2016       5/13/16 4:12 PM    5/13/16 11:13 PM                  7.02
Jake Willis   212SH201    Sunday, May 15, 2016          Saturday, May 14, 2016       5/14/16 4:25 PM    5/14/16 11:13 PM                  6.80
Jake Willis                                                                                                                 Sum Of Total time:   26.91         26.91       0.00              $7.50
Jake Willis   212SH201    Sunday, May 22, 2016          Monday, May 16, 2016         5/16/16 4:00 PM    5/16/16 11:32 PM                  7.53
Jake Willis   212SH201    Sunday, May 22, 2016          Tuesday, May 17, 2016        5/17/16 4:01 PM    5/17/16 10:36 PM                  6.58
Jake Willis   212SH201    Sunday, May 22, 2016        Wednesday, May 18, 2016        5/18/16 4:00 PM    5/18/16 10:30 PM                  6.50
Jake Willis   212SH201    Sunday, May 22, 2016            Friday, May 20, 2016       5/20/16 4:36 PM    5/20/16 11:56 PM                  7.33
Jake Willis                                                                                                                 Sum Of Total time:   27.94         27.94       0.00              $7.50
Jake Willis   212SH201    Sunday, May 29, 2016           Monday, May 23, 2016        5/23/16 4:03 PM    5/23/16 10:37 PM                  6.57
Jake Willis   212SH201    Sunday, May 29, 2016           Tuesday, May 24, 2016       5/24/16 4:00 PM     5/24/16 9:54 PM                  5.90
Jake Willis                                                                                                                 Sum Of Total time:   12.47         12.47       0.00              $7.50
Jake Willis   212SH201    Sunday, June 05, 2016          Tuesday, May 31, 2016       5/31/16 4:26 PM    5/31/16 10:42 PM                  6.27
Jake Willis   212SH201    Sunday, June 05, 2016       Wednesday, June 01, 2016        6/1/16 4:00 PM     6/1/16 10:13 PM                  6.22
Jake Willis   212SH201    Sunday, June 05, 2016            Friday, June 03, 2016      6/3/16 4:00 PM     6/3/16 10:26 PM                  6.43
Jake Willis   212SH201    Sunday, June 05, 2016         Saturday, June 04, 2016       6/4/16 3:58 PM     6/4/16 10:50 PM                  6.87
Jake Willis                                                                                                                 Sum Of Total time:   25.79         25.79       0.00              $7.50
Jake Willis   212SH201    Sunday, June 12, 2016       Wednesday, June 08, 2016        6/8/16 3:58 PM     6/8/16 10:51 PM                  6.88
Jake Willis   212SH201    Sunday, June 12, 2016           Friday, June 10, 2016      6/10/16 4:02 PM    6/10/16 11:34 PM                  7.53
Jake Willis   212SH201    Sunday, June 12, 2016         Saturday, June 11, 2016      6/11/16 4:00 PM    6/11/16 10:38 PM                  6.63

                                                                                        Page 25 of 94
              Case 1:22-cv-00518-JLR-RWL       Document 116-5             Filed 11/16/23          Page 26 of 94
                                       Exhibit 5 - Group 1 unpaid wages


                                                          Full                        Total tip       Total   Total
                     Bates                              minimum Hourly tip Overtime    credit      unpaid OT unpaid
       Name         number      Week-end date            wage    credit    premium     taken        premium   SOH
Jake Willis        212SH200      Sunday, April 17, 2016  $9.00
Jake Willis        212SH200      Sunday, April 17, 2016  $9.00
Jake Willis                                              $9.00    $1.50      $4.50     $38.15        $0.00
Jake Willis        212SH200      Sunday, April 24, 2016  $9.00
Jake Willis        212SH200      Sunday, April 24, 2016  $9.00
Jake Willis        212SH200      Sunday, April 24, 2016  $9.00
Jake Willis        212SH200      Sunday, April 24, 2016  $9.00
Jake Willis                                              $9.00    $1.50      $4.50     $36.60        $0.00
Jake Willis        212SH200      Sunday, May 01, 2016    $9.00
Jake Willis        212SH200      Sunday, May 01, 2016    $9.00
Jake Willis        212SH200      Sunday, May 01, 2016    $9.00
Jake Willis                                              $9.00    $1.50      $4.50     $33.59        $0.00
Jake Willis        212SH200      Sunday, May 08, 2016    $9.00
Jake Willis        212SH200      Sunday, May 08, 2016    $9.00
Jake Willis        212SH200      Sunday, May 08, 2016    $9.00
Jake Willis        212SH200      Sunday, May 08, 2016    $9.00
Jake Willis        212SH200      Sunday, May 08, 2016    $9.00
Jake Willis                                              $9.00    $1.50      $4.50     $36.12        $0.00
Jake Willis        212SH200      Sunday, May 15, 2016    $9.00
Jake Willis        212SH201      Sunday, May 15, 2016    $9.00
Jake Willis        212SH201      Sunday, May 15, 2016    $9.00
Jake Willis        212SH201      Sunday, May 15, 2016    $9.00
Jake Willis                                              $9.00    $1.50      $4.50     $40.37        $0.00
Jake Willis        212SH201      Sunday, May 22, 2016    $9.00
Jake Willis        212SH201      Sunday, May 22, 2016    $9.00
Jake Willis        212SH201      Sunday, May 22, 2016    $9.00
Jake Willis        212SH201      Sunday, May 22, 2016    $9.00
Jake Willis                                              $9.00    $1.50      $4.50     $41.91        $0.00
Jake Willis        212SH201      Sunday, May 29, 2016    $9.00
Jake Willis        212SH201      Sunday, May 29, 2016    $9.00
Jake Willis                                              $9.00    $1.50      $4.50     $18.71        $0.00
Jake Willis        212SH201      Sunday, June 05, 2016   $9.00
Jake Willis        212SH201      Sunday, June 05, 2016   $9.00
Jake Willis        212SH201      Sunday, June 05, 2016   $9.00
Jake Willis        212SH201      Sunday, June 05, 2016   $9.00
Jake Willis                                              $9.00    $1.50      $4.50     $38.69        $0.00
Jake Willis        212SH201      Sunday, June 12, 2016   $9.00
Jake Willis        212SH201      Sunday, June 12, 2016   $9.00
Jake Willis        212SH201      Sunday, June 12, 2016   $9.00

                                                Page 26 of 94
                                              Case 1:22-cv-00518-JLR-RWL              Document 116-5             Filed 11/16/23       Page 27 of 94
                                                                              Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                  Spread Tip credit
                Bates                                                                                                                                                   Overtime of hours minimum
       Name    number    Week-end date                 Clock in date                  Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Jake Willis   212SH201    Sunday, June 12, 2016           Sunday, June 12, 2016     6/12/16 3:58 PM    6/12/16 10:16 PM                  6.30
Jake Willis                                                                                                                Sum Of Total time:   27.34         27.34       0.00              $7.50
Jake Willis   212SH201    Sunday, June 19, 2016          Monday, June 13, 2016      6/13/16 5:37 PM    6/13/16 10:25 PM                  4.80
Jake Willis   212SH201    Sunday, June 19, 2016          Tuesday, June 14, 2016     6/14/16 4:15 PM    6/14/16 11:01 PM                  6.77
Jake Willis   212SH201    Sunday, June 19, 2016       Wednesday, June 15, 2016      6/15/16 3:59 PM     6/15/16 9:22 PM                  5.38
Jake Willis   212SH201    Sunday, June 19, 2016        Thursday, June 16, 2016      6/16/16 2:15 PM    6/16/16 10:30 PM                  8.25
Jake Willis   212SH201    Sunday, June 19, 2016            Friday, June 17, 2016    6/17/16 4:01 PM    6/18/16 12:31 AM                  8.50
Jake Willis   212SH201    Sunday, June 19, 2016         Saturday, June 18, 2016     6/18/16 4:04 PM    6/18/16 10:56 PM                  6.87
Jake Willis                                                                                                                Sum Of Total time:   40.57         40.00       0.57              $7.50
Jake Willis   212SH201     Sunday, July 17, 2016         Monday, July 11, 2016      7/11/16 3:50 PM    7/11/16 10:02 PM                  6.20
Jake Willis   212SH201     Sunday, July 17, 2016      Wednesday, July 13, 2016      7/13/16 5:23 PM     7/13/16 9:53 PM                  4.50
Jake Willis   212SH201     Sunday, July 17, 2016       Thursday, July 14, 2016      7/14/16 3:57 PM    7/14/16 10:43 PM                  6.77
Jake Willis   212SH201     Sunday, July 17, 2016           Friday, July 15, 2016    7/15/16 4:00 PM    7/15/16 10:20 PM                  6.33
Jake Willis   212SH201     Sunday, July 17, 2016        Saturday, July 16, 2016     7/16/16 4:00 PM    7/16/16 11:50 PM                  7.83
Jake Willis   212SH201     Sunday, July 17, 2016         Sunday, July 17, 2016      7/17/16 3:59 PM    7/17/16 10:50 PM                  6.85
Jake Willis                                                                                                                Sum Of Total time:   38.48         38.48       0.00              $7.50
Jake Willis   212SH201     Sunday, July 24, 2016      Wednesday, July 20, 2016      7/20/16 3:55 PM    7/20/16 11:13 PM                  7.30
Jake Willis   212SH202     Sunday, July 24, 2016       Thursday, July 21, 2016      7/21/16 3:56 PM    7/21/16 11:23 PM                  7.45
Jake Willis   212SH202     Sunday, July 24, 2016          Friday, July 22, 2016    7/22/16 11:03 AM     7/22/16 9:39 PM                10.60                                         1
Jake Willis   212SH202     Sunday, July 24, 2016        Saturday, July 23, 2016    7/23/16 10:54 AM    7/23/16 10:25 PM                11.52                                         1
Jake Willis   212SH202     Sunday, July 24, 2016         Sunday, July 24, 2016      7/24/16 9:31 PM     7/24/16 9:41 PM                  0.17
Jake Willis   212SH202     Sunday, July 24, 2016         Sunday, July 24, 2016      7/24/16 4:06 PM     7/24/16 9:26 PM                  5.33
Jake Willis                                                                                                                Sum Of Total time:   42.37         40.00       2.37              $7.50
Jake Willis   212SH202     Sunday, July 31, 2016        Monday, July 25, 2016       7/25/16 4:03 PM    7/25/16 11:16 PM                  7.22
Jake Willis   212SH202     Sunday, July 31, 2016        Tuesday, July 26, 2016      7/26/16 4:00 PM    7/26/16 10:22 PM                  6.37
Jake Willis   212SH202     Sunday, July 31, 2016      Wednesday, July 27, 2016      7/27/16 4:01 PM    7/27/16 10:00 PM                  5.98
Jake Willis                                                                                                                Sum Of Total time:   19.57         19.57       0.00              $7.50

Jamie Tovar   212SH149   Sunday, March 25, 2018        Saturday, March 24, 2018     3/24/18 4:00 PM    3/24/18 11:00 PM                  7.00
Jamie Tovar                                                                                                                Sum Of Total time:   7.00          7.00        0.00              $8.65
Jamie Tovar   212SH149    Sunday, April 01, 2018        Monday, March 26, 2018      3/26/18 4:00 PM    3/26/18 11:20 PM                  7.33
Jamie Tovar   212SH149    Sunday, April 01, 2018        Tuesday, March 27, 2018     3/27/18 3:00 PM    3/27/18 10:20 PM                  7.33
Jamie Tovar   212SH149    Sunday, April 01, 2018          Friday, March 30, 2018    3/30/18 4:00 PM    3/30/18 11:15 PM                  7.25
Jamie Tovar   212SH149    Sunday, April 01, 2018       Saturday, March 31, 2018     3/31/18 4:00 PM    3/31/18 11:14 PM                  7.23
Jamie Tovar                                                                                                                Sum Of Total time:   29.14         29.14       0.00              $8.65
Jamie Tovar   212SH149    Sunday, April 08, 2018        Monday, April 02, 2018       4/2/18 4:01 PM     4/2/18 11:44 PM                  7.72
Jamie Tovar   212SH149    Sunday, April 08, 2018      Wednesday, April 04, 2018      4/4/18 4:05 PM     4/4/18 11:47 PM                  7.70
Jamie Tovar   212SH149    Sunday, April 08, 2018       Thursday, April 05, 2018      4/5/18 4:04 PM     4/5/18 10:42 PM                  6.63
Jamie Tovar   212SH149    Sunday, April 08, 2018          Friday, April 06, 2018     4/6/18 3:50 PM     4/6/18 10:38 PM                  6.80

                                                                                       Page 27 of 94
              Case 1:22-cv-00518-JLR-RWL       Document 116-5             Filed 11/16/23            Page 28 of 94
                                       Exhibit 5 - Group 1 unpaid wages


                                                           Full                         Total tip       Total   Total
                     Bates                               minimum Hourly tip Overtime     credit      unpaid OT unpaid
       Name         number     Week-end date              wage        credit  premium    taken        premium   SOH
Jake Willis        212SH201      Sunday, June 12, 2016    $9.00
Jake Willis                                               $9.00       $1.50     $4.50    $41.01        $0.00
Jake Willis        212SH201      Sunday, June 19, 2016    $9.00
Jake Willis        212SH201      Sunday, June 19, 2016    $9.00
Jake Willis        212SH201      Sunday, June 19, 2016    $9.00
Jake Willis        212SH201      Sunday, June 19, 2016    $9.00
Jake Willis        212SH201      Sunday, June 19, 2016    $9.00
Jake Willis        212SH201      Sunday, June 19, 2016    $9.00
Jake Willis                                               $9.00       $1.50     $4.50    $60.86        $2.57
Jake Willis        212SH201       Sunday, July 17, 2016   $9.00
Jake Willis        212SH201       Sunday, July 17, 2016   $9.00
Jake Willis        212SH201       Sunday, July 17, 2016   $9.00
Jake Willis        212SH201       Sunday, July 17, 2016   $9.00
Jake Willis        212SH201       Sunday, July 17, 2016   $9.00
Jake Willis        212SH201       Sunday, July 17, 2016   $9.00
Jake Willis                                               $9.00       $1.50     $4.50    $57.72        $0.00
Jake Willis        212SH201       Sunday, July 24, 2016   $9.00
Jake Willis        212SH202       Sunday, July 24, 2016   $9.00
Jake Willis        212SH202       Sunday, July 24, 2016   $9.00                                                  $9.00
Jake Willis        212SH202       Sunday, July 24, 2016   $9.00                                                  $9.00
Jake Willis        212SH202       Sunday, July 24, 2016   $9.00
Jake Willis        212SH202       Sunday, July 24, 2016   $9.00
Jake Willis                                               $9.00       $1.50     $4.50    $63.56        $10.67
Jake Willis        212SH202       Sunday, July 31, 2016   $9.00
Jake Willis        212SH202       Sunday, July 31, 2016   $9.00
Jake Willis        212SH202       Sunday, July 31, 2016   $9.00
Jake Willis                                               $9.00       $1.50     $4.50   $29.36         $0.00
                                                        Jake Willis subtotal:           $936.27        $17.01   $63.00
Jamie Tovar        212SH149    Sunday, March 25, 2018 $13.00
Jamie Tovar                                               $13.00      $4.35     $6.50    $30.45        $0.00
Jamie Tovar        212SH149     Sunday, April 01, 2018 $13.00
Jamie Tovar        212SH149     Sunday, April 01, 2018 $13.00
Jamie Tovar        212SH149     Sunday, April 01, 2018 $13.00
Jamie Tovar        212SH149     Sunday, April 01, 2018 $13.00
Jamie Tovar                                               $13.00      $4.35     $6.50   $126.76        $0.00
Jamie Tovar        212SH149     Sunday, April 08, 2018    $13.00
Jamie Tovar        212SH149     Sunday, April 08, 2018 $13.00
Jamie Tovar        212SH149     Sunday, April 08, 2018 $13.00
Jamie Tovar        212SH149      Sunday, April 08, 2018 $13.00

                                                Page 28 of 94
                                              Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23       Page 29 of 94
                                                                               Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                   Spread Tip credit
                Bates                                                                                                                                                    Overtime of hours minimum
      Name     number    Week-end date                 Clock in date                   Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Jamie Tovar   212SH150    Sunday, April 08, 2018        Saturday, April 07, 2018      4/7/18 4:28 PM     4/7/18 11:54 PM                  7.43
Jamie Tovar   212SH150    Sunday, April 08, 2018         Sunday, April 08, 2018       4/8/18 4:02 PM     4/8/18 10:52 PM                  6.83
Jamie Tovar                                                                                                                 Sum Of Total time:   43.11         40.00       3.11              $8.65
Jamie Tovar   212SH150    Sunday, April 15, 2018         Tuesday, April 10, 2018     4/10/18 4:00 PM    4/10/18 10:51 PM                  6.85
Jamie Tovar   212SH150    Sunday, April 15, 2018      Wednesday, April 11, 2018      4/11/18 4:01 PM    4/11/18 10:00 PM                  5.98
Jamie Tovar   212SH150    Sunday, April 15, 2018       Thursday, April 12, 2018      4/12/18 3:54 PM    4/12/18 10:38 PM                  6.73
Jamie Tovar   212SH150    Sunday, April 15, 2018           Friday, April 13, 2018    4/13/18 3:56 PM    4/13/18 11:23 PM                  7.45
Jamie Tovar   212SH150    Sunday, April 15, 2018        Saturday, April 14, 2018     4/14/18 4:11 PM    4/14/18 11:01 PM                  6.83
Jamie Tovar                                                                                                                 Sum Of Total time:   33.84         33.84       0.00              $8.65
Jamie Tovar   212SH150    Sunday, April 22, 2018      Wednesday, April 18, 2018      4/18/18 4:04 PM    4/18/18 10:55 PM                  6.85
Jamie Tovar   212SH150    Sunday, April 22, 2018       Thursday, April 19, 2018      4/19/18 3:58 PM    4/19/18 11:39 PM                  7.68
Jamie Tovar   212SH150    Sunday, April 22, 2018          Friday, April 20, 2018     4/20/18 3:54 PM    4/20/18 10:50 PM                  6.93
Jamie Tovar   212SH150    Sunday, April 22, 2018        Saturday, April 21, 2018     4/21/18 4:05 PM    4/21/18 11:59 PM                  7.90
Jamie Tovar                                                                                                                 Sum Of Total time:   29.36         29.36       0.00              $8.65
Jamie Tovar   212SH150    Sunday, April 29, 2018      Wednesday, April 25, 2018     4/25/18 11:05 AM     4/25/18 3:06 PM                  4.02
Jamie Tovar   212SH150    Sunday, April 29, 2018          Friday, April 27, 2018     4/27/18 4:05 PM    4/27/18 11:14 PM                  7.15
Jamie Tovar   212SH150    Sunday, April 29, 2018        Saturday, April 28, 2018     4/28/18 4:03 PM    4/28/18 11:41 PM                  7.63
Jamie Tovar   212SH150    Sunday, April 29, 2018         Sunday, April 29, 2018      4/29/18 4:00 PM    4/29/18 10:25 PM                  6.42
Jamie Tovar   212SH150    Sunday, April 29, 2018         Sunday, April 29, 2018     4/29/18 10:43 PM    4/29/18 10:43 PM                  0.00
Jamie Tovar                                                                                                                 Sum Of Total time:   25.22         25.22       0.00              $8.65
Jamie Tovar   212SH150    Sunday, May 06, 2018           Monday, April 30, 2018      4/30/18 4:02 PM    4/30/18 10:20 PM                  6.30
Jamie Tovar   212SH150    Sunday, May 06, 2018           Tuesday, May 01, 2018        5/1/18 3:58 PM     5/1/18 11:12 PM                  7.23
Jamie Tovar   212SH150    Sunday, May 06, 2018          Thursday, May 03, 2018        5/3/18 3:49 PM      5/3/18 9:16 PM                  5.45
Jamie Tovar   212SH150    Sunday, May 06, 2018             Friday, May 04, 2018       5/4/18 4:00 PM     5/4/18 10:09 PM                  6.15
Jamie Tovar   212SH150    Sunday, May 06, 2018          Saturday, May 05, 2018        5/5/18 4:36 PM     5/5/18 10:05 PM                  5.48
Jamie Tovar                                                                                                                 Sum Of Total time:   30.61         30.61       0.00              $8.65
Jamie Tovar   212SH150    Sunday, May 13, 2018           Tuesday, May 08, 2018        5/8/18 3:52 PM     5/8/18 10:01 PM                  6.15
Jamie Tovar   212SH150    Sunday, May 13, 2018        Wednesday, May 09, 2018         5/9/18 3:56 PM     5/9/18 10:57 PM                  7.02
Jamie Tovar   212SH150    Sunday, May 13, 2018             Friday, May 11, 2018      5/11/18 4:02 PM    5/11/18 10:43 PM                  6.68
Jamie Tovar   212SH150    Sunday, May 13, 2018          Saturday, May 12, 2018       5/12/18 4:03 PM    5/12/18 11:05 PM                  7.03
Jamie Tovar                                                                                                                 Sum Of Total time:   26.88         26.88       0.00              $8.65
Jamie Tovar   212SH150    Sunday, May 20, 2018          Tuesday, May 15, 2018        5/15/18 4:10 PM    5/15/18 11:18 PM                  7.13
Jamie Tovar   212SH150    Sunday, May 20, 2018        Wednesday, May 16, 2018        5/16/18 3:57 PM    5/17/18 12:23 AM                  8.43
Jamie Tovar   212SH150    Sunday, May 20, 2018         Thursday, May 17, 2018        5/17/18 3:59 PM    5/17/18 11:30 PM                  7.52
Jamie Tovar   212SH150    Sunday, May 20, 2018            Friday, May 18, 2018       5/18/18 3:57 PM    5/18/18 11:06 PM                  7.15
Jamie Tovar   212SH151    Sunday, May 20, 2018           Sunday, May 20, 2018        5/20/18 4:04 PM    5/21/18 12:03 AM                  7.98
Jamie Tovar                                                                                                                 Sum Of Total time:   38.21         38.21       0.00              $8.65
Jamie Tovar   212SH151    Sunday, May 27, 2018           Monday, May 21, 2018        5/21/18 4:03 PM    5/21/18 10:29 PM                  6.43
Jamie Tovar   212SH151    Sunday, May 27, 2018           Tuesday, May 22, 2018       5/22/18 4:03 PM    5/22/18 10:56 PM                  6.88

                                                                                        Page 29 of 94
          Case 1:22-cv-00518-JLR-RWL       Document 116-5             Filed 11/16/23         Page 30 of 94
                                   Exhibit 5 - Group 1 unpaid wages


                                                     Full                        Total tip       Total   Total
                 Bates                             minimum Hourly tip Overtime    credit      unpaid OT unpaid
      Name      number      Week-end date           wage    credit    premium     taken        premium   SOH
Jamie Tovar    212SH150      Sunday, April 08, 2018 $13.00
Jamie Tovar    212SH150      Sunday, April 08, 2018 $13.00
Jamie Tovar                                         $13.00   $4.35      $6.50    $187.53        $20.22
Jamie Tovar    212SH150      Sunday, April 15, 2018 $13.00
Jamie Tovar    212SH150      Sunday, April 15, 2018 $13.00
Jamie Tovar    212SH150      Sunday, April 15, 2018 $13.00
Jamie Tovar    212SH150      Sunday, April 15, 2018 $13.00
Jamie Tovar    212SH150      Sunday, April 15, 2018 $13.00
Jamie Tovar                                         $13.00   $4.35      $6.50    $147.20        $0.00
Jamie Tovar    212SH150      Sunday, April 22, 2018 $13.00
Jamie Tovar    212SH150      Sunday, April 22, 2018 $13.00
Jamie Tovar    212SH150      Sunday, April 22, 2018 $13.00
Jamie Tovar    212SH150      Sunday, April 22, 2018 $13.00
Jamie Tovar                                         $13.00   $4.35      $6.50    $127.72        $0.00
Jamie Tovar    212SH150      Sunday, April 29, 2018 $13.00
Jamie Tovar    212SH150      Sunday, April 29, 2018 $13.00
Jamie Tovar    212SH150      Sunday, April 29, 2018 $13.00
Jamie Tovar    212SH150      Sunday, April 29, 2018 $13.00
Jamie Tovar    212SH150      Sunday, April 29, 2018 $13.00
Jamie Tovar                                         $13.00   $4.35      $6.50    $109.71        $0.00
Jamie Tovar    212SH150      Sunday, May 06, 2018 $13.00
Jamie Tovar    212SH150      Sunday, May 06, 2018 $13.00
Jamie Tovar    212SH150      Sunday, May 06, 2018 $13.00
Jamie Tovar    212SH150      Sunday, May 06, 2018 $13.00
Jamie Tovar    212SH150      Sunday, May 06, 2018 $13.00
Jamie Tovar                                         $13.00   $4.35      $6.50    $133.15        $0.00
Jamie Tovar    212SH150      Sunday, May 13, 2018 $13.00
Jamie Tovar    212SH150      Sunday, May 13, 2018 $13.00
Jamie Tovar    212SH150      Sunday, May 13, 2018 $13.00
Jamie Tovar    212SH150      Sunday, May 13, 2018 $13.00
Jamie Tovar                                         $13.00   $4.35      $6.50    $116.93        $0.00
Jamie Tovar    212SH150      Sunday, May 20, 2018 $13.00
Jamie Tovar    212SH150      Sunday, May 20, 2018 $13.00
Jamie Tovar    212SH150      Sunday, May 20, 2018 $13.00
Jamie Tovar    212SH150      Sunday, May 20, 2018 $13.00
Jamie Tovar    212SH151      Sunday, May 20, 2018 $13.00
Jamie Tovar                                         $13.00   $4.35      $6.50    $166.21        $0.00
Jamie Tovar    212SH151      Sunday, May 27, 2018 $13.00
Jamie Tovar    212SH151      Sunday, May 27, 2018 $13.00

                                            Page 30 of 94
                                              Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23       Page 31 of 94
                                                                               Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                   Spread Tip credit
                Bates                                                                                                                                                    Overtime of hours minimum
      Name     number    Week-end date                 Clock in date                   Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Jamie Tovar   212SH151    Sunday, May 27, 2018        Wednesday, May 23, 2018       5/23/18 3:58 PM     5/24/18 12:06 AM                  8.13
Jamie Tovar   212SH151    Sunday, May 27, 2018             Friday, May 25, 2018     5/25/18 3:37 PM     5/25/18 10:30 PM                  6.88
Jamie Tovar   212SH151    Sunday, May 27, 2018          Saturday, May 26, 2018      5/26/18 3:59 PM      5/26/18 9:48 PM                  5.82
Jamie Tovar                                                                                                                 Sum Of Total time:   34.14         34.14       0.00              $8.65
Jamie Tovar   212SH151    Sunday, June 03, 2018         Thursday, May 31, 2018      5/31/18 3:54 PM     5/31/18 10:46 PM                  6.87
Jamie Tovar   212SH151    Sunday, June 03, 2018            Friday, June 01, 2018     6/1/18 4:00 PM      6/1/18 11:18 PM                  7.30
Jamie Tovar   212SH151    Sunday, June 03, 2018         Saturday, June 02, 2018      6/2/18 4:07 PM      6/3/18 12:09 AM                  8.03
Jamie Tovar   212SH151    Sunday, June 03, 2018          Sunday, June 03, 2018       6/3/18 4:05 PM      6/3/18 11:00 PM                  6.92
Jamie Tovar                                                                                                                 Sum Of Total time:   29.12         29.12       0.00              $8.65
Jamie Tovar   212SH151    Sunday, June 10, 2018          Monday, June 04, 2018        6/4/18 3:01 PM     6/4/18 11:21 PM                  8.33
Jamie Tovar   212SH151    Sunday, June 10, 2018          Tuesday, June 05, 2018       6/5/18 4:08 PM     6/5/18 11:22 PM                  7.23
Jamie Tovar   212SH151    Sunday, June 10, 2018       Wednesday, June 06, 2018        6/6/18 3:58 PM     6/6/18 10:46 PM                  6.80
Jamie Tovar   212SH151    Sunday, June 10, 2018        Thursday, June 07, 2018        6/7/18 4:13 PM     6/7/18 11:59 PM                  7.77
Jamie Tovar   212SH151    Sunday, June 10, 2018            Friday, June 08, 2018      6/8/18 4:23 PM     6/8/18 11:45 PM                  7.37
Jamie Tovar   212SH151    Sunday, June 10, 2018         Saturday, June 09, 2018       6/9/18 3:58 PM     6/9/18 11:18 PM                  7.33
Jamie Tovar                                                                                                                 Sum Of Total time:   44.83         40.00       4.83              $8.65
Jamie Tovar   212SH151    Sunday, June 17, 2018            Friday, June 15, 2018    6/15/18 3:57 PM     6/15/18 11:45 PM                  7.80
Jamie Tovar   212SH151    Sunday, June 17, 2018         Saturday, June 16, 2018     6/16/18 4:08 PM      6/17/18 1:19 AM                  9.18
Jamie Tovar   212SH151    Sunday, June 17, 2018          Sunday, June 17, 2018      6/17/18 3:59 PM     6/17/18 10:32 PM                  6.55
Jamie Tovar                                                                                                                 Sum Of Total time:   23.53         23.53       0.00              $8.65
Jamie Tovar   212SH151    Sunday, June 24, 2018          Monday, June 18, 2018      6/18/18 4:10 PM     6/18/18 10:34 PM                  6.40
Jamie Tovar   212SH151    Sunday, June 24, 2018          Tuesday, June 19, 2018     6/19/18 4:00 PM     6/19/18 10:59 PM                  6.98
Jamie Tovar   212SH151    Sunday, June 24, 2018       Wednesday, June 20, 2018      6/20/18 4:02 PM     6/20/18 10:44 PM                  6.70
Jamie Tovar   212SH151    Sunday, June 24, 2018        Thursday, June 21, 2018      6/21/18 4:10 PM     6/21/18 11:24 PM                  7.23
Jamie Tovar   212SH151    Sunday, June 24, 2018            Friday, June 22, 2018    6/22/18 4:04 PM     6/22/18 11:49 PM                  7.75
Jamie Tovar   212SH151    Sunday, June 24, 2018         Saturday, June 23, 2018     6/23/18 3:52 PM     6/23/18 10:02 PM                  6.17
Jamie Tovar                                                                                                                 Sum Of Total time:   41.23         40.00       1.23              $8.65
Jamie Tovar   212SH151    Sunday, July 01, 2018         Monday, June 25, 2018       6/25/18 4:01 PM     6/25/18 10:41 PM                  6.67
Jamie Tovar   212SH151    Sunday, July 01, 2018         Tuesday, June 26, 2018      6/26/18 4:00 PM     6/26/18 10:59 PM                  6.98
Jamie Tovar   212SH151    Sunday, July 01, 2018       Wednesday, June 27, 2018      6/27/18 4:02 PM     6/27/18 10:29 PM                  6.45
Jamie Tovar   212SH151    Sunday, July 01, 2018        Thursday, June 28, 2018      6/28/18 4:13 PM     6/28/18 11:10 PM                  6.95
Jamie Tovar   212SH152    Sunday, July 01, 2018           Friday, June 29, 2018     6/29/18 4:10 PM     6/29/18 10:30 PM                  6.33
Jamie Tovar   212SH152    Sunday, July 01, 2018          Sunday, July 01, 2018       7/1/18 4:04 PM       7/1/18 9:55 PM                  5.85
Jamie Tovar                                                                                                                 Sum Of Total time:   39.23         39.23       0.00              $8.65
Jamie Tovar   212SH152     Sunday, July 08, 2018          Monday, July 02, 2018       7/2/18 4:00 PM     7/2/18 10:19 PM                  6.32
Jamie Tovar   212SH152     Sunday, July 08, 2018          Tuesday, July 03, 2018      7/3/18 4:04 PM     7/3/18 10:49 PM                  6.75
Jamie Tovar   212SH152     Sunday, July 08, 2018            Friday, July 06, 2018     7/6/18 3:59 PM     7/6/18 10:50 PM                  6.85
Jamie Tovar   212SH152     Sunday, July 08, 2018         Saturday, July 07, 2018      7/7/18 3:59 PM     7/7/18 10:34 PM                  6.58
Jamie Tovar   212SH152     Sunday, July 08, 2018           Sunday, July 08, 2018      7/8/18 4:03 PM     7/8/18 10:37 PM                  6.57

                                                                                        Page 31 of 94
          Case 1:22-cv-00518-JLR-RWL       Document 116-5             Filed 11/16/23         Page 32 of 94
                                   Exhibit 5 - Group 1 unpaid wages


                                                     Full                        Total tip       Total   Total
                 Bates                             minimum Hourly tip Overtime    credit      unpaid OT unpaid
      Name      number      Week-end date           wage    credit    premium     taken        premium   SOH
Jamie Tovar    212SH151      Sunday, May 27, 2018 $13.00
Jamie Tovar    212SH151      Sunday, May 27, 2018 $13.00
Jamie Tovar    212SH151      Sunday, May 27, 2018 $13.00
Jamie Tovar                                         $13.00   $4.35      $6.50    $148.51        $0.00
Jamie Tovar    212SH151      Sunday, June 03, 2018 $13.00
Jamie Tovar    212SH151      Sunday, June 03, 2018 $13.00
Jamie Tovar    212SH151      Sunday, June 03, 2018 $13.00
Jamie Tovar    212SH151      Sunday, June 03, 2018 $13.00
Jamie Tovar                                         $13.00   $4.35      $6.50    $126.67        $0.00
Jamie Tovar    212SH151      Sunday, June 10, 2018 $13.00
Jamie Tovar    212SH151      Sunday, June 10, 2018 $13.00
Jamie Tovar    212SH151      Sunday, June 10, 2018 $13.00
Jamie Tovar    212SH151      Sunday, June 10, 2018 $13.00
Jamie Tovar    212SH151      Sunday, June 10, 2018 $13.00
Jamie Tovar    212SH151      Sunday, June 10, 2018 $13.00
Jamie Tovar                                         $13.00   $4.35      $6.50    $195.01        $31.40
Jamie Tovar    212SH151      Sunday, June 17, 2018 $13.00
Jamie Tovar    212SH151      Sunday, June 17, 2018 $13.00
Jamie Tovar    212SH151      Sunday, June 17, 2018 $13.00
Jamie Tovar                                         $13.00   $4.35      $6.50    $102.36        $0.00
Jamie Tovar    212SH151      Sunday, June 24, 2018 $13.00
Jamie Tovar    212SH151      Sunday, June 24, 2018 $13.00
Jamie Tovar    212SH151      Sunday, June 24, 2018 $13.00
Jamie Tovar    212SH151      Sunday, June 24, 2018 $13.00
Jamie Tovar    212SH151      Sunday, June 24, 2018 $13.00
Jamie Tovar    212SH151      Sunday, June 24, 2018 $13.00
Jamie Tovar                                         $13.00   $4.35      $6.50    $179.35        $8.00
Jamie Tovar    212SH151       Sunday, July 01, 2018 $13.00
Jamie Tovar    212SH151       Sunday, July 01, 2018 $13.00
Jamie Tovar    212SH151       Sunday, July 01, 2018 $13.00
Jamie Tovar    212SH151       Sunday, July 01, 2018 $13.00
Jamie Tovar    212SH152       Sunday, July 01, 2018 $13.00
Jamie Tovar    212SH152       Sunday, July 01, 2018 $13.00
Jamie Tovar                                         $13.00   $4.35      $6.50    $170.65        $0.00
Jamie Tovar    212SH152       Sunday, July 08, 2018 $13.00
Jamie Tovar    212SH152       Sunday, July 08, 2018 $13.00
Jamie Tovar    212SH152       Sunday, July 08, 2018 $13.00
Jamie Tovar    212SH152       Sunday, July 08, 2018 $13.00
Jamie Tovar    212SH152       Sunday, July 08, 2018 $13.00

                                            Page 32 of 94
                                              Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23       Page 33 of 94
                                                                               Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                   Spread Tip credit
                Bates                                                                                                                                                    Overtime of hours minimum
      Name     number    Week-end date                 Clock in date                   Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Jamie Tovar                                                                                                                  Sum Of Total time:  33.07         33.07       0.00             $8.65
Jamie Tovar   212SH152     Sunday, July 15, 2018          Monday, July 09, 2018      7/9/18 4:01 PM       7/9/18 9:47 PM                  5.77
Jamie Tovar   212SH152     Sunday, July 15, 2018         Thursday, July 12, 2018    7/12/18 4:00 PM     7/12/18 11:28 PM                  7.47
Jamie Tovar   212SH152     Sunday, July 15, 2018            Friday, July 13, 2018   7/13/18 3:58 PM     7/13/18 11:20 PM                  7.37
Jamie Tovar   212SH152     Sunday, July 15, 2018         Saturday, July 14, 2018    7/14/18 4:00 PM     7/14/18 11:00 PM                  7.00
Jamie Tovar                                                                                                                 Sum Of Total time:   27.61         27.61       0.00              $8.65
Jamie Tovar   212SH152     Sunday, July 22, 2018          Monday, July 16, 2018     7/16/18 3:49 PM     7/16/18 10:10 PM                  6.35
Jamie Tovar   212SH152     Sunday, July 22, 2018          Tuesday, July 17, 2018    7/17/18 3:50 PM     7/17/18 11:39 PM                  7.82
Jamie Tovar   212SH152     Sunday, July 22, 2018       Wednesday, July 18, 2018     7/18/18 4:16 PM     7/18/18 10:54 PM                  6.63
Jamie Tovar   212SH152     Sunday, July 22, 2018        Thursday, July 19, 2018     7/19/18 4:28 PM     7/19/18 10:50 PM                  6.37
Jamie Tovar   212SH152     Sunday, July 22, 2018            Friday, July 20, 2018   7/20/18 4:05 PM     7/20/18 11:38 PM                  7.55
Jamie Tovar   212SH152     Sunday, July 22, 2018         Saturday, July 21, 2018    7/21/18 4:03 PM      7/21/18 9:44 PM                  5.68
Jamie Tovar                                                                                                                 Sum Of Total time:   40.40         40.00       0.40              $8.65
Jamie Tovar   212SH152     Sunday, July 29, 2018       Wednesday, July 25, 2018     7/25/18 3:59 PM     7/25/18 11:09 PM                  7.17
Jamie Tovar   212SH152     Sunday, July 29, 2018        Thursday, July 26, 2018     7/26/18 3:59 PM     7/26/18 11:21 PM                  7.37
Jamie Tovar   212SH152     Sunday, July 29, 2018            Friday, July 27, 2018   7/27/18 4:02 PM      7/27/18 9:44 PM                  5.70
Jamie Tovar   212SH152     Sunday, July 29, 2018         Saturday, July 28, 2018    7/28/18 2:56 PM     7/28/18 11:17 PM                  8.35
Jamie Tovar   212SH152     Sunday, July 29, 2018          Sunday, July 29, 2018     7/29/18 4:08 PM     7/29/18 11:17 PM                  7.15
Jamie Tovar                                                                                                                 Sum Of Total time:   35.74         35.74       0.00              $8.65
Jamie Tovar   212SH152   Sunday, August 05, 2018          Tuesday, July 31, 2018    7/31/18 4:12 PM     7/31/18 11:32 PM                  7.33
Jamie Tovar   212SH152   Sunday, August 05, 2018    Wednesday, August 01, 2018       8/1/18 4:03 PM      8/2/18 12:15 AM                  8.20
Jamie Tovar   212SH152   Sunday, August 05, 2018     Thursday, August 02, 2018       8/2/18 3:56 PM       8/2/18 9:00 PM                  5.07
Jamie Tovar   212SH152   Sunday, August 05, 2018         Friday, August 03, 2018     8/3/18 4:02 PM      8/3/18 11:21 PM                  7.32
Jamie Tovar   212SH152   Sunday, August 05, 2018      Saturday, August 04, 2018      8/4/18 4:00 PM      8/4/18 10:52 PM                  6.87
Jamie Tovar                                                                                                                 Sum Of Total time:   34.79         34.79       0.00              $8.65
Jamie Tovar   212SH152   Sunday, August 12, 2018       Monday, August 06, 2018       8/6/18 4:02 PM       8/7/18 1:17 AM                  9.25
Jamie Tovar   212SH152   Sunday, August 12, 2018       Tuesday, August 07, 2018      8/7/18 4:06 PM       8/7/18 9:19 PM                  5.22
Jamie Tovar   212SH153   Sunday, August 12, 2018      Thursday, August 09, 2018      8/9/18 4:04 PM      8/9/18 10:28 PM                  6.40
Jamie Tovar   212SH153   Sunday, August 12, 2018         Friday, August 10, 2018    8/10/18 3:57 PM     8/10/18 11:35 PM                  7.63
Jamie Tovar   212SH153   Sunday, August 12, 2018      Saturday, August 11, 2018     8/11/18 4:02 PM      8/11/18 9:34 PM                  5.53
Jamie Tovar                                                                                                                 Sum Of Total time:   34.03         34.03       0.00              $8.65
Jamie Tovar   212SH153   Sunday, August 19, 2018       Monday, August 13, 2018      8/13/18 4:23 PM     8/13/18 11:40 PM                  7.28
Jamie Tovar   212SH153   Sunday, August 19, 2018       Tuesday, August 14, 2018     8/14/18 4:01 PM     8/14/18 11:25 PM                  7.40
Jamie Tovar   212SH153   Sunday, August 19, 2018    Wednesday, August 15, 2018      8/15/18 3:58 PM     8/15/18 11:45 PM                  7.78
Jamie Tovar   212SH153   Sunday, August 19, 2018     Thursday, August 16, 2018      8/16/18 4:14 PM      8/16/18 9:51 PM                  5.62
Jamie Tovar   212SH153   Sunday, August 19, 2018      Saturday, August 18, 2018     8/18/18 3:57 PM      8/18/18 9:29 PM                  5.53
Jamie Tovar                                                                                                                 Sum Of Total time:   33.61         33.61       0.00              $8.65
Jamie Tovar   212SH153   Sunday, August 26, 2018      Monday, August 20, 2018       8/20/18 4:01 PM     8/20/18 11:13 PM                  7.20
Jamie Tovar   212SH153   Sunday, August 26, 2018    Wednesday, August 22, 2018      8/22/18 4:01 PM     8/22/18 10:56 PM                  6.92

                                                                                        Page 33 of 94
          Case 1:22-cv-00518-JLR-RWL       Document 116-5             Filed 11/16/23          Page 34 of 94
                                   Exhibit 5 - Group 1 unpaid wages


                                                      Full                        Total tip       Total   Total
                 Bates                              minimum Hourly tip Overtime    credit      unpaid OT unpaid
      Name      number      Week-end date            wage    credit    premium     taken        premium   SOH
Jamie Tovar                                          $13.00   $4.35      $6.50    $143.85         $0.00
Jamie Tovar    212SH152       Sunday, July 15, 2018 $13.00
Jamie Tovar    212SH152       Sunday, July 15, 2018 $13.00
Jamie Tovar    212SH152       Sunday, July 15, 2018 $13.00
Jamie Tovar    212SH152       Sunday, July 15, 2018 $13.00
Jamie Tovar                                          $13.00   $4.35      $6.50    $120.10        $0.00
Jamie Tovar    212SH152       Sunday, July 22, 2018 $13.00
Jamie Tovar    212SH152       Sunday, July 22, 2018 $13.00
Jamie Tovar    212SH152       Sunday, July 22, 2018 $13.00
Jamie Tovar    212SH152       Sunday, July 22, 2018 $13.00
Jamie Tovar    212SH152       Sunday, July 22, 2018 $13.00
Jamie Tovar    212SH152       Sunday, July 22, 2018 $13.00
Jamie Tovar                                          $13.00   $4.35      $6.50    $175.74        $2.60
Jamie Tovar    212SH152       Sunday, July 29, 2018  $13.00
Jamie Tovar    212SH152       Sunday, July 29, 2018 $13.00
Jamie Tovar    212SH152       Sunday, July 29, 2018 $13.00
Jamie Tovar    212SH152       Sunday, July 29, 2018 $13.00
Jamie Tovar    212SH152       Sunday, July 29, 2018 $13.00
Jamie Tovar                                          $13.00   $4.35      $6.50    $155.47        $0.00
Jamie Tovar    212SH152    Sunday, August 05, 2018 $13.00
Jamie Tovar    212SH152    Sunday, August 05, 2018 $13.00
Jamie Tovar    212SH152    Sunday, August 05, 2018 $13.00
Jamie Tovar    212SH152    Sunday, August 05, 2018 $13.00
Jamie Tovar    212SH152    Sunday, August 05, 2018 $13.00
Jamie Tovar                                          $13.00   $4.35      $6.50    $151.34        $0.00
Jamie Tovar    212SH152    Sunday, August 12, 2018 $13.00
Jamie Tovar    212SH152    Sunday, August 12, 2018 $13.00
Jamie Tovar    212SH153    Sunday, August 12, 2018 $13.00
Jamie Tovar    212SH153    Sunday, August 12, 2018 $13.00
Jamie Tovar    212SH153    Sunday, August 12, 2018 $13.00
Jamie Tovar                                          $13.00   $4.35      $6.50    $148.03        $0.00
Jamie Tovar    212SH153    Sunday, August 19, 2018 $13.00
Jamie Tovar    212SH153    Sunday, August 19, 2018 $13.00
Jamie Tovar    212SH153    Sunday, August 19, 2018 $13.00
Jamie Tovar    212SH153    Sunday, August 19, 2018 $13.00
Jamie Tovar    212SH153    Sunday, August 19, 2018 $13.00
Jamie Tovar                                          $13.00   $4.35      $6.50    $146.20        $0.00
Jamie Tovar    212SH153    Sunday, August 26, 2018 $13.00
Jamie Tovar    212SH153    Sunday, August 26, 2018 $13.00

                                            Page 34 of 94
                                                 Case 1:22-cv-00518-JLR-RWL                Document 116-5             Filed 11/16/23       Page 35 of 94
                                                                                   Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                       Spread Tip credit
                Bates                                                                                                                                                        Overtime of hours minimum
      Name     number        Week-end date                   Clock in date                 Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Jamie Tovar   212SH153      Sunday, August 26, 2018         Thursday, August 23, 2018    8/23/18 3:56 PM    8/23/18 10:02 PM                  6.10
Jamie Tovar   212SH153      Sunday, August 26, 2018           Friday, August 24, 2018    8/24/18 4:03 PM     8/24/18 9:29 PM                  5.43
Jamie Tovar   212SH153      Sunday, August 26, 2018         Saturday, August 25, 2018    8/25/18 4:06 PM    8/25/18 11:00 PM                  6.90
Jamie Tovar                                                                                                                     Sum Of Total time:   32.55         32.55       0.00              $8.65
Jamie Tovar   212SH153   Sunday, September 02, 2018         Tuesday, August 28, 2018     8/28/18 4:00 PM    8/28/18 10:12 PM                  6.20
Jamie Tovar   212SH153   Sunday, September 02, 2018      Wednesday, August 29, 2018      8/29/18 4:04 PM     8/29/18 8:57 PM                  4.88
Jamie Tovar   212SH153   Sunday, September 02, 2018        Thursday, August 30, 2018     8/30/18 4:02 PM    8/30/18 11:51 PM                  7.82
Jamie Tovar   212SH153   Sunday, September 02, 2018           Friday, August 31, 2018    8/31/18 4:03 PM     8/31/18 9:40 PM                  5.62
Jamie Tovar   212SH153   Sunday, September 02, 2018     Saturday, September 01, 2018      9/1/18 4:05 PM     9/1/18 11:27 PM                  7.37
Jamie Tovar                                                                                                                     Sum Of Total time:   31.89         31.89       0.00              $8.65
Jamie Tovar   212SH153   Sunday, September 09, 2018      Monday, September 03, 2018       9/3/18 4:04 PM      9/3/18 9:05 PM                  5.02
Jamie Tovar   212SH153   Sunday, September 09, 2018   Wednesday, September 05, 2018       9/5/18 4:00 PM     9/5/18 11:27 PM                  7.45
Jamie Tovar   212SH153   Sunday, September 09, 2018        Friday, September 07, 2018     9/7/18 4:01 PM     9/7/18 11:46 PM                  7.75
Jamie Tovar   212SH153   Sunday, September 09, 2018     Saturday, September 08, 2018      9/8/18 4:03 PM      9/8/18 9:37 PM                  5.57
Jamie Tovar                                                                                                                     Sum Of Total time:   25.79         25.79       0.00              $8.65
Jamie Tovar   212SH153   Sunday, September 16, 2018   Wednesday, September 12, 2018      9/12/18 4:02 PM    9/12/18 10:21 PM                  6.32
Jamie Tovar   212SH153   Sunday, September 16, 2018    Thursday, September 13, 2018      9/13/18 4:02 PM    9/13/18 10:47 PM                  6.75
Jamie Tovar   212SH153   Sunday, September 16, 2018        Friday, September 14, 2018    9/14/18 4:01 PM    9/14/18 11:19 PM                  7.30
Jamie Tovar   212SH153   Sunday, September 16, 2018     Saturday, September 15, 2018     9/15/18 4:03 PM    9/15/18 10:53 PM                  6.83
Jamie Tovar                                                                                                                     Sum Of Total time:   27.20         27.20       0.00              $8.65
Jamie Tovar   212SH153   Sunday, September 23, 2018   Wednesday, September 19, 2018      9/19/18 4:03 PM    9/19/18 10:10 PM                  6.12
Jamie Tovar   212SH153   Sunday, September 23, 2018    Thursday, September 20, 2018      9/20/18 4:01 PM     9/20/18 9:33 PM                  5.53
Jamie Tovar   212SH153   Sunday, September 23, 2018     Saturday, September 22, 2018     9/22/18 4:08 PM    9/22/18 10:56 PM                  6.80
Jamie Tovar   212SH154   Sunday, September 23, 2018      Sunday, September 23, 2018      9/23/18 4:03 PM    9/23/18 10:47 PM                  6.73
Jamie Tovar                                                                                                                     Sum Of Total time:   25.18         25.18       0.00              $8.65
Jamie Tovar   212SH154   Sunday, September 30, 2018      Monday, September 24, 2018      9/24/18 4:01 PM    9/24/18 11:00 PM                  6.98
Jamie Tovar   212SH154   Sunday, September 30, 2018      Tuesday, September 25, 2018     9/25/18 3:51 PM     9/25/18 7:02 PM                  3.18
Jamie Tovar   212SH154   Sunday, September 30, 2018        Friday, September 28, 2018    9/28/18 4:02 PM    9/28/18 11:33 PM                  7.52
Jamie Tovar   212SH154   Sunday, September 30, 2018     Saturday, September 29, 2018     9/29/18 4:03 PM    9/29/18 11:36 PM                  7.55
Jamie Tovar   212SH154   Sunday, September 30, 2018       Sunday, September 30, 2018     9/30/18 4:01 PM    9/30/18 10:25 PM                  6.40
Jamie Tovar                                                                                                                     Sum Of Total time:   31.63         31.63       0.00              $8.65
Jamie Tovar   212SH154     Sunday, October 07, 2018       Tuesday, October 02, 2018      10/2/18 4:00 PM    10/2/18 10:16 PM                  6.27
Jamie Tovar   212SH154     Sunday, October 07, 2018     Wednesday, October 03, 2018      10/3/18 4:05 PM    10/3/18 11:40 PM                  7.58
Jamie Tovar   212SH154     Sunday, October 07, 2018         Friday, October 05, 2018     10/5/18 4:02 PM    10/6/18 12:33 AM                  8.52
Jamie Tovar   212SH154     Sunday, October 07, 2018       Saturday, October 06, 2018     10/6/18 3:50 PM    10/6/18 10:57 PM                  7.12
Jamie Tovar   212SH154     Sunday, October 07, 2018        Sunday, October 07, 2018      10/7/18 4:04 PM    10/7/18 11:08 PM                  7.07
Jamie Tovar                                                                                                                     Sum Of Total time:   36.56         36.56       0.00              $8.65
Jamie Tovar   212SH154     Sunday, October 14, 2018        Monday, October 08, 2018     10/8/18 10:00 PM    10/8/18 10:00 PM                  0.00
Jamie Tovar   212SH154     Sunday, October 14, 2018        Monday, October 08, 2018     10/8/18 10:02 PM    10/8/18 10:30 PM                  0.47

                                                                                            Page 35 of 94
          Case 1:22-cv-00518-JLR-RWL         Document 116-5             Filed 11/16/23        Page 36 of 94
                                     Exhibit 5 - Group 1 unpaid wages


                                                      Full                        Total tip       Total   Total
                 Bates                              minimum Hourly tip Overtime    credit      unpaid OT unpaid
      Name      number        Week-end date          wage    credit    premium     taken        premium   SOH
Jamie Tovar    212SH153      Sunday, August 26, 2018 $13.00
Jamie Tovar    212SH153      Sunday, August 26, 2018 $13.00
Jamie Tovar    212SH153      Sunday, August 26, 2018 $13.00
Jamie Tovar                                          $13.00   $4.35      $6.50     $141.59       $0.00
Jamie Tovar    212SH153   Sunday, September 02, 2018 $13.00
Jamie Tovar    212SH153   Sunday, September 02, 2018 $13.00
Jamie Tovar    212SH153   Sunday, September 02, 2018 $13.00
Jamie Tovar    212SH153   Sunday, September 02, 2018 $13.00
Jamie Tovar    212SH153   Sunday, September 02, 2018 $13.00
Jamie Tovar                                          $13.00   $4.35      $6.50     $138.72       $0.00
Jamie Tovar    212SH153   Sunday, September 09, 2018 $13.00
Jamie Tovar    212SH153   Sunday, September 09, 2018 $13.00
Jamie Tovar    212SH153   Sunday, September 09, 2018 $13.00
Jamie Tovar    212SH153   Sunday, September 09, 2018 $13.00
Jamie Tovar                                          $13.00   $4.35      $6.50     $112.19       $0.00
Jamie Tovar    212SH153   Sunday, September 16, 2018 $13.00
Jamie Tovar    212SH153   Sunday, September 16, 2018 $13.00
Jamie Tovar    212SH153   Sunday, September 16, 2018 $13.00
Jamie Tovar    212SH153   Sunday, September 16, 2018 $13.00
Jamie Tovar                                          $13.00   $4.35      $6.50     $118.32       $0.00
Jamie Tovar    212SH153   Sunday, September 23, 2018 $13.00
Jamie Tovar    212SH153   Sunday, September 23, 2018 $13.00
Jamie Tovar    212SH153   Sunday, September 23, 2018 $13.00
Jamie Tovar    212SH154   Sunday, September 23, 2018 $13.00
Jamie Tovar                                          $13.00   $4.35      $6.50     $109.53       $0.00
Jamie Tovar    212SH154   Sunday, September 30, 2018 $13.00
Jamie Tovar    212SH154   Sunday, September 30, 2018 $13.00
Jamie Tovar    212SH154   Sunday, September 30, 2018 $13.00
Jamie Tovar    212SH154   Sunday, September 30, 2018 $13.00
Jamie Tovar    212SH154   Sunday, September 30, 2018 $13.00
Jamie Tovar                                          $13.00   $4.35      $6.50     $137.59       $0.00
Jamie Tovar    212SH154     Sunday, October 07, 2018 $13.00
Jamie Tovar    212SH154     Sunday, October 07, 2018 $13.00
Jamie Tovar    212SH154     Sunday, October 07, 2018 $13.00
Jamie Tovar    212SH154     Sunday, October 07, 2018 $13.00
Jamie Tovar    212SH154     Sunday, October 07, 2018 $13.00
Jamie Tovar                                          $13.00   $4.35      $6.50     $159.04       $0.00
Jamie Tovar    212SH154     Sunday, October 14, 2018 $13.00
Jamie Tovar    212SH154     Sunday, October 14, 2018 $13.00

                                              Page 36 of 94
                                                  Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23       Page 37 of 94
                                                                                   Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                       Spread Tip credit
                Bates                                                                                                                                                        Overtime of hours minimum
       Name    number        Week-end date                 Clock in date                   Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Jamie Tovar                                                                                                                      Sum Of Total time:  0.47          0.47        0.00             $8.65
Jamie Tovar   212SH154     Sunday, October 21, 2018       Monday, October 15, 2018      10/15/18 4:11 PM 10/15/18 11:05 PM                    6.90
Jamie Tovar   212SH154     Sunday, October 21, 2018      Thursday, October 18, 2018     10/18/18 4:07 PM 10/18/18 10:30 PM                    6.38
Jamie Tovar   212SH154     Sunday, October 21, 2018        Friday, October 19, 2018     10/19/18 3:04 PM 10/19/18 10:52 PM                    7.80
Jamie Tovar   212SH154     Sunday, October 21, 2018      Saturday, October 20, 2018     10/20/18 4:12 PM 10/21/18 1:21 AM                     9.15
Jamie Tovar                                                                                                                     Sum Of Total time:   30.23         30.23       0.00              $8.65

Jose Garcia   212SH154        Sunday, April 08, 2018         Saturday, April 07, 2018     4/7/18 3:30 PM      4/7/18 9:30 PM                  6.00
Jose Garcia                                                                                                                     Sum Of Total time:   6.00          6.00        0.00              $8.65

Jose Pena     212SH203      Sunday, August 07, 2016       Saturday, August 06, 2016       8/6/16 4:00 PM     8/6/16 10:30 PM                  6.50
Jose Pena     212SH203      Sunday, August 07, 2016        Sunday, August 07, 2016        8/7/16 4:00 PM      8/7/16 9:15 PM                  5.25
Jose Pena                                                                                                                       Sum Of Total time:   11.75         11.75       0.00              $7.50
Jose Pena     212SH203      Sunday, August 14, 2016         Friday, August 12, 2016      8/12/16 4:00 PM    8/12/16 11:30 PM                  7.50
Jose Pena     212SH203      Sunday, August 14, 2016       Saturday, August 13, 2016      8/13/16 4:00 PM    8/13/16 11:00 PM                  7.00
Jose Pena     212SH203      Sunday, August 14, 2016        Sunday, August 14, 2016       8/14/16 4:00 PM    8/14/16 10:00 PM                  6.00
Jose Pena                                                                                                                       Sum Of Total time:   20.50         20.50       0.00              $7.50
Jose Pena     212SH203      Sunday, August 28, 2016         Sunday, August 28, 2016      8/28/16 4:11 PM    8/28/16 10:22 PM                  6.18
Jose Pena                                                                                                                       Sum Of Total time:   6.18          6.18        0.00              $7.50
Jose Pena     212SH203   Sunday, September 04, 2016       Friday, September 02, 2016      9/2/16 4:01 PM     9/2/16 10:40 PM                  6.65
Jose Pena     212SH203   Sunday, September 04, 2016    Saturday, September 03, 2016       9/3/16 4:06 PM     9/3/16 11:37 PM                  7.52
Jose Pena     212SH203   Sunday, September 04, 2016     Sunday, September 04, 2016        9/4/16 3:08 PM     9/4/16 11:46 PM                  8.63
Jose Pena                                                                                                                       Sum Of Total time:   22.80         22.80       0.00              $7.50
Jose Pena     212SH203   Sunday, September 11, 2016       Friday, September 09, 2016      9/9/16 4:10 PM     9/9/16 10:51 PM                  6.68
Jose Pena     212SH203   Sunday, September 11, 2016    Saturday, September 10, 2016      9/10/16 4:08 PM    9/10/16 11:06 PM                  6.97
Jose Pena     212SH203   Sunday, September 11, 2016     Sunday, September 11, 2016       9/11/16 4:18 PM    9/11/16 11:05 PM                  6.78
Jose Pena                                                                                                                       Sum Of Total time:   20.43         20.43       0.00              $7.50
Jose Pena     212SH203   Sunday, September 18, 2016       Friday, September 16, 2016     9/16/16 4:00 PM    9/17/16 12:44 AM                  8.73
Jose Pena     212SH203   Sunday, September 18, 2016    Saturday, September 17, 2016      9/17/16 4:03 PM    9/17/16 11:12 PM                  7.15
Jose Pena     212SH203   Sunday, September 18, 2016     Sunday, September 18, 2016       9/18/16 3:58 PM    9/18/16 10:39 PM                  6.68
Jose Pena                                                                                                                       Sum Of Total time:   22.56         22.56       0.00              $7.50
Jose Pena     212SH203   Sunday, September 25, 2016       Friday, September 23, 2016     9/23/16 4:02 PM    9/23/16 11:18 PM                  7.27
Jose Pena     212SH203   Sunday, September 25, 2016    Saturday, September 24, 2016      9/24/16 4:06 PM    9/24/16 11:17 PM                  7.18
Jose Pena     212SH203   Sunday, September 25, 2016     Sunday, September 25, 2016       9/25/16 4:01 PM     9/25/16 8:14 PM                  4.22
Jose Pena                                                                                                                       Sum Of Total time:   18.67         18.67       0.00              $7.50
Jose Pena     212SH203     Sunday, October 02, 2016      Friday, September 30, 2016      9/30/16 4:13 PM    9/30/16 11:12 PM                  6.98
Jose Pena     212SH203     Sunday, October 02, 2016      Saturday, October 01, 2016      10/1/16 3:48 PM    10/1/16 10:42 PM                  6.90
Jose Pena     212SH203     Sunday, October 02, 2016        Sunday, October 02, 2016      10/2/16 4:01 PM     10/2/16 9:44 PM                  5.72
Jose Pena                                                                                                                       Sum Of Total time:   19.60         19.60       0.00              $7.50

                                                                                            Page 37 of 94
              Case 1:22-cv-00518-JLR-RWL         Document 116-5             Filed 11/16/23   Page 38 of 94
                                         Exhibit 5 - Group 1 unpaid wages


                                                            Full                       Total tip    Total   Total
                     Bates                                minimum Hourly tip Overtime    credit  unpaid OT unpaid
       Name         number        Week-end date            wage       credit   premium   taken    premium   SOH
Jamie Tovar                                                $13.00     $4.35      $6.50   $2.04      $0.00
Jamie Tovar        212SH154     Sunday, October 21, 2018 $13.00
Jamie Tovar        212SH154     Sunday, October 21, 2018 $13.00
Jamie Tovar        212SH154     Sunday, October 21, 2018 $13.00
Jamie Tovar        212SH154     Sunday, October 21, 2018 $13.00
Jamie Tovar                                                $13.00     $4.35      $6.50  $131.50     $0.00
                                                         Jamie Tovar subtotal:         $4,159.47   $62.21   $0.00
Jose Garcia        212SH154        Sunday, April 08, 2018 $13.00
Jose Garcia                                                $13.00     $4.35      $6.50  $26.10      $0.00
                                                         Jose Garcia subtotal:          $26.10      $0.00   $0.00
Jose Pena          212SH203      Sunday, August 07, 2016   $9.00
Jose Pena          212SH203      Sunday, August 07, 2016   $9.00
Jose Pena                                                  $9.00      $1.50      $4.50  $17.63      $0.00
Jose Pena          212SH203      Sunday, August 14, 2016   $9.00
Jose Pena          212SH203      Sunday, August 14, 2016   $9.00
Jose Pena          212SH203      Sunday, August 14, 2016   $9.00
Jose Pena                                                  $9.00      $1.50      $4.50  $30.75      $0.00
Jose Pena          212SH203      Sunday, August 28, 2016   $9.00
Jose Pena                                                  $9.00      $1.50      $4.50   $9.27      $0.00
Jose Pena          212SH203   Sunday, September 04, 2016   $9.00
Jose Pena          212SH203   Sunday, September 04, 2016   $9.00
Jose Pena          212SH203   Sunday, September 04, 2016   $9.00
Jose Pena                                                  $9.00      $1.50      $4.50  $34.20      $0.00
Jose Pena          212SH203   Sunday, September 11, 2016   $9.00
Jose Pena          212SH203   Sunday, September 11, 2016   $9.00
Jose Pena          212SH203   Sunday, September 11, 2016   $9.00
Jose Pena                                                  $9.00      $1.50      $4.50  $30.65      $0.00
Jose Pena          212SH203   Sunday, September 18, 2016   $9.00
Jose Pena          212SH203   Sunday, September 18, 2016   $9.00
Jose Pena          212SH203   Sunday, September 18, 2016   $9.00
Jose Pena                                                  $9.00      $1.50      $4.50  $33.84      $0.00
Jose Pena          212SH203   Sunday, September 25, 2016   $9.00
Jose Pena          212SH203   Sunday, September 25, 2016   $9.00
Jose Pena          212SH203   Sunday, September 25, 2016   $9.00
Jose Pena                                                  $9.00      $1.50      $4.50  $28.01      $0.00
Jose Pena          212SH203     Sunday, October 02, 2016   $9.00
Jose Pena          212SH203     Sunday, October 02, 2016   $9.00
Jose Pena          212SH203     Sunday, October 02, 2016   $9.00
Jose Pena                                                  $9.00      $1.50      $4.50  $29.40      $0.00

                                                  Page 38 of 94
                                                Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23       Page 39 of 94
                                                                                 Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                     Spread Tip credit
                Bates                                                                                                                                                      Overtime of hours minimum
      Name     number      Week-end date                  Clock in date                  Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage

Juan Deluna   212SH203    Sunday, January 31, 2016       Monday, January 25, 2016      1/25/16 3:53 PM     1/25/16 8:08 PM                  4.25
Juan Deluna   212SH203    Sunday, January 31, 2016    Wednesday, January 27, 2016      1/27/16 3:58 PM    1/27/16 10:47 PM                  6.82
Juan Deluna   212SH204    Sunday, January 31, 2016     Thursday, January 28, 2016      1/28/16 3:52 PM    1/28/16 11:08 PM                  7.27
Juan Deluna   212SH204    Sunday, January 31, 2016        Friday, January 29, 2016     1/29/16 3:54 PM    1/29/16 11:55 PM                  8.02
Juan Deluna   212SH204    Sunday, January 31, 2016      Saturday, January 30, 2016     1/30/16 3:54 PM    1/30/16 11:59 PM                  8.08
Juan Deluna   212SH204    Sunday, January 31, 2016       Sunday, January 31, 2016      1/31/16 3:47 PM    1/31/16 10:07 PM                  6.33
Juan Deluna                                                                                                                   Sum Of Total time:   40.77         40.00       0.77              $7.50
Juan Deluna   212SH204   Sunday, February 07, 2016   Wednesday, February 03, 2016       2/3/16 4:04 PM     2/3/16 11:05 PM                  7.02
Juan Deluna   212SH204   Sunday, February 07, 2016    Thursday, February 04, 2016       2/4/16 3:51 PM     2/4/16 10:27 PM                  6.60
Juan Deluna   212SH204   Sunday, February 07, 2016        Friday, February 05, 2016     2/5/16 4:13 PM     2/5/16 10:55 PM                  6.70
Juan Deluna   212SH204   Sunday, February 07, 2016     Saturday, February 06, 2016     2/6/16 11:13 AM     2/6/16 11:11 PM                11.97                                         1
Juan Deluna   212SH204   Sunday, February 07, 2016      Sunday, February 07, 2016      2/7/16 11:53 AM      2/7/16 9:35 PM                  9.70
Juan Deluna                                                                                                                   Sum Of Total time:   41.99         40.00       1.99              $7.50
Juan Deluna   212SH204   Sunday, February 14, 2016      Monday, February 08, 2016       2/8/16 3:50 PM     2/8/16 10:40 PM                  6.83
Juan Deluna   212SH204   Sunday, February 14, 2016   Wednesday, February 10, 2016      2/10/16 3:59 PM    2/10/16 10:38 PM                  6.65
Juan Deluna   212SH204   Sunday, February 14, 2016    Thursday, February 11, 2016      2/11/16 3:56 PM     2/11/16 9:52 PM                  5.93
Juan Deluna   212SH204   Sunday, February 14, 2016       Friday, February 12, 2016     2/12/16 3:56 PM    2/12/16 11:57 PM                  8.02
Juan Deluna   212SH204   Sunday, February 14, 2016     Saturday, February 13, 2016     2/13/16 1:09 PM    2/14/16 12:50 AM                11.68                                         1
Juan Deluna   212SH204   Sunday, February 14, 2016      Sunday, February 14, 2016     2/14/16 12:50 PM    2/14/16 11:49 PM                10.98                                         1
Juan Deluna                                                                                                                   Sum Of Total time:   50.09         40.00       10.09             $7.50
Juan Deluna   212SH204   Sunday, February 21, 2016      Monday, February 15, 2016      2/15/16 4:03 PM    2/15/16 10:08 PM                  6.08
Juan Deluna   212SH204   Sunday, February 21, 2016     Thursday, February 18, 2016     2/18/16 3:47 PM    2/18/16 10:27 PM                  6.67
Juan Deluna   212SH204   Sunday, February 21, 2016        Friday, February 19, 2016    2/19/16 3:54 PM    2/19/16 11:20 PM                  7.43
Juan Deluna   212SH204   Sunday, February 21, 2016     Saturday, February 20, 2016     2/20/16 3:55 PM    2/20/16 11:25 PM                  7.50
Juan Deluna   212SH204   Sunday, February 21, 2016       Sunday, February 21, 2016    2/21/16 10:53 AM    2/21/16 10:11 PM                11.30                                         1
Juan Deluna                                                                                                                   Sum Of Total time:   38.98         38.98       0.00              $7.50
Juan Deluna   212SH204   Sunday, February 28, 2016   Wednesday, February 24, 2016      2/24/16 3:59 PM     2/24/16 8:29 PM                  4.50
Juan Deluna   212SH204   Sunday, February 28, 2016    Thursday, February 25, 2016      2/25/16 3:56 PM    2/25/16 10:26 PM                  6.50
Juan Deluna   212SH204   Sunday, February 28, 2016       Friday, February 26, 2016     2/26/16 3:57 PM    2/26/16 11:46 PM                  7.82
Juan Deluna   212SH204   Sunday, February 28, 2016     Saturday, February 27, 2016     2/27/16 3:42 PM    2/27/16 10:53 PM                  7.18
Juan Deluna   212SH204   Sunday, February 28, 2016      Sunday, February 28, 2016      2/28/16 5:15 PM    2/28/16 10:17 PM                  5.03
Juan Deluna                                                                                                                   Sum Of Total time:   31.03         31.03       0.00              $7.50
Juan Deluna   212SH204     Sunday, March 06, 2016      Monday, February 29, 2016       2/29/16 3:50 PM    2/29/16 10:34 PM                  6.73
Juan Deluna   212SH204     Sunday, March 06, 2016      Wednesday, March 02, 2016        3/2/16 3:51 PM     3/2/16 10:33 PM                  6.70
Juan Deluna   212SH204     Sunday, March 06, 2016           Friday, March 04, 2016      3/4/16 3:55 PM     3/4/16 11:22 PM                  7.45
Juan Deluna   212SH204     Sunday, March 06, 2016        Saturday, March 05, 2016       3/5/16 3:53 PM      3/5/16 9:57 PM                  6.07
Juan Deluna   212SH204     Sunday, March 06, 2016         Sunday, March 06, 2016        3/6/16 3:55 PM     3/6/16 10:47 PM                  6.87
Juan Deluna                                                                                                                   Sum Of Total time:   33.82         33.82       0.00              $7.50

                                                                                          Page 39 of 94
          Case 1:22-cv-00518-JLR-RWL        Document 116-5             Filed 11/16/23          Page 40 of 94
                                    Exhibit 5 - Group 1 unpaid wages


                                                       Full                        Total tip       Total   Total
                 Bates                               minimum Hourly tip Overtime    credit      unpaid OT unpaid
      Name      number      Week-end date             wage      credit  premium     taken        premium   SOH
                                                    Jose Pena subtotal:            $213.74         $0.00   $0.00
Juan Deluna    212SH203    Sunday, January 31, 2016   $9.00
Juan Deluna    212SH203    Sunday, January 31, 2016   $9.00
Juan Deluna    212SH204    Sunday, January 31, 2016   $9.00
Juan Deluna    212SH204    Sunday, January 31, 2016   $9.00
Juan Deluna    212SH204    Sunday, January 31, 2016   $9.00
Juan Deluna    212SH204    Sunday, January 31, 2016   $9.00
Juan Deluna                                           $9.00     $1.50     $4.50     $61.16        $3.46
Juan Deluna    212SH204   Sunday, February 07, 2016   $9.00
Juan Deluna    212SH204   Sunday, February 07, 2016   $9.00
Juan Deluna    212SH204   Sunday, February 07, 2016   $9.00
Juan Deluna    212SH204   Sunday, February 07, 2016   $9.00                                                $9.00
Juan Deluna    212SH204   Sunday, February 07, 2016   $9.00
Juan Deluna                                           $9.00     $1.50     $4.50     $62.99        $8.95
Juan Deluna    212SH204   Sunday, February 14, 2016   $9.00
Juan Deluna    212SH204   Sunday, February 14, 2016   $9.00
Juan Deluna    212SH204   Sunday, February 14, 2016   $9.00
Juan Deluna    212SH204   Sunday, February 14, 2016   $9.00
Juan Deluna    212SH204   Sunday, February 14, 2016   $9.00                                                $9.00
Juan Deluna    212SH204   Sunday, February 14, 2016   $9.00                                                $9.00
Juan Deluna                                           $9.00     $1.50     $4.50     $75.14        $45.41
Juan Deluna    212SH204   Sunday, February 21, 2016   $9.00
Juan Deluna    212SH204   Sunday, February 21, 2016   $9.00
Juan Deluna    212SH204   Sunday, February 21, 2016   $9.00
Juan Deluna    212SH204   Sunday, February 21, 2016   $9.00
Juan Deluna    212SH204   Sunday, February 21, 2016   $9.00                                                $9.00
Juan Deluna                                           $9.00     $1.50     $4.50     $58.47        $0.00
Juan Deluna    212SH204   Sunday, February 28, 2016   $9.00
Juan Deluna    212SH204   Sunday, February 28, 2016   $9.00
Juan Deluna    212SH204   Sunday, February 28, 2016   $9.00
Juan Deluna    212SH204   Sunday, February 28, 2016   $9.00
Juan Deluna    212SH204   Sunday, February 28, 2016   $9.00
Juan Deluna                                           $9.00     $1.50     $4.50     $46.55        $0.00
Juan Deluna    212SH204     Sunday, March 06, 2016    $9.00
Juan Deluna    212SH204     Sunday, March 06, 2016    $9.00
Juan Deluna    212SH204     Sunday, March 06, 2016    $9.00
Juan Deluna    212SH204     Sunday, March 06, 2016    $9.00
Juan Deluna    212SH204     Sunday, March 06, 2016    $9.00
Juan Deluna                                           $9.00     $1.50     $4.50     $50.73        $0.00

                                             Page 40 of 94
                                              Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23       Page 41 of 94
                                                                               Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                   Spread Tip credit
                Bates                                                                                                                                                    Overtime of hours minimum
      Name     number    Week-end date                Clock in date                    Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Juan Deluna   212SH204   Sunday, March 13, 2016        Monday, March 07, 2016        3/7/16 3:52 PM      3/7/16 10:11 PM                  6.32
Juan Deluna   212SH205   Sunday, March 13, 2016     Wednesday, March 09, 2016        3/9/16 4:00 PM      3/9/16 10:09 PM                  6.15
Juan Deluna   212SH205   Sunday, March 13, 2016      Thursday, March 10, 2016       3/10/16 4:00 PM     3/10/16 11:20 PM                  7.33
Juan Deluna   212SH205   Sunday, March 13, 2016         Friday, March 11, 2016      3/11/16 4:02 PM     3/11/16 10:23 PM                  6.35
Juan Deluna   212SH205   Sunday, March 13, 2016       Saturday, March 12, 2016      3/12/16 4:01 PM     3/12/16 10:08 PM                  6.12
Juan Deluna   212SH205   Sunday, March 13, 2016        Sunday, March 13, 2016       3/13/16 4:51 PM     3/13/16 11:01 PM                  6.17
Juan Deluna                                                                                                                 Sum Of Total time:   38.44         38.44       0.00              $7.50
Juan Deluna   212SH205   Sunday, March 20, 2016        Monday, March 14, 2016       3/14/16 3:51 PM     3/14/16 10:17 PM                  6.43
Juan Deluna   212SH205   Sunday, March 20, 2016       Thursday, March 17, 2016      3/17/16 3:53 PM     3/17/16 10:12 PM                  6.32
Juan Deluna   212SH205   Sunday, March 20, 2016          Friday, March 18, 2016     3/18/16 3:46 PM     3/18/16 11:02 PM                  7.27
Juan Deluna   212SH205   Sunday, March 20, 2016       Saturday, March 19, 2016      3/19/16 3:53 PM     3/20/16 12:05 AM                  8.20
Juan Deluna   212SH205   Sunday, March 20, 2016         Sunday, March 20, 2016      3/20/16 3:58 PM      3/20/16 9:52 PM                  5.90
Juan Deluna                                                                                                                 Sum Of Total time:   34.12         34.12       0.00              $7.50
Juan Deluna   212SH205   Sunday, March 27, 2016        Monday, March 21, 2016       3/21/16 4:02 PM     3/21/16 10:00 PM                  5.97
Juan Deluna   212SH205   Sunday, March 27, 2016       Thursday, March 24, 2016      3/24/16 2:52 PM     3/24/16 11:07 PM                  8.25
Juan Deluna   212SH205   Sunday, March 27, 2016          Friday, March 25, 2016     3/25/16 3:53 PM     3/25/16 10:45 PM                  6.87
Juan Deluna   212SH205   Sunday, March 27, 2016       Saturday, March 26, 2016      3/26/16 4:00 PM     3/26/16 10:45 PM                  6.75
Juan Deluna   212SH205   Sunday, March 27, 2016         Sunday, March 27, 2016      3/27/16 3:57 PM     3/27/16 10:04 PM                  6.12
Juan Deluna                                                                                                                 Sum Of Total time:   33.96         33.96       0.00              $7.50
Juan Deluna   212SH205    Sunday, April 03, 2016       Monday, March 28, 2016       3/28/16 3:59 PM      3/28/16 8:49 PM                  4.83
Juan Deluna   212SH205    Sunday, April 03, 2016      Thursday, March 31, 2016      3/31/16 4:01 PM     3/31/16 10:33 PM                  6.53
Juan Deluna   212SH205    Sunday, April 03, 2016           Friday, April 01, 2016    4/1/16 3:59 PM      4/1/16 11:31 PM                  7.53
Juan Deluna   212SH205    Sunday, April 03, 2016        Saturday, April 02, 2016     4/2/16 4:02 PM      4/2/16 11:09 PM                  7.12
Juan Deluna   212SH205    Sunday, April 03, 2016         Sunday, April 03, 2016      4/3/16 3:56 PM       4/3/16 9:11 PM                  5.25
Juan Deluna                                                                                                                 Sum Of Total time:   31.26         31.26       0.00              $7.50
Juan Deluna   212SH205    Sunday, April 10, 2016        Monday, April 04, 2016       4/4/16 3:53 PM      4/4/16 10:14 PM                  6.35
Juan Deluna   212SH205    Sunday, April 10, 2016       Thursday, April 07, 2016      4/7/16 4:00 PM      4/7/16 10:10 PM                  6.17
Juan Deluna   212SH205    Sunday, April 10, 2016          Friday, April 08, 2016     4/8/16 4:05 PM      4/8/16 11:36 PM                  7.52
Juan Deluna   212SH205    Sunday, April 10, 2016       Saturday, April 09, 2016      4/9/16 4:07 PM      4/9/16 11:48 PM                  7.68
Juan Deluna   212SH205    Sunday, April 10, 2016         Sunday, April 10, 2016     4/10/16 3:51 PM     4/10/16 10:45 PM                  6.90
Juan Deluna                                                                                                                 Sum Of Total time:   34.62         34.62       0.00              $7.50
Juan Deluna   212SH205    Sunday, April 17, 2016         Monday, April 11, 2016     4/11/16 3:52 PM      4/11/16 9:51 PM                  5.98
Juan Deluna   212SH205    Sunday, April 17, 2016         Tuesday, April 12, 2016    4/12/16 3:59 PM      4/12/16 9:33 PM                  5.57
Juan Deluna   212SH205    Sunday, April 17, 2016           Friday, April 15, 2016   4/15/16 4:04 PM     4/15/16 11:00 PM                  6.93
Juan Deluna   212SH205    Sunday, April 17, 2016        Saturday, April 16, 2016    4/16/16 4:01 PM     4/16/16 11:38 PM                  7.62
Juan Deluna   212SH205    Sunday, April 17, 2016          Sunday, April 17, 2016    4/17/16 4:27 PM      4/17/16 8:28 PM                  4.02
Juan Deluna                                                                                                                 Sum Of Total time:   30.12         30.12       0.00              $7.50
Juan Deluna   212SH206    Sunday, April 24, 2016        Monday, April 18, 2016      4/18/16 3:56 PM     4/18/16 11:10 PM                  7.23
Juan Deluna   212SH206    Sunday, April 24, 2016        Tuesday, April 19, 2016     4/19/16 4:03 PM     4/19/16 10:54 PM                  6.85

                                                                                        Page 41 of 94
          Case 1:22-cv-00518-JLR-RWL      Document 116-5             Filed 11/16/23          Page 42 of 94
                                  Exhibit 5 - Group 1 unpaid wages


                                                     Full                        Total tip       Total   Total
                 Bates                             minimum Hourly tip Overtime    credit      unpaid OT unpaid
      Name      number     Week-end date            wage    credit    premium     taken        premium   SOH
Juan Deluna    212SH204    Sunday, March 13, 2016   $9.00
Juan Deluna    212SH205    Sunday, March 13, 2016   $9.00
Juan Deluna    212SH205    Sunday, March 13, 2016   $9.00
Juan Deluna    212SH205    Sunday, March 13, 2016   $9.00
Juan Deluna    212SH205    Sunday, March 13, 2016   $9.00
Juan Deluna    212SH205    Sunday, March 13, 2016   $9.00
Juan Deluna                                         $9.00    $1.50      $4.50     $57.66        $0.00
Juan Deluna    212SH205    Sunday, March 20, 2016   $9.00
Juan Deluna    212SH205    Sunday, March 20, 2016   $9.00
Juan Deluna    212SH205    Sunday, March 20, 2016   $9.00
Juan Deluna    212SH205    Sunday, March 20, 2016   $9.00
Juan Deluna    212SH205    Sunday, March 20, 2016   $9.00
Juan Deluna                                         $9.00    $1.50      $4.50     $51.18        $0.00
Juan Deluna    212SH205    Sunday, March 27, 2016   $9.00
Juan Deluna    212SH205    Sunday, March 27, 2016   $9.00
Juan Deluna    212SH205    Sunday, March 27, 2016   $9.00
Juan Deluna    212SH205    Sunday, March 27, 2016   $9.00
Juan Deluna    212SH205    Sunday, March 27, 2016   $9.00
Juan Deluna                                         $9.00    $1.50      $4.50     $50.94        $0.00
Juan Deluna    212SH205     Sunday, April 03, 2016  $9.00
Juan Deluna    212SH205     Sunday, April 03, 2016  $9.00
Juan Deluna    212SH205     Sunday, April 03, 2016  $9.00
Juan Deluna    212SH205     Sunday, April 03, 2016  $9.00
Juan Deluna    212SH205     Sunday, April 03, 2016  $9.00
Juan Deluna                                         $9.00    $1.50      $4.50     $46.89        $0.00
Juan Deluna    212SH205     Sunday, April 10, 2016  $9.00
Juan Deluna    212SH205     Sunday, April 10, 2016  $9.00
Juan Deluna    212SH205     Sunday, April 10, 2016  $9.00
Juan Deluna    212SH205     Sunday, April 10, 2016  $9.00
Juan Deluna    212SH205     Sunday, April 10, 2016  $9.00
Juan Deluna                                         $9.00    $1.50      $4.50     $51.93        $0.00
Juan Deluna    212SH205     Sunday, April 17, 2016  $9.00
Juan Deluna    212SH205     Sunday, April 17, 2016  $9.00
Juan Deluna    212SH205     Sunday, April 17, 2016  $9.00
Juan Deluna    212SH205     Sunday, April 17, 2016  $9.00
Juan Deluna    212SH205     Sunday, April 17, 2016  $9.00
Juan Deluna                                         $9.00    $1.50      $4.50     $45.18        $0.00
Juan Deluna    212SH206     Sunday, April 24, 2016  $9.00
Juan Deluna    212SH206     Sunday, April 24, 2016  $9.00

                                           Page 42 of 94
                                              Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23       Page 43 of 94
                                                                               Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                   Spread Tip credit
                Bates                                                                                                                                                    Overtime of hours minimum
      Name     number    Week-end date                 Clock in date                   Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Juan Deluna   212SH206    Sunday, April 24, 2016      Wednesday, April 20, 2016      4/20/16 3:54 PM     4/20/16 9:31 PM                  5.62
Juan Deluna   212SH206    Sunday, April 24, 2016       Thursday, April 21, 2016      4/21/16 4:10 PM    4/22/16 12:20 AM                  8.17
Juan Deluna   212SH206    Sunday, April 24, 2016          Friday, April 22, 2016     4/22/16 4:01 PM    4/22/16 11:31 PM                  7.50
Juan Deluna   212SH206    Sunday, April 24, 2016        Saturday, April 23, 2016     4/23/16 3:56 PM    4/23/16 11:09 PM                  7.22
Juan Deluna   212SH206    Sunday, April 24, 2016         Sunday, April 24, 2016      4/24/16 4:01 PM    4/24/16 11:14 PM                  7.22
Juan Deluna                                                                                                                 Sum Of Total time:   49.81         40.00       9.81              $7.50
Juan Deluna   212SH206    Sunday, May 01, 2016           Monday, April 25, 2016      4/25/16 3:49 PM    4/25/16 10:28 PM                  6.65
Juan Deluna   212SH206    Sunday, May 01, 2016        Wednesday, April 27, 2016      4/27/16 4:01 PM    4/27/16 11:07 PM                  7.10
Juan Deluna   212SH206    Sunday, May 01, 2016             Friday, April 29, 2016    4/29/16 2:57 PM    4/29/16 10:51 PM                  7.90
Juan Deluna   212SH206    Sunday, May 01, 2016          Saturday, April 30, 2016     4/30/16 4:00 PM    4/30/16 11:18 PM                  7.30
Juan Deluna   212SH206    Sunday, May 01, 2016            Sunday, May 01, 2016        5/1/16 3:50 PM      5/1/16 9:44 PM                  5.90
Juan Deluna                                                                                                                 Sum Of Total time:   34.85         34.85       0.00              $7.50
Juan Deluna   212SH206    Sunday, May 08, 2016           Monday, May 02, 2016         5/2/16 4:09 PM      5/2/16 9:51 PM                  5.70
Juan Deluna   212SH206    Sunday, May 08, 2016          Thursday, May 05, 2016        5/5/16 4:03 PM      5/5/16 5:26 PM                  1.38
Juan Deluna   212SH206    Sunday, May 08, 2016             Friday, May 06, 2016       5/6/16 4:02 PM     5/6/16 10:46 PM                  6.73
Juan Deluna   212SH206    Sunday, May 08, 2016          Saturday, May 07, 2016        5/7/16 3:48 PM     5/7/16 11:25 PM                  7.62
Juan Deluna   212SH206    Sunday, May 08, 2016            Sunday, May 08, 2016       5/8/16 10:03 PM     5/8/16 10:04 PM                  0.02
Juan Deluna                                                                                                                 Sum Of Total time:   21.45         21.45       0.00              $7.50
Juan Deluna   212SH206    Sunday, May 15, 2016           Monday, May 09, 2016         5/9/16 3:57 PM     5/9/16 11:10 PM                  7.22
Juan Deluna   212SH206    Sunday, May 15, 2016          Thursday, May 12, 2016       5/12/16 3:50 PM     5/12/16 9:38 PM                  5.80
Juan Deluna   212SH206    Sunday, May 15, 2016             Friday, May 13, 2016      5/13/16 3:44 PM    5/13/16 10:05 PM                  6.35
Juan Deluna   212SH206    Sunday, May 15, 2016          Saturday, May 14, 2016       5/14/16 3:56 PM    5/14/16 10:58 PM                  7.03
Juan Deluna   212SH206    Sunday, May 15, 2016            Sunday, May 15, 2016       5/15/16 4:06 PM    5/15/16 10:40 PM                  6.57
Juan Deluna                                                                                                                 Sum Of Total time:   32.97         32.97       0.00              $7.50
Juan Deluna   212SH206    Sunday, May 22, 2016            Monday, May 16, 2016       5/16/16 3:59 PM    5/16/16 10:14 PM                  6.25
Juan Deluna   212SH206    Sunday, May 22, 2016            Tuesday, May 17, 2016      5/17/16 3:47 PM    5/17/16 10:38 PM                  6.85
Juan Deluna   212SH206    Sunday, May 22, 2016              Friday, May 20, 2016     5/20/16 4:09 PM    5/20/16 11:47 PM                  7.63
Juan Deluna   212SH206    Sunday, May 22, 2016           Saturday, May 21, 2016      5/21/16 3:55 PM    5/22/16 12:53 AM                  8.97
Juan Deluna   212SH206    Sunday, May 22, 2016             Sunday, May 22, 2016     5/22/16 11:16 AM    5/22/16 10:30 PM                11.23                                         1
Juan Deluna                                                                                                                 Sum Of Total time:   40.93         40.00       0.93              $7.50
Juan Deluna   212SH206    Sunday, May 29, 2016            Monday, May 23, 2016       5/23/16 4:03 PM    5/23/16 10:08 PM                  6.08
Juan Deluna   212SH206    Sunday, May 29, 2016            Tuesday, May 24, 2016      5/24/16 3:53 PM     5/24/16 9:55 PM                  6.03
Juan Deluna   212SH206    Sunday, May 29, 2016              Friday, May 27, 2016     5/27/16 3:57 PM    5/27/16 10:26 PM                  6.48
Juan Deluna   212SH206    Sunday, May 29, 2016           Saturday, May 28, 2016      5/28/16 4:06 PM    5/28/16 11:18 PM                  7.20
Juan Deluna   212SH207    Sunday, May 29, 2016             Sunday, May 29, 2016      5/29/16 4:02 PM    5/29/16 10:28 PM                  6.43
Juan Deluna                                                                                                                 Sum Of Total time:   32.22         32.22       0.00              $7.50
Juan Deluna   212SH207    Sunday, June 05, 2016           Tuesday, May 31, 2016      5/31/16 3:55 PM    5/31/16 10:19 PM                  6.40
Juan Deluna   212SH207    Sunday, June 05, 2016             Friday, June 03, 2016     6/3/16 3:43 PM      6/3/16 9:55 PM                  6.20
Juan Deluna   212SH207    Sunday, June 05, 2016          Saturday, June 04, 2016      6/4/16 4:08 PM     6/4/16 10:06 PM                  5.97

                                                                                        Page 43 of 94
          Case 1:22-cv-00518-JLR-RWL       Document 116-5             Filed 11/16/23          Page 44 of 94
                                   Exhibit 5 - Group 1 unpaid wages


                                                      Full                        Total tip       Total   Total
                 Bates                              minimum Hourly tip Overtime    credit      unpaid OT unpaid
      Name      number      Week-end date            wage    credit    premium     taken        premium   SOH
Juan Deluna    212SH206      Sunday, April 24, 2016  $9.00
Juan Deluna    212SH206      Sunday, April 24, 2016  $9.00
Juan Deluna    212SH206      Sunday, April 24, 2016  $9.00
Juan Deluna    212SH206      Sunday, April 24, 2016  $9.00
Juan Deluna    212SH206      Sunday, April 24, 2016  $9.00
Juan Deluna                                          $9.00    $1.50      $4.50     $74.72        $44.15
Juan Deluna    212SH206      Sunday, May 01, 2016    $9.00
Juan Deluna    212SH206      Sunday, May 01, 2016    $9.00
Juan Deluna    212SH206      Sunday, May 01, 2016    $9.00
Juan Deluna    212SH206      Sunday, May 01, 2016    $9.00
Juan Deluna    212SH206      Sunday, May 01, 2016    $9.00
Juan Deluna                                          $9.00    $1.50      $4.50     $52.28        $0.00
Juan Deluna    212SH206      Sunday, May 08, 2016    $9.00
Juan Deluna    212SH206      Sunday, May 08, 2016    $9.00
Juan Deluna    212SH206      Sunday, May 08, 2016    $9.00
Juan Deluna    212SH206      Sunday, May 08, 2016    $9.00
Juan Deluna    212SH206      Sunday, May 08, 2016    $9.00
Juan Deluna                                          $9.00    $1.50      $4.50     $32.18        $0.00
Juan Deluna    212SH206      Sunday, May 15, 2016    $9.00
Juan Deluna    212SH206      Sunday, May 15, 2016    $9.00
Juan Deluna    212SH206      Sunday, May 15, 2016    $9.00
Juan Deluna    212SH206      Sunday, May 15, 2016    $9.00
Juan Deluna    212SH206      Sunday, May 15, 2016    $9.00
Juan Deluna                                          $9.00    $1.50      $4.50     $49.46        $0.00
Juan Deluna    212SH206      Sunday, May 22, 2016    $9.00
Juan Deluna    212SH206      Sunday, May 22, 2016    $9.00
Juan Deluna    212SH206      Sunday, May 22, 2016    $9.00
Juan Deluna    212SH206      Sunday, May 22, 2016    $9.00
Juan Deluna    212SH206      Sunday, May 22, 2016    $9.00                                                $9.00
Juan Deluna                                          $9.00    $1.50      $4.50     $61.40        $4.19
Juan Deluna    212SH206      Sunday, May 29, 2016    $9.00
Juan Deluna    212SH206      Sunday, May 29, 2016    $9.00
Juan Deluna    212SH206      Sunday, May 29, 2016    $9.00
Juan Deluna    212SH206      Sunday, May 29, 2016    $9.00
Juan Deluna    212SH207      Sunday, May 29, 2016    $9.00
Juan Deluna                                          $9.00    $1.50      $4.50     $48.33        $0.00
Juan Deluna    212SH207      Sunday, June 05, 2016   $9.00
Juan Deluna    212SH207      Sunday, June 05, 2016   $9.00
Juan Deluna    212SH207      Sunday, June 05, 2016   $9.00

                                            Page 44 of 94
                                                   Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23       Page 45 of 94
                                                                                    Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                        Spread Tip credit
                 Bates                                                                                                                                                        Overtime of hours minimum
       Name     number        Week-end date                 Clock in date                   Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Juan Deluna    212SH207        Sunday, June 05, 2016           Sunday, June 05, 2016      6/5/16 11:11 AM      6/5/16 9:56 PM                10.75                                         1
Juan Deluna                                                                                                                      Sum Of Total time:   29.32         29.32       0.00              $7.50
Juan Deluna    212SH207        Sunday, June 12, 2016           Monday, June 06, 2016       6/6/16 4:08 PM     6/6/16 11:02 PM                  6.90
Juan Deluna    212SH207        Sunday, June 12, 2016           Tuesday, June 07, 2016      6/7/16 3:56 PM     6/7/16 10:34 PM                  6.63
Juan Deluna    212SH207        Sunday, June 12, 2016             Friday, June 10, 2016    6/10/16 4:07 PM    6/10/16 10:37 PM                  6.50
Juan Deluna    212SH207        Sunday, June 12, 2016          Saturday, June 11, 2016     6/11/16 4:03 PM    6/11/16 10:08 PM                  6.08
Juan Deluna    212SH207        Sunday, June 12, 2016            Sunday, June 12, 2016     6/12/16 3:49 PM    6/12/16 10:11 PM                  6.37
Juan Deluna                                                                                                                      Sum Of Total time:   32.48         32.48       0.00              $7.50
Juan Deluna    212SH207        Sunday, June 19, 2016       Wednesday, June 15, 2016       6/15/16 4:06 PM     6/15/16 9:47 PM                  5.68
Juan Deluna    212SH207        Sunday, June 19, 2016        Thursday, June 16, 2016       6/16/16 1:57 PM    6/16/16 10:30 PM                  8.55
Juan Deluna    212SH207        Sunday, June 19, 2016            Friday, June 17, 2016     6/17/16 4:03 PM    6/18/16 12:24 AM                  8.35
Juan Deluna    212SH207        Sunday, June 19, 2016         Saturday, June 18, 2016      6/18/16 3:51 PM    6/18/16 10:23 PM                  6.53
Juan Deluna    212SH207        Sunday, June 19, 2016          Sunday, June 19, 2016      6/19/16 10:56 AM    6/19/16 10:49 PM                11.88                                         1
Juan Deluna                                                                                                                      Sum Of Total time:   40.99         40.00       0.99              $7.50
Juan Deluna    212SH207        Sunday, June 26, 2016          Monday, June 20, 2016       6/20/16 4:00 PM    6/20/16 10:43 PM                  6.72
Juan Deluna    212SH207        Sunday, June 26, 2016          Tuesday, June 21, 2016      6/21/16 3:56 PM    6/21/16 10:06 PM                  6.17
Juan Deluna    212SH207        Sunday, June 26, 2016       Wednesday, June 22, 2016       6/22/16 4:03 PM    6/22/16 10:20 PM                  6.28
Juan Deluna    212SH207        Sunday, June 26, 2016        Thursday, June 23, 2016       6/23/16 3:50 PM    6/23/16 10:29 PM                  6.65
Juan Deluna    212SH207        Sunday, June 26, 2016            Friday, June 24, 2016     6/24/16 4:07 PM    6/24/16 11:23 PM                  7.27
Juan Deluna    212SH207        Sunday, June 26, 2016         Saturday, June 25, 2016      6/25/16 3:50 PM    6/25/16 11:01 PM                  7.18
Juan Deluna    212SH207        Sunday, June 26, 2016           Sunday, June 26, 2016      6/26/16 3:58 PM    6/26/16 11:41 PM                  7.72
Juan Deluna                                                                                                                      Sum Of Total time:   47.99         40.00       7.99              $7.50
Juan Deluna    212SH207         Sunday, July 03, 2016      Wednesday, June 29, 2016       6/29/16 4:00 PM    6/29/16 10:22 PM                  6.37
Juan Deluna    212SH207         Sunday, July 03, 2016       Thursday, June 30, 2016       6/30/16 3:54 PM    6/30/16 10:35 PM                  6.68
Juan Deluna    212SH207         Sunday, July 03, 2016           Friday, July 01, 2016      7/1/16 3:57 PM     7/1/16 10:21 PM                  6.40
Juan Deluna    212SH207         Sunday, July 03, 2016        Saturday, July 02, 2016       7/2/16 3:48 PM     7/2/16 11:19 PM                  7.52
Juan Deluna    212SH207         Sunday, July 03, 2016         Sunday, July 03, 2016        7/3/16 3:54 PM     7/3/16 10:30 PM                  6.60
Juan Deluna                                                                                                                      Sum Of Total time:   33.57         33.57       0.00              $7.50
Juan Deluna    212SH207         Sunday, July 10, 2016       Wednesday, July 06, 2016       7/6/16 4:03 PM      7/6/16 8:16 PM                  4.22
Juan Deluna    212SH207         Sunday, July 10, 2016        Thursday, July 07, 2016       7/7/16 4:00 PM      7/7/16 9:01 PM                  5.02
Juan Deluna    212SH207         Sunday, July 10, 2016            Friday, July 08, 2016     7/8/16 3:57 PM     7/8/16 10:19 PM                  6.37
Juan Deluna    212SH208         Sunday, July 10, 2016         Saturday, July 09, 2016      7/9/16 4:10 PM     7/9/16 11:02 PM                  6.87
Juan Deluna    212SH208         Sunday, July 10, 2016          Sunday, July 10, 2016      7/10/16 3:58 PM    7/10/16 11:13 PM                  7.25
Juan Deluna                                                                                                                      Sum Of Total time:   29.73         29.73       0.00              $7.50

Kelsey Foley   212SH209   Sunday, September 25, 2016       Friday, September 23, 2016     9/23/16 4:00 PM    9/24/16 12:26 AM                  8.43
Kelsey Foley   212SH209   Sunday, September 25, 2016    Saturday, September 24, 2016      9/24/16 4:00 PM    9/24/16 11:05 PM                  7.08
Kelsey Foley   212SH209   Sunday, September 25, 2016     Sunday, September 25, 2016       9/25/16 4:00 PM    9/25/16 10:04 PM                  6.07
Kelsey Foley                                                                                                                     Sum Of Total time:   21.58         21.58       0.00              $7.50

                                                                                             Page 45 of 94
           Case 1:22-cv-00518-JLR-RWL         Document 116-5             Filed 11/16/23    Page 46 of 94
                                      Exhibit 5 - Group 1 unpaid wages


                                                          Full                       Total tip    Total   Total
                  Bates                                 minimum Hourly tip Overtime   credit   unpaid OT unpaid
       Name      number        Week-end date             wage      credit    premium   taken    premium   SOH
Juan Deluna     212SH207        Sunday, June 05, 2016    $9.00                                             $9.00
Juan Deluna                                              $9.00      $1.50      $4.50  $43.98      $0.00
Juan Deluna     212SH207        Sunday, June 12, 2016    $9.00
Juan Deluna     212SH207        Sunday, June 12, 2016    $9.00
Juan Deluna     212SH207        Sunday, June 12, 2016    $9.00
Juan Deluna     212SH207        Sunday, June 12, 2016    $9.00
Juan Deluna     212SH207        Sunday, June 12, 2016    $9.00
Juan Deluna                                              $9.00      $1.50      $4.50  $48.72      $0.00
Juan Deluna     212SH207        Sunday, June 19, 2016    $9.00
Juan Deluna     212SH207        Sunday, June 19, 2016    $9.00
Juan Deluna     212SH207        Sunday, June 19, 2016    $9.00
Juan Deluna     212SH207        Sunday, June 19, 2016    $9.00
Juan Deluna     212SH207        Sunday, June 19, 2016    $9.00                                             $9.00
Juan Deluna                                              $9.00      $1.50      $4.50  $61.49      $4.46
Juan Deluna     212SH207        Sunday, June 26, 2016    $9.00
Juan Deluna     212SH207        Sunday, June 26, 2016    $9.00
Juan Deluna     212SH207        Sunday, June 26, 2016    $9.00
Juan Deluna     212SH207        Sunday, June 26, 2016    $9.00
Juan Deluna     212SH207        Sunday, June 26, 2016    $9.00
Juan Deluna     212SH207        Sunday, June 26, 2016    $9.00
Juan Deluna     212SH207        Sunday, June 26, 2016    $9.00
Juan Deluna                                              $9.00      $1.50      $4.50  $71.99      $35.96
Juan Deluna     212SH207         Sunday, July 03, 2016   $9.00
Juan Deluna     212SH207         Sunday, July 03, 2016   $9.00
Juan Deluna     212SH207         Sunday, July 03, 2016   $9.00
Juan Deluna     212SH207         Sunday, July 03, 2016   $9.00
Juan Deluna     212SH207         Sunday, July 03, 2016   $9.00
Juan Deluna                                              $9.00      $1.50      $4.50  $50.36      $0.00
Juan Deluna     212SH207         Sunday, July 10, 2016   $9.00
Juan Deluna     212SH207         Sunday, July 10, 2016   $9.00
Juan Deluna     212SH207         Sunday, July 10, 2016   $9.00
Juan Deluna     212SH208         Sunday, July 10, 2016   $9.00
Juan Deluna     212SH208         Sunday, July 10, 2016   $9.00
Juan Deluna                                              $9.00      $1.50      $4.50  $44.60      $0.00
                                                       Juan Deluna subtotal:         $1,298.27   $146.57 $63.00
Kelsey Foley    212SH209   Sunday, September 25, 2016    $9.00
Kelsey Foley    212SH209   Sunday, September 25, 2016    $9.00
Kelsey Foley    212SH209   Sunday, September 25, 2016    $9.00
Kelsey Foley                                             $9.00      $1.50      $4.50  $32.37      $0.00

                                               Page 46 of 94
                                                  Case 1:22-cv-00518-JLR-RWL                Document 116-5             Filed 11/16/23        Page 47 of 94
                                                                                    Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                         Spread Tip credit
                 Bates                                                                                                                                                         Overtime of hours minimum
       Name     number       Week-end date                   Clock in date                  Time in             Time out         Total hours worked Weekly hours Regular hours  hours     shifts  wage
Kelsey Foley   212SH209     Sunday, October 02, 2016     Monday, September 26, 2016       9/26/16 4:00 PM     9/26/16 11:27 PM                  7.45
Kelsey Foley   212SH209     Sunday, October 02, 2016      Friday, September 30, 2016      9/30/16 4:16 PM     9/30/16 10:22 PM                  6.10
Kelsey Foley   212SH209     Sunday, October 02, 2016        Sunday, October 02, 2016      10/2/16 4:00 PM     10/2/16 10:10 PM                  6.17
Kelsey Foley                                                                                                                      Sum Of Total time:   19.72         19.72       0.00              $7.50
Kelsey Foley   212SH209     Sunday, October 09, 2016       Monday, October 03, 2016       10/3/16 4:07 PM     10/3/16 10:40 PM                  6.55
Kelsey Foley   212SH209     Sunday, October 09, 2016       Tuesday, October 04, 2016      10/4/16 4:03 PM      10/4/16 8:11 PM                  4.13
Kelsey Foley   212SH209     Sunday, October 09, 2016     Wednesday, October 05, 2016      10/5/16 4:11 PM     10/5/16 11:01 PM                  6.83
Kelsey Foley   212SH209     Sunday, October 09, 2016         Friday, October 07, 2016     10/7/16 4:18 PM     10/7/16 10:36 PM                  6.30
Kelsey Foley   212SH209     Sunday, October 09, 2016        Sunday, October 09, 2016      10/9/16 4:15 PM      10/9/16 9:45 PM                  5.50
Kelsey Foley                                                                                                                      Sum Of Total time:   29.31         29.31       0.00              $7.50
Kelsey Foley   212SH209     Sunday, October 16, 2016       Monday, October 10, 2016      10/10/16 4:07 PM 10/11/16 12:25 AM                     8.30
Kelsey Foley   212SH209     Sunday, October 16, 2016         Friday, October 14, 2016    10/14/16 5:02 PM 10/14/16 6:53 PM                      1.85
Kelsey Foley   212SH209     Sunday, October 16, 2016       Saturday, October 15, 2016    10/15/16 5:01 PM 10/16/16 12:29 AM                     7.47
Kelsey Foley   212SH209     Sunday, October 16, 2016        Sunday, October 16, 2016     10/16/16 4:28 PM 10/16/16 11:27 PM                     6.98
Kelsey Foley                                                                                                                      Sum Of Total time:   24.60         24.60       0.00              $7.50
Kelsey Foley   212SH209     Sunday, October 23, 2016        Monday, October 17, 2016     10/17/16 4:07 PM    10/17/16 11:24 PM                  7.28
Kelsey Foley   212SH209     Sunday, October 23, 2016       Thursday, October 20, 2016    10/20/16 4:34 PM    10/20/16 11:17 PM                  6.72
Kelsey Foley   212SH209     Sunday, October 23, 2016          Friday, October 21, 2016   10/21/16 3:59 PM    10/21/16 11:26 PM                  7.45
Kelsey Foley   212SH209     Sunday, October 23, 2016       Saturday, October 22, 2016    10/22/16 4:19 PM    10/22/16 11:32 PM                  7.22
Kelsey Foley   212SH209     Sunday, October 23, 2016         Sunday, October 23, 2016    10/23/16 4:01 PM     10/23/16 9:52 PM                  5.85
Kelsey Foley                                                                                                                      Sum Of Total time:   34.52         34.52       0.00              $7.50
Kelsey Foley   212SH209     Sunday, October 30, 2016       Monday, October 24, 2016 10/24/16 4:16 PM         10/24/16 10:18 PM                  6.03
Kelsey Foley   212SH209     Sunday, October 30, 2016       Tuesday, October 25, 2016 10/25/16 4:33 PM         10/26/16 1:09 AM                  8.60
Kelsey Foley   212SH209     Sunday, October 30, 2016         Friday, October 28, 2016 10/28/16 4:32 PM       10/28/16 11:58 PM                  7.43
Kelsey Foley   212SH209     Sunday, October 30, 2016       Saturday, October 29, 2016 10/29/16 6:47 PM       10/30/16 12:58 AM                  6.18
Kelsey Foley   212SH209     Sunday, October 30, 2016        Sunday, October 30, 2016 10/30/16 11:49 PM       10/30/16 11:49 PM                  0.00
Kelsey Foley                                                                                                                      Sum Of Total time:   28.24         28.24       0.00              $7.50
Kelsey Foley   212SH209   Sunday, November 06, 2016         Monday, October 31, 2016     10/31/16 4:24 PM 10/31/16 11:06 PM                     6.70
Kelsey Foley   212SH209   Sunday, November 06, 2016         Friday, November 04, 2016     11/4/16 5:03 PM 11/5/16 12:20 AM                      7.28
Kelsey Foley   212SH209   Sunday, November 06, 2016      Saturday, November 05, 2016      11/5/16 4:16 PM 11/6/16 12:01 AM                      7.75
Kelsey Foley   212SH209   Sunday, November 06, 2016       Sunday, November 06, 2016       11/6/16 4:07 PM 11/6/16 10:51 PM                      6.73
Kelsey Foley                                                                                                                      Sum Of Total time:   28.46         28.46       0.00              $7.50
Kelsey Foley   212SH209   Sunday, November 13, 2016       Monday, November 07, 2016       11/7/16 4:15 PM 11/8/16 12:07 AM                      7.87
Kelsey Foley   212SH210   Sunday, November 13, 2016    Wednesday, November 09, 2016       11/9/16 4:39 PM 11/10/16 12:39 AM                     8.00
Kelsey Foley   212SH210   Sunday, November 13, 2016        Friday, November 11, 2016     11/11/16 4:23 PM 11/12/16 12:21 AM                     7.97
Kelsey Foley   212SH210   Sunday, November 13, 2016      Saturday, November 12, 2016     11/12/16 4:22 PM 11/13/16 12:12 AM                     7.83
Kelsey Foley                                                                                                                      Sum Of Total time:   31.67         31.67       0.00              $7.50
Kelsey Foley   212SH210   Sunday, November 20, 2016       Monday, November 14, 2016      11/14/16 4:40 PM 11/14/16 11:16 PM                     6.60
Kelsey Foley   212SH210   Sunday, November 20, 2016       Tuesday, November 15, 2016     11/15/16 4:43 PM 11/15/16 10:46 PM                     6.05

                                                                                             Page 47 of 94
           Case 1:22-cv-00518-JLR-RWL         Document 116-5             Filed 11/16/23         Page 48 of 94
                                      Exhibit 5 - Group 1 unpaid wages


                                                        Full                        Total tip       Total   Total
                  Bates                               minimum Hourly tip Overtime    credit      unpaid OT unpaid
       Name      number        Week-end date           wage    credit    premium     taken        premium   SOH
Kelsey Foley    212SH209     Sunday, October 02, 2016  $9.00
Kelsey Foley    212SH209     Sunday, October 02, 2016  $9.00
Kelsey Foley    212SH209     Sunday, October 02, 2016  $9.00
Kelsey Foley                                           $9.00    $1.50      $4.50     $29.58        $0.00
Kelsey Foley    212SH209     Sunday, October 09, 2016  $9.00
Kelsey Foley    212SH209     Sunday, October 09, 2016  $9.00
Kelsey Foley    212SH209     Sunday, October 09, 2016  $9.00
Kelsey Foley    212SH209     Sunday, October 09, 2016  $9.00
Kelsey Foley    212SH209     Sunday, October 09, 2016  $9.00
Kelsey Foley                                           $9.00    $1.50      $4.50     $43.97        $0.00
Kelsey Foley    212SH209     Sunday, October 16, 2016  $9.00
Kelsey Foley    212SH209     Sunday, October 16, 2016  $9.00
Kelsey Foley    212SH209     Sunday, October 16, 2016  $9.00
Kelsey Foley    212SH209     Sunday, October 16, 2016  $9.00
Kelsey Foley                                           $9.00    $1.50      $4.50     $36.90        $0.00
Kelsey Foley    212SH209     Sunday, October 23, 2016  $9.00
Kelsey Foley    212SH209     Sunday, October 23, 2016  $9.00
Kelsey Foley    212SH209     Sunday, October 23, 2016  $9.00
Kelsey Foley    212SH209     Sunday, October 23, 2016  $9.00
Kelsey Foley    212SH209     Sunday, October 23, 2016  $9.00
Kelsey Foley                                           $9.00    $1.50      $4.50     $51.78        $0.00
Kelsey Foley    212SH209     Sunday, October 30, 2016  $9.00
Kelsey Foley    212SH209     Sunday, October 30, 2016  $9.00
Kelsey Foley    212SH209     Sunday, October 30, 2016  $9.00
Kelsey Foley    212SH209     Sunday, October 30, 2016  $9.00
Kelsey Foley    212SH209     Sunday, October 30, 2016  $9.00
Kelsey Foley                                           $9.00    $1.50      $4.50     $42.36        $0.00
Kelsey Foley    212SH209   Sunday, November 06, 2016   $9.00
Kelsey Foley    212SH209   Sunday, November 06, 2016   $9.00
Kelsey Foley    212SH209   Sunday, November 06, 2016   $9.00
Kelsey Foley    212SH209   Sunday, November 06, 2016   $9.00
Kelsey Foley                                           $9.00    $1.50      $4.50     $42.69        $0.00
Kelsey Foley    212SH209   Sunday, November 13, 2016   $9.00
Kelsey Foley    212SH210   Sunday, November 13, 2016   $9.00
Kelsey Foley    212SH210   Sunday, November 13, 2016   $9.00
Kelsey Foley    212SH210   Sunday, November 13, 2016   $9.00
Kelsey Foley                                           $9.00    $1.50      $4.50     $47.51        $0.00
Kelsey Foley    212SH210   Sunday, November 20, 2016   $9.00
Kelsey Foley    212SH210   Sunday, November 20, 2016   $9.00

                                               Page 48 of 94
                                                  Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23        Page 49 of 94
                                                                                   Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                        Spread Tip credit
                 Bates                                                                                                                                                        Overtime of hours minimum
       Name     number       Week-end date                   Clock in date                 Time in             Time out         Total hours worked Weekly hours Regular hours  hours     shifts  wage
Kelsey Foley   212SH210   Sunday, November 20, 2016      Thursday, November 17, 2016    11/17/16 4:19 PM 11/18/16 12:00 AM                     7.68
Kelsey Foley   212SH210   Sunday, November 20, 2016        Friday, November 18, 2016    11/18/16 4:14 PM 11/19/16 12:27 AM                     8.22
Kelsey Foley   212SH210   Sunday, November 20, 2016      Saturday, November 19, 2016    11/19/16 4:28 PM 11/20/16 12:31 AM                     8.05
Kelsey Foley                                                                                                                     Sum Of Total time:   36.60         36.60       0.00              $7.50
Kelsey Foley   212SH210   Sunday, November 27, 2016       Monday, November 21, 2016 11/21/16 4:23 PM 11/21/16 10:17 PM                         5.90
Kelsey Foley   212SH210   Sunday, November 27, 2016    Wednesday, November 23, 2016 11/23/16 4:48 PM 11/23/16 6:04 PM                          1.27
Kelsey Foley   212SH210   Sunday, November 27, 2016     Thursday, November 24, 2016 11/24/16 11:02 AM 11/24/16 11:55 PM                      12.88                                         1
Kelsey Foley   212SH210   Sunday, November 27, 2016        Friday, November 25, 2016 11/25/16 4:13 PM 11/25/16 10:23 PM                        6.17
Kelsey Foley   212SH210   Sunday, November 27, 2016      Saturday, November 26, 2016 11/26/16 4:19 PM 11/27/16 1:39 AM                         9.33
Kelsey Foley   212SH210   Sunday, November 27, 2016       Sunday, November 27, 2016 11/27/16 4:31 PM 11/27/16 10:18 PM                         5.78
Kelsey Foley                                                                                                                     Sum Of Total time:   41.33         40.00       1.33              $7.50
Kelsey Foley   212SH210   Sunday, December 04, 2016      Thursday, December 01, 2016     12/1/16 3:59 PM    12/1/16 10:24 PM                   6.42
Kelsey Foley   212SH210   Sunday, December 04, 2016         Friday, December 02, 2016    12/2/16 4:14 PM    12/3/16 12:25 AM                   8.18
Kelsey Foley   212SH210   Sunday, December 04, 2016      Saturday, December 03, 2016     12/3/16 4:08 PM    12/3/16 11:54 PM                   7.77
Kelsey Foley                                                                                                                     Sum Of Total time:   22.37         22.37       0.00              $7.50
Kelsey Foley   212SH210   Sunday, December 11, 2016       Monday, December 05, 2016      12/5/16 4:13 PM 12/5/16 11:05 PM                      6.87
Kelsey Foley   212SH210   Sunday, December 11, 2016    Wednesday, December 07, 2016      12/7/16 3:38 PM 12/7/16 10:42 PM                      7.07
Kelsey Foley   212SH210   Sunday, December 11, 2016     Thursday, December 08, 2016      12/8/16 4:18 PM 12/8/16 10:58 PM                      6.67
Kelsey Foley   212SH210   Sunday, December 11, 2016         Friday, December 09, 2016    12/9/16 4:13 PM 12/9/16 10:53 PM                      6.67
Kelsey Foley   212SH210   Sunday, December 11, 2016      Saturday, December 10, 2016    12/10/16 4:13 PM 12/10/16 11:57 PM                     7.73
Kelsey Foley   212SH210   Sunday, December 11, 2016       Sunday, December 11, 2016     12/11/16 4:30 PM 12/11/16 10:47 PM                     6.28
Kelsey Foley                                                                                                                     Sum Of Total time:   41.29         40.00       1.29              $7.50
Kelsey Foley   212SH210   Sunday, December 18, 2016    Wednesday, December 14, 2016     12/14/16 4:04 PM    12/14/16 11:57 PM                  7.88
Kelsey Foley   212SH210   Sunday, December 18, 2016     Thursday, December 15, 2016     12/15/16 4:20 PM    12/15/16 11:17 PM                  6.95
Kelsey Foley   212SH210   Sunday, December 18, 2016        Friday, December 16, 2016    12/16/16 4:30 PM    12/16/16 11:42 PM                  7.20
Kelsey Foley   212SH210   Sunday, December 18, 2016      Saturday, December 17, 2016    12/17/16 4:23 PM    12/17/16 10:41 PM                  6.30
Kelsey Foley   212SH210   Sunday, December 18, 2016       Sunday, December 18, 2016     12/18/16 4:07 PM    12/18/16 10:08 PM                  6.02
Kelsey Foley                                                                                                                     Sum Of Total time:   34.35         34.35       0.00              $7.50
Kelsey Foley   212SH210   Sunday, December 25, 2016    Wednesday, December 21, 2016 12/21/16 4:16 PM        12/21/16 11:21 PM                  7.08
Kelsey Foley   212SH210   Sunday, December 25, 2016     Thursday, December 22, 2016 12/22/16 4:11 PM        12/22/16 11:38 PM                  7.45
Kelsey Foley   212SH211   Sunday, December 25, 2016        Friday, December 23, 2016 12/23/16 4:15 PM       12/23/16 11:54 PM                  7.65
Kelsey Foley   212SH211   Sunday, December 25, 2016      Saturday, December 24, 2016 12/24/16 12:44 PM      12/24/16 10:00 PM                  9.27
Kelsey Foley   212SH211   Sunday, December 25, 2016       Sunday, December 25, 2016 12/25/16 11:46 AM       12/25/16 10:38 PM                10.87                                         1
Kelsey Foley                                                                                                                     Sum Of Total time:   42.32         40.00       2.32              $7.50
Kelsey Foley   212SH211     Sunday, January 01, 2017     Thursday, December 29, 2016    12/29/16 4:03 PM 12/30/16 12:29 AM                     8.43
Kelsey Foley   212SH211     Sunday, January 01, 2017       Friday, December 30, 2016    12/30/16 4:20 PM 12/30/16 11:28 PM                     7.13
Kelsey Foley   212SH211     Sunday, January 01, 2017     Saturday, December 31, 2016    12/31/16 4:31 PM 12/31/16 11:13 PM                     6.70
Kelsey Foley                                                                                                                     Sum Of Total time:   22.26         22.26       0.00              $7.50
Kelsey Foley   212SH140     Sunday, January 08, 2017        Tuesday, January 03, 2017     1/3/17 5:05 PM      1/3/17 10:20 PM                  5.25

                                                                                            Page 49 of 94
           Case 1:22-cv-00518-JLR-RWL         Document 116-5             Filed 11/16/23         Page 50 of 94
                                      Exhibit 5 - Group 1 unpaid wages


                                                        Full                        Total tip       Total   Total
                  Bates                               minimum Hourly tip Overtime    credit      unpaid OT unpaid
       Name      number       Week-end date            wage    credit    premium     taken        premium   SOH
Kelsey Foley    212SH210   Sunday, November 20, 2016   $9.00
Kelsey Foley    212SH210   Sunday, November 20, 2016   $9.00
Kelsey Foley    212SH210   Sunday, November 20, 2016   $9.00
Kelsey Foley                                           $9.00    $1.50      $4.50     $54.90        $0.00
Kelsey Foley    212SH210   Sunday, November 27, 2016   $9.00
Kelsey Foley    212SH210   Sunday, November 27, 2016   $9.00
Kelsey Foley    212SH210   Sunday, November 27, 2016   $9.00                                                $9.00
Kelsey Foley    212SH210   Sunday, November 27, 2016   $9.00
Kelsey Foley    212SH210   Sunday, November 27, 2016   $9.00
Kelsey Foley    212SH210   Sunday, November 27, 2016   $9.00
Kelsey Foley                                           $9.00    $1.50      $4.50     $62.00        $5.98
Kelsey Foley    212SH210   Sunday, December 04, 2016   $9.00
Kelsey Foley    212SH210   Sunday, December 04, 2016   $9.00
Kelsey Foley    212SH210   Sunday, December 04, 2016   $9.00
Kelsey Foley                                           $9.00    $1.50      $4.50     $33.56        $0.00
Kelsey Foley    212SH210   Sunday, December 11, 2016   $9.00
Kelsey Foley    212SH210   Sunday, December 11, 2016   $9.00
Kelsey Foley    212SH210   Sunday, December 11, 2016   $9.00
Kelsey Foley    212SH210   Sunday, December 11, 2016   $9.00
Kelsey Foley    212SH210   Sunday, December 11, 2016   $9.00
Kelsey Foley    212SH210   Sunday, December 11, 2016   $9.00
Kelsey Foley                                           $9.00    $1.50      $4.50     $61.94        $5.81
Kelsey Foley    212SH210   Sunday, December 18, 2016   $9.00
Kelsey Foley    212SH210   Sunday, December 18, 2016   $9.00
Kelsey Foley    212SH210   Sunday, December 18, 2016   $9.00
Kelsey Foley    212SH210   Sunday, December 18, 2016   $9.00
Kelsey Foley    212SH210   Sunday, December 18, 2016   $9.00
Kelsey Foley                                           $9.00    $1.50      $4.50     $51.53        $0.00
Kelsey Foley    212SH210   Sunday, December 25, 2016   $9.00
Kelsey Foley    212SH210   Sunday, December 25, 2016   $9.00
Kelsey Foley    212SH211   Sunday, December 25, 2016   $9.00
Kelsey Foley    212SH211   Sunday, December 25, 2016   $9.00
Kelsey Foley    212SH211   Sunday, December 25, 2016   $9.00                                                $9.00
Kelsey Foley                                           $9.00    $1.50      $4.50     $63.48        $10.44
Kelsey Foley    212SH211     Sunday, January 01, 2017  $9.00
Kelsey Foley    212SH211     Sunday, January 01, 2017  $9.00
Kelsey Foley    212SH211     Sunday, January 01, 2017  $9.00
Kelsey Foley                                           $9.00    $1.50      $4.50     $33.39        $0.00
Kelsey Foley    212SH140     Sunday, January 08, 2017 $11.00

                                               Page 50 of 94
                                                 Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23       Page 51 of 94
                                                                                  Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                      Spread Tip credit
                 Bates                                                                                                                                                      Overtime of hours minimum
       Name     number      Week-end date                  Clock in date                  Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Kelsey Foley   212SH140    Sunday, January 08, 2017    Wednesday, January 04, 2017       1/4/17 4:32 PM     1/4/17 10:56 PM                  6.40
Kelsey Foley   212SH140    Sunday, January 08, 2017        Friday, January 06, 2017      1/6/17 4:16 PM     1/6/17 10:45 PM                  6.48
Kelsey Foley   212SH140    Sunday, January 08, 2017       Sunday, January 08, 2017       1/8/17 4:36 PM      1/8/17 9:58 PM                  5.37
Kelsey Foley                                                                                                                   Sum Of Total time:   23.50         23.50       0.00              $7.50
Kelsey Foley   212SH140    Sunday, January 15, 2017         Friday, January 13, 2017   1/13/17 4:51 PM     1/13/17 11:53 PM                  7.03
Kelsey Foley   212SH140    Sunday, January 15, 2017       Saturday, January 14, 2017   1/14/17 4:35 PM     1/14/17 10:19 PM                  5.73
Kelsey Foley   212SH140    Sunday, January 15, 2017        Sunday, January 15, 2017    1/15/17 5:11 PM     1/16/17 12:13 AM                  7.03
Kelsey Foley                                                                                                                   Sum Of Total time:   19.79         19.79       0.00              $7.50
Kelsey Foley   212SH140    Sunday, January 22, 2017      Monday, January 16, 2017      1/16/17 4:27 PM     1/16/17 10:58 PM                  6.52
Kelsey Foley   212SH140    Sunday, January 22, 2017    Wednesday, January 18, 2017     1/18/17 7:18 PM      1/19/17 1:47 AM                  6.48
Kelsey Foley   212SH140    Sunday, January 22, 2017        Friday, January 20, 2017    1/20/17 4:28 PM      1/20/17 8:23 PM                  3.92
Kelsey Foley                                                                                                                   Sum Of Total time:   16.92         16.92       0.00              $7.50
Kelsey Foley   212SH140    Sunday, January 29, 2017        Monday, January 23, 2017    1/23/17 4:27 PM     1/23/17 11:29 PM                  7.03
Kelsey Foley   212SH140    Sunday, January 29, 2017        Tuesday, January 24, 2017   1/24/17 5:06 PM     1/24/17 11:28 PM                  6.37
Kelsey Foley   212SH141    Sunday, January 29, 2017       Saturday, January 28, 2017   1/28/17 4:33 PM     1/29/17 12:04 AM                  7.52
Kelsey Foley                                                                                                                   Sum Of Total time:   20.92         20.92       0.00              $7.50
Kelsey Foley   212SH141   Sunday, February 05, 2017       Monday, January 30, 2017     1/30/17 4:31 PM      1/30/17 9:46 PM                  5.25
Kelsey Foley   212SH141   Sunday, February 05, 2017       Tuesday, January 31, 2017    1/31/17 4:24 PM     1/31/17 11:22 PM                  6.97
Kelsey Foley   212SH141   Sunday, February 05, 2017     Thursday, February 02, 2017     2/2/17 4:36 PM       2/2/17 9:36 PM                  5.00
Kelsey Foley   212SH141   Sunday, February 05, 2017        Friday, February 03, 2017    2/3/17 4:22 PM      2/4/17 12:00 AM                  7.63
Kelsey Foley   212SH141   Sunday, February 05, 2017     Saturday, February 04, 2017     2/4/17 6:06 PM      2/4/17 10:34 PM                  4.47
Kelsey Foley                                                                                                                   Sum Of Total time:   29.32         29.32       0.00              $7.50
Kelsey Foley   212SH141   Sunday, February 12, 2017      Tuesday, February 07, 2017     2/7/17 4:12 PM      2/7/17 11:47 PM                  7.58
Kelsey Foley   212SH141   Sunday, February 12, 2017        Friday, February 10, 2017   2/10/17 4:40 PM     2/10/17 10:47 PM                  6.12
Kelsey Foley   212SH141   Sunday, February 12, 2017     Saturday, February 11, 2017    2/11/17 4:32 PM     2/11/17 11:21 PM                  6.82
Kelsey Foley                                                                                                                   Sum Of Total time:   20.52         20.52       0.00              $7.50
Kelsey Foley   212SH141   Sunday, February 19, 2017      Tuesday, February 14, 2017    2/14/17 3:37 PM     2/14/17 10:58 PM                  7.35
Kelsey Foley   212SH141   Sunday, February 19, 2017   Wednesday, February 15, 2017     2/15/17 5:15 PM      2/15/17 9:56 PM                  4.68
Kelsey Foley   212SH141   Sunday, February 19, 2017    Thursday, February 16, 2017     2/16/17 4:22 PM      2/16/17 7:47 PM                  3.42
Kelsey Foley   212SH141   Sunday, February 19, 2017        Friday, February 17, 2017   2/17/17 4:25 PM     2/17/17 11:51 PM                  7.43
Kelsey Foley   212SH141   Sunday, February 19, 2017     Saturday, February 18, 2017    2/18/17 4:49 PM     2/18/17 11:39 PM                  6.83
Kelsey Foley   212SH141   Sunday, February 19, 2017       Sunday, February 19, 2017    2/19/17 4:29 PM     2/19/17 11:28 PM                  6.98
Kelsey Foley                                                                                                                   Sum Of Total time:   36.69         36.69       0.00              $7.50
Kelsey Foley   212SH141   Sunday, February 26, 2017      Monday, February 20, 2017     2/20/17 5:41 PM      2/20/17 9:52 PM                  4.18
Kelsey Foley   212SH141   Sunday, February 26, 2017      Tuesday, February 21, 2017    2/21/17 4:09 PM     2/21/17 10:59 PM                  6.83
Kelsey Foley   212SH141   Sunday, February 26, 2017   Wednesday, February 22, 2017     2/22/17 4:17 PM     2/22/17 11:42 PM                  7.42
Kelsey Foley   212SH141   Sunday, February 26, 2017        Friday, February 24, 2017   2/24/17 4:20 PM      2/24/17 9:19 PM                  4.98
Kelsey Foley   212SH141   Sunday, February 26, 2017     Saturday, February 25, 2017    2/25/17 4:33 PM     2/25/17 11:04 PM                  6.52
Kelsey Foley                                                                                                                   Sum Of Total time:   29.93         29.93       0.00              $7.50

                                                                                           Page 51 of 94
           Case 1:22-cv-00518-JLR-RWL       Document 116-5             Filed 11/16/23         Page 52 of 94
                                    Exhibit 5 - Group 1 unpaid wages


                                                      Full                        Total tip       Total   Total
                  Bates                             minimum Hourly tip Overtime    credit      unpaid OT unpaid
       Name      number      Week-end date           wage    credit    premium     taken        premium   SOH
Kelsey Foley    212SH140    Sunday, January 08, 2017 $11.00
Kelsey Foley    212SH140    Sunday, January 08, 2017 $11.00
Kelsey Foley    212SH140    Sunday, January 08, 2017 $11.00
Kelsey Foley                                         $11.00   $3.50      $5.50     $82.25        $0.00
Kelsey Foley    212SH140    Sunday, January 15, 2017 $11.00
Kelsey Foley    212SH140    Sunday, January 15, 2017 $11.00
Kelsey Foley    212SH140    Sunday, January 15, 2017 $11.00
Kelsey Foley                                         $11.00   $3.50      $5.50     $69.27        $0.00
Kelsey Foley    212SH140    Sunday, January 22, 2017 $11.00
Kelsey Foley    212SH140    Sunday, January 22, 2017 $11.00
Kelsey Foley    212SH140    Sunday, January 22, 2017 $11.00
Kelsey Foley                                         $11.00   $3.50      $5.50     $59.22        $0.00
Kelsey Foley    212SH140    Sunday, January 29, 2017 $11.00
Kelsey Foley    212SH140    Sunday, January 29, 2017 $11.00
Kelsey Foley    212SH141    Sunday, January 29, 2017 $11.00
Kelsey Foley                                         $11.00   $3.50      $5.50     $73.22        $0.00
Kelsey Foley    212SH141   Sunday, February 05, 2017 $11.00
Kelsey Foley    212SH141   Sunday, February 05, 2017 $11.00
Kelsey Foley    212SH141   Sunday, February 05, 2017 $11.00
Kelsey Foley    212SH141   Sunday, February 05, 2017 $11.00
Kelsey Foley    212SH141   Sunday, February 05, 2017 $11.00
Kelsey Foley                                         $11.00   $3.50      $5.50    $102.62        $0.00
Kelsey Foley    212SH141   Sunday, February 12, 2017 $11.00
Kelsey Foley    212SH141   Sunday, February 12, 2017 $11.00
Kelsey Foley    212SH141   Sunday, February 12, 2017 $11.00
Kelsey Foley                                         $11.00   $3.50      $5.50     $71.82        $0.00
Kelsey Foley    212SH141   Sunday, February 19, 2017 $11.00
Kelsey Foley    212SH141   Sunday, February 19, 2017 $11.00
Kelsey Foley    212SH141   Sunday, February 19, 2017 $11.00
Kelsey Foley    212SH141   Sunday, February 19, 2017 $11.00
Kelsey Foley    212SH141   Sunday, February 19, 2017 $11.00
Kelsey Foley    212SH141   Sunday, February 19, 2017 $11.00
Kelsey Foley                                         $11.00   $3.50      $5.50    $128.42        $0.00
Kelsey Foley    212SH141   Sunday, February 26, 2017 $11.00
Kelsey Foley    212SH141   Sunday, February 26, 2017 $11.00
Kelsey Foley    212SH141   Sunday, February 26, 2017 $11.00
Kelsey Foley    212SH141   Sunday, February 26, 2017 $11.00
Kelsey Foley    212SH141   Sunday, February 26, 2017 $11.00
Kelsey Foley                                         $11.00   $3.50      $5.50    $104.76        $0.00

                                             Page 52 of 94
                                               Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23       Page 53 of 94
                                                                                Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                    Spread Tip credit
                 Bates                                                                                                                                                    Overtime of hours minimum
       Name     number    Week-end date                 Clock in date                   Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Kelsey Foley   212SH141   Sunday, March 05, 2017     Tuesday, February 28, 2017      2/28/17 4:45 PM     2/28/17 11:11 PM                  6.43
Kelsey Foley   212SH141   Sunday, March 05, 2017     Wednesday, March 01, 2017        3/1/17 4:24 PM       3/1/17 9:09 PM                  4.75
Kelsey Foley   212SH141   Sunday, March 05, 2017      Thursday, March 02, 2017        3/2/17 4:23 PM       3/2/17 9:53 PM                  5.50
Kelsey Foley   212SH141   Sunday, March 05, 2017          Friday, March 03, 2017      3/3/17 4:34 PM      3/3/17 10:56 PM                  6.37
Kelsey Foley   212SH141   Sunday, March 05, 2017       Saturday, March 04, 2017       3/4/17 3:33 PM      3/4/17 11:25 PM                  7.87
Kelsey Foley                                                                                                                 Sum Of Total time:   30.92         30.92       0.00              $7.50
Kelsey Foley   212SH141   Sunday, March 12, 2017        Tuesday, March 07, 2017       3/7/17 4:23 PM      3/7/17 11:05 PM                  6.70
Kelsey Foley   212SH141   Sunday, March 12, 2017       Thursday, March 09, 2017       3/9/17 4:31 PM      3/9/17 11:31 PM                  7.00
Kelsey Foley   212SH141   Sunday, March 12, 2017          Friday, March 10, 2017     3/10/17 4:18 PM     3/10/17 11:22 PM                  7.07
Kelsey Foley   212SH141   Sunday, March 12, 2017       Saturday, March 11, 2017      3/11/17 4:18 PM     3/11/17 10:50 PM                  6.53
Kelsey Foley   212SH142   Sunday, March 12, 2017         Sunday, March 12, 2017      3/12/17 4:18 PM     3/12/17 10:47 PM                  6.48
Kelsey Foley                                                                                                                 Sum Of Total time:   33.78         33.78       0.00              $7.50
Kelsey Foley   212SH142   Sunday, March 19, 2017         Monday, March 13, 2017      3/13/17 4:07 PM     3/13/17 10:40 PM                  6.55
Kelsey Foley   212SH142   Sunday, March 19, 2017         Tuesday, March 14, 2017     3/14/17 4:50 PM      3/14/17 8:33 PM                  3.72
Kelsey Foley   212SH142   Sunday, March 19, 2017           Friday, March 17, 2017    3/17/17 4:16 PM     3/17/17 11:53 PM                  7.62
Kelsey Foley   212SH142   Sunday, March 19, 2017        Saturday, March 18, 2017     3/18/17 4:38 PM     3/18/17 10:28 PM                  5.83
Kelsey Foley                                                                                                                 Sum Of Total time:   23.72         23.72       0.00              $7.50
Kelsey Foley   212SH142   Sunday, March 26, 2017         Tuesday, March 21, 2017     3/21/17 4:29 PM     3/21/17 11:26 PM                  6.95
Kelsey Foley   212SH142   Sunday, March 26, 2017           Friday, March 24, 2017    3/24/17 4:14 PM     3/24/17 11:37 PM                  7.38
Kelsey Foley   212SH142   Sunday, March 26, 2017        Saturday, March 25, 2017     3/25/17 4:15 PM      3/26/17 1:00 AM                  8.75
Kelsey Foley   212SH142   Sunday, March 26, 2017          Sunday, March 26, 2017     3/26/17 4:25 PM     3/26/17 11:14 PM                  6.82
Kelsey Foley                                                                                                                 Sum Of Total time:   29.90         29.90       0.00              $7.50
Kelsey Foley   212SH142    Sunday, April 02, 2017       Monday, March 27, 2017       3/27/17 4:10 PM     3/27/17 11:11 PM                  7.02
Kelsey Foley   212SH142    Sunday, April 02, 2017       Tuesday, March 28, 2017      3/28/17 4:19 PM     3/28/17 10:52 PM                  6.55
Kelsey Foley   212SH142    Sunday, April 02, 2017         Friday, March 31, 2017     3/31/17 4:10 PM     3/31/17 11:21 PM                  7.18
Kelsey Foley                                                                                                                 Sum Of Total time:   20.75         20.75       0.00              $7.50
Kelsey Foley   212SH142    Sunday, April 09, 2017         Monday, April 03, 2017       4/3/17 4:16 PM     4/3/17 11:08 PM                  6.87
Kelsey Foley   212SH142    Sunday, April 09, 2017         Tuesday, April 04, 2017      4/4/17 4:20 PM     4/4/17 10:11 PM                  5.85
Kelsey Foley   212SH142    Sunday, April 09, 2017           Friday, April 07, 2017     4/7/17 4:24 PM     4/7/17 10:48 PM                  6.40
Kelsey Foley   212SH142    Sunday, April 09, 2017        Saturday, April 08, 2017      4/8/17 5:18 PM     4/8/17 11:13 PM                  5.92
Kelsey Foley                                                                                                                 Sum Of Total time:   25.04         25.04       0.00              $7.50
Kelsey Foley   212SH142    Sunday, April 16, 2017        Monday, April 10, 2017      4/10/17 4:19 PM      4/10/17 9:28 PM                  5.15
Kelsey Foley   212SH142    Sunday, April 16, 2017        Tuesday, April 11, 2017     4/11/17 4:33 PM     4/11/17 10:33 PM                  6.00
Kelsey Foley   212SH142    Sunday, April 16, 2017      Wednesday, April 12, 2017     4/12/17 6:09 PM     4/12/17 11:03 PM                  4.90
Kelsey Foley                                                                                                                 Sum Of Total time:   16.05         16.05       0.00              $7.50
Kelsey Foley   212SH142    Sunday, April 23, 2017        Monday, April 17, 2017      4/17/17 4:59 PM     4/17/17 11:02 PM                  6.05
Kelsey Foley   212SH142    Sunday, April 23, 2017      Wednesday, April 19, 2017     4/19/17 5:00 PM      4/19/17 9:45 PM                  4.75
Kelsey Foley                                                                                                                 Sum Of Total time:   10.80         10.80       0.00              $7.50
Kelsey Foley   212SH142    Sunday, April 30, 2017         Monday, April 24, 2017     4/24/17 5:47 PM      4/24/17 9:42 PM                  3.92

                                                                                         Page 53 of 94
           Case 1:22-cv-00518-JLR-RWL      Document 116-5             Filed 11/16/23          Page 54 of 94
                                   Exhibit 5 - Group 1 unpaid wages


                                                      Full                        Total tip       Total   Total
                  Bates                             minimum Hourly tip Overtime    credit      unpaid OT unpaid
       Name      number     Week-end date            wage    credit    premium     taken        premium   SOH
Kelsey Foley    212SH141    Sunday, March 05, 2017 $11.00
Kelsey Foley    212SH141    Sunday, March 05, 2017 $11.00
Kelsey Foley    212SH141    Sunday, March 05, 2017 $11.00
Kelsey Foley    212SH141    Sunday, March 05, 2017 $11.00
Kelsey Foley    212SH141    Sunday, March 05, 2017 $11.00
Kelsey Foley                                         $11.00   $3.50      $5.50    $108.22        $0.00
Kelsey Foley    212SH141    Sunday, March 12, 2017 $11.00
Kelsey Foley    212SH141    Sunday, March 12, 2017 $11.00
Kelsey Foley    212SH141    Sunday, March 12, 2017 $11.00
Kelsey Foley    212SH141    Sunday, March 12, 2017 $11.00
Kelsey Foley    212SH142    Sunday, March 12, 2017 $11.00
Kelsey Foley                                         $11.00   $3.50      $5.50    $118.23        $0.00
Kelsey Foley    212SH142    Sunday, March 19, 2017 $11.00
Kelsey Foley    212SH142    Sunday, March 19, 2017 $11.00
Kelsey Foley    212SH142    Sunday, March 19, 2017 $11.00
Kelsey Foley    212SH142    Sunday, March 19, 2017 $11.00
Kelsey Foley                                         $11.00   $3.50      $5.50     $83.02        $0.00
Kelsey Foley    212SH142    Sunday, March 26, 2017 $11.00
Kelsey Foley    212SH142    Sunday, March 26, 2017 $11.00
Kelsey Foley    212SH142    Sunday, March 26, 2017 $11.00
Kelsey Foley    212SH142    Sunday, March 26, 2017 $11.00
Kelsey Foley                                         $11.00   $3.50      $5.50    $104.65        $0.00
Kelsey Foley    212SH142     Sunday, April 02, 2017 $11.00
Kelsey Foley    212SH142     Sunday, April 02, 2017 $11.00
Kelsey Foley    212SH142     Sunday, April 02, 2017 $11.00
Kelsey Foley                                         $11.00   $3.50      $5.50     $72.63        $0.00
Kelsey Foley    212SH142     Sunday, April 09, 2017 $11.00
Kelsey Foley    212SH142     Sunday, April 09, 2017 $11.00
Kelsey Foley    212SH142     Sunday, April 09, 2017 $11.00
Kelsey Foley    212SH142     Sunday, April 09, 2017 $11.00
Kelsey Foley                                         $11.00   $3.50      $5.50     $87.64        $0.00
Kelsey Foley    212SH142     Sunday, April 16, 2017 $11.00
Kelsey Foley    212SH142     Sunday, April 16, 2017 $11.00
Kelsey Foley    212SH142     Sunday, April 16, 2017 $11.00
Kelsey Foley                                         $11.00   $3.50      $5.50     $56.18        $0.00
Kelsey Foley    212SH142     Sunday, April 23, 2017  $11.00
Kelsey Foley    212SH142     Sunday, April 23, 2017 $11.00
Kelsey Foley                                         $11.00   $3.50      $5.50     $37.80        $0.00
Kelsey Foley    212SH142     Sunday, April 30, 2017 $11.00

                                            Page 54 of 94
                                                     Case 1:22-cv-00518-JLR-RWL                 Document 116-5             Filed 11/16/23       Page 55 of 94
                                                                                        Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                            Spread Tip credit
                   Bates                                                                                                                                                          Overtime of hours minimum
       Name       number        Week-end date                   Clock in date                   Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Kelsey Foley     212SH142        Sunday, April 30, 2017           Tuesday, April 25, 2017    4/25/17 5:04 PM      4/25/17 9:57 PM                  4.88
Kelsey Foley     212SH142        Sunday, April 30, 2017        Wednesday, April 26, 2017     4/26/17 4:39 PM     4/26/17 11:03 PM                  6.40
Kelsey Foley     212SH142        Sunday, April 30, 2017          Saturday, April 29, 2017    4/29/17 4:36 PM     4/29/17 11:21 PM                  6.75
Kelsey Foley                                                                                                                         Sum Of Total time:   21.95         21.95       0.00              $7.50
Kelsey Foley     212SH142         Sunday, May 07, 2017             Monday, May 01, 2017        5/1/17 4:50 PM     5/1/17 11:17 PM                  6.45
Kelsey Foley     212SH142         Sunday, May 07, 2017             Tuesday, May 02, 2017       5/2/17 4:37 PM     5/2/17 10:50 PM                  6.22
Kelsey Foley     212SH142         Sunday, May 07, 2017            Saturday, May 06, 2017       5/6/17 5:25 PM     5/6/17 11:08 PM                  5.72
Kelsey Foley                                                                                                                         Sum Of Total time:   18.39         18.39       0.00              $7.50
Kelsey Foley     212SH142         Sunday, May 14, 2017           Monday, May 08, 2017         5/8/17 4:42 PM      5/8/17 10:03 PM                  5.35
Kelsey Foley     212SH139         Sunday, May 14, 2017         Wednesday, May 10, 2017       5/10/17 5:00 PM     5/11/17 12:58 AM                  7.97
Kelsey Foley     212SH139         Sunday, May 14, 2017             Friday, May 12, 2017      5/12/17 5:31 PM     5/12/17 11:08 PM                  5.62
Kelsey Foley                                                                                                                         Sum Of Total time:   18.94         18.94       0.00              $7.50
Kelsey Foley     212SH139         Sunday, May 28, 2017            Monday, May 22, 2017       5/22/17 4:09 PM     5/22/17 11:18 PM                  7.15
Kelsey Foley     212SH139         Sunday, May 28, 2017            Tuesday, May 23, 2017      5/23/17 4:18 PM     5/23/17 10:02 PM                  5.73
Kelsey Foley     212SH139         Sunday, May 28, 2017         Wednesday, May 24, 2017       5/24/17 4:14 PM     5/24/17 11:02 PM                  6.80
Kelsey Foley     212SH139         Sunday, May 28, 2017              Friday, May 26, 2017     5/26/17 4:18 PM     5/27/17 12:31 AM                  8.22
Kelsey Foley     212SH139         Sunday, May 28, 2017           Saturday, May 27, 2017      5/27/17 6:13 PM     5/27/17 11:52 PM                  5.65
Kelsey Foley                                                                                                                         Sum Of Total time:   33.55         33.55       0.00              $7.50
Kelsey Foley     212SH139        Sunday, June 04, 2017               Friday, June 02, 2017     6/2/17 4:27 PM     6/2/17 10:47 PM                  6.33
Kelsey Foley     212SH171        Sunday, June 04, 2017               Friday, June 02, 2017     6/2/17 4:27 PM     6/2/17 10:47 PM                  6.33
Kelsey Foley                                                                                                                         Sum Of Total time:   12.66         12.66       0.00              $7.50

Keya Rocaverte   212SH168      Sunday, January 29, 2017          Sunday, January 29, 2017    1/29/17 3:01 PM     1/29/17 10:53 PM                  7.87
Keya Rocaverte                                                                                                                       Sum Of Total time:   7.87          7.87        0.00              $7.50
Keya Rocaverte   212SH168    Sunday, February 05, 2017          Monday, January 30, 2017     1/30/17 2:57 PM     1/30/17 10:34 PM                  7.62
Keya Rocaverte   212SH168    Sunday, February 05, 2017        Saturday, February 04, 2017     2/4/17 2:56 PM      2/4/17 11:02 PM                  8.10
Keya Rocaverte   212SH168    Sunday, February 05, 2017         Sunday, February 05, 2017      2/5/17 2:51 PM       2/5/17 9:25 PM                  6.57
Keya Rocaverte                                                                                                                       Sum Of Total time:   22.29         22.29       0.00              $7.50
Keya Rocaverte   212SH168    Sunday, February 12, 2017        Monday, February 06, 2017       2/6/17 2:52 PM      2/6/17 10:32 PM                  7.67
Keya Rocaverte   212SH168    Sunday, February 12, 2017        Tuesday, February 07, 2017      2/7/17 3:00 PM      2/7/17 11:30 PM                  8.50
Keya Rocaverte   212SH168    Sunday, February 12, 2017     Wednesday, February 08, 2017       2/8/17 2:58 PM      2/8/17 10:53 PM                  7.92
Keya Rocaverte   212SH168    Sunday, February 12, 2017       Saturday, February 11, 2017     2/11/17 4:15 PM     2/11/17 11:20 PM                  7.08
Keya Rocaverte                                                                                                                       Sum Of Total time:   31.17         31.17       0.00              $7.50
Keya Rocaverte   212SH168    Sunday, February 19, 2017         Tuesday, February 14, 2017    2/14/17 2:32 PM     2/14/17 11:26 PM                  8.90
Keya Rocaverte                                                                                                                       Sum Of Total time:   8.90          8.90        0.00              $7.50

lroel Vazquez    212SH197   Sunday, September 18, 2016    Wednesday, September 14, 2016      9/14/16 4:00 PM     9/14/16 11:00 PM                 7.00
lroel Vazquez    212SH197   Sunday, September 18, 2016     Thursday, September 15, 2016      9/15/16 4:00 PM     9/16/16 12:30 AM                 8.50
lroel Vazquez    212SH197   Sunday, September 18, 2016      Saturday, September 17, 2016     9/17/16 4:00 PM     9/17/16 11:30 PM                 7.50

                                                                                                 Page 55 of 94
           Case 1:22-cv-00518-JLR-RWL          Document 116-5             Filed 11/16/23     Page 56 of 94
                                       Exhibit 5 - Group 1 unpaid wages


                                                           Full                        Total tip    Total   Total
                   Bates                                minimum Hourly tip Overtime      credit  unpaid OT unpaid
       Name       number        Week-end date             wage       credit    premium   taken    premium   SOH
Kelsey Foley     212SH142        Sunday, April 30, 2017 $11.00
Kelsey Foley     212SH142        Sunday, April 30, 2017 $11.00
Kelsey Foley     212SH142        Sunday, April 30, 2017 $11.00
Kelsey Foley                                              $11.00     $3.50       $5.50  $76.83      $0.00
Kelsey Foley     212SH142         Sunday, May 07, 2017 $11.00
Kelsey Foley     212SH142         Sunday, May 07, 2017 $11.00
Kelsey Foley     212SH142         Sunday, May 07, 2017 $11.00
Kelsey Foley                                              $11.00     $3.50       $5.50  $64.37      $0.00
Kelsey Foley     212SH142         Sunday, May 14, 2017 $11.00
Kelsey Foley     212SH139         Sunday, May 14, 2017 $11.00
Kelsey Foley     212SH139         Sunday, May 14, 2017 $11.00
Kelsey Foley                                              $11.00     $3.50       $5.50  $66.29      $0.00
Kelsey Foley     212SH139         Sunday, May 28, 2017 $11.00
Kelsey Foley     212SH139         Sunday, May 28, 2017 $11.00
Kelsey Foley     212SH139         Sunday, May 28, 2017 $11.00
Kelsey Foley     212SH139         Sunday, May 28, 2017 $11.00
Kelsey Foley     212SH139         Sunday, May 28, 2017 $11.00
Kelsey Foley                                              $11.00     $3.50       $5.50  $117.43     $0.00
Kelsey Foley     212SH139        Sunday, June 04, 2017 $11.00
Kelsey Foley     212SH171        Sunday, June 04, 2017 $11.00
Kelsey Foley                                              $11.00     $3.50       $5.50  $44.31      $0.00
                                                        Kelsey Foley subtotal:         $2,417.07   $22.23  $18.00
Keya Rocaverte   212SH168      Sunday, January 29, 2017 $11.00
Keya Rocaverte                                            $11.00     $3.50       $5.50  $27.55      $0.00
Keya Rocaverte   212SH168     Sunday, February 05, 2017   $11.00
Keya Rocaverte   212SH168     Sunday, February 05, 2017 $11.00
Keya Rocaverte   212SH168     Sunday, February 05, 2017 $11.00
Keya Rocaverte                                            $11.00     $3.50       $5.50  $78.02      $0.00
Keya Rocaverte   212SH168     Sunday, February 12, 2017 $11.00
Keya Rocaverte   212SH168     Sunday, February 12, 2017 $11.00
Keya Rocaverte   212SH168     Sunday, February 12, 2017 $11.00
Keya Rocaverte   212SH168     Sunday, February 12, 2017 $11.00
Keya Rocaverte                                            $11.00     $3.50       $5.50  $109.10     $0.00
Keya Rocaverte   212SH168     Sunday, February 19, 2017 $11.00
Keya Rocaverte                                            $11.00     $3.50       $5.50  $31.15      $0.00
                                                        Keya Rocaverte subtotal:        $245.81     $0.00   $0.00
lroel Vazquez    212SH197   Sunday, September 18, 2016    $9.00
lroel Vazquez    212SH197   Sunday, September 18, 2016    $9.00
lroel Vazquez    212SH197   Sunday, September 18, 2016    $9.00

                                                Page 56 of 94
                                                   Case 1:22-cv-00518-JLR-RWL                Document 116-5             Filed 11/16/23        Page 57 of 94
                                                                                     Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                          Spread Tip credit
                  Bates                                                                                                                                                         Overtime of hours minimum
       Name      number        Week-end date                  Clock in date                  Time in              Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
lroel Vazquez   212SH197   Sunday, September 18, 2016       Sunday, September 18, 2016     9/18/16 4:00 PM     9/18/16 11:00 PM                  7.00
lroel Vazquez                                                                                                                      Sum Of Total time:   30.00         30.00       0.00              $7.50
lroel Vazquez   212SH197     Sunday, October 02, 2016     Monday, September 26, 2016       9/26/16 4:00 PM     9/26/16 11:07 PM                  7.12
lroel Vazquez   212SH197     Sunday, October 02, 2016     Tuesday, September 27, 2016      9/27/16 4:00 PM      9/27/16 8:58 PM                  4.97
lroel Vazquez   212SH197     Sunday, October 02, 2016   Wednesday, September 28, 2016      9/28/16 4:00 PM     9/28/16 10:53 PM                  6.88
lroel Vazquez   212SH197     Sunday, October 02, 2016       Friday, September 30, 2016     9/30/16 3:53 PM     9/30/16 11:12 PM                  7.32
lroel Vazquez   212SH197     Sunday, October 02, 2016       Saturday, October 01, 2016     10/1/16 4:29 PM     10/1/16 11:23 PM                  6.90
lroel Vazquez                                                                                                                      Sum Of Total time:   33.19         33.19       0.00              $7.50
lroel Vazquez   212SH197     Sunday, October 09, 2016        Monday, October 03, 2016      10/3/16 4:04 PM     10/3/16 10:51 PM                  6.78
lroel Vazquez   212SH197     Sunday, October 09, 2016        Tuesday, October 04, 2016     10/4/16 3:59 PM     10/4/16 10:25 PM                  6.43
lroel Vazquez   212SH197     Sunday, October 09, 2016       Thursday, October 06, 2016     10/6/16 4:04 PM     10/6/16 10:46 PM                  6.70
lroel Vazquez   212SH197     Sunday, October 09, 2016          Friday, October 07, 2016    10/7/16 3:53 PM     10/7/16 11:24 PM                  7.52
lroel Vazquez   212SH197     Sunday, October 09, 2016       Saturday, October 08, 2016     10/8/16 3:58 PM     10/8/16 11:21 PM                  7.38
lroel Vazquez                                                                                                                      Sum Of Total time:   34.81         34.81       0.00              $7.50
lroel Vazquez   212SH197     Sunday, October 16, 2016       Tuesday, October 11, 2016     10/11/16 3:42 PM    10/11/16 10:49 PM                  7.12
lroel Vazquez   212SH197     Sunday, October 16, 2016     Wednesday, October 12, 2016     10/12/16 4:01 PM    10/12/16 11:36 PM                  7.58
lroel Vazquez   212SH197     Sunday, October 16, 2016      Thursday, October 13, 2016     10/13/16 3:57 PM    10/13/16 10:01 PM                  6.07
lroel Vazquez   212SH197     Sunday, October 16, 2016         Friday, October 14, 2016    10/14/16 4:00 PM    10/14/16 11:06 PM                  7.10
lroel Vazquez   212SH197     Sunday, October 16, 2016       Saturday, October 15, 2016    10/15/16 4:04 PM    10/15/16 11:58 PM                  7.90
lroel Vazquez                                                                                                                      Sum Of Total time:   35.77         35.77       0.00              $7.50
lroel Vazquez   212SH198     Sunday, October 23, 2016       Tuesday, October 18, 2016     10/18/16 3:51 PM    10/18/16 10:47 PM                  6.93
lroel Vazquez   212SH198     Sunday, October 23, 2016     Wednesday, October 19, 2016     10/19/16 3:55 PM    10/19/16 11:18 PM                  7.38
lroel Vazquez   212SH198     Sunday, October 23, 2016      Thursday, October 20, 2016     10/20/16 3:51 PM    10/20/16 11:17 PM                  7.43
lroel Vazquez   212SH198     Sunday, October 23, 2016         Friday, October 21, 2016    10/21/16 3:58 PM    10/21/16 11:06 PM                  7.13
lroel Vazquez   212SH198     Sunday, October 23, 2016       Saturday, October 22, 2016    10/22/16 3:54 PM    10/22/16 11:36 PM                  7.70
lroel Vazquez                                                                                                                      Sum Of Total time:   36.57         36.57       0.00              $7.50
lroel Vazquez   212SH198     Sunday, October 30, 2016       Monday, October 24, 2016      10/24/16 4:33 PM    10/24/16 10:27 PM                  5.90
lroel Vazquez   212SH198     Sunday, October 30, 2016       Tuesday, October 25, 2016     10/25/16 3:53 PM    10/26/16 12:51 AM                  8.97
lroel Vazquez   212SH198     Sunday, October 30, 2016     Wednesday, October 26, 2016     10/26/16 3:53 PM    10/26/16 10:33 PM                  6.67
lroel Vazquez   212SH198     Sunday, October 30, 2016         Friday, October 28, 2016    10/28/16 3:59 PM    10/28/16 11:08 PM                  7.15
lroel Vazquez   212SH198     Sunday, October 30, 2016       Saturday, October 29, 2016    10/29/16 4:35 PM    10/30/16 12:51 AM                  8.27
lroel Vazquez                                                                                                                      Sum Of Total time:   36.96         36.96       0.00              $7.50
lroel Vazquez   212SH198   Sunday, November 06, 2016       Tuesday, November 01, 2016      11/1/16 4:05 PM     11/1/16 10:19 PM                  6.23
lroel Vazquez   212SH198   Sunday, November 06, 2016    Wednesday, November 02, 2016       11/2/16 3:57 PM     11/2/16 11:03 PM                  7.10
lroel Vazquez   212SH198   Sunday, November 06, 2016         Friday, November 04, 2016     11/4/16 4:02 PM     11/5/16 12:14 AM                  8.20
lroel Vazquez   212SH198   Sunday, November 06, 2016      Saturday, November 05, 2016      11/5/16 4:06 PM     11/5/16 11:45 PM                  7.65
lroel Vazquez                                                                                                                      Sum Of Total time:   29.18         29.18       0.00              $7.50
lroel Vazquez   212SH198   Sunday, November 13, 2016       Tuesday, November 08, 2016      11/8/16 3:56 PM   11/8/16 5:44 PM                     1.80
lroel Vazquez   212SH198   Sunday, November 13, 2016      Thursday, November 10, 2016     11/10/16 4:01 PM 11/10/16 11:42 PM                     7.68

                                                                                              Page 57 of 94
           Case 1:22-cv-00518-JLR-RWL         Document 116-5             Filed 11/16/23         Page 58 of 94
                                      Exhibit 5 - Group 1 unpaid wages


                                                        Full                        Total tip       Total   Total
                  Bates                               minimum Hourly tip Overtime    credit      unpaid OT unpaid
       Name      number        Week-end date           wage    credit    premium     taken        premium   SOH
lroel Vazquez   212SH197   Sunday, September 18, 2016  $9.00
lroel Vazquez                                          $9.00    $1.50      $4.50     $45.00        $0.00
lroel Vazquez   212SH197     Sunday, October 02, 2016  $9.00
lroel Vazquez   212SH197     Sunday, October 02, 2016  $9.00
lroel Vazquez   212SH197     Sunday, October 02, 2016  $9.00
lroel Vazquez   212SH197     Sunday, October 02, 2016  $9.00
lroel Vazquez   212SH197     Sunday, October 02, 2016  $9.00
lroel Vazquez                                          $9.00    $1.50      $4.50     $49.79        $0.00
lroel Vazquez   212SH197     Sunday, October 09, 2016  $9.00
lroel Vazquez   212SH197     Sunday, October 09, 2016  $9.00
lroel Vazquez   212SH197     Sunday, October 09, 2016  $9.00
lroel Vazquez   212SH197     Sunday, October 09, 2016  $9.00
lroel Vazquez   212SH197     Sunday, October 09, 2016  $9.00
lroel Vazquez                                          $9.00    $1.50      $4.50     $52.22        $0.00
lroel Vazquez   212SH197     Sunday, October 16, 2016  $9.00
lroel Vazquez   212SH197     Sunday, October 16, 2016  $9.00
lroel Vazquez   212SH197     Sunday, October 16, 2016  $9.00
lroel Vazquez   212SH197     Sunday, October 16, 2016  $9.00
lroel Vazquez   212SH197     Sunday, October 16, 2016  $9.00
lroel Vazquez                                          $9.00    $1.50      $4.50     $53.66        $0.00
lroel Vazquez   212SH198     Sunday, October 23, 2016  $9.00
lroel Vazquez   212SH198     Sunday, October 23, 2016  $9.00
lroel Vazquez   212SH198     Sunday, October 23, 2016  $9.00
lroel Vazquez   212SH198     Sunday, October 23, 2016  $9.00
lroel Vazquez   212SH198     Sunday, October 23, 2016  $9.00
lroel Vazquez                                          $9.00    $1.50      $4.50     $54.86        $0.00
lroel Vazquez   212SH198     Sunday, October 30, 2016  $9.00
lroel Vazquez   212SH198     Sunday, October 30, 2016  $9.00
lroel Vazquez   212SH198     Sunday, October 30, 2016  $9.00
lroel Vazquez   212SH198     Sunday, October 30, 2016  $9.00
lroel Vazquez   212SH198     Sunday, October 30, 2016  $9.00
lroel Vazquez                                          $9.00    $1.50      $4.50     $55.44        $0.00
lroel Vazquez   212SH198   Sunday, November 06, 2016   $9.00
lroel Vazquez   212SH198   Sunday, November 06, 2016   $9.00
lroel Vazquez   212SH198   Sunday, November 06, 2016   $9.00
lroel Vazquez   212SH198   Sunday, November 06, 2016   $9.00
lroel Vazquez                                          $9.00    $1.50      $4.50     $43.77        $0.00
lroel Vazquez   212SH198   Sunday, November 13, 2016   $9.00
lroel Vazquez   212SH198   Sunday, November 13, 2016   $9.00

                                               Page 58 of 94
                                                   Case 1:22-cv-00518-JLR-RWL                Document 116-5             Filed 11/16/23        Page 59 of 94
                                                                                     Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                          Spread Tip credit
                  Bates                                                                                                                                                         Overtime of hours minimum
       Name      number       Week-end date                   Clock in date                  Time in              Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
lroel Vazquez   212SH198   Sunday, November 13, 2016        Friday, November 11, 2016     11/11/16 3:56 PM 11/11/16 11:56 PM                     8.00
lroel Vazquez   212SH198   Sunday, November 13, 2016      Saturday, November 12, 2016     11/12/16 4:06 PM 11/12/16 10:10 PM                     6.07
lroel Vazquez                                                                                                                      Sum Of Total time:   23.55         23.55       0.00              $7.50
lroel Vazquez   212SH198   Sunday, November 20, 2016    Wednesday, November 16, 2016      11/16/16 3:57 PM 11/17/16 12:20 AM                     8.38
lroel Vazquez   212SH198   Sunday, November 20, 2016     Thursday, November 17, 2016      11/17/16 4:18 PM 11/17/16 10:08 PM                     5.83
lroel Vazquez   212SH198   Sunday, November 20, 2016        Friday, November 18, 2016     11/18/16 4:09 PM 11/18/16 10:17 PM                     6.13
lroel Vazquez                                                                                                                      Sum Of Total time:   20.34         20.34       0.00              $7.50
lroel Vazquez   212SH198   Sunday, November 27, 2016       Tuesday, November 22, 2016     11/22/16 4:11 PM    11/22/16 10:55 PM                  6.73
lroel Vazquez   212SH198   Sunday, November 27, 2016    Wednesday, November 23, 2016      11/23/16 4:08 PM    11/23/16 11:05 PM                  6.95
lroel Vazquez   212SH198   Sunday, November 27, 2016     Thursday, November 24, 2016      11/24/16 4:14 PM    11/25/16 12:06 AM                  7.87
lroel Vazquez   212SH198   Sunday, November 27, 2016         Friday, November 25, 2016    11/25/16 4:09 PM     11/25/16 9:09 PM                  5.00
lroel Vazquez   212SH198   Sunday, November 27, 2016      Saturday, November 26, 2016     11/26/16 4:02 PM    11/26/16 10:19 PM                  6.28
lroel Vazquez                                                                                                                      Sum Of Total time:   32.83         32.83       0.00              $7.50
lroel Vazquez   212SH198   Sunday, December 04, 2016      Tuesday, November 29, 2016      11/29/16 4:22 PM 11/29/16 9:19 PM                      4.95
lroel Vazquez   212SH198   Sunday, December 04, 2016    Wednesday, November 30, 2016      11/30/16 4:09 PM 11/30/16 11:23 PM                     7.23
lroel Vazquez   212SH198   Sunday, December 04, 2016         Friday, December 02, 2016     12/2/16 4:13 PM 12/3/16 12:00 AM                      7.78
lroel Vazquez   212SH198   Sunday, December 04, 2016      Saturday, December 03, 2016      12/3/16 4:04 PM 12/3/16 11:52 PM                      7.80
lroel Vazquez                                                                                                                      Sum Of Total time:   27.76         27.76       0.00              $7.50
lroel Vazquez   212SH199   Sunday, December 11, 2016      Tuesday, December 06, 2016       12/6/16 4:08 PM     12/6/16 11:06 PM                  6.97
lroel Vazquez   212SH199   Sunday, December 11, 2016    Wednesday, December 07, 2016       12/7/16 3:44 PM     12/7/16 10:48 PM                  7.07
lroel Vazquez   212SH199   Sunday, December 11, 2016     Thursday, December 08, 2016       12/8/16 3:59 PM     12/8/16 10:51 PM                  6.87
lroel Vazquez                                                                                                                      Sum Of Total time:   20.91         20.91       0.00              $7.50

Mark Smith      212SH143   Sunday, December 09, 2018      Tuesday, December 04, 2018       12/4/18 2:28 PM     12/4/18 11:30 PM                  9.03
Mark Smith      212SH143   Sunday, December 09, 2018    Wednesday, December 05, 2018       12/5/18 2:40 PM     12/5/18 11:23 PM                  8.72
Mark Smith      212SH143   Sunday, December 09, 2018        Friday, December 07, 2018      12/7/18 2:43 PM     12/8/18 12:14 AM                  9.52
Mark Smith      212SH143   Sunday, December 09, 2018        Friday, December 07, 2018      12/7/18 2:22 PM     12/8/18 12:32 AM                10.17                                         1
Mark Smith                                                                                                                         Sum Of Total time:   37.44         37.44       0.00              $8.65
Mark Smith      212SH161        Sunday, June 16, 2019            Sunday, June 16, 2019     6/16/19 3:10 PM     6/16/19 10:50 PM                  7.67
Mark Smith                                                                                                                         Sum Of Total time:   7.67          7.67        0.00              $10.00
Mark Smith      212SH161        Sunday, June 23, 2019        Wednesday, June 19, 2019      6/19/19 3:57 PM     6/19/19 11:03 PM                  7.10
Mark Smith      212SH161        Sunday, June 23, 2019         Thursday, June 20, 2019      6/20/19 3:30 PM     6/20/19 10:34 PM                  7.07
Mark Smith      212SH161        Sunday, June 23, 2019             Friday, June 21, 2019    6/21/19 3:44 PM     6/21/19 11:45 PM                  8.02
Mark Smith      212SH161        Sunday, June 23, 2019          Saturday, June 22, 2019     6/22/19 3:33 PM     6/22/19 11:37 PM                  8.07
Mark Smith      212SH161        Sunday, June 23, 2019           Sunday, June 23, 2019      6/23/19 3:19 PM     6/23/19 11:41 PM                  8.37
Mark Smith                                                                                                                         Sum Of Total time:   38.63         38.63       0.00              $10.00
Mark Smith      212SH160        Sunday, June 30, 2019        Wednesday, June 26, 2019      6/26/19 3:35 PM     6/26/19 11:16 PM                  7.68
Mark Smith      212SH160        Sunday, June 30, 2019         Thursday, June 27, 2019      6/27/19 3:31 PM     6/27/19 11:10 PM                  7.65
Mark Smith      212SH160        Sunday, June 30, 2019            Friday, June 28, 2019     6/28/19 3:51 PM     6/28/19 11:57 PM                  8.10

                                                                                              Page 59 of 94
           Case 1:22-cv-00518-JLR-RWL         Document 116-5             Filed 11/16/23           Page 60 of 94
                                      Exhibit 5 - Group 1 unpaid wages


                                                         Full                         Total tip       Total   Total
                  Bates                               minimum Hourly tip Overtime      credit      unpaid OT unpaid
       Name      number       Week-end date             wage      credit    premium    taken        premium   SOH
lroel Vazquez   212SH198   Sunday, November 13, 2016    $9.00
lroel Vazquez   212SH198   Sunday, November 13, 2016    $9.00
lroel Vazquez                                           $9.00      $1.50      $4.50    $35.33        $0.00
lroel Vazquez   212SH198   Sunday, November 20, 2016    $9.00
lroel Vazquez   212SH198   Sunday, November 20, 2016    $9.00
lroel Vazquez   212SH198   Sunday, November 20, 2016    $9.00
lroel Vazquez                                           $9.00      $1.50      $4.50    $30.51        $0.00
lroel Vazquez   212SH198   Sunday, November 27, 2016    $9.00
lroel Vazquez   212SH198   Sunday, November 27, 2016    $9.00
lroel Vazquez   212SH198   Sunday, November 27, 2016    $9.00
lroel Vazquez   212SH198   Sunday, November 27, 2016    $9.00
lroel Vazquez   212SH198   Sunday, November 27, 2016    $9.00
lroel Vazquez                                           $9.00      $1.50      $4.50    $49.25        $0.00
lroel Vazquez   212SH198   Sunday, December 04, 2016    $9.00
lroel Vazquez   212SH198   Sunday, December 04, 2016    $9.00
lroel Vazquez   212SH198   Sunday, December 04, 2016    $9.00
lroel Vazquez   212SH198   Sunday, December 04, 2016    $9.00
lroel Vazquez                                           $9.00      $1.50      $4.50    $41.64        $0.00
lroel Vazquez   212SH199   Sunday, December 11, 2016    $9.00
lroel Vazquez   212SH199   Sunday, December 11, 2016    $9.00
lroel Vazquez   212SH199   Sunday, December 11, 2016    $9.00
lroel Vazquez                                           $9.00      $1.50      $4.50   $31.37         $0.00
                                                     Iroel Vazquez subtotal:          $542.81        $0.00    $0.00
Mark Smith      212SH143   Sunday, December 09, 2018 $13.00
Mark Smith      212SH143   Sunday, December 09, 2018 $13.00
Mark Smith      212SH143   Sunday, December 09, 2018 $13.00
Mark Smith      212SH143   Sunday, December 09, 2018 $13.00                                                   $13.00
Mark Smith                                              $13.00     $4.35      $6.50   $162.86        $0.00
Mark Smith      212SH161        Sunday, June 16, 2019 $15.00
Mark Smith                                              $15.00     $5.00      $7.50    $38.35        $0.00
Mark Smith      212SH161        Sunday, June 23, 2019 $15.00
Mark Smith      212SH161        Sunday, June 23, 2019 $15.00
Mark Smith      212SH161        Sunday, June 23, 2019 $15.00
Mark Smith      212SH161        Sunday, June 23, 2019 $15.00
Mark Smith      212SH161        Sunday, June 23, 2019 $15.00
Mark Smith                                              $15.00     $5.00      $7.50   $193.15        $0.00
Mark Smith      212SH160        Sunday, June 30, 2019 $15.00
Mark Smith      212SH160        Sunday, June 30, 2019 $15.00
Mark Smith      212SH160        Sunday, June 30, 2019 $15.00

                                               Page 60 of 94
                                                 Case 1:22-cv-00518-JLR-RWL              Document 116-5             Filed 11/16/23       Page 61 of 94
                                                                                 Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                     Spread Tip credit
               Bates                                                                                                                                                       Overtime of hours minimum
      Name    number        Week-end date                 Clock in date                  Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Mark Smith   212SH160        Sunday, June 30, 2019         Saturday, June 29, 2019     6/29/19 4:28 PM    6/29/19 11:52 PM                  7.40
Mark Smith   212SH160        Sunday, June 30, 2019          Sunday, June 30, 2019      6/30/19 3:26 PM    6/30/19 11:03 PM                  7.62
Mark Smith                                                                                                                    Sum Of Total time:   38.45         38.45       0.00              $10.00
Mark Smith   212SH160         Sunday, July 07, 2019         Tuesday, July 02, 2019      7/2/19 2:58 PM     7/2/19 10:52 PM                  7.90
Mark Smith   212SH160         Sunday, July 07, 2019      Wednesday, July 03, 2019       7/3/19 3:36 PM     7/3/19 10:37 PM                  7.02
Mark Smith   212SH160         Sunday, July 07, 2019           Friday, July 05, 2019     7/5/19 4:32 PM      7/5/19 8:50 PM                  4.30
Mark Smith   212SH160         Sunday, July 07, 2019        Saturday, July 06, 2019      7/6/19 4:00 PM     7/7/19 12:07 AM                  8.12
Mark Smith   212SH160         Sunday, July 07, 2019          Sunday, July 07, 2019      7/7/19 3:44 PM     7/7/19 11:11 PM                  7.45
Mark Smith                                                                                                                    Sum Of Total time:   34.79         34.79       0.00              $10.00
Mark Smith   212SH160         Sunday, July 14, 2019         Tuesday, July 09, 2019      7/9/19 3:47 PM     7/9/19 10:51 PM                  7.07
Mark Smith   212SH160         Sunday, July 14, 2019      Wednesday, July 10, 2019      7/10/19 2:23 PM    7/10/19 11:11 PM                  8.80
Mark Smith   212SH160         Sunday, July 14, 2019        Saturday, July 13, 2019     7/13/19 5:29 PM    7/14/19 12:12 AM                  6.72
Mark Smith   212SH160         Sunday, July 14, 2019          Sunday, July 14, 2019    7/14/19 12:07 PM     7/14/19 3:00 PM                  2.88
Mark Smith                                                                                                                    Sum Of Total time:   25.47         25.47       0.00              $10.00
Mark Smith   212SH160         Sunday, July 21, 2019         Tuesday, July 16, 2019     7/16/19 3:44 PM    7/16/19 10:49 PM                  7.08
Mark Smith   212SH160         Sunday, July 21, 2019      Wednesday, July 17, 2019      7/17/19 4:41 PM    7/17/19 11:00 PM                  6.32
Mark Smith   212SH160         Sunday, July 21, 2019        Saturday, July 20, 2019     7/20/19 3:30 PM    7/20/19 11:24 PM                  7.90
Mark Smith   212SH160         Sunday, July 21, 2019          Sunday, July 21, 2019     7/21/19 3:46 PM    7/21/19 10:46 PM                  7.00
Mark Smith                                                                                                                    Sum Of Total time:   28.30         28.30       0.00              $10.00
Mark Smith   212SH160         Sunday, July 28, 2019        Tuesday, July 23, 2019      7/23/19 4:17 PM    7/23/19 10:42 PM                  6.42
Mark Smith   212SH160         Sunday, July 28, 2019      Wednesday, July 24, 2019      7/24/19 3:51 PM     7/24/19 7:52 PM                  4.02
Mark Smith                                                                                                                    Sum Of Total time:   10.44         10.44       0.00              $10.00
Mark Smith   212SH160      Sunday, August 04, 2019       Wednesday, July 31, 2019      7/31/19 3:47 PM    7/31/19 10:18 PM                  6.52
Mark Smith   212SH160      Sunday, August 04, 2019        Sunday, August 04, 2019       8/4/19 4:00 PM     8/4/19 11:08 PM                  7.13
Mark Smith                                                                                                                    Sum Of Total time:   13.65         13.65       0.00              $10.00
Mark Smith   212SH160      Sunday, August 11, 2019       Tuesday, August 06, 2019       8/6/19 4:08 PM     8/6/19 10:43 PM                  6.58
Mark Smith   212SH160      Sunday, August 11, 2019     Wednesday, August 07, 2019       8/7/19 3:19 PM      8/7/19 9:08 PM                  5.82
Mark Smith   212SH160      Sunday, August 11, 2019      Thursday, August 08, 2019       8/8/19 3:51 PM      8/9/19 2:07 AM                10.27                                         1
Mark Smith   212SH160      Sunday, August 11, 2019         Friday, August 09, 2019      8/9/19 4:15 PM     8/9/19 11:42 PM                  7.45
Mark Smith   212SH160      Sunday, August 11, 2019        Sunday, August 11, 2019      8/11/19 3:45 PM    8/12/19 12:54 AM                  9.15
Mark Smith                                                                                                                    Sum Of Total time:   39.27         39.27       0.00              $10.00
Mark Smith   212SH160      Sunday, August 18, 2019     Wednesday, August 14, 2019      8/14/19 3:57 PM    8/14/19 11:07 PM                  7.17
Mark Smith   212SH160      Sunday, August 18, 2019       Saturday, August 17, 2019     8/17/19 3:54 PM    8/17/19 11:56 PM                  8.03
Mark Smith   212SH159      Sunday, August 18, 2019        Sunday, August 18, 2019      8/18/19 4:07 PM     8/18/19 9:07 PM                  5.00
Mark Smith                                                                                                                    Sum Of Total time:   20.20         20.20       0.00              $10.00
Mark Smith   212SH159      Sunday, August 25, 2019          Friday, August 23, 2019    8/23/19 3:40 PM    8/23/19 11:47 PM                  8.12
Mark Smith   212SH159      Sunday, August 25, 2019         Sunday, August 25, 2019     8/25/19 4:29 PM    8/25/19 10:58 PM                  6.48
Mark Smith                                                                                                                    Sum Of Total time:   14.60         14.60       0.00              $10.00
Mark Smith   212SH159   Sunday, September 01, 2019        Monday, August 26, 2019      8/26/19 4:00 PM     8/26/19 9:48 PM                  5.80

                                                                                          Page 61 of 94
         Case 1:22-cv-00518-JLR-RWL         Document 116-5             Filed 11/16/23         Page 62 of 94
                                    Exhibit 5 - Group 1 unpaid wages


                                                      Full                        Total tip       Total   Total
                Bates                               minimum Hourly tip Overtime    credit      unpaid OT unpaid
      Name     number        Week-end date           wage    credit    premium     taken        premium   SOH
Mark Smith    212SH160        Sunday, June 30, 2019 $15.00
Mark Smith    212SH160        Sunday, June 30, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50    $192.25        $0.00
Mark Smith    212SH160         Sunday, July 07, 2019 $15.00
Mark Smith    212SH160         Sunday, July 07, 2019 $15.00
Mark Smith    212SH160         Sunday, July 07, 2019 $15.00
Mark Smith    212SH160         Sunday, July 07, 2019 $15.00
Mark Smith    212SH160         Sunday, July 07, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50    $173.95        $0.00
Mark Smith    212SH160         Sunday, July 14, 2019 $15.00
Mark Smith    212SH160         Sunday, July 14, 2019 $15.00
Mark Smith    212SH160         Sunday, July 14, 2019 $15.00
Mark Smith    212SH160         Sunday, July 14, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50    $127.35        $0.00
Mark Smith    212SH160         Sunday, July 21, 2019 $15.00
Mark Smith    212SH160         Sunday, July 21, 2019 $15.00
Mark Smith    212SH160         Sunday, July 21, 2019 $15.00
Mark Smith    212SH160         Sunday, July 21, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50    $141.50        $0.00
Mark Smith    212SH160         Sunday, July 28, 2019 $15.00
Mark Smith    212SH160         Sunday, July 28, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50     $52.20        $0.00
Mark Smith    212SH160      Sunday, August 04, 2019 $15.00
Mark Smith    212SH160      Sunday, August 04, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50     $68.25        $0.00
Mark Smith    212SH160      Sunday, August 11, 2019 $15.00
Mark Smith    212SH160      Sunday, August 11, 2019 $15.00
Mark Smith    212SH160      Sunday, August 11, 2019 $15.00                                                $15.00
Mark Smith    212SH160      Sunday, August 11, 2019 $15.00
Mark Smith    212SH160      Sunday, August 11, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50    $196.35        $0.00
Mark Smith    212SH160      Sunday, August 18, 2019 $15.00
Mark Smith    212SH160      Sunday, August 18, 2019 $15.00
Mark Smith    212SH159      Sunday, August 18, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50    $101.00        $0.00
Mark Smith    212SH159      Sunday, August 25, 2019  $15.00
Mark Smith    212SH159      Sunday, August 25, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50     $73.00        $0.00
Mark Smith    212SH159   Sunday, September 01, 2019 $15.00

                                             Page 62 of 94
                                                Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23       Page 63 of 94
                                                                                 Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                     Spread Tip credit
               Bates                                                                                                                                                       Overtime of hours minimum
      Name    number        Week-end date                  Clock in date                 Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Mark Smith   212SH159   Sunday, September 01, 2019        Tuesday, August 27, 2019     8/27/19 4:10 PM     8/27/19 9:49 PM                  5.65
Mark Smith   212SH159   Sunday, September 01, 2019      Wednesday, August 28, 2019     8/28/19 3:57 PM    8/28/19 10:29 PM                  6.53
Mark Smith   212SH159   Sunday, September 01, 2019       Thursday, August 29, 2019     8/29/19 4:04 PM     8/29/19 9:59 PM                  5.92
Mark Smith   212SH159   Sunday, September 01, 2019          Friday, August 30, 2019    8/30/19 4:10 PM     8/30/19 9:38 PM                  5.47
Mark Smith                                                                                                                    Sum Of Total time:   29.37         29.37       0.00              $10.00
Mark Smith   212SH159   Sunday, September 08, 2019      Monday, September 02, 2019      9/2/19 4:01 PM     9/2/19 11:19 PM                  7.30
Mark Smith   212SH159   Sunday, September 08, 2019     Saturday, September 07, 2019     9/7/19 3:56 PM     9/7/19 11:18 PM                  7.37
Mark Smith   212SH159   Sunday, September 08, 2019      Sunday, September 08, 2019     9/8/19 12:00 PM      9/8/19 6:34 PM                  6.57
Mark Smith                                                                                                                    Sum Of Total time:   21.24         21.24       0.00              $10.00
Mark Smith   212SH159   Sunday, September 15, 2019   Wednesday, September 11, 2019     9/11/19 3:57 PM    9/11/19 11:23 PM                  7.43
Mark Smith   212SH159   Sunday, September 15, 2019     Saturday, September 14, 2019    9/14/19 4:10 PM     9/14/19 7:40 PM                  3.50
Mark Smith                                                                                                                    Sum Of Total time:   10.93         10.93       0.00              $10.00
Mark Smith   212SH159   Sunday, September 22, 2019   Wednesday, September 18, 2019     9/18/19 4:06 PM    9/18/19 11:26 PM                  7.33
Mark Smith   212SH159   Sunday, September 22, 2019     Saturday, September 21, 2019    9/21/19 3:48 PM     9/21/19 9:21 PM                  5.55
Mark Smith   212SH159   Sunday, September 22, 2019      Sunday, September 22, 2019     9/22/19 5:43 PM     9/22/19 9:17 PM                  3.57
Mark Smith                                                                                                                    Sum Of Total time:   16.45         16.45       0.00              $10.00
Mark Smith   212SH159   Sunday, September 29, 2019   Wednesday, September 25, 2019     9/25/19 5:38 PM    9/25/19 11:11 PM                  5.55
Mark Smith   212SH159   Sunday, September 29, 2019     Saturday, September 28, 2019    9/28/19 4:01 PM    9/28/19 11:16 PM                  7.25
Mark Smith   212SH159   Sunday, September 29, 2019      Sunday, September 29, 2019     9/29/19 3:50 PM    9/29/19 11:03 PM                  7.22
Mark Smith                                                                                                                    Sum Of Total time:   20.02         20.02       0.00              $10.00
Mark Smith   212SH159     Sunday, October 06, 2019        Tuesday, October 01, 2019    10/1/19 4:15 PM    10/1/19 11:19 PM                  7.07
Mark Smith                                                                                                                    Sum Of Total time:   7.07          7.07        0.00              $10.00
Mark Smith   212SH159     Sunday, October 27, 2019        Monday, October 21, 2019    10/21/19 4:06 PM 10/21/19 11:22 PM                    7.27
Mark Smith   212SH159     Sunday, October 27, 2019        Tuesday, October 22, 2019   10/22/19 4:38 PM 10/23/19 12:09 AM                    7.52
Mark Smith                                                                                                                    Sum Of Total time:   14.79         14.79       0.00              $10.00
Mark Smith   212SH159   Sunday, November 10, 2019       Tuesday, November 05, 2019     11/5/19 4:14 PM 11/5/19 10:19 PM                     6.08
Mark Smith   212SH159   Sunday, November 10, 2019    Wednesday, November 06, 2019      11/6/19 4:04 PM 11/6/19 10:48 PM                     6.73
Mark Smith   212SH159   Sunday, November 10, 2019     Thursday, November 07, 2019      11/7/19 4:12 PM   11/7/19 9:40 PM                    5.47
Mark Smith   212SH159   Sunday, November 10, 2019      Saturday, November 09, 2019     11/9/19 3:53 PM 11/10/19 12:37 AM                    8.73
Mark Smith                                                                                                                    Sum Of Total time:   27.01         27.01       0.00              $10.00
Mark Smith   212SH159   Sunday, November 17, 2019       Tuesday, November 12, 2019    11/12/19 4:06 PM 11/12/19 10:36 PM                    6.50
Mark Smith   212SH159   Sunday, November 17, 2019      Thursday, November 14, 2019    11/14/19 2:34 PM 11/14/19 8:59 PM                     6.42
Mark Smith   212SH159   Sunday, November 17, 2019         Friday, November 15, 2019   11/15/19 4:29 PM 11/15/19 11:04 PM                    6.58
Mark Smith   212SH158   Sunday, November 17, 2019      Saturday, November 16, 2019    11/16/19 4:14 PM 11/17/19 12:04 AM                    7.83
Mark Smith                                                                                                                    Sum Of Total time:   27.33         27.33       0.00              $10.00
Mark Smith   212SH158   Sunday, November 24, 2019      Thursday, November 21, 2019    11/21/19 4:03 PM 11/21/19 9:23 PM                     5.33
Mark Smith   212SH158   Sunday, November 24, 2019      Saturday, November 23, 2019    11/23/19 3:56 PM 11/23/19 11:51 PM                    7.92
Mark Smith                                                                                                                    Sum Of Total time:   13.25         13.25       0.00              $10.00
Mark Smith   212SH158   Sunday, December 01, 2019      Thursday, November 28, 2019    11/28/19 4:03 PM 11/28/19 10:10 PM                    6.12

                                                                                          Page 63 of 94
         Case 1:22-cv-00518-JLR-RWL         Document 116-5             Filed 11/16/23         Page 64 of 94
                                    Exhibit 5 - Group 1 unpaid wages


                                                      Full                        Total tip       Total   Total
                Bates                               minimum Hourly tip Overtime    credit      unpaid OT unpaid
      Name     number         Week-end date          wage    credit    premium     taken        premium   SOH
Mark Smith    212SH159   Sunday, September 01, 2019 $15.00
Mark Smith    212SH159   Sunday, September 01, 2019 $15.00
Mark Smith    212SH159   Sunday, September 01, 2019 $15.00
Mark Smith    212SH159   Sunday, September 01, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50    $146.85        $0.00
Mark Smith    212SH159   Sunday, September 08, 2019 $15.00
Mark Smith    212SH159   Sunday, September 08, 2019 $15.00
Mark Smith    212SH159   Sunday, September 08, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50    $106.20        $0.00
Mark Smith    212SH159   Sunday, September 15, 2019 $15.00
Mark Smith    212SH159   Sunday, September 15, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50     $54.65        $0.00
Mark Smith    212SH159   Sunday, September 22, 2019 $15.00
Mark Smith    212SH159   Sunday, September 22, 2019 $15.00
Mark Smith    212SH159   Sunday, September 22, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50     $82.25        $0.00
Mark Smith    212SH159   Sunday, September 29, 2019 $15.00
Mark Smith    212SH159   Sunday, September 29, 2019 $15.00
Mark Smith    212SH159   Sunday, September 29, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50    $100.10        $0.00
Mark Smith    212SH159      Sunday, October 06, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50     $35.35        $0.00
Mark Smith    212SH159      Sunday, October 27, 2019 $15.00
Mark Smith    212SH159      Sunday, October 27, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50     $73.95        $0.00
Mark Smith    212SH159   Sunday, November 10, 2019 $15.00
Mark Smith    212SH159   Sunday, November 10, 2019 $15.00
Mark Smith    212SH159   Sunday, November 10, 2019 $15.00
Mark Smith    212SH159   Sunday, November 10, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50    $135.05        $0.00
Mark Smith    212SH159   Sunday, November 17, 2019 $15.00
Mark Smith    212SH159   Sunday, November 17, 2019 $15.00
Mark Smith    212SH159   Sunday, November 17, 2019 $15.00
Mark Smith    212SH158   Sunday, November 17, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50    $136.65        $0.00
Mark Smith    212SH158   Sunday, November 24, 2019   $15.00
Mark Smith    212SH158   Sunday, November 24, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50     $66.25        $0.00
Mark Smith    212SH158    Sunday, December 01, 2019 $15.00

                                             Page 64 of 94
                                                Case 1:22-cv-00518-JLR-RWL                Document 116-5             Filed 11/16/23        Page 65 of 94
                                                                                  Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                       Spread Tip credit
               Bates                                                                                                                                                         Overtime of hours minimum
      Name    number       Week-end date                   Clock in date                  Time in              Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Mark Smith   212SH158   Sunday, December 01, 2019        Friday, November 29, 2019     11/29/19 4:21 PM 11/29/19 11:13 PM                     6.87
Mark Smith   212SH158   Sunday, December 01, 2019      Saturday, November 30, 2019     11/30/19 3:55 PM 12/1/19 12:23 AM                      8.47
Mark Smith                                                                                                                      Sum Of Total time:   21.46         21.46       0.00              $10.00
Mark Smith   212SH158   Sunday, December 08, 2019    Wednesday, December 04, 2019       12/4/19 4:16 PM     12/4/19 11:19 PM                  7.05
Mark Smith   212SH158   Sunday, December 08, 2019     Thursday, December 05, 2019       12/5/19 3:45 PM     12/5/19 11:13 PM                  7.47
Mark Smith   212SH158   Sunday, December 08, 2019      Saturday, December 07, 2019      12/7/19 3:40 PM     12/8/19 12:05 AM                  8.42
Mark Smith   212SH158   Sunday, December 08, 2019       Sunday, December 08, 2019       12/8/19 3:56 PM     12/8/19 11:21 PM                  7.42
Mark Smith                                                                                                                      Sum Of Total time:   30.36         30.36       0.00              $10.00
Mark Smith   212SH158   Sunday, December 15, 2019       Monday, December 09, 2019       12/9/19 3:54 PM     12/9/19 10:33 PM                  6.65
Mark Smith   212SH158   Sunday, December 15, 2019       Tuesday, December 10, 2019     12/10/19 3:56 PM    12/10/19 10:45 PM                  6.82
Mark Smith   212SH158   Sunday, December 15, 2019      Thursday, December 12, 2019     12/12/19 4:35 PM    12/12/19 11:12 PM                  6.62
Mark Smith   212SH158   Sunday, December 15, 2019         Friday, December 13, 2019    12/13/19 3:59 PM    12/13/19 11:24 PM                  7.42
Mark Smith   212SH158   Sunday, December 15, 2019      Saturday, December 14, 2019     12/14/19 4:36 PM    12/14/19 10:35 PM                  5.98
Mark Smith                                                                                                                      Sum Of Total time:   33.49         33.49       0.00              $10.00
Mark Smith   212SH158   Sunday, December 22, 2019       Monday, December 16, 2019      12/16/19 3:56 PM    12/16/19 10:37 PM                  6.68
Mark Smith   212SH158   Sunday, December 22, 2019       Tuesday, December 17, 2019     12/17/19 4:06 PM     12/17/19 7:44 PM                  3.63
Mark Smith   212SH158   Sunday, December 22, 2019    Wednesday, December 18, 2019      12/18/19 3:59 PM    12/18/19 10:57 PM                  6.97
Mark Smith   212SH158   Sunday, December 22, 2019     Thursday, December 19, 2019      12/19/19 4:03 PM    12/19/19 11:51 PM                  7.80
Mark Smith   212SH158   Sunday, December 22, 2019      Saturday, December 21, 2019     12/21/19 3:57 PM    12/22/19 12:44 AM                  8.78
Mark Smith                                                                                                                      Sum Of Total time:   33.86         33.86       0.00              $10.00
Mark Smith   212SH158   Sunday, December 29, 2019       Monday, December 23, 2019 12/23/19 3:59 PM         12/23/19 10:47 PM                  6.80
Mark Smith   212SH158   Sunday, December 29, 2019       Tuesday, December 24, 2019 12/24/19 4:03 PM        12/24/19 11:29 PM                  7.43
Mark Smith   212SH158   Sunday, December 29, 2019    Wednesday, December 25, 2019 12/25/19 11:35 AM         12/25/19 6:33 PM                  6.97
Mark Smith   212SH158   Sunday, December 29, 2019     Thursday, December 26, 2019 12/26/19 3:44 PM         12/26/19 10:32 PM                  6.80
Mark Smith   212SH158   Sunday, December 29, 2019      Saturday, December 28, 2019 12/28/19 4:47 PM        12/28/19 11:02 PM                  6.25
Mark Smith                                                                                                                      Sum Of Total time:   34.25         34.25       0.00              $10.00
Mark Smith   212SH158     Sunday, January 05, 2020      Monday, December 30, 2019      12/30/19 3:54 PM 12/30/19 11:44 PM                     7.83
Mark Smith   212SH158     Sunday, January 05, 2020      Tuesday, December 31, 2019     12/31/19 5:02 PM    1/1/20 1:07 AM                     8.08
Mark Smith   212SH163     Sunday, January 05, 2020       Thursday, January 02, 2020      1/2/20 4:08 PM   1/2/20 11:06 PM                     6.97
Mark Smith   212SH163     Sunday, January 05, 2020        Saturday, January 04, 2020     1/4/20 3:56 PM   1/4/20 10:22 PM                     6.43
Mark Smith                                                                                                                      Sum Of Total time:   29.31         29.31       0.00              $10.00
Mark Smith   212SH163     Sunday, January 26, 2020       Thursday, January 23, 2020     1/23/20 7:46 PM      1/24/20 2:23 AM                  6.62
Mark Smith   212SH163     Sunday, January 26, 2020         Friday, January 24, 2020     1/24/20 4:00 PM      1/24/20 8:45 PM                  4.75
Mark Smith   212SH163     Sunday, January 26, 2020       Saturday, January 25, 2020     1/25/20 3:50 PM     1/25/20 11:26 PM                  7.60
Mark Smith                                                                                                                      Sum Of Total time:   18.97         18.97       0.00              $10.00
Mark Smith   212SH163    Sunday, February 02, 2020       Thursday, January 30, 2020     1/30/20 4:06 PM     1/30/20 11:19 PM                  7.22
Mark Smith   212SH163    Sunday, February 02, 2020          Friday, January 31, 2020    1/31/20 4:03 PM     1/31/20 10:29 PM                  6.43
Mark Smith   212SH163    Sunday, February 02, 2020      Saturday, February 01, 2020      2/1/20 4:06 PM      2/2/20 12:35 AM                  8.48
Mark Smith                                                                                                                      Sum Of Total time:   22.13         22.13       0.00              $10.00

                                                                                           Page 65 of 94
         Case 1:22-cv-00518-JLR-RWL         Document 116-5             Filed 11/16/23         Page 66 of 94
                                    Exhibit 5 - Group 1 unpaid wages


                                                      Full                        Total tip       Total   Total
                Bates                               minimum Hourly tip Overtime    credit      unpaid OT unpaid
      Name     number       Week-end date            wage    credit    premium     taken        premium   SOH
Mark Smith    212SH158   Sunday, December 01, 2019 $15.00
Mark Smith    212SH158   Sunday, December 01, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50    $107.30        $0.00
Mark Smith    212SH158   Sunday, December 08, 2019 $15.00
Mark Smith    212SH158   Sunday, December 08, 2019 $15.00
Mark Smith    212SH158   Sunday, December 08, 2019 $15.00
Mark Smith    212SH158   Sunday, December 08, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50    $151.80        $0.00
Mark Smith    212SH158   Sunday, December 15, 2019 $15.00
Mark Smith    212SH158   Sunday, December 15, 2019 $15.00
Mark Smith    212SH158   Sunday, December 15, 2019 $15.00
Mark Smith    212SH158   Sunday, December 15, 2019 $15.00
Mark Smith    212SH158   Sunday, December 15, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50    $167.45        $0.00
Mark Smith    212SH158   Sunday, December 22, 2019 $15.00
Mark Smith    212SH158   Sunday, December 22, 2019 $15.00
Mark Smith    212SH158   Sunday, December 22, 2019 $15.00
Mark Smith    212SH158   Sunday, December 22, 2019 $15.00
Mark Smith    212SH158   Sunday, December 22, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50    $169.30        $0.00
Mark Smith    212SH158   Sunday, December 29, 2019 $15.00
Mark Smith    212SH158   Sunday, December 29, 2019 $15.00
Mark Smith    212SH158   Sunday, December 29, 2019 $15.00
Mark Smith    212SH158   Sunday, December 29, 2019 $15.00
Mark Smith    212SH158   Sunday, December 29, 2019 $15.00
Mark Smith                                           $15.00   $5.00      $7.50    $171.25        $0.00
Mark Smith    212SH158     Sunday, January 05, 2020 $15.00
Mark Smith    212SH158     Sunday, January 05, 2020 $15.00
Mark Smith    212SH163     Sunday, January 05, 2020 $15.00
Mark Smith    212SH163     Sunday, January 05, 2020 $15.00
Mark Smith                                           $15.00   $5.00      $7.50    $146.55        $0.00
Mark Smith    212SH163     Sunday, January 26, 2020 $15.00
Mark Smith    212SH163     Sunday, January 26, 2020 $15.00
Mark Smith    212SH163     Sunday, January 26, 2020 $15.00
Mark Smith                                           $15.00   $5.00      $7.50     $94.85        $0.00
Mark Smith    212SH163    Sunday, February 02, 2020  $15.00
Mark Smith    212SH163    Sunday, February 02, 2020 $15.00
Mark Smith    212SH163    Sunday, February 02, 2020 $15.00
Mark Smith                                           $15.00   $5.00      $7.50    $110.65        $0.00

                                             Page 66 of 94
                                                      Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23        Page 67 of 94
                                                                                       Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                            Spread Tip credit
                     Bates                                                                                                                                                        Overtime of hours minimum
      Name          number       Week-end date                   Clock in date                 Time in             Time out         Total hours worked Weekly hours Regular hours  hours     shifts  wage
Mark Smith         212SH163    Sunday, February 09, 2020      Thursday, February 06, 2020     2/6/20 4:09 PM      2/7/20 12:05 AM                  7.93
Mark Smith         212SH163    Sunday, February 09, 2020        Friday, February 07, 2020     2/7/20 3:57 PM       2/7/20 9:33 PM                  5.60
Mark Smith         212SH163    Sunday, February 09, 2020      Saturday, February 08, 2020     2/8/20 5:04 PM      2/8/20 10:41 PM                  5.62
Mark Smith                                                                                                                           Sum Of Total time:   19.15         19.15       0.00              $10.00
Mark Smith         212SH163    Sunday, February 16, 2020    Wednesday, February 12, 2020     2/12/20 3:58 PM     2/12/20 11:36 PM                  7.63
Mark Smith         212SH163    Sunday, February 16, 2020     Thursday, February 13, 2020     2/13/20 4:31 PM     2/13/20 10:54 PM                  6.38
Mark Smith         212SH163    Sunday, February 16, 2020        Friday, February 14, 2020    2/14/20 3:25 PM      2/15/20 1:05 AM                  9.67
Mark Smith         212SH163    Sunday, February 16, 2020      Saturday, February 15, 2020    2/15/20 3:46 PM     2/15/20 11:50 PM                  8.07
Mark Smith                                                                                                                           Sum Of Total time:   31.75         31.75       0.00              $10.00
Mark Smith         212SH163    Sunday, February 23, 2020    Wednesday, February 19, 2020     2/19/20 3:53 PM    2/20/20 12:32 AM                   8.65
Mark Smith         212SH163    Sunday, February 23, 2020     Thursday, February 20, 2020     2/20/20 4:06 PM    2/20/20 11:10 PM                   7.07
Mark Smith         212SH163    Sunday, February 23, 2020      Saturday, February 22, 2020    2/22/20 4:10 PM    2/22/20 11:30 PM                   7.33
Mark Smith                                                                                                                           Sum Of Total time:   23.05         23.05       0.00              $10.00
Mark Smith         212SH163      Sunday, March 01, 2020     Wednesday, February 26, 2020     2/26/20 4:03 PM     2/26/20 11:09 PM                  7.10
Mark Smith         212SH163      Sunday, March 01, 2020      Thursday, February 27, 2020     2/27/20 4:08 PM     2/27/20 10:31 PM                  6.38
Mark Smith         212SH163      Sunday, March 01, 2020       Saturday, February 29, 2020    2/29/20 3:58 PM       3/1/20 3:03 AM                11.08                                         1
Mark Smith                                                                                                                           Sum Of Total time:   24.56         24.56       0.00              $10.00
Mark Smith         212SH163      Sunday, March 08, 2020         Thursday, March 05, 2020      3/5/20 3:49 PM       3/6/20 2:26 AM                10.62                                         1
Mark Smith         212SH163      Sunday, March 08, 2020         Saturday, March 07, 2020      3/7/20 4:01 PM       3/7/20 8:33 PM                  4.53
Mark Smith                                                                                                                           Sum Of Total time:   15.15         15.15       0.00              $10.00
Mark Smith         212SH163      Sunday, March 15, 2020          Saturday, March 14, 2020    3/14/20 3:45 PM    3/15/20 12:27 AM                   8.70
Mark Smith                                                                                                                           Sum Of Total time:   8.70          8.70        0.00              $10.00

Michelle Marquez   212SH212   Sunday, December 11, 2016      Thursday, December 08, 2016     12/8/16 3:42 PM 12/8/16 11:33 PM                      7.85
Michelle Marquez   212SH212   Sunday, December 11, 2016         Friday, December 09, 2016    12/9/16 3:56 PM 12/9/16 10:30 PM                      6.57
Michelle Marquez   212SH212   Sunday, December 11, 2016      Saturday, December 10, 2016    12/10/16 3:44 PM 12/10/16 11:54 PM                     8.17
Michelle Marquez   212SH212   Sunday, December 11, 2016        Sunday, December 11, 2016    12/11/16 3:33 PM 12/11/16 11:58 PM                     8.42
Michelle Marquez                                                                                                                     Sum Of Total time:   31.01         31.01       0.00              $7.50
Michelle Marquez   212SH212   Sunday, December 18, 2016      Monday, December 12, 2016      12/12/16 3:33 PM 12/12/16 11:42 PM                     8.15
Michelle Marquez   212SH212   Sunday, December 18, 2016      Tuesday, December 13, 2016     12/13/16 3:44 PM 12/13/16 11:23 PM                     7.65
Michelle Marquez   212SH212   Sunday, December 18, 2016    Wednesday, December 14, 2016     12/14/16 3:53 PM 12/14/16 10:43 PM                     6.83
Michelle Marquez                                                                                                                     Sum Of Total time:   22.63         22.63       0.00              $7.50
Michelle Marquez   212SH212   Sunday, December 25, 2016       Monday, December 19, 2016     12/19/16 4:01 PM    12/19/16 10:55 PM                  6.90
Michelle Marquez   212SH212   Sunday, December 25, 2016       Tuesday, December 20, 2016    12/20/16 4:07 PM    12/20/16 11:09 PM                  7.03
Michelle Marquez   212SH212   Sunday, December 25, 2016      Thursday, December 22, 2016    12/22/16 4:05 PM    12/22/16 10:07 PM                  6.03
Michelle Marquez   212SH212   Sunday, December 25, 2016         Friday, December 23, 2016   12/23/16 4:00 PM    12/23/16 11:07 PM                  7.12
Michelle Marquez   212SH212   Sunday, December 25, 2016      Saturday, December 24, 2016    12/24/16 3:30 PM    12/24/16 10:34 PM                  7.07
Michelle Marquez                                                                                                                     Sum Of Total time:   34.15         34.15       0.00              $7.50
Michelle Marquez   212SH212     Sunday, January 01, 2017      Monday, December 26, 2016     12/26/16 4:01 PM 12/26/16 11:22 PM                     7.35

                                                                                                Page 67 of 94
          Case 1:22-cv-00518-JLR-RWL             Document 116-5             Filed 11/16/23   Page 68 of 94
                                         Exhibit 5 - Group 1 unpaid wages


                                                            Full                      Total tip    Total   Total
                     Bates                               minimum Hourly tip Overtime    credit  unpaid OT unpaid
      Name          number       Week-end date             wage      credit   premium   taken    premium   SOH
Mark Smith         212SH163    Sunday, February 09, 2020 $15.00
Mark Smith         212SH163    Sunday, February 09, 2020 $15.00
Mark Smith         212SH163    Sunday, February 09, 2020 $15.00
Mark Smith                                                $15.00      $5.00     $7.50  $95.75      $0.00
Mark Smith         212SH163    Sunday, February 16, 2020 $15.00
Mark Smith         212SH163    Sunday, February 16, 2020 $15.00
Mark Smith         212SH163    Sunday, February 16, 2020 $15.00
Mark Smith         212SH163    Sunday, February 16, 2020 $15.00
Mark Smith                                                $15.00      $5.00     $7.50  $158.75     $0.00
Mark Smith         212SH163    Sunday, February 23, 2020 $15.00
Mark Smith         212SH163    Sunday, February 23, 2020 $15.00
Mark Smith         212SH163    Sunday, February 23, 2020 $15.00
Mark Smith                                                $15.00      $5.00     $7.50  $115.25     $0.00
Mark Smith         212SH163      Sunday, March 01, 2020   $15.00
Mark Smith         212SH163      Sunday, March 01, 2020 $15.00
Mark Smith         212SH163      Sunday, March 01, 2020 $15.00                                             $15.00
Mark Smith                                                $15.00      $5.00     $7.50  $122.80     $0.00
Mark Smith         212SH163      Sunday, March 08, 2020 $15.00                                             $15.00
Mark Smith         212SH163      Sunday, March 08, 2020 $15.00
Mark Smith                                                $15.00      $5.00     $7.50  $75.75      $0.00
Mark Smith         212SH163      Sunday, March 15, 2020 $15.00
Mark Smith                                                $15.00      $5.00     $7.50  $43.50      $0.00
                                                         Mark Smith subtotal:         $4,188.46    $0.00  $58.00
Michelle Marquez   212SH212   Sunday, December 11, 2016    $9.00
Michelle Marquez   212SH212   Sunday, December 11, 2016    $9.00
Michelle Marquez   212SH212   Sunday, December 11, 2016    $9.00
Michelle Marquez   212SH212   Sunday, December 11, 2016    $9.00
Michelle Marquez                                           $9.00      $1.50     $4.50  $46.52      $0.00
Michelle Marquez   212SH212   Sunday, December 18, 2016    $9.00
Michelle Marquez   212SH212   Sunday, December 18, 2016    $9.00
Michelle Marquez   212SH212   Sunday, December 18, 2016    $9.00
Michelle Marquez                                           $9.00      $1.50     $4.50  $33.95      $0.00
Michelle Marquez   212SH212   Sunday, December 25, 2016    $9.00
Michelle Marquez   212SH212   Sunday, December 25, 2016    $9.00
Michelle Marquez   212SH212   Sunday, December 25, 2016    $9.00
Michelle Marquez   212SH212   Sunday, December 25, 2016    $9.00
Michelle Marquez   212SH212   Sunday, December 25, 2016    $9.00
Michelle Marquez                                           $9.00      $1.50     $4.50  $51.23      $0.00
Michelle Marquez   212SH212     Sunday, January 01, 2017   $9.00

                                                  Page 68 of 94
                                                      Case 1:22-cv-00518-JLR-RWL                Document 116-5             Filed 11/16/23        Page 69 of 94
                                                                                        Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                             Spread Tip credit
                     Bates                                                                                                                                                         Overtime of hours minimum
      Name          number       Week-end date                   Clock in date                  Time in             Time out         Total hours worked Weekly hours Regular hours  hours     shifts  wage
Michelle Marquez   212SH212     Sunday, January 01, 2017      Tuesday, December 27, 2016     12/27/16 3:48 PM    12/27/16 10:44 PM                  6.93
Michelle Marquez   212SH212     Sunday, January 01, 2017   Wednesday, December 28, 2016      12/28/16 3:55 PM    12/28/16 11:02 PM                  7.12
Michelle Marquez   212SH212     Sunday, January 01, 2017        Friday, December 30, 2016    12/30/16 4:02 PM    12/30/16 11:39 PM                  7.62
Michelle Marquez   212SH216     Sunday, January 01, 2017     Saturday, December 31, 2016     12/31/16 3:49 PM    12/31/16 10:02 PM                  6.22
Michelle Marquez                                                                                                                      Sum Of Total time:   35.24         35.24       0.00              $7.50

Miguel Torress     212SH217   Sunday, December 18, 2016        Friday, December 16, 2016     12/16/16 4:00 PM 12/16/16 11:30 PM                     7.50
Miguel Torress     212SH217   Sunday, December 18, 2016      Saturday, December 17, 2016     12/17/16 4:00 PM 12/17/16 10:20 PM                     6.33
Miguel Torress     212SH217   Sunday, December 18, 2016       Sunday, December 18, 2016      12/18/16 4:00 PM 12/18/16 10:00 PM                     6.00
Miguel Torress                                                                                                                        Sum Of Total time:   19.83         19.83       0.00              $7.50
Miguel Torress     212SH217   Sunday, December 25, 2016       Tuesday, December 20, 2016 12/20/16 4:00 PM        12/20/16 11:00 PM                  7.00
Miguel Torress     212SH217   Sunday, December 25, 2016      Thursday, December 22, 2016 12/22/16 4:00 PM        12/22/16 10:30 PM                  6.50
Miguel Torress     212SH217   Sunday, December 25, 2016         Friday, December 23, 2016 12/23/16 4:30 PM       12/23/16 11:30 PM                  7.00
Miguel Torress     212SH217   Sunday, December 25, 2016      Saturday, December 24, 2016 12/24/16 3:00 PM        12/24/16 11:00 PM                  8.00
Miguel Torress     212SH217   Sunday, December 25, 2016        Sunday, December 25, 2016 12/25/16 11:00 AM       12/25/16 10:45 PM                11.75                                         1
Miguel Torress                                                                                                                        Sum Of Total time:   40.25         40.00       0.25              $7.50
Miguel Torress     212SH217     Sunday, January 01, 2017      Tuesday, December 27, 2016     12/27/16 4:15 PM     12/27/16 9:15 PM                  5.00
Miguel Torress     212SH217     Sunday, January 01, 2017   Wednesday, December 28, 2016      12/28/16 4:00 PM    12/28/16 10:45 PM                  6.75
Miguel Torress     212SH217     Sunday, January 01, 2017    Thursday, December 29, 2016      12/29/16 4:00 PM    12/29/16 11:05 PM                  7.08
Miguel Torress     212SH217     Sunday, January 01, 2017        Friday, December 30, 2016    12/30/16 4:00 PM    12/30/16 11:12 PM                  7.20
Miguel Torress     212SH217     Sunday, January 01, 2017     Saturday, December 31, 2016     12/31/16 3:06 PM    12/31/16 11:40 PM                  8.57
Miguel Torress                                                                                                                        Sum Of Total time:   34.60         34.60       0.00              $7.50
Miguel Torress     212SH123     Sunday, January 08, 2017     Wednesday, January 04, 2017       1/4/17 4:01 PM      1/4/17 10:40 PM                  6.65
Miguel Torress     212SH123     Sunday, January 08, 2017      Thursday, January 05, 2017       1/5/17 3:59 PM      1/5/17 10:24 PM                  6.42
Miguel Torress     212SH123     Sunday, January 08, 2017         Friday, January 06, 2017      1/6/17 3:49 PM      1/6/17 10:33 PM                  6.73
Miguel Torress     212SH123     Sunday, January 08, 2017       Saturday, January 07, 2017      1/7/17 4:12 PM       1/7/17 9:42 PM                  5.50
Miguel Torress     212SH123     Sunday, January 08, 2017        Sunday, January 08, 2017       1/8/17 3:51 PM      1/8/17 11:12 PM                  7.35
Miguel Torress                                                                                                                        Sum Of Total time:   32.65         32.65       0.00              $7.50
Miguel Torress     212SH123     Sunday, January 15, 2017     Wednesday, January 11, 2017      1/11/17 3:56 PM     1/11/17 11:00 PM                  7.07
Miguel Torress     212SH123     Sunday, January 15, 2017      Thursday, January 12, 2017      1/12/17 3:52 PM     1/12/17 10:42 PM                  6.83
Miguel Torress     212SH124     Sunday, January 15, 2017         Friday, January 13, 2017     1/13/17 4:09 PM     1/13/17 11:29 PM                  7.33
Miguel Torress     212SH124     Sunday, January 15, 2017       Saturday, January 14, 2017     1/14/17 4:12 PM      1/14/17 9:58 PM                  5.77
Miguel Torress     212SH124     Sunday, January 15, 2017        Sunday, January 15, 2017      1/15/17 4:08 PM     1/15/17 11:41 PM                  7.55
Miguel Torress                                                                                                                        Sum Of Total time:   34.55         34.55       0.00              $7.50
Miguel Torress     212SH124     Sunday, January 22, 2017       Tuesday, January 17, 2017      1/17/17 4:14 PM     1/17/17 10:32 PM                  6.30
Miguel Torress     212SH124     Sunday, January 22, 2017     Wednesday, January 18, 2017      1/18/17 6:45 PM      1/19/17 1:48 AM                  7.05
Miguel Torress     212SH124     Sunday, January 22, 2017      Thursday, January 19, 2017      1/19/17 3:57 PM     1/19/17 10:48 PM                  6.85
Miguel Torress     212SH124     Sunday, January 22, 2017          Friday, January 20, 2017    1/20/17 3:53 PM     1/20/17 10:03 PM                  6.17
Miguel Torress     212SH124     Sunday, January 22, 2017       Saturday, January 21, 2017     1/21/17 4:03 PM     1/21/17 10:58 PM                  6.92

                                                                                                 Page 69 of 94
          Case 1:22-cv-00518-JLR-RWL             Document 116-5             Filed 11/16/23          Page 70 of 94
                                         Exhibit 5 - Group 1 unpaid wages


                                                            Full                        Total tip       Total   Total
                     Bates                               minimum Hourly tip Overtime     credit      unpaid OT unpaid
      Name          number       Week-end date             wage       credit  premium    taken        premium   SOH
Michelle Marquez   212SH212     Sunday, January 01, 2017   $9.00
Michelle Marquez   212SH212     Sunday, January 01, 2017   $9.00
Michelle Marquez   212SH212     Sunday, January 01, 2017   $9.00
Michelle Marquez   212SH216     Sunday, January 01, 2017   $9.00
Michelle Marquez                                           $9.00      $1.50     $4.50   $52.86         $0.00
                                                         Michelle Marquez subtotal:     $184.55        $0.00    $0.00
Miguel Torress     212SH217   Sunday, December 18, 2016    $9.00
Miguel Torress     212SH217   Sunday, December 18, 2016    $9.00
Miguel Torress     212SH217   Sunday, December 18, 2016    $9.00
Miguel Torress                                             $9.00      $1.50     $4.50    $29.75        $0.00
Miguel Torress     212SH217   Sunday, December 25, 2016    $9.00
Miguel Torress     212SH217   Sunday, December 25, 2016    $9.00
Miguel Torress     212SH217   Sunday, December 25, 2016    $9.00
Miguel Torress     212SH217   Sunday, December 25, 2016    $9.00
Miguel Torress     212SH217   Sunday, December 25, 2016    $9.00                                                 $9.00
Miguel Torress                                             $9.00      $1.50     $4.50    $60.38        $1.13
Miguel Torress     212SH217     Sunday, January 01, 2017   $9.00
Miguel Torress     212SH217     Sunday, January 01, 2017   $9.00
Miguel Torress     212SH217     Sunday, January 01, 2017   $9.00
Miguel Torress     212SH217     Sunday, January 01, 2017   $9.00
Miguel Torress     212SH217     Sunday, January 01, 2017   $9.00
Miguel Torress                                             $9.00      $1.50     $4.50    $51.90        $0.00
Miguel Torress     212SH123     Sunday, January 08, 2017 $11.00
Miguel Torress     212SH123     Sunday, January 08, 2017 $11.00
Miguel Torress     212SH123     Sunday, January 08, 2017 $11.00
Miguel Torress     212SH123     Sunday, January 08, 2017 $11.00
Miguel Torress     212SH123     Sunday, January 08, 2017 $11.00
Miguel Torress                                             $11.00     $3.50     $5.50   $114.28        $0.00
Miguel Torress     212SH123     Sunday, January 15, 2017 $11.00
Miguel Torress     212SH123     Sunday, January 15, 2017 $11.00
Miguel Torress     212SH124     Sunday, January 15, 2017 $11.00
Miguel Torress     212SH124     Sunday, January 15, 2017 $11.00
Miguel Torress     212SH124     Sunday, January 15, 2017 $11.00
Miguel Torress                                             $11.00     $3.50     $5.50   $120.93        $0.00
Miguel Torress     212SH124     Sunday, January 22, 2017 $11.00
Miguel Torress     212SH124     Sunday, January 22, 2017 $11.00
Miguel Torress     212SH124     Sunday, January 22, 2017 $11.00
Miguel Torress     212SH124     Sunday, January 22, 2017 $11.00
Miguel Torress     212SH124     Sunday, January 22, 2017 $11.00

                                                  Page 70 of 94
                                                   Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23       Page 71 of 94
                                                                                    Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                        Spread Tip credit
                   Bates                                                                                                                                                      Overtime of hours minimum
      Name        number      Week-end date                  Clock in date                  Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Miguel Torress                                                                                                                    Sum Of Total time:  33.29         33.29       0.00             $7.50
Miguel Torress   212SH124    Sunday, January 29, 2017      Thursday, January 26, 2017    1/26/17 4:03 PM      1/26/17 8:14 PM                  4.18
Miguel Torress   212SH124    Sunday, January 29, 2017         Friday, January 27, 2017   1/27/17 3:55 PM     1/28/17 12:09 AM                  8.23
Miguel Torress   212SH124    Sunday, January 29, 2017      Saturday, January 28, 2017    1/28/17 3:50 PM     1/28/17 10:51 PM                  7.02
Miguel Torress   212SH124    Sunday, January 29, 2017        Sunday, January 29, 2017    1/29/17 4:19 PM     1/29/17 10:17 PM                  5.97
Miguel Torress                                                                                                                   Sum Of Total time:   25.40         25.40       0.00              $7.50
Miguel Torress   212SH124   Sunday, February 05, 2017       Tuesday, January 31, 2017    1/31/17 3:53 PM      1/31/17 8:10 PM                  4.28
Miguel Torress   212SH124   Sunday, February 05, 2017   Wednesday, February 01, 2017      2/1/17 4:06 PM      2/1/17 10:22 PM                  6.27
Miguel Torress   212SH124   Sunday, February 05, 2017    Thursday, February 02, 2017      2/2/17 3:47 PM      2/2/17 10:01 PM                  6.23
Miguel Torress   212SH124   Sunday, February 05, 2017     Saturday, February 04, 2017     2/4/17 3:58 PM      2/4/17 10:12 PM                  6.23
Miguel Torress   212SH124   Sunday, February 05, 2017      Sunday, February 05, 2017      2/5/17 3:58 PM       2/5/17 7:29 PM                  3.52
Miguel Torress                                                                                                                   Sum Of Total time:   26.53         26.53       0.00              $7.50
Miguel Torress   212SH124   Sunday, February 12, 2017      Tuesday, February 07, 2017     2/7/17 3:56 PM      2/7/17 10:05 PM                  6.15
Miguel Torress   212SH124   Sunday, February 12, 2017   Wednesday, February 08, 2017      2/8/17 3:51 PM      2/8/17 10:54 PM                  7.05
Miguel Torress   212SH124   Sunday, February 12, 2017    Thursday, February 09, 2017      2/9/17 3:41 PM     2/10/17 12:01 AM                  8.33
Miguel Torress   212SH124   Sunday, February 12, 2017        Friday, February 10, 2017   2/10/17 3:57 PM     2/10/17 10:51 PM                  6.90
Miguel Torress   212SH124   Sunday, February 12, 2017     Saturday, February 11, 2017    2/11/17 4:15 PM     2/11/17 10:55 PM                  6.67
Miguel Torress                                                                                                                   Sum Of Total time:   35.10         35.10       0.00              $7.50
Miguel Torress   212SH124   Sunday, February 19, 2017      Tuesday, February 14, 2017    2/14/17 3:05 PM     2/14/17 10:58 PM                  7.88
Miguel Torress   212SH124   Sunday, February 19, 2017     Thursday, February 16, 2017    2/16/17 3:59 PM      2/16/17 9:58 PM                  5.98
Miguel Torress   212SH124   Sunday, February 19, 2017        Friday, February 17, 2017   2/17/17 4:10 PM     2/17/17 11:37 PM                  7.45
Miguel Torress   212SH124   Sunday, February 19, 2017     Saturday, February 18, 2017    2/18/17 3:55 PM     2/18/17 10:56 PM                  7.02
Miguel Torress   212SH124   Sunday, February 19, 2017       Sunday, February 19, 2017    2/19/17 4:08 PM     2/19/17 10:17 PM                  6.15
Miguel Torress                                                                                                                   Sum Of Total time:   34.48         34.48       0.00              $7.50
Miguel Torress   212SH124   Sunday, February 26, 2017      Tuesday, February 21, 2017    2/21/17 3:48 PM      2/21/17 8:41 PM                  4.88
Miguel Torress   212SH124   Sunday, February 26, 2017     Thursday, February 23, 2017    2/23/17 4:06 PM      2/23/17 9:43 PM                  5.62
Miguel Torress   212SH125   Sunday, February 26, 2017        Friday, February 24, 2017   2/24/17 4:05 PM      2/24/17 9:00 PM                  4.92
Miguel Torress   212SH125   Sunday, February 26, 2017     Saturday, February 25, 2017    2/25/17 3:59 PM     2/25/17 11:42 PM                  7.72
Miguel Torress                                                                                                                   Sum Of Total time:   23.14         23.14       0.00              $7.50
Miguel Torress   212SH125     Sunday, March 05, 2017      Wednesday, March 01, 2017        3/1/17 3:52 PM      3/1/17 8:05 PM                  4.22
Miguel Torress   212SH125     Sunday, March 05, 2017       Thursday, March 02, 2017        3/2/17 3:57 PM      3/2/17 9:47 PM                  5.83
Miguel Torress   212SH125     Sunday, March 05, 2017        Saturday, March 04, 2017       3/4/17 3:14 PM     3/4/17 10:51 PM                  7.62
Miguel Torress   212SH125     Sunday, March 05, 2017         Sunday, March 05, 2017        3/5/17 4:11 PM     3/5/17 11:03 PM                  6.87
Miguel Torress                                                                                                                   Sum Of Total time:   24.54         24.54       0.00              $7.50
Miguel Torress   212SH125     Sunday, March 12, 2017         Tuesday, March 07, 2017      3/7/17 3:51 PM      3/7/17 10:03 PM                  6.20
Miguel Torress   212SH125     Sunday, March 12, 2017      Wednesday, March 08, 2017       3/8/17 3:45 PM       3/8/17 9:49 PM                  6.07
Miguel Torress   212SH125     Sunday, March 12, 2017       Thursday, March 09, 2017       3/9/17 4:02 PM      3/9/17 11:41 PM                  7.65
Miguel Torress   212SH125     Sunday, March 12, 2017        Saturday, March 11, 2017     3/11/17 4:09 PM     3/11/17 11:03 PM                  6.90
Miguel Torress                                                                                                                   Sum Of Total time:   26.82         26.82       0.00              $7.50

                                                                                             Page 71 of 94
          Case 1:22-cv-00518-JLR-RWL          Document 116-5             Filed 11/16/23         Page 72 of 94
                                      Exhibit 5 - Group 1 unpaid wages


                                                        Full                        Total tip       Total   Total
                   Bates                              minimum Hourly tip Overtime    credit      unpaid OT unpaid
      Name        number      Week-end date            wage    credit    premium     taken        premium   SOH
Miguel Torress                                         $11.00   $3.50      $5.50    $116.52         $0.00
Miguel Torress   212SH124    Sunday, January 29, 2017 $11.00
Miguel Torress   212SH124    Sunday, January 29, 2017 $11.00
Miguel Torress   212SH124    Sunday, January 29, 2017 $11.00
Miguel Torress   212SH124    Sunday, January 29, 2017 $11.00
Miguel Torress                                         $11.00   $3.50      $5.50     $88.90        $0.00
Miguel Torress   212SH124   Sunday, February 05, 2017 $11.00
Miguel Torress   212SH124   Sunday, February 05, 2017 $11.00
Miguel Torress   212SH124   Sunday, February 05, 2017 $11.00
Miguel Torress   212SH124   Sunday, February 05, 2017 $11.00
Miguel Torress   212SH124   Sunday, February 05, 2017 $11.00
Miguel Torress                                         $11.00   $3.50      $5.50     $92.86        $0.00
Miguel Torress   212SH124   Sunday, February 12, 2017 $11.00
Miguel Torress   212SH124   Sunday, February 12, 2017 $11.00
Miguel Torress   212SH124   Sunday, February 12, 2017 $11.00
Miguel Torress   212SH124   Sunday, February 12, 2017 $11.00
Miguel Torress   212SH124   Sunday, February 12, 2017 $11.00
Miguel Torress                                         $11.00   $3.50      $5.50    $122.85        $0.00
Miguel Torress   212SH124   Sunday, February 19, 2017 $11.00
Miguel Torress   212SH124   Sunday, February 19, 2017 $11.00
Miguel Torress   212SH124   Sunday, February 19, 2017 $11.00
Miguel Torress   212SH124   Sunday, February 19, 2017 $11.00
Miguel Torress   212SH124   Sunday, February 19, 2017 $11.00
Miguel Torress                                         $11.00   $3.50      $5.50    $120.68        $0.00
Miguel Torress   212SH124   Sunday, February 26, 2017  $11.00
Miguel Torress   212SH124   Sunday, February 26, 2017 $11.00
Miguel Torress   212SH125   Sunday, February 26, 2017 $11.00
Miguel Torress   212SH125   Sunday, February 26, 2017 $11.00
Miguel Torress                                         $11.00   $3.50      $5.50     $80.99        $0.00
Miguel Torress   212SH125     Sunday, March 05, 2017 $11.00
Miguel Torress   212SH125     Sunday, March 05, 2017 $11.00
Miguel Torress   212SH125     Sunday, March 05, 2017 $11.00
Miguel Torress   212SH125     Sunday, March 05, 2017 $11.00
Miguel Torress                                         $11.00   $3.50      $5.50     $85.89        $0.00
Miguel Torress   212SH125     Sunday, March 12, 2017 $11.00
Miguel Torress   212SH125     Sunday, March 12, 2017 $11.00
Miguel Torress   212SH125     Sunday, March 12, 2017 $11.00
Miguel Torress   212SH125     Sunday, March 12, 2017 $11.00
Miguel Torress                                         $11.00   $3.50      $5.50     $93.87        $0.00

                                               Page 72 of 94
                                                 Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23       Page 73 of 94
                                                                                  Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                      Spread Tip credit
                   Bates                                                                                                                                                    Overtime of hours minimum
      Name        number    Week-end date                 Clock in date                   Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Miguel Torress   212SH125   Sunday, March 19, 2017     Wednesday, March 15, 2017       3/15/17 4:14 PM      3/15/17 7:05 PM                  2.85
Miguel Torress   212SH125   Sunday, March 19, 2017         Friday, March 17, 2017      3/17/17 4:15 PM     3/17/17 11:20 PM                  7.08
Miguel Torress   212SH125   Sunday, March 19, 2017       Saturday, March 18, 2017      3/18/17 3:59 PM     3/18/17 10:52 PM                  6.88
Miguel Torress   212SH125   Sunday, March 19, 2017        Sunday, March 19, 2017       3/19/17 3:58 PM     3/19/17 10:12 PM                  6.23
Miguel Torress                                                                                                                 Sum Of Total time:   23.04         23.04       0.00              $7.50
Miguel Torress   212SH125   Sunday, March 26, 2017     Wednesday, March 22, 2017       3/22/17 4:04 PM      3/22/17 8:11 PM                  4.12
Miguel Torress   212SH125   Sunday, March 26, 2017      Thursday, March 23, 2017       3/23/17 4:02 PM     3/23/17 10:56 PM                  6.90
Miguel Torress   212SH125   Sunday, March 26, 2017         Friday, March 24, 2017      3/24/17 4:07 PM     3/24/17 11:06 PM                  6.98
Miguel Torress   212SH125   Sunday, March 26, 2017       Saturday, March 25, 2017      3/25/17 4:10 PM     3/26/17 12:20 AM                  8.17
Miguel Torress   212SH125   Sunday, March 26, 2017        Sunday, March 26, 2017       3/26/17 4:07 PM     3/26/17 10:27 PM                  6.33
Miguel Torress                                                                                                                 Sum Of Total time:   32.50         32.50       0.00              $7.50
Miguel Torress   212SH125    Sunday, April 02, 2017      Thursday, March 30, 2017      3/30/17 4:09 PM     3/30/17 10:40 PM                  6.52
Miguel Torress   212SH125    Sunday, April 02, 2017         Friday, March 31, 2017     3/31/17 4:33 PM     3/31/17 11:01 PM                  6.47
Miguel Torress   212SH125    Sunday, April 02, 2017        Saturday, April 01, 2017     4/1/17 4:14 PM      4/1/17 11:12 PM                  6.97
Miguel Torress   212SH125    Sunday, April 02, 2017          Sunday, April 02, 2017     4/2/17 4:21 PM       4/2/17 9:24 PM                  5.05
Miguel Torress                                                                                                                 Sum Of Total time:   25.01         25.01       0.00              $7.50
Miguel Torress   212SH125    Sunday, April 09, 2017        Thursday, April 06, 2017      4/6/17 4:05 PM      4/6/17 8:10 PM                  4.08
Miguel Torress   212SH125    Sunday, April 09, 2017           Friday, April 07, 2017     4/7/17 4:23 PM     4/7/17 10:27 PM                  6.07
Miguel Torress   212SH125    Sunday, April 09, 2017        Saturday, April 08, 2017      4/8/17 4:20 PM     4/8/17 10:15 PM                  5.92
Miguel Torress   212SH125    Sunday, April 09, 2017          Sunday, April 09, 2017      4/9/17 4:18 PM     4/9/17 10:05 PM                  5.78
Miguel Torress                                                                                                                 Sum Of Total time:   21.85         21.85       0.00              $7.50
Miguel Torress   212SH125    Sunday, April 16, 2017      Wednesday, April 12, 2017     4/12/17 5:29 PM     4/12/17 10:09 PM                  4.67
Miguel Torress   212SH125    Sunday, April 16, 2017       Thursday, April 13, 2017     4/13/17 4:08 PM     4/13/17 10:17 PM                  6.15
Miguel Torress   212SH126    Sunday, April 16, 2017        Saturday, April 15, 2017    4/15/17 4:23 PM      4/15/17 9:42 PM                  5.32
Miguel Torress   212SH126    Sunday, April 16, 2017         Sunday, April 16, 2017     4/16/17 4:13 PM      4/16/17 9:40 PM                  5.45
Miguel Torress                                                                                                                 Sum Of Total time:   21.59         21.59       0.00              $7.50
Miguel Torress   212SH126    Sunday, April 23, 2017      Wednesday, April 19, 2017     4/19/17 4:09 PM      4/19/17 9:48 PM                  5.65
Miguel Torress   212SH126    Sunday, April 23, 2017       Thursday, April 20, 2017     4/20/17 4:00 PM      4/20/17 8:27 PM                  4.45
Miguel Torress   212SH126    Sunday, April 23, 2017          Friday, April 21, 2017    4/21/17 4:13 PM     4/21/17 11:16 PM                  7.05
Miguel Torress   212SH126    Sunday, April 23, 2017        Saturday, April 22, 2017    4/22/17 4:15 PM     4/22/17 10:31 PM                  6.27
Miguel Torress   212SH126    Sunday, April 23, 2017         Sunday, April 23, 2017     4/23/17 4:11 PM      4/23/17 9:56 PM                  5.75
Miguel Torress                                                                                                                 Sum Of Total time:   29.17         29.17       0.00              $7.50
Miguel Torress   212SH126    Sunday, April 30, 2017         Tuesday, April 25, 2017    4/25/17 4:19 PM      4/25/17 9:59 PM                  5.67
Miguel Torress   212SH126    Sunday, April 30, 2017      Wednesday, April 26, 2017     4/26/17 4:04 PM     4/26/17 11:13 PM                  7.15
Miguel Torress   212SH126    Sunday, April 30, 2017       Thursday, April 27, 2017     4/27/17 4:17 PM     4/27/17 10:48 PM                  6.52
Miguel Torress   212SH126    Sunday, April 30, 2017           Friday, April 28, 2017   4/28/17 3:57 PM     4/28/17 10:40 PM                  6.72
Miguel Torress   212SH126    Sunday, April 30, 2017        Saturday, April 29, 2017    4/29/17 4:15 PM     4/29/17 11:19 PM                  7.07
Miguel Torress   212SH126    Sunday, April 30, 2017          Sunday, April 30, 2017    4/30/17 4:01 PM      4/30/17 8:51 PM                  4.83
Miguel Torress                                                                                                                 Sum Of Total time:   37.96         37.96       0.00              $7.50

                                                                                           Page 73 of 94
          Case 1:22-cv-00518-JLR-RWL       Document 116-5             Filed 11/16/23         Page 74 of 94
                                   Exhibit 5 - Group 1 unpaid wages


                                                     Full                        Total tip       Total   Total
                   Bates                           minimum Hourly tip Overtime    credit      unpaid OT unpaid
      Name        number    Week-end date           wage    credit    premium     taken        premium   SOH
Miguel Torress   212SH125   Sunday, March 19, 2017 $11.00
Miguel Torress   212SH125   Sunday, March 19, 2017 $11.00
Miguel Torress   212SH125   Sunday, March 19, 2017 $11.00
Miguel Torress   212SH125   Sunday, March 19, 2017 $11.00
Miguel Torress                                      $11.00   $3.50      $5.50     $80.64        $0.00
Miguel Torress   212SH125   Sunday, March 26, 2017 $11.00
Miguel Torress   212SH125   Sunday, March 26, 2017 $11.00
Miguel Torress   212SH125   Sunday, March 26, 2017 $11.00
Miguel Torress   212SH125   Sunday, March 26, 2017 $11.00
Miguel Torress   212SH125   Sunday, March 26, 2017 $11.00
Miguel Torress                                      $11.00   $3.50      $5.50    $113.75        $0.00
Miguel Torress   212SH125    Sunday, April 02, 2017 $11.00
Miguel Torress   212SH125    Sunday, April 02, 2017 $11.00
Miguel Torress   212SH125    Sunday, April 02, 2017 $11.00
Miguel Torress   212SH125    Sunday, April 02, 2017 $11.00
Miguel Torress                                      $11.00   $3.50      $5.50     $87.54        $0.00
Miguel Torress   212SH125    Sunday, April 09, 2017 $11.00
Miguel Torress   212SH125    Sunday, April 09, 2017 $11.00
Miguel Torress   212SH125    Sunday, April 09, 2017 $11.00
Miguel Torress   212SH125    Sunday, April 09, 2017 $11.00
Miguel Torress                                      $11.00   $3.50      $5.50     $76.48        $0.00
Miguel Torress   212SH125    Sunday, April 16, 2017 $11.00
Miguel Torress   212SH125    Sunday, April 16, 2017 $11.00
Miguel Torress   212SH126    Sunday, April 16, 2017 $11.00
Miguel Torress   212SH126    Sunday, April 16, 2017 $11.00
Miguel Torress                                      $11.00   $3.50      $5.50     $75.57        $0.00
Miguel Torress   212SH126    Sunday, April 23, 2017 $11.00
Miguel Torress   212SH126    Sunday, April 23, 2017 $11.00
Miguel Torress   212SH126    Sunday, April 23, 2017 $11.00
Miguel Torress   212SH126    Sunday, April 23, 2017 $11.00
Miguel Torress   212SH126    Sunday, April 23, 2017 $11.00
Miguel Torress                                      $11.00   $3.50      $5.50    $102.10        $0.00
Miguel Torress   212SH126    Sunday, April 30, 2017 $11.00
Miguel Torress   212SH126    Sunday, April 30, 2017 $11.00
Miguel Torress   212SH126    Sunday, April 30, 2017 $11.00
Miguel Torress   212SH126    Sunday, April 30, 2017 $11.00
Miguel Torress   212SH126    Sunday, April 30, 2017 $11.00
Miguel Torress   212SH126    Sunday, April 30, 2017 $11.00
Miguel Torress                                      $11.00   $3.50      $5.50    $132.86        $0.00

                                            Page 74 of 94
                                                 Case 1:22-cv-00518-JLR-RWL              Document 116-5             Filed 11/16/23       Page 75 of 94
                                                                                 Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                     Spread Tip credit
                   Bates                                                                                                                                                   Overtime of hours minimum
      Name        number    Week-end date                 Clock in date                  Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Miguel Torress   212SH126    Sunday, May 07, 2017        Wednesday, May 03, 2017        5/3/17 4:04 PM     5/3/17 10:15 PM                  6.18
Miguel Torress   212SH126    Sunday, May 07, 2017         Thursday, May 04, 2017        5/4/17 4:09 PM      5/4/17 9:55 PM                  5.77
Miguel Torress   212SH126    Sunday, May 07, 2017             Friday, May 05, 2017      5/5/17 4:59 PM     5/5/17 11:31 PM                  6.53
Miguel Torress   212SH126    Sunday, May 07, 2017          Saturday, May 06, 2017       5/6/17 4:01 PM     5/6/17 10:32 PM                  6.52
Miguel Torress   212SH126    Sunday, May 07, 2017           Sunday, May 07, 2017        5/7/17 4:14 PM      5/7/17 8:09 PM                  3.92
Miguel Torress                                                                                                                Sum Of Total time:   28.92         28.92       0.00              $7.50
Miguel Torress   212SH126    Sunday, May 14, 2017          Thursday, May 11, 2017     5/11/17 4:03 PM     5/11/17 10:53 PM                  6.83
Miguel Torress   212SH126    Sunday, May 14, 2017             Friday, May 12, 2017    5/12/17 4:07 PM      5/12/17 8:42 PM                  4.58
Miguel Torress   212SH126    Sunday, May 14, 2017          Saturday, May 13, 2017     5/13/17 4:52 PM     5/13/17 10:09 PM                  5.28
Miguel Torress                                                                                                                Sum Of Total time:   16.69         16.69       0.00              $7.50
Miguel Torress   212SH126    Sunday, May 21, 2017           Tuesday, May 16, 2017     5/16/17 4:19 PM      5/16/17 9:20 PM                  5.02
Miguel Torress   212SH126    Sunday, May 21, 2017          Thursday, May 18, 2017     5/18/17 4:13 PM     5/18/17 11:22 PM                  7.15
Miguel Torress   212SH126    Sunday, May 21, 2017             Friday, May 19, 2017    5/19/17 4:30 PM     5/19/17 10:53 PM                  6.38
Miguel Torress   212SH126    Sunday, May 21, 2017          Saturday, May 20, 2017     5/20/17 4:44 PM      5/20/17 9:57 PM                  5.22
Miguel Torress                                                                                                                Sum Of Total time:   23.77         23.77       0.00              $7.50
Miguel Torress   212SH126    Sunday, May 28, 2017           Tuesday, May 23, 2017     5/23/17 4:19 PM     5/23/17 10:29 PM                  6.17
Miguel Torress   212SH126    Sunday, May 28, 2017        Wednesday, May 24, 2017      5/24/17 4:15 PM     5/24/17 10:57 PM                  6.70
Miguel Torress   212SH126    Sunday, May 28, 2017         Thursday, May 25, 2017      5/25/17 4:05 PM      5/25/17 9:25 PM                  5.33
Miguel Torress   212SH126    Sunday, May 28, 2017             Friday, May 26, 2017    5/26/17 3:20 PM     5/26/17 10:38 PM                  7.30
Miguel Torress   212SH127    Sunday, May 28, 2017          Saturday, May 27, 2017     5/27/17 4:08 PM     5/27/17 11:59 PM                  7.85
Miguel Torress                                                                                                                Sum Of Total time:   33.35         33.35       0.00              $7.50
Miguel Torress   212SH127    Sunday, June 04, 2017       Wednesday, May 31, 2017      5/31/17 4:01 PM     5/31/17 10:10 PM                  6.15
Miguel Torress   212SH127    Sunday, June 04, 2017           Friday, June 02, 2017     6/2/17 4:14 PM      6/2/17 10:50 PM                  6.60
Miguel Torress   212SH127    Sunday, June 04, 2017        Saturday, June 03, 2017      6/3/17 4:04 PM      6/3/17 10:58 PM                  6.90
Miguel Torress   212SH127    Sunday, June 04, 2017          Sunday, June 04, 2017      6/4/17 4:18 PM       6/4/17 9:22 PM                  5.07
Miguel Torress                                                                                                                Sum Of Total time:   24.72         24.72       0.00              $7.50
Miguel Torress   212SH127    Sunday, June 18, 2017       Wednesday, June 14, 2017     6/14/17 4:09 PM      6/14/17 9:35 PM                  5.43
Miguel Torress   212SH127    Sunday, June 18, 2017        Thursday, June 15, 2017     6/15/17 4:14 PM     6/15/17 10:12 PM                  5.97
Miguel Torress   212SH127    Sunday, June 18, 2017            Friday, June 16, 2017   6/16/17 3:57 PM     6/16/17 10:55 PM                  6.97
Miguel Torress   212SH127    Sunday, June 18, 2017         Saturday, June 17, 2017    6/17/17 4:05 PM     6/17/17 11:08 PM                  7.05
Miguel Torress   212SH127    Sunday, June 18, 2017          Sunday, June 18, 2017     6/18/17 3:58 PM      6/18/17 9:55 PM                  5.95
Miguel Torress                                                                                                                Sum Of Total time:   31.37         31.37       0.00              $7.50
Miguel Torress   212SH127    Sunday, June 25, 2017       Wednesday, June 21, 2017     6/21/17 3:48 PM     6/21/17 11:11 PM                  7.38
Miguel Torress   212SH127    Sunday, June 25, 2017        Thursday, June 22, 2017     6/22/17 3:59 PM     6/22/17 10:13 PM                  6.23
Miguel Torress   212SH127    Sunday, June 25, 2017            Friday, June 23, 2017   6/23/17 4:12 PM     6/23/17 10:57 PM                  6.75
Miguel Torress   212SH127    Sunday, June 25, 2017         Saturday, June 24, 2017    6/24/17 4:25 PM     6/24/17 11:18 PM                  6.88
Miguel Torress                                                                                                                Sum Of Total time:   27.24         27.24       0.00              $7.50
Miguel Torress   212SH127     Sunday, July 02, 2017        Tuesday, June 27, 2017     6/27/17 4:23 PM     6/27/17 10:30 PM                  6.12
Miguel Torress   212SH127     Sunday, July 02, 2017      Wednesday, June 28, 2017     6/28/17 4:08 PM     6/28/17 10:39 PM                  6.52

                                                                                          Page 75 of 94
          Case 1:22-cv-00518-JLR-RWL       Document 116-5             Filed 11/16/23         Page 76 of 94
                                   Exhibit 5 - Group 1 unpaid wages


                                                     Full                        Total tip       Total   Total
                   Bates                           minimum Hourly tip Overtime    credit      unpaid OT unpaid
      Name        number    Week-end date           wage    credit    premium     taken        premium   SOH
Miguel Torress   212SH126    Sunday, May 07, 2017 $11.00
Miguel Torress   212SH126    Sunday, May 07, 2017 $11.00
Miguel Torress   212SH126    Sunday, May 07, 2017 $11.00
Miguel Torress   212SH126    Sunday, May 07, 2017 $11.00
Miguel Torress   212SH126    Sunday, May 07, 2017 $11.00
Miguel Torress                                      $11.00   $3.50      $5.50    $101.22        $0.00
Miguel Torress   212SH126    Sunday, May 14, 2017 $11.00
Miguel Torress   212SH126    Sunday, May 14, 2017 $11.00
Miguel Torress   212SH126    Sunday, May 14, 2017 $11.00
Miguel Torress                                      $11.00   $3.50      $5.50     $58.42        $0.00
Miguel Torress   212SH126    Sunday, May 21, 2017 $11.00
Miguel Torress   212SH126    Sunday, May 21, 2017 $11.00
Miguel Torress   212SH126    Sunday, May 21, 2017 $11.00
Miguel Torress   212SH126    Sunday, May 21, 2017 $11.00
Miguel Torress                                      $11.00   $3.50      $5.50     $83.20        $0.00
Miguel Torress   212SH126    Sunday, May 28, 2017 $11.00
Miguel Torress   212SH126    Sunday, May 28, 2017 $11.00
Miguel Torress   212SH126    Sunday, May 28, 2017 $11.00
Miguel Torress   212SH126    Sunday, May 28, 2017 $11.00
Miguel Torress   212SH127    Sunday, May 28, 2017 $11.00
Miguel Torress                                      $11.00   $3.50      $5.50    $116.73        $0.00
Miguel Torress   212SH127    Sunday, June 04, 2017 $11.00
Miguel Torress   212SH127    Sunday, June 04, 2017 $11.00
Miguel Torress   212SH127    Sunday, June 04, 2017 $11.00
Miguel Torress   212SH127    Sunday, June 04, 2017 $11.00
Miguel Torress                                      $11.00   $3.50      $5.50     $86.52        $0.00
Miguel Torress   212SH127    Sunday, June 18, 2017 $11.00
Miguel Torress   212SH127    Sunday, June 18, 2017 $11.00
Miguel Torress   212SH127    Sunday, June 18, 2017 $11.00
Miguel Torress   212SH127    Sunday, June 18, 2017 $11.00
Miguel Torress   212SH127    Sunday, June 18, 2017 $11.00
Miguel Torress                                      $11.00   $3.50      $5.50    $109.80        $0.00
Miguel Torress   212SH127    Sunday, June 25, 2017 $11.00
Miguel Torress   212SH127    Sunday, June 25, 2017 $11.00
Miguel Torress   212SH127    Sunday, June 25, 2017 $11.00
Miguel Torress   212SH127    Sunday, June 25, 2017 $11.00
Miguel Torress                                      $11.00   $3.50      $5.50     $95.34        $0.00
Miguel Torress   212SH127     Sunday, July 02, 2017 $11.00
Miguel Torress   212SH127     Sunday, July 02, 2017 $11.00

                                            Page 76 of 94
                                                 Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23       Page 77 of 94
                                                                                  Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                      Spread Tip credit
                   Bates                                                                                                                                                    Overtime of hours minimum
      Name        number    Week-end date                 Clock in date                   Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Miguel Torress   212SH127     Sunday, July 02, 2017        Thursday, June 29, 2017     6/29/17 3:39 PM     6/29/17 10:39 PM                  7.00
Miguel Torress   212SH127     Sunday, July 02, 2017          Friday, June 30, 2017     6/30/17 3:51 PM     6/30/17 11:56 PM                  8.08
Miguel Torress   212SH127     Sunday, July 02, 2017          Sunday, July 02, 2017      7/2/17 9:59 AM       7/2/17 6:29 PM                  8.50
Miguel Torress                                                                                                                 Sum Of Total time:   36.22         36.22       0.00              $7.50
Miguel Torress   212SH127     Sunday, July 09, 2017          Tuesday, July 04, 2017      7/4/17 4:19 PM      7/4/17 7:44 PM                  3.42
Miguel Torress   212SH127     Sunday, July 09, 2017       Wednesday, July 05, 2017       7/5/17 4:11 PM      7/5/17 9:45 PM                  5.57
Miguel Torress   212SH127     Sunday, July 09, 2017            Friday, July 07, 2017     7/7/17 4:09 PM     7/7/17 10:26 PM                  6.28
Miguel Torress   212SH127     Sunday, July 09, 2017         Saturday, July 08, 2017      7/8/17 4:08 PM     7/9/17 12:14 AM                  8.10
Miguel Torress                                                                                                                 Sum Of Total time:   23.37         23.37       0.00              $7.50
Miguel Torress   212SH128     Sunday, July 16, 2017       Wednesday, July 12, 2017     7/12/17 3:56 PM      7/12/17 9:09 PM                  5.22
Miguel Torress   212SH128     Sunday, July 16, 2017        Thursday, July 13, 2017     7/13/17 3:52 PM      7/13/17 9:49 PM                  5.95
Miguel Torress   212SH128     Sunday, July 16, 2017        Thursday, July 13, 2017     7/13/17 9:50 PM     7/13/17 10:02 PM                  0.20
Miguel Torress   212SH128     Sunday, July 16, 2017         Saturday, July 15, 2017    7/15/17 4:11 PM     7/15/17 11:25 PM                  7.23
Miguel Torress                                                                                                                 Sum Of Total time:   18.60         18.60       0.00              $7.50
Miguel Torress   212SH128     Sunday, July 23, 2017       Wednesday, July 19, 2017     7/19/17 4:09 PM     7/19/17 11:24 PM                  7.25
Miguel Torress   212SH128     Sunday, July 23, 2017         Saturday, July 22, 2017    7/22/17 4:17 PM     7/22/17 11:17 PM                  7.00
Miguel Torress   212SH128     Sunday, July 23, 2017          Sunday, July 23, 2017     7/23/17 4:04 PM     7/23/17 10:59 PM                  6.92
Miguel Torress                                                                                                                 Sum Of Total time:   21.17         21.17       0.00              $7.50
Miguel Torress   212SH128     Sunday, July 30, 2017       Wednesday, July 26, 2017     7/26/17 4:15 PM     7/26/17 11:16 PM                  7.02
Miguel Torress   212SH128     Sunday, July 30, 2017        Thursday, July 27, 2017     7/27/17 4:18 PM     7/27/17 10:37 PM                  6.32
Miguel Torress   212SH128     Sunday, July 30, 2017           Friday, July 28, 2017    7/28/17 4:03 PM     7/28/17 10:56 PM                  6.88
Miguel Torress   212SH128     Sunday, July 30, 2017         Saturday, July 29, 2017    7/29/17 4:04 PM     7/29/17 11:28 PM                  7.40
Miguel Torress                                                                                                                 Sum Of Total time:   27.62         27.62       0.00              $7.50
Miguel Torress   212SH128   Sunday, August 06, 2017    Wednesday, August 02, 2017        8/2/17 4:07 PM     8/2/17 11:00 PM                  6.88
Miguel Torress   212SH128   Sunday, August 06, 2017     Thursday, August 03, 2017        8/3/17 3:55 PM     8/3/17 10:48 PM                  6.88
Miguel Torress   212SH128   Sunday, August 06, 2017      Saturday, August 05, 2017       8/5/17 4:17 PM     8/5/17 11:00 PM                  6.72
Miguel Torress                                                                                                                 Sum Of Total time:   20.48         20.48       0.00              $7.50

Raul Romero      212SH157   Sunday, August 18, 2019      Monday, August 12, 2019       8/12/19 4:00 PM     8/12/19 11:22 PM                  7.37
Raul Romero      212SH157   Sunday, August 18, 2019      Tuesday, August 13, 2019      8/13/19 3:56 PM     8/13/19 11:25 PM                  7.48
Raul Romero      212SH157   Sunday, August 18, 2019    Wednesday, August 14, 2019      8/14/19 3:58 PM     8/14/19 11:01 PM                  7.05
Raul Romero      212SH157   Sunday, August 18, 2019        Friday, August 16, 2019     8/16/19 3:59 PM     8/16/19 11:10 PM                  7.18
Raul Romero                                                                                                                    Sum Of Total time:   29.08         29.08       0.00              $10.00
Raul Romero      212SH157   Sunday, August 25, 2019       Monday, August 19, 2019      8/19/19 3:56 PM     8/19/19 10:56 PM                  7.00
Raul Romero      212SH157   Sunday, August 25, 2019       Tuesday, August 20, 2019     8/20/19 4:07 PM     8/20/19 10:28 PM                  6.35
Raul Romero      212SH157   Sunday, August 25, 2019    Wednesday, August 21, 2019      8/21/19 4:03 PM     8/21/19 10:37 PM                  6.57
Raul Romero      212SH157   Sunday, August 25, 2019         Friday, August 23, 2019    8/23/19 4:15 PM     8/23/19 11:47 PM                  7.53
Raul Romero      212SH157   Sunday, August 25, 2019      Saturday, August 24, 2019     8/24/19 6:50 PM     8/25/19 12:02 AM                  5.20
Raul Romero                                                                                                                    Sum Of Total time:   32.65         32.65       0.00              $10.00

                                                                                           Page 77 of 94
          Case 1:22-cv-00518-JLR-RWL        Document 116-5             Filed 11/16/23    Page 78 of 94
                                    Exhibit 5 - Group 1 unpaid wages


                                                       Full                        Total tip    Total   Total
                   Bates                            minimum Hourly tip Overtime      credit  unpaid OT unpaid
      Name        number     Week-end date            wage       credit   premium    taken    premium   SOH
Miguel Torress   212SH127      Sunday, July 02, 2017 $11.00
Miguel Torress   212SH127      Sunday, July 02, 2017 $11.00
Miguel Torress   212SH127      Sunday, July 02, 2017 $11.00
Miguel Torress                                        $11.00     $3.50       $5.50  $126.77     $0.00
Miguel Torress   212SH127      Sunday, July 09, 2017 $11.00
Miguel Torress   212SH127      Sunday, July 09, 2017 $11.00
Miguel Torress   212SH127      Sunday, July 09, 2017 $11.00
Miguel Torress   212SH127      Sunday, July 09, 2017 $11.00
Miguel Torress                                        $11.00     $3.50       $5.50  $81.80      $0.00
Miguel Torress   212SH128      Sunday, July 16, 2017 $11.00
Miguel Torress   212SH128      Sunday, July 16, 2017 $11.00
Miguel Torress   212SH128      Sunday, July 16, 2017 $11.00
Miguel Torress   212SH128      Sunday, July 16, 2017 $11.00
Miguel Torress                                        $11.00     $3.50       $5.50  $65.10      $0.00
Miguel Torress   212SH128      Sunday, July 23, 2017 $11.00
Miguel Torress   212SH128      Sunday, July 23, 2017 $11.00
Miguel Torress   212SH128      Sunday, July 23, 2017 $11.00
Miguel Torress                                        $11.00     $3.50       $5.50  $74.10      $0.00
Miguel Torress   212SH128      Sunday, July 30, 2017 $11.00
Miguel Torress   212SH128      Sunday, July 30, 2017 $11.00
Miguel Torress   212SH128      Sunday, July 30, 2017 $11.00
Miguel Torress   212SH128      Sunday, July 30, 2017 $11.00
Miguel Torress                                        $11.00     $3.50       $5.50  $96.67      $0.00
Miguel Torress   212SH128   Sunday, August 06, 2017 $11.00
Miguel Torress   212SH128   Sunday, August 06, 2017 $11.00
Miguel Torress   212SH128   Sunday, August 06, 2017 $11.00
Miguel Torress                                        $11.00     $3.50       $5.50  $71.68      $0.00
                                                    Miguel Torress subtotal:       $3,016.01    $1.13   $9.00
Raul Romero      212SH157   Sunday, August 18, 2019 $15.00
Raul Romero      212SH157   Sunday, August 18, 2019 $15.00
Raul Romero      212SH157   Sunday, August 18, 2019 $15.00
Raul Romero      212SH157   Sunday, August 18, 2019 $15.00
Raul Romero                                           $15.00     $5.00       $7.50  $145.40     $0.00
Raul Romero      212SH157   Sunday, August 25, 2019 $15.00
Raul Romero      212SH157   Sunday, August 25, 2019 $15.00
Raul Romero      212SH157   Sunday, August 25, 2019 $15.00
Raul Romero      212SH157   Sunday, August 25, 2019 $15.00
Raul Romero      212SH157   Sunday, August 25, 2019 $15.00
Raul Romero                                           $15.00     $5.00       $7.50  $163.25     $0.00

                                             Page 78 of 94
                                                 Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23       Page 79 of 94
                                                                                  Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                      Spread Tip credit
                Bates                                                                                                                                                       Overtime of hours minimum
      Name     number        Week-end date                  Clock in date                 Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Raul Romero   212SH157   Sunday, September 01, 2019        Monday, August 26, 2019      8/26/19 4:02 PM    8/26/19 11:03 PM                  7.02
Raul Romero   212SH157   Sunday, September 01, 2019        Tuesday, August 27, 2019     8/27/19 4:18 PM    8/27/19 11:13 PM                  6.92
Raul Romero   212SH157   Sunday, September 01, 2019      Wednesday, August 28, 2019     8/28/19 4:03 PM    8/28/19 10:34 PM                  6.52
Raul Romero   212SH157   Sunday, September 01, 2019       Thursday, August 29, 2019     8/29/19 4:03 PM    8/29/19 10:42 PM                  6.65
Raul Romero                                                                                                                    Sum Of Total time:   27.11         27.11       0.00              $10.00
Raul Romero   212SH157   Sunday, September 08, 2019     Monday, September 02, 2019       9/2/19 4:02 PM     9/2/19 11:26 PM                  7.40
Raul Romero   212SH156   Sunday, September 08, 2019   Wednesday, September 04, 2019      9/4/19 4:00 PM     9/4/19 11:20 PM                  7.33
Raul Romero   212SH156   Sunday, September 08, 2019    Thursday, September 05, 2019      9/5/19 3:59 PM     9/5/19 10:37 PM                  6.63
Raul Romero                                                                                                                    Sum Of Total time:   21.36         21.36       0.00              $10.00
Raul Romero   212SH156   Sunday, September 15, 2019      Monday, September 09, 2019      9/9/19 3:56 PM     9/9/19 10:23 PM                  6.45
Raul Romero   212SH156   Sunday, September 15, 2019   Wednesday, September 11, 2019     9/11/19 4:08 PM    9/11/19 11:24 PM                  7.27
Raul Romero   212SH156   Sunday, September 15, 2019    Thursday, September 12, 2019     9/12/19 3:53 PM    9/12/19 11:25 PM                  7.53
Raul Romero   212SH156   Sunday, September 15, 2019     Saturday, September 14, 2019    9/14/19 4:01 PM    9/14/19 11:42 PM                  7.68
Raul Romero                                                                                                                    Sum Of Total time:   28.93         28.93       0.00              $10.00
Raul Romero   212SH156   Sunday, September 22, 2019      Monday, September 16, 2019     9/16/19 4:04 PM    9/16/19 10:53 PM                  6.82
Raul Romero   212SH156   Sunday, September 22, 2019   Wednesday, September 18, 2019     9/18/19 3:51 PM    9/18/19 11:30 PM                  7.65
Raul Romero   212SH156   Sunday, September 22, 2019    Thursday, September 19, 2019     9/19/19 4:01 PM    9/19/19 10:58 PM                  6.95
Raul Romero   212SH156   Sunday, September 22, 2019     Saturday, September 21, 2019    9/21/19 4:01 PM    9/21/19 10:40 PM                  6.65
Raul Romero                                                                                                                    Sum Of Total time:   28.07         28.07       0.00              $10.00
Raul Romero   212SH156   Sunday, September 29, 2019     Monday, September 23, 2019      9/23/19 4:06 PM    9/23/19 11:15 PM                  7.15
Raul Romero   212SH156   Sunday, September 29, 2019   Wednesday, September 25, 2019     9/25/19 4:06 PM    9/25/19 11:31 PM                  7.42
Raul Romero   212SH156   Sunday, September 29, 2019    Thursday, September 26, 2019     9/26/19 3:51 PM    9/26/19 10:19 PM                  6.47
Raul Romero   212SH156   Sunday, September 29, 2019     Saturday, September 28, 2019    9/28/19 3:57 PM    9/28/19 11:17 PM                  7.33
Raul Romero                                                                                                                    Sum Of Total time:   28.37         28.37       0.00              $10.00
Raul Romero   212SH156     Sunday, October 06, 2019     Monday, September 30, 2019      9/30/19 3:53 PM    9/30/19 10:26 PM                  6.55
Raul Romero   212SH156     Sunday, October 06, 2019       Tuesday, October 01, 2019     10/1/19 2:14 PM     10/1/19 7:48 PM                  5.57
Raul Romero   212SH156     Sunday, October 06, 2019     Wednesday, October 02, 2019     10/2/19 4:01 PM    10/2/19 10:53 PM                  6.87
Raul Romero   212SH156     Sunday, October 06, 2019      Thursday, October 03, 2019     10/3/19 3:49 PM    10/3/19 11:00 PM                  7.18
Raul Romero   212SH156     Sunday, October 06, 2019       Saturday, October 05, 2019    10/5/19 3:57 PM    10/6/19 12:26 AM                  8.48
Raul Romero                                                                                                                    Sum Of Total time:   34.65         34.65       0.00              $10.00
Raul Romero   212SH156     Sunday, October 13, 2019       Monday, October 07, 2019      10/7/19 4:29 PM 10/7/19 10:56 PM                     6.45
Raul Romero   212SH156     Sunday, October 13, 2019     Wednesday, October 09, 2019     10/9/19 4:18 PM   10/9/19 9:56 PM                    5.63
Raul Romero   212SH156     Sunday, October 13, 2019      Thursday, October 10, 2019    10/10/19 3:57 PM 10/10/19 10:48 PM                    6.85
Raul Romero   212SH156     Sunday, October 13, 2019       Saturday, October 12, 2019   10/12/19 4:03 PM 10/12/19 10:49 PM                    6.77
Raul Romero                                                                                                                    Sum Of Total time:   25.70         25.70       0.00              $10.00
Raul Romero   212SH156     Sunday, October 20, 2019        Tuesday, October 15, 2019   10/15/19 4:04 PM 10/15/19 11:03 PM                    6.98
Raul Romero   212SH156     Sunday, October 20, 2019     Wednesday, October 16, 2019    10/16/19 3:47 PM 10/16/19 10:52 PM                    7.08
Raul Romero   212SH156     Sunday, October 20, 2019      Thursday, October 17, 2019    10/17/19 4:48 PM 10/17/19 9:09 PM                     4.35
Raul Romero   212SH156     Sunday, October 20, 2019       Saturday, October 19, 2019   10/19/19 4:39 PM 10/19/19 10:53 PM                    6.23

                                                                                           Page 79 of 94
         Case 1:22-cv-00518-JLR-RWL         Document 116-5             Filed 11/16/23         Page 80 of 94
                                    Exhibit 5 - Group 1 unpaid wages


                                                      Full                        Total tip       Total   Total
                Bates                               minimum Hourly tip Overtime    credit      unpaid OT unpaid
      Name     number        Week-end date           wage    credit    premium     taken        premium   SOH
Raul Romero   212SH157   Sunday, September 01, 2019 $15.00
Raul Romero   212SH157   Sunday, September 01, 2019 $15.00
Raul Romero   212SH157   Sunday, September 01, 2019 $15.00
Raul Romero   212SH157   Sunday, September 01, 2019 $15.00
Raul Romero                                          $15.00   $5.00      $7.50    $135.55        $0.00
Raul Romero   212SH157   Sunday, September 08, 2019 $15.00
Raul Romero   212SH156   Sunday, September 08, 2019 $15.00
Raul Romero   212SH156   Sunday, September 08, 2019 $15.00
Raul Romero                                          $15.00   $5.00      $7.50    $106.80        $0.00
Raul Romero   212SH156   Sunday, September 15, 2019 $15.00
Raul Romero   212SH156   Sunday, September 15, 2019 $15.00
Raul Romero   212SH156   Sunday, September 15, 2019 $15.00
Raul Romero   212SH156   Sunday, September 15, 2019 $15.00
Raul Romero                                          $15.00   $5.00      $7.50    $144.65        $0.00
Raul Romero   212SH156   Sunday, September 22, 2019 $15.00
Raul Romero   212SH156   Sunday, September 22, 2019 $15.00
Raul Romero   212SH156   Sunday, September 22, 2019 $15.00
Raul Romero   212SH156   Sunday, September 22, 2019 $15.00
Raul Romero                                          $15.00   $5.00      $7.50    $140.35        $0.00
Raul Romero   212SH156   Sunday, September 29, 2019 $15.00
Raul Romero   212SH156   Sunday, September 29, 2019 $15.00
Raul Romero   212SH156   Sunday, September 29, 2019 $15.00
Raul Romero   212SH156   Sunday, September 29, 2019 $15.00
Raul Romero                                          $15.00   $5.00      $7.50    $141.85        $0.00
Raul Romero   212SH156     Sunday, October 06, 2019  $15.00
Raul Romero   212SH156     Sunday, October 06, 2019 $15.00
Raul Romero   212SH156     Sunday, October 06, 2019 $15.00
Raul Romero   212SH156     Sunday, October 06, 2019 $15.00
Raul Romero   212SH156     Sunday, October 06, 2019 $15.00
Raul Romero                                          $15.00   $5.00      $7.50    $173.25        $0.00
Raul Romero   212SH156     Sunday, October 13, 2019 $15.00
Raul Romero   212SH156     Sunday, October 13, 2019 $15.00
Raul Romero   212SH156     Sunday, October 13, 2019 $15.00
Raul Romero   212SH156     Sunday, October 13, 2019 $15.00
Raul Romero                                          $15.00   $5.00      $7.50    $128.50        $0.00
Raul Romero   212SH156     Sunday, October 20, 2019  $15.00
Raul Romero   212SH156     Sunday, October 20, 2019 $15.00
Raul Romero   212SH156     Sunday, October 20, 2019 $15.00
Raul Romero   212SH156     Sunday, October 20, 2019 $15.00

                                             Page 80 of 94
                                                      Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23       Page 81 of 94
                                                                                       Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                           Spread Tip credit
                    Bates                                                                                                                                                        Overtime of hours minimum
      Name         number       Week-end date                  Clock in date                   Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Raul Romero                                                                                                                          Sum Of Total time:  24.64         24.64       0.00             $10.00
Raul Romero       212SH156     Sunday, October 27, 2019    Wednesday, October 23, 2019      10/23/19 4:00 PM 10/23/19 10:24 PM                    6.40
Raul Romero       212SH156     Sunday, October 27, 2019     Thursday, October 24, 2019      10/24/19 5:02 PM 10/25/19 12:04 AM                    7.03
Raul Romero       212SH155     Sunday, October 27, 2019      Saturday, October 26, 2019     10/26/19 5:07 PM 10/27/19 12:04 AM                    6.95
Raul Romero                                                                                                                         Sum Of Total time:   20.38         20.38       0.00              $10.00
Raul Romero       212SH155   Sunday, November 03, 2019       Tuesday, October 29, 2019      10/29/19 3:59 PM 10/29/19 11:22 PM                    7.38
Raul Romero       212SH155   Sunday, November 03, 2019     Wednesday, October 30, 2019      10/30/19 4:00 PM 10/30/19 5:01 PM                     1.02
Raul Romero                                                                                                                         Sum Of Total time:   8.40          8.40        0.00              $10.00

Shonda Williams   212SH218      Sunday, March 27, 2016      Wednesday, March 23, 2016        3/23/16 4:00 PM    3/23/16 11:00 PM                  7.00
Shonda Williams   212SH218      Sunday, March 27, 2016       Thursday, March 24, 2016        3/24/16 3:56 PM    3/24/16 11:24 PM                  7.47
Shonda Williams   212SH218      Sunday, March 27, 2016          Friday, March 25, 2016       3/25/16 4:01 PM    3/25/16 11:05 PM                  7.07
Shonda Williams   212SH218      Sunday, March 27, 2016        Saturday, March 26, 2016       3/26/16 4:19 PM    3/26/16 11:00 PM                  6.68
Shonda Williams                                                                                                                     Sum Of Total time:   28.22         28.22       0.00              $7.50
Shonda Williams   212SH218        Sunday, April 03, 2016    Wednesday, March 30, 2016        3/30/16 4:11 PM    3/30/16 11:04 PM                  6.88
Shonda Williams   212SH218        Sunday, April 03, 2016     Thursday, March 31, 2016        3/31/16 3:59 PM    3/31/16 11:18 PM                  7.32
Shonda Williams   212SH218        Sunday, April 03, 2016          Friday, April 01, 2016      4/1/16 4:09 PM     4/1/16 11:32 PM                  7.38
Shonda Williams   212SH218        Sunday, April 03, 2016       Saturday, April 02, 2016       4/2/16 4:08 PM     4/2/16 10:30 PM                  6.37
Shonda Williams                                                                                                                     Sum Of Total time:   27.95         27.95       0.00              $7.50
Shonda Williams   212SH218        Sunday, April 10, 2016      Wednesday, April 06, 2016       4/6/16 3:59 PM      4/6/16 7:05 PM                  3.10
Shonda Williams                                                                                                                     Sum Of Total time:   3.10          3.10        0.00              $7.50

Stefana Manzano   212SH120         Sunday, July 02, 2017         Monday, June 26, 2017       6/26/17 3:51 PM    6/26/17 10:40 PM                  6.82
Stefana Manzano   212SH120         Sunday, July 02, 2017        Thursday, June 29, 2017      6/29/17 3:37 PM    6/29/17 10:58 PM                  7.35
Stefana Manzano   212SH120         Sunday, July 02, 2017           Friday, June 30, 2017     6/30/17 3:43 PM    6/30/17 11:59 PM                  8.27
Stefana Manzano   212SH120         Sunday, July 02, 2017         Saturday, July 01, 2017      7/1/17 3:51 PM     7/2/17 12:08 AM                  8.28
Stefana Manzano   212SH120         Sunday, July 02, 2017          Sunday, July 02, 2017       7/2/17 9:59 AM      7/2/17 5:54 PM                  7.92
Stefana Manzano                                                                                                                     Sum Of Total time:   38.64         38.64       0.00              $7.50
Stefana Manzano   212SH120         Sunday, July 09, 2017          Monday, July 03, 2017       7/3/17 3:38 PM     7/3/17 10:29 PM                  6.85
Stefana Manzano   212SH120         Sunday, July 09, 2017          Tuesday, July 04, 2017      7/4/17 3:40 PM     7/4/17 11:30 PM                  7.83
Stefana Manzano   212SH120         Sunday, July 09, 2017       Wednesday, July 05, 2017       7/5/17 3:55 PM     7/5/17 10:06 PM                  6.18
Stefana Manzano   212SH120         Sunday, July 09, 2017         Saturday, July 08, 2017      7/8/17 3:59 PM     7/9/17 12:13 AM                  8.23
Stefana Manzano   212SH120         Sunday, July 09, 2017           Sunday, July 09, 2017      7/9/17 3:58 PM     7/9/17 10:34 PM                  6.60
Stefana Manzano                                                                                                                     Sum Of Total time:   35.69         35.69       0.00              $7.50
Stefana Manzano   212SH120         Sunday, July 16, 2017          Monday, July 10, 2017      7/10/17 3:53 PM    7/10/17 10:20 PM                  6.45
Stefana Manzano   212SH120         Sunday, July 16, 2017          Tuesday, July 11, 2017     7/11/17 3:55 PM    7/11/17 10:40 PM                  6.75
Stefana Manzano   212SH120         Sunday, July 16, 2017            Friday, July 14, 2017    7/14/17 3:55 PM     7/14/17 9:05 PM                  5.17
Stefana Manzano   212SH120         Sunday, July 16, 2017         Saturday, July 15, 2017     7/15/17 3:58 PM    7/15/17 10:31 PM                  6.55
Stefana Manzano   212SH120         Sunday, July 16, 2017           Sunday, July 16, 2017     7/16/17 3:52 PM    7/16/17 10:11 PM                  6.32

                                                                                                Page 81 of 94
          Case 1:22-cv-00518-JLR-RWL            Document 116-5             Filed 11/16/23    Page 82 of 94
                                        Exhibit 5 - Group 1 unpaid wages


                                                            Full                       Total tip    Total   Total
                    Bates                                minimum Hourly tip Overtime     credit  unpaid OT unpaid
      Name         number        Week-end date             wage       credit   premium   taken    premium   SOH
Raul Romero                                                $15.00     $5.00      $7.50  $123.20     $0.00
Raul Romero       212SH156     Sunday, October 27, 2019 $15.00
Raul Romero       212SH156     Sunday, October 27, 2019 $15.00
Raul Romero       212SH155     Sunday, October 27, 2019 $15.00
Raul Romero                                                $15.00     $5.00      $7.50  $101.90     $0.00
Raul Romero       212SH155   Sunday, November 03, 2019 $15.00
Raul Romero       212SH155   Sunday, November 03, 2019 $15.00
Raul Romero                                                $15.00     $5.00      $7.50  $42.00      $0.00
                                                         Raul Romero subtotal:         $1,546.70    $0.00   $0.00
Shonda Williams   212SH218      Sunday, March 27, 2016     $9.00
Shonda Williams   212SH218      Sunday, March 27, 2016     $9.00
Shonda Williams   212SH218      Sunday, March 27, 2016     $9.00
Shonda Williams   212SH218      Sunday, March 27, 2016     $9.00
Shonda Williams                                            $9.00      $1.50      $4.50  $42.33      $0.00
Shonda Williams   212SH218        Sunday, April 03, 2016   $9.00
Shonda Williams   212SH218        Sunday, April 03, 2016   $9.00
Shonda Williams   212SH218        Sunday, April 03, 2016   $9.00
Shonda Williams   212SH218        Sunday, April 03, 2016   $9.00
Shonda Williams                                            $9.00      $1.50      $4.50  $41.93      $0.00
Shonda Williams   212SH218        Sunday, April 10, 2016   $9.00
Shonda Williams                                            $9.00      $1.50      $4.50   $4.65      $0.00
                                                         Shonda Williams subtotal:      $88.91      $0.00   $0.00
Stefana Manzano   212SH120         Sunday, July 02, 2017 $11.00
Stefana Manzano   212SH120         Sunday, July 02, 2017 $11.00
Stefana Manzano   212SH120         Sunday, July 02, 2017 $11.00
Stefana Manzano   212SH120         Sunday, July 02, 2017 $11.00
Stefana Manzano   212SH120         Sunday, July 02, 2017 $11.00
Stefana Manzano                                            $11.00     $3.50      $5.50  $135.24     $0.00
Stefana Manzano   212SH120         Sunday, July 09, 2017 $11.00
Stefana Manzano   212SH120         Sunday, July 09, 2017 $11.00
Stefana Manzano   212SH120         Sunday, July 09, 2017 $11.00
Stefana Manzano   212SH120         Sunday, July 09, 2017 $11.00
Stefana Manzano   212SH120         Sunday, July 09, 2017 $11.00
Stefana Manzano                                            $11.00     $3.50      $5.50  $124.92     $0.00
Stefana Manzano   212SH120         Sunday, July 16, 2017 $11.00
Stefana Manzano   212SH120         Sunday, July 16, 2017 $11.00
Stefana Manzano   212SH120         Sunday, July 16, 2017 $11.00
Stefana Manzano   212SH120         Sunday, July 16, 2017 $11.00
Stefana Manzano   212SH120         Sunday, July 16, 2017 $11.00

                                                 Page 82 of 94
                                                      Case 1:22-cv-00518-JLR-RWL                Document 116-5             Filed 11/16/23       Page 83 of 94
                                                                                        Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                            Spread Tip credit
                    Bates                                                                                                                                                         Overtime of hours minimum
      Name         number        Week-end date                   Clock in date                  Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Stefana Manzano                                                                                                                       Sum Of Total time:  31.24         31.24       0.00             $7.50
Stefana Manzano   212SH120         Sunday, July 23, 2017            Monday, July 17, 2017    7/17/17 3:53 PM     7/17/17 11:20 PM                  7.45
Stefana Manzano   212SH120         Sunday, July 23, 2017            Tuesday, July 18, 2017   7/18/17 3:56 PM     7/18/17 10:19 PM                  6.38
Stefana Manzano   212SH120         Sunday, July 23, 2017         Wednesday, July 19, 2017    7/19/17 3:52 PM     7/19/17 11:16 PM                  7.40
Stefana Manzano   212SH120         Sunday, July 23, 2017           Saturday, July 22, 2017   7/22/17 3:53 PM     7/22/17 10:30 PM                  6.62
Stefana Manzano                                                                                                                      Sum Of Total time:   27.85         27.85       0.00              $7.50
Stefana Manzano   212SH120         Sunday, July 30, 2017            Monday, July 24, 2017    7/24/17 3:56 PM     7/24/17 11:42 PM                  7.77
Stefana Manzano   212SH120         Sunday, July 30, 2017            Tuesday, July 25, 2017   7/25/17 3:52 PM     7/25/17 10:19 PM                  6.45
Stefana Manzano   212SH121         Sunday, July 30, 2017         Wednesday, July 26, 2017    7/26/17 3:54 PM     7/26/17 11:26 PM                  7.53
Stefana Manzano   212SH121         Sunday, July 30, 2017          Thursday, July 27, 2017    7/27/17 4:00 PM      7/27/17 9:23 PM                  5.38
Stefana Manzano   212SH121         Sunday, July 30, 2017           Saturday, July 29, 2017   7/29/17 3:57 PM      7/29/17 9:37 PM                  5.67
Stefana Manzano                                                                                                                      Sum Of Total time:   32.80         32.80       0.00              $7.50
Stefana Manzano   212SH121      Sunday, August 06, 2017              Monday, July 31, 2017   7/31/17 3:55 PM     7/31/17 11:23 PM                  7.47
Stefana Manzano   212SH121      Sunday, August 06, 2017           Tuesday, August 01, 2017    8/1/17 3:56 PM      8/1/17 11:00 PM                  7.07
Stefana Manzano   212SH121      Sunday, August 06, 2017          Thursday, August 03, 2017    8/3/17 3:53 PM      8/3/17 10:09 PM                  6.27
Stefana Manzano   212SH121      Sunday, August 06, 2017            Sunday, August 06, 2017    8/6/17 3:53 PM      8/6/17 10:37 PM                  6.73
Stefana Manzano                                                                                                                      Sum Of Total time:   27.54         27.54       0.00              $7.50
Stefana Manzano   212SH121      Sunday, August 13, 2017         Tuesday, August 08, 2017      8/8/17 4:04 PM      8/8/17 10:24 PM                  6.33
Stefana Manzano   212SH121      Sunday, August 13, 2017       Wednesday, August 09, 2017      8/9/17 4:00 PM      8/9/17 10:56 PM                  6.93
Stefana Manzano   212SH121      Sunday, August 13, 2017        Thursday, August 10, 2017     8/10/17 3:58 PM     8/10/17 11:55 PM                  7.95
Stefana Manzano   212SH121      Sunday, August 13, 2017           Friday, August 11, 2017    8/11/17 3:54 PM      8/12/17 1:51 AM                  9.95
Stefana Manzano   212SH121      Sunday, August 13, 2017         Saturday, August 12, 2017    8/12/17 3:56 PM      8/13/17 1:30 AM                  9.57
Stefana Manzano                                                                                                                      Sum Of Total time:   40.73         40.00       0.73              $7.50
Stefana Manzano   212SH121      Sunday, August 20, 2017            Friday, August 18, 2017   8/18/17 3:49 PM     8/18/17 10:12 PM                  6.38
Stefana Manzano   212SH121      Sunday, August 20, 2017          Saturday, August 19, 2017   8/19/17 3:53 PM     8/19/17 11:29 PM                  7.60
Stefana Manzano   212SH121      Sunday, August 20, 2017           Sunday, August 20, 2017    8/20/17 5:17 PM     8/20/17 10:25 PM                  5.13
Stefana Manzano                                                                                                                      Sum Of Total time:   19.11         19.11       0.00              $7.50
Stefana Manzano   212SH121      Sunday, August 27, 2017          Monday, August 21, 2017     8/21/17 4:04 PM     8/21/17 10:41 PM                  6.62
Stefana Manzano   212SH121      Sunday, August 27, 2017           Friday, August 25, 2017    8/25/17 3:57 PM     8/25/17 10:05 PM                  6.13
Stefana Manzano   212SH121      Sunday, August 27, 2017          Sunday, August 27, 2017     8/27/17 3:52 PM      8/27/17 9:25 PM                  5.55
Stefana Manzano                                                                                                                      Sum Of Total time:   18.30         18.30       0.00              $7.50
Stefana Manzano   212SH121   Sunday, September 03, 2017          Monday, August 28, 2017     8/28/17 4:07 PM     8/28/17 10:25 PM                  6.30
Stefana Manzano   212SH121   Sunday, September 03, 2017          Tuesday, August 29, 2017    8/29/17 3:56 PM      8/29/17 9:37 PM                  5.68
Stefana Manzano   212SH121   Sunday, September 03, 2017      Saturday, September 02, 2017     9/2/17 3:58 PM      9/2/17 10:21 PM                  6.38
Stefana Manzano                                                                                                                      Sum Of Total time:   18.36         18.36       0.00              $7.50
Stefana Manzano   212SH121   Sunday, September 10, 2017    Wednesday, September 06, 2017      9/6/17 3:56 PM      9/6/17 10:40 PM                  6.73
Stefana Manzano   212SH121   Sunday, September 10, 2017     Thursday, September 07, 2017      9/7/17 3:58 PM       9/7/17 5:59 PM                  2.02
Stefana Manzano   212SH121   Sunday, September 10, 2017      Saturday, September 09, 2017     9/9/17 4:12 PM     9/10/17 12:21 AM                  8.15
Stefana Manzano   212SH121   Sunday, September 10, 2017       Sunday, September 10, 2017     9/10/17 3:59 PM     9/10/17 10:20 PM                  6.35

                                                                                                 Page 83 of 94
         Case 1:22-cv-00518-JLR-RWL             Document 116-5             Filed 11/16/23         Page 84 of 94
                                        Exhibit 5 - Group 1 unpaid wages


                                                          Full                        Total tip       Total   Total
                    Bates                               minimum Hourly tip Overtime    credit      unpaid OT unpaid
      Name         number        Week-end date           wage    credit    premium     taken        premium   SOH
Stefana Manzano                                          $11.00   $3.50      $5.50    $109.34         $0.00
Stefana Manzano   212SH120         Sunday, July 23, 2017 $11.00
Stefana Manzano   212SH120         Sunday, July 23, 2017 $11.00
Stefana Manzano   212SH120         Sunday, July 23, 2017 $11.00
Stefana Manzano   212SH120         Sunday, July 23, 2017 $11.00
Stefana Manzano                                          $11.00   $3.50      $5.50     $97.48        $0.00
Stefana Manzano   212SH120         Sunday, July 30, 2017 $11.00
Stefana Manzano   212SH120         Sunday, July 30, 2017 $11.00
Stefana Manzano   212SH121         Sunday, July 30, 2017 $11.00
Stefana Manzano   212SH121         Sunday, July 30, 2017 $11.00
Stefana Manzano   212SH121         Sunday, July 30, 2017 $11.00
Stefana Manzano                                          $11.00   $3.50      $5.50    $114.80        $0.00
Stefana Manzano   212SH121      Sunday, August 06, 2017 $11.00
Stefana Manzano   212SH121      Sunday, August 06, 2017 $11.00
Stefana Manzano   212SH121      Sunday, August 06, 2017 $11.00
Stefana Manzano   212SH121      Sunday, August 06, 2017 $11.00
Stefana Manzano                                          $11.00   $3.50      $5.50     $96.39        $0.00
Stefana Manzano   212SH121      Sunday, August 13, 2017 $11.00
Stefana Manzano   212SH121      Sunday, August 13, 2017 $11.00
Stefana Manzano   212SH121      Sunday, August 13, 2017 $11.00
Stefana Manzano   212SH121      Sunday, August 13, 2017 $11.00
Stefana Manzano   212SH121      Sunday, August 13, 2017 $11.00
Stefana Manzano                                          $11.00   $3.50      $5.50    $142.56        $4.02
Stefana Manzano   212SH121      Sunday, August 20, 2017 $11.00
Stefana Manzano   212SH121      Sunday, August 20, 2017 $11.00
Stefana Manzano   212SH121      Sunday, August 20, 2017 $11.00
Stefana Manzano                                          $11.00   $3.50      $5.50     $66.89        $0.00
Stefana Manzano   212SH121      Sunday, August 27, 2017 $11.00
Stefana Manzano   212SH121      Sunday, August 27, 2017 $11.00
Stefana Manzano   212SH121      Sunday, August 27, 2017 $11.00
Stefana Manzano                                          $11.00   $3.50      $5.50     $64.05        $0.00
Stefana Manzano   212SH121   Sunday, September 03, 2017 $11.00
Stefana Manzano   212SH121   Sunday, September 03, 2017 $11.00
Stefana Manzano   212SH121   Sunday, September 03, 2017 $11.00
Stefana Manzano                                          $11.00   $3.50      $5.50     $64.26        $0.00
Stefana Manzano   212SH121   Sunday, September 10, 2017  $11.00
Stefana Manzano   212SH121   Sunday, September 10, 2017 $11.00
Stefana Manzano   212SH121   Sunday, September 10, 2017 $11.00
Stefana Manzano   212SH121   Sunday, September 10, 2017 $11.00

                                                 Page 84 of 94
                                                     Case 1:22-cv-00518-JLR-RWL               Document 116-5             Filed 11/16/23        Page 85 of 94
                                                                                      Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                           Spread Tip credit
                    Bates                                                                                                                                                        Overtime of hours minimum
      Name         number        Week-end date                 Clock in date                  Time in             Time out         Total hours worked Weekly hours Regular hours  hours     shifts  wage
Stefana Manzano                                                                                                                      Sum Of Total time:  23.25         23.25       0.00             $7.50
Stefana Manzano   212SH121   Sunday, September 17, 2017     Tuesday, September 12, 2017     9/12/17 3:56 PM     9/12/17 10:29 PM                  6.55
Stefana Manzano   212SH121   Sunday, September 17, 2017    Saturday, September 16, 2017     9/16/17 3:59 PM     9/16/17 11:15 PM                  7.27
Stefana Manzano                                                                                                                     Sum Of Total time:   13.82         13.82       0.00              $7.50
Stefana Manzano   212SH121   Sunday, September 24, 2017     Tuesday, September 19, 2017     9/19/17 3:55 PM     9/19/17 11:28 PM                  7.55
Stefana Manzano   212SH121   Sunday, September 24, 2017       Friday, September 22, 2017    9/22/17 3:57 PM     9/22/17 11:30 PM                  7.55
Stefana Manzano   212SH122   Sunday, September 24, 2017    Saturday, September 23, 2017     9/23/17 4:06 PM     9/23/17 10:21 PM                  6.25
Stefana Manzano                                                                                                                     Sum Of Total time:   21.35         21.35       0.00              $7.50
Stefana Manzano   212SH122     Sunday, October 01, 2017     Monday, September 25, 2017      9/25/17 3:55 PM     9/25/17 10:32 PM                  6.62
Stefana Manzano   212SH122     Sunday, October 01, 2017       Friday, September 29, 2017    9/29/17 3:56 PM     9/29/17 10:09 PM                  6.22
Stefana Manzano   212SH122     Sunday, October 01, 2017    Saturday, September 30, 2017     9/30/17 4:22 PM     9/30/17 10:54 PM                  6.53
Stefana Manzano   212SH122     Sunday, October 01, 2017         Sunday, October 01, 2017    10/1/17 4:05 PM     10/1/17 10:30 PM                  6.42
Stefana Manzano                                                                                                                     Sum Of Total time:   25.79         25.79       0.00              $7.50
Stefana Manzano   212SH122     Sunday, October 08, 2017       Monday, October 02, 2017      10/2/17 3:57 PM      10/2/17 9:41 PM                  5.73
Stefana Manzano   212SH122     Sunday, October 08, 2017         Friday, October 06, 2017    10/6/17 4:03 PM      10/6/17 7:14 PM                  3.18
Stefana Manzano   212SH122     Sunday, October 08, 2017       Saturday, October 07, 2017    10/7/17 3:56 PM     10/7/17 10:46 PM                  6.83
Stefana Manzano   212SH122     Sunday, October 08, 2017        Sunday, October 08, 2017     10/8/17 3:57 PM     10/8/17 11:33 PM                  7.60
Stefana Manzano                                                                                                                     Sum Of Total time:   23.34         23.34       0.00              $7.50
Stefana Manzano   212SH122     Sunday, October 15, 2017       Tuesday, October 10, 2017    10/10/17 4:01 PM 10/10/17 9:12 PM                      5.18
Stefana Manzano   212SH122     Sunday, October 15, 2017         Friday, October 13, 2017   10/13/17 3:54 PM 10/13/17 10:44 PM                     6.83
Stefana Manzano   212SH122     Sunday, October 15, 2017       Saturday, October 14, 2017   10/14/17 3:01 PM 10/14/17 6:59 PM                      3.97
Stefana Manzano                                                                                                                     Sum Of Total time:   15.98         15.98       0.00              $7.50
Stefana Manzano   212SH122     Sunday, October 22, 2017       Tuesday, October 17, 2017    10/17/17 4:02 PM    10/17/17 10:55 PM                  6.88
Stefana Manzano   212SH122     Sunday, October 22, 2017         Friday, October 20, 2017   10/20/17 3:51 PM    10/20/17 11:38 PM                  7.78
Stefana Manzano   212SH122     Sunday, October 22, 2017       Saturday, October 21, 2017   10/21/17 4:08 PM    10/21/17 11:17 PM                  7.15
Stefana Manzano   212SH122     Sunday, October 22, 2017        Sunday, October 22, 2017    10/22/17 4:00 PM    10/22/17 11:00 PM                  7.00
Stefana Manzano                                                                                                                     Sum Of Total time:   28.81         28.81       0.00              $7.50
Stefana Manzano   212SH122     Sunday, October 29, 2017       Monday, October 23, 2017     10/23/17 3:58 PM 10/23/17 11:58 PM                     8.00
Stefana Manzano   212SH122     Sunday, October 29, 2017        Friday, October 27, 2017    10/27/17 3:58 PM 10/27/17 9:46 PM                      5.80
Stefana Manzano                                                                                                                     Sum Of Total time:   13.80         13.80       0.00              $7.50
Stefana Manzano   212SH122   Sunday, December 24, 2017       Sunday, December 24, 2017     12/24/17 3:00 PM 12/24/17 10:05 PM                     7.08
Stefana Manzano                                                                                                                     Sum Of Total time:   7.08          7.08        0.00              $7.50
Stefana Manzano   212SH122   Sunday, December 31, 2017      Monday, December 25, 2017 12/25/17 4:04 PM 12/25/17 10:32 PM                          6.47                                        1
Stefana Manzano   212SH122   Sunday, December 31, 2017      Monday, December 25, 2017 12/25/17 10:57 AM 12/25/17 3:13 PM                          4.27
Stefana Manzano   212SH122   Sunday, December 31, 2017      Tuesday, December 26, 2017 12/26/17 4:03 PM 12/26/17 11:18 PM                         7.25
Stefana Manzano   212SH122   Sunday, December 31, 2017    Wednesday, December 27, 2017 12/27/17 4:01 PM 12/27/17 10:43 PM                         6.70
Stefana Manzano   212SH122   Sunday, December 31, 2017        Friday, December 29, 2017 12/29/17 3:53 PM 12/29/17 11:04 PM                        7.18
Stefana Manzano                                                                                                                     Sum Of Total time:   31.87         31.87       0.00              $7.50


                                                                                               Page 85 of 94
         Case 1:22-cv-00518-JLR-RWL             Document 116-5             Filed 11/16/23   Page 86 of 94
                                        Exhibit 5 - Group 1 unpaid wages


                                                            Full                     Total tip    Total   Total
                    Bates                                minimum Hourly tip Overtime   credit  unpaid OT unpaid
      Name         number         Week-end date             wage     credit  premium   taken    premium   SOH
Stefana Manzano                                            $11.00    $3.50     $5.50  $81.38      $0.00
Stefana Manzano   212SH121   Sunday, September 17, 2017 $11.00
Stefana Manzano   212SH121   Sunday, September 17, 2017 $11.00
Stefana Manzano                                            $11.00    $3.50     $5.50  $48.37      $0.00
Stefana Manzano   212SH121   Sunday, September 24, 2017 $11.00
Stefana Manzano   212SH121   Sunday, September 24, 2017 $11.00
Stefana Manzano   212SH122   Sunday, September 24, 2017 $11.00
Stefana Manzano                                            $11.00    $3.50     $5.50  $74.73      $0.00
Stefana Manzano   212SH122      Sunday, October 01, 2017 $11.00
Stefana Manzano   212SH122      Sunday, October 01, 2017 $11.00
Stefana Manzano   212SH122      Sunday, October 01, 2017 $11.00
Stefana Manzano   212SH122      Sunday, October 01, 2017 $11.00
Stefana Manzano                                            $11.00    $3.50     $5.50  $90.27      $0.00
Stefana Manzano   212SH122      Sunday, October 08, 2017   $11.00
Stefana Manzano   212SH122      Sunday, October 08, 2017 $11.00
Stefana Manzano   212SH122      Sunday, October 08, 2017 $11.00
Stefana Manzano   212SH122      Sunday, October 08, 2017 $11.00
Stefana Manzano                                            $11.00    $3.50     $5.50  $81.69      $0.00
Stefana Manzano   212SH122      Sunday, October 15, 2017 $11.00
Stefana Manzano   212SH122      Sunday, October 15, 2017 $11.00
Stefana Manzano   212SH122      Sunday, October 15, 2017 $11.00
Stefana Manzano                                            $11.00    $3.50     $5.50  $55.93      $0.00
Stefana Manzano   212SH122      Sunday, October 22, 2017 $11.00
Stefana Manzano   212SH122      Sunday, October 22, 2017 $11.00
Stefana Manzano   212SH122      Sunday, October 22, 2017 $11.00
Stefana Manzano   212SH122      Sunday, October 22, 2017 $11.00
Stefana Manzano                                            $11.00    $3.50     $5.50  $100.84     $0.00
Stefana Manzano   212SH122      Sunday, October 29, 2017 $11.00
Stefana Manzano   212SH122      Sunday, October 29, 2017 $11.00
Stefana Manzano                                            $11.00    $3.50     $5.50  $48.30      $0.00
Stefana Manzano   212SH122    Sunday, December 24, 2017 $11.00
Stefana Manzano                                            $11.00    $3.50     $5.50  $24.78      $0.00
Stefana Manzano   212SH122    Sunday, December 31, 2017 $11.00                                            $11.00
Stefana Manzano   212SH122    Sunday, December 31, 2017 $11.00
Stefana Manzano   212SH122    Sunday, December 31, 2017 $11.00
Stefana Manzano   212SH122    Sunday, December 31, 2017 $11.00
Stefana Manzano   212SH122    Sunday, December 31, 2017 $11.00
Stefana Manzano                                            $11.00    $3.50     $5.50  $111.55     $0.00
                                                         Stefana Manzano subtotal:   $1,733.73    $4.02  $11.00

                                                 Page 86 of 94
                                                 Case 1:22-cv-00518-JLR-RWL                Document 116-5             Filed 11/16/23       Page 87 of 94
                                                                                   Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                       Spread Tip credit
                Bates                                                                                                                                                        Overtime of hours minimum
       Name    number        Week-end date                  Clock in date                  Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Tela Wittig   212SH313      Sunday, August 21, 2022         Saturday, August 20, 2022    8/20/22 7:35 PM    8/20/22 11:00 PM                  3.42
Tela Wittig   212SH313      Sunday, August 21, 2022          Sunday, August 21, 2022     8/21/22 3:59 PM    8/21/22 11:00 PM                  7.02
Tela Wittig                                                                                                                     Sum Of Total time:   10.44         10.44       0.00              $10.00
Tela Wittig   212SH313      Sunday, August 28, 2022         Saturday, August 27, 2022    8/27/22 3:58 PM    8/27/22 11:35 PM                  7.62
Tela Wittig   212SH313      Sunday, August 28, 2022          Sunday, August 28, 2022     8/28/22 4:03 PM    8/29/22 12:28 AM                  8.42
Tela Wittig                                                                                                                     Sum Of Total time:   16.04         16.04       0.00              $10.00
Tela Wittig   212SH313   Sunday, September 04, 2022       Friday, September 02, 2022      9/2/22 3:31 PM      9/3/22 1:13 AM                  9.70
Tela Wittig   212SH313   Sunday, September 04, 2022     Saturday, September 03, 2022      9/3/22 4:00 PM     9/4/22 12:13 AM                  8.22
Tela Wittig   212SH313   Sunday, September 04, 2022      Sunday, September 04, 2022       9/4/22 4:01 PM     9/5/22 12:18 AM                  8.28
Tela Wittig                                                                                                                     Sum Of Total time:   26.20         26.20       0.00              $10.00
Tela Wittig   212SH313   Sunday, September 11, 2022   Wednesday, September 07, 2022       9/7/22 2:35 PM     9/7/22 10:59 PM                  8.40
Tela Wittig   212SH313   Sunday, September 11, 2022    Thursday, September 08, 2022       9/8/22 3:58 PM     9/8/22 11:01 PM                  7.05
Tela Wittig   212SH313   Sunday, September 11, 2022      Sunday, September 11, 2022      9/11/22 3:56 PM    9/11/22 11:00 PM                  7.07
Tela Wittig                                                                                                                     Sum Of Total time:   22.52         22.52       0.00              $10.00
Tela Wittig   212SH313   Sunday, September 18, 2022        Friday, September 16, 2022    9/16/22 3:55 PM    9/17/22 12:50 AM                  8.92
Tela Wittig   212SH313   Sunday, September 18, 2022     Saturday, September 17, 2022     9/17/22 3:59 PM    9/17/22 11:56 PM                  7.95
Tela Wittig   212SH313   Sunday, September 18, 2022      Sunday, September 18, 2022      9/18/22 4:00 PM    9/18/22 11:15 PM                  7.25
Tela Wittig                                                                                                                     Sum Of Total time:   24.12         24.12       0.00              $10.00
Tela Wittig   212SH313   Sunday, September 25, 2022     Saturday, September 24, 2022     9/24/22 4:01 PM    9/24/22 11:41 PM                  7.67
Tela Wittig   212SH313   Sunday, September 25, 2022      Sunday, September 25, 2022      9/25/22 4:04 PM    9/25/22 11:08 PM                  7.07
Tela Wittig                                                                                                                     Sum Of Total time:   14.74         14.74       0.00              $10.00
Tela Wittig   212SH313     Sunday, October 02, 2022       Friday, September 30, 2022     9/30/22 4:01 PM    10/1/22 12:48 AM                  8.78
Tela Wittig   212SH313     Sunday, October 02, 2022         Sunday, October 02, 2022     10/2/22 3:58 PM    10/2/22 10:54 PM                  6.93
Tela Wittig                                                                                                                     Sum Of Total time:   15.71         15.71       0.00              $10.00
Tela Wittig   212SH313     Sunday, October 09, 2022          Friday, October 07, 2022    10/7/22 4:05 PM 10/8/22 12:31 AM                     8.43
Tela Wittig   212SH314     Sunday, October 09, 2022        Saturday, October 08, 2022    10/8/22 3:57 PM 10/9/22 12:59 AM                     9.03
Tela Wittig   212SH314     Sunday, October 09, 2022         Sunday, October 09, 2022     10/9/22 4:02 PM 10/10/22 12:17 AM                    8.25
Tela Wittig                                                                                                                     Sum Of Total time:   25.71         25.71       0.00              $10.00
Tela Wittig   212SH314     Sunday, October 16, 2022          Friday, October 14, 2022   10/14/22 4:05 PM 10/15/22 1:06 AM                     9.02
Tela Wittig   212SH314     Sunday, October 16, 2022        Saturday, October 15, 2022   10/15/22 3:59 PM 10/16/22 12:12 AM                    8.22
Tela Wittig   212SH314     Sunday, October 16, 2022         Sunday, October 16, 2022    10/16/22 4:13 PM 10/16/22 11:20 PM                    7.12
Tela Wittig                                                                                                                     Sum Of Total time:   24.36         24.36       0.00              $10.00
Tela Wittig   212SH314     Sunday, October 23, 2022          Friday, October 21, 2022   10/21/22 4:04 PM 10/22/22 12:41 AM                    8.62
Tela Wittig   212SH314     Sunday, October 23, 2022        Saturday, October 22, 2022   10/22/22 4:03 PM 10/22/22 11:16 PM                    7.22
Tela Wittig   212SH314     Sunday, October 23, 2022         Sunday, October 23, 2022    10/23/22 4:01 PM 10/23/22 11:41 PM                    7.67
Tela Wittig                                                                                                                     Sum Of Total time:   23.51         23.51       0.00              $10.00
Tela Wittig   212SH314     Sunday, October 30, 2022          Friday, October 28, 2022   10/28/22 3:57 PM 10/28/22 11:32 PM                    7.58
Tela Wittig   212SH314     Sunday, October 30, 2022        Saturday, October 29, 2022   10/29/22 3:53 PM 10/30/22 12:49 AM                    8.93
Tela Wittig   212SH314     Sunday, October 30, 2022         Sunday, October 30, 2022    10/30/22 4:02 PM 10/31/22 12:50 AM                    8.80

                                                                                            Page 87 of 94
              Case 1:22-cv-00518-JLR-RWL         Document 116-5             Filed 11/16/23         Page 88 of 94
                                         Exhibit 5 - Group 1 unpaid wages


                                                           Full                        Total tip       Total   Total
                     Bates                               minimum Hourly tip Overtime    credit      unpaid OT unpaid
       Name         number        Week-end date           wage    credit    premium     taken        premium   SOH
Tela Wittig        212SH313      Sunday, August 21, 2022 $15.00
Tela Wittig        212SH313      Sunday, August 21, 2022 $15.00
Tela Wittig                                               $15.00   $5.00      $7.50     $52.20        $0.00
Tela Wittig        212SH313      Sunday, August 28, 2022 $15.00
Tela Wittig        212SH313      Sunday, August 28, 2022 $15.00
Tela Wittig                                               $15.00   $5.00      $7.50     $80.20        $0.00
Tela Wittig        212SH313   Sunday, September 04, 2022 $15.00
Tela Wittig        212SH313   Sunday, September 04, 2022 $15.00
Tela Wittig        212SH313   Sunday, September 04, 2022 $15.00
Tela Wittig                                               $15.00   $5.00      $7.50    $131.00        $0.00
Tela Wittig        212SH313   Sunday, September 11, 2022 $15.00
Tela Wittig        212SH313   Sunday, September 11, 2022 $15.00
Tela Wittig        212SH313   Sunday, September 11, 2022 $15.00
Tela Wittig                                               $15.00   $5.00      $7.50    $112.60        $0.00
Tela Wittig        212SH313   Sunday, September 18, 2022 $15.00
Tela Wittig        212SH313   Sunday, September 18, 2022 $15.00
Tela Wittig        212SH313   Sunday, September 18, 2022 $15.00
Tela Wittig                                               $15.00   $5.00      $7.50    $120.60        $0.00
Tela Wittig        212SH313   Sunday, September 25, 2022 $15.00
Tela Wittig        212SH313   Sunday, September 25, 2022 $15.00
Tela Wittig                                               $15.00   $5.00      $7.50     $73.70        $0.00
Tela Wittig        212SH313     Sunday, October 02, 2022 $15.00
Tela Wittig        212SH313     Sunday, October 02, 2022 $15.00
Tela Wittig                                               $15.00   $5.00      $7.50     $78.55        $0.00
Tela Wittig        212SH313     Sunday, October 09, 2022  $15.00
Tela Wittig        212SH314     Sunday, October 09, 2022 $15.00
Tela Wittig        212SH314     Sunday, October 09, 2022 $15.00
Tela Wittig                                               $15.00   $5.00      $7.50    $128.55        $0.00
Tela Wittig        212SH314     Sunday, October 16, 2022 $15.00
Tela Wittig        212SH314     Sunday, October 16, 2022 $15.00
Tela Wittig        212SH314     Sunday, October 16, 2022 $15.00
Tela Wittig                                               $15.00   $5.00      $7.50    $121.80        $0.00
Tela Wittig        212SH314     Sunday, October 23, 2022 $15.00
Tela Wittig        212SH314     Sunday, October 23, 2022 $15.00
Tela Wittig        212SH314     Sunday, October 23, 2022 $15.00
Tela Wittig                                               $15.00   $5.00      $7.50    $117.55        $0.00
Tela Wittig        212SH314     Sunday, October 30, 2022 $15.00
Tela Wittig        212SH314     Sunday, October 30, 2022 $15.00
Tela Wittig        212SH314     Sunday, October 30, 2022 $15.00

                                                  Page 88 of 94
                                                 Case 1:22-cv-00518-JLR-RWL                Document 116-5             Filed 11/16/23       Page 89 of 94
                                                                                   Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                       Spread Tip credit
                Bates                                                                                                                                                        Overtime of hours minimum
       Name    number       Week-end date                 Clock in date                    Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Tela Wittig                                                                                                                      Sum Of Total time:  25.31         25.31       0.00             $10.00
Tela Wittig   212SH314   Sunday, November 06, 2022        Friday, November 04, 2022      11/4/22 4:10 PM    11/5/22 12:34 AM                  8.40
Tela Wittig   212SH314   Sunday, November 06, 2022     Saturday, November 05, 2022       11/5/22 3:55 PM     11/6/22 1:09 AM                  9.23
Tela Wittig                                                                                                                     Sum Of Total time:   17.63         17.63       0.00              $10.00
Tela Wittig   212SH314   Sunday, November 13, 2022       Friday, November 11, 2022      11/11/22 4:06 PM 11/12/22 12:26 AM                    8.33
Tela Wittig   212SH314   Sunday, November 13, 2022     Saturday, November 12, 2022      11/12/22 4:12 PM 11/13/22 12:41 AM                    8.48
Tela Wittig   212SH314   Sunday, November 13, 2022      Sunday, November 13, 2022       11/13/22 4:13 PM 11/13/22 11:24 PM                    7.18
Tela Wittig                                                                                                                     Sum Of Total time:   23.99         23.99       0.00              $10.00

Vivian Peng   212SH119        Sunday, July 09, 2017           Monday, July 03, 2017       7/3/17 4:24 PM     7/3/17 11:36 PM                  7.20
Vivian Peng   212SH119        Sunday, July 09, 2017          Saturday, July 08, 2017      7/8/17 3:59 PM     7/9/17 12:38 AM                  8.65
Vivian Peng                                                                                                                     Sum Of Total time:   15.85         15.85       0.00              $7.50
Vivian Peng   212SH119        Sunday, July 16, 2017          Thursday, July 13, 2017     7/13/17 3:49 PM    7/13/17 10:20 PM                  6.52
Vivian Peng   212SH119        Sunday, July 16, 2017             Friday, July 14, 2017    7/14/17 4:04 PM    7/14/17 11:08 PM                  7.07
Vivian Peng   212SH119        Sunday, July 16, 2017          Saturday, July 15, 2017     7/15/17 4:19 PM    7/15/17 11:34 PM                  7.25
Vivian Peng                                                                                                                     Sum Of Total time:   20.84         20.84       0.00              $7.50
Vivian Peng   212SH119        Sunday, July 23, 2017           Sunday, July 23, 2017      7/23/17 3:50 PM    7/23/17 11:32 PM                  7.70
Vivian Peng                                                                                                                     Sum Of Total time:   7.70          7.70        0.00              $7.50
Vivian Peng   212SH119        Sunday, July 30, 2017          Monday, July 24, 2017       7/24/17 3:53 PM    7/24/17 11:43 PM                  7.83
Vivian Peng   212SH119        Sunday, July 30, 2017       Wednesday, July 26, 2017       7/26/17 3:54 PM    7/27/17 12:03 AM                  8.15
Vivian Peng   212SH119        Sunday, July 30, 2017            Friday, July 28, 2017     7/28/17 4:05 PM    7/28/17 11:51 PM                  7.77
Vivian Peng   212SH119        Sunday, July 30, 2017         Saturday, July 29, 2017      7/29/17 4:01 PM    7/29/17 11:47 PM                  7.77
Vivian Peng   212SH119        Sunday, July 30, 2017          Sunday, July 30, 2017       7/30/17 4:08 PM    7/30/17 11:09 PM                  7.02
Vivian Peng                                                                                                                     Sum Of Total time:   38.54         38.54       0.00              $7.50
Vivian Peng   212SH119      Sunday, August 06, 2017         Friday, August 04, 2017       8/4/17 4:00 PM      8/4/17 6:52 PM                  2.87
Vivian Peng   212SH119      Sunday, August 06, 2017       Saturday, August 05, 2017       8/5/17 4:01 PM     8/5/17 11:33 PM                  7.53
Vivian Peng   212SH119      Sunday, August 06, 2017        Sunday, August 06, 2017        8/6/17 4:03 PM     8/6/17 10:59 PM                  6.93
Vivian Peng                                                                                                                     Sum Of Total time:   17.33         17.33       0.00              $7.50
Vivian Peng   212SH119      Sunday, August 13, 2017       Thursday, August 10, 2017      8/10/17 3:48 PM    8/10/17 11:00 PM                  7.20
Vivian Peng   212SH119      Sunday, August 13, 2017         Friday, August 11, 2017      8/11/17 4:02 PM     8/12/17 2:14 AM                10.20                                         1
Vivian Peng                                                                                                                     Sum Of Total time:   17.40         17.40       0.00              $7.50
Vivian Peng   212SH119      Sunday, August 20, 2017    Wednesday, August 16, 2017        8/16/17 4:02 PM    8/16/17 11:33 PM                  7.52
Vivian Peng   212SH119      Sunday, August 20, 2017     Thursday, August 17, 2017        8/17/17 4:04 PM    8/17/17 11:28 PM                  7.40
Vivian Peng   212SH119      Sunday, August 20, 2017        Friday, August 18, 2017       8/18/17 3:59 PM    8/18/17 10:15 PM                  6.27
Vivian Peng   212SH119      Sunday, August 20, 2017      Saturday, August 19, 2017       8/19/17 3:54 PM    8/19/17 11:43 PM                  7.82
Vivian Peng                                                                                                                     Sum Of Total time:   29.01         29.01       0.00              $7.50
Vivian Peng   212SH119      Sunday, August 27, 2017        Tuesday, August 22, 2017      8/22/17 4:01 PM    8/22/17 10:20 PM                  6.32
Vivian Peng   212SH119      Sunday, August 27, 2017       Thursday, August 24, 2017      8/24/17 4:00 PM    8/24/17 11:01 PM                  7.02
Vivian Peng   212SH119      Sunday, August 27, 2017       Saturday, August 26, 2017      8/26/17 4:32 PM     8/26/17 8:55 PM                  4.38

                                                                                            Page 89 of 94
              Case 1:22-cv-00518-JLR-RWL         Document 116-5             Filed 11/16/23   Page 90 of 94
                                         Exhibit 5 - Group 1 unpaid wages


                                                            Full                       Total tip    Total   Total
                     Bates                               minimum Hourly tip Overtime     credit  unpaid OT unpaid
       Name         number        Week-end date            wage        credit  premium   taken    premium   SOH
Tela Wittig                                                $15.00      $5.00     $7.50  $126.55     $0.00
Tela Wittig        212SH314   Sunday, November 06, 2022 $15.00
Tela Wittig        212SH314   Sunday, November 06, 2022 $15.00
Tela Wittig                                                $15.00      $5.00     $7.50  $88.15      $0.00
Tela Wittig        212SH314   Sunday, November 13, 2022 $15.00
Tela Wittig        212SH314   Sunday, November 13, 2022 $15.00
Tela Wittig        212SH314   Sunday, November 13, 2022 $15.00
Tela Wittig                                                $15.00      $5.00     $7.50  $119.95     $0.00
                                                         Tela Wittig subtotal:         $1,351.40    $0.00   $0.00
Vivian Peng        212SH119         Sunday, July 09, 2017 $11.00
Vivian Peng        212SH119         Sunday, July 09, 2017 $11.00
Vivian Peng                                                $11.00      $3.50     $5.50  $55.48      $0.00
Vivian Peng        212SH119         Sunday, July 16, 2017 $11.00
Vivian Peng        212SH119         Sunday, July 16, 2017 $11.00
Vivian Peng        212SH119         Sunday, July 16, 2017 $11.00
Vivian Peng                                                $11.00      $3.50     $5.50  $72.94      $0.00
Vivian Peng        212SH119         Sunday, July 23, 2017 $11.00
Vivian Peng                                                $11.00      $3.50     $5.50  $26.95      $0.00
Vivian Peng        212SH119         Sunday, July 30, 2017 $11.00
Vivian Peng        212SH119         Sunday, July 30, 2017 $11.00
Vivian Peng        212SH119         Sunday, July 30, 2017 $11.00
Vivian Peng        212SH119         Sunday, July 30, 2017 $11.00
Vivian Peng        212SH119         Sunday, July 30, 2017 $11.00
Vivian Peng                                                $11.00      $3.50     $5.50  $134.89     $0.00
Vivian Peng        212SH119      Sunday, August 06, 2017   $11.00
Vivian Peng        212SH119      Sunday, August 06, 2017 $11.00
Vivian Peng        212SH119      Sunday, August 06, 2017 $11.00
Vivian Peng                                                $11.00      $3.50     $5.50  $60.66      $0.00
Vivian Peng        212SH119      Sunday, August 13, 2017 $11.00
Vivian Peng        212SH119      Sunday, August 13, 2017 $11.00                                             $11.00
Vivian Peng                                                $11.00      $3.50     $5.50  $60.90      $0.00
Vivian Peng        212SH119      Sunday, August 20, 2017 $11.00
Vivian Peng        212SH119      Sunday, August 20, 2017 $11.00
Vivian Peng        212SH119      Sunday, August 20, 2017 $11.00
Vivian Peng        212SH119      Sunday, August 20, 2017 $11.00
Vivian Peng                                                $11.00      $3.50     $5.50  $101.54     $0.00
Vivian Peng        212SH119      Sunday, August 27, 2017 $11.00
Vivian Peng        212SH119      Sunday, August 27, 2017 $11.00
Vivian Peng        212SH119      Sunday, August 27, 2017 $11.00

                                                  Page 90 of 94
                                                 Case 1:22-cv-00518-JLR-RWL              Document 116-5             Filed 11/16/23       Page 91 of 94
                                                                                 Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                                                     Spread Tip credit
                Bates                                                                                                                                                      Overtime of hours minimum
      Name     number        Week-end date                Clock in date                  Time in             Time out        Total hours worked Weekly hours Regular hours  hours     shifts  wage
Vivian Peng                                                                                                                    Sum Of Total time:  17.72         17.72       0.00             $7.50
Vivian Peng   212SH119   Sunday, September 03, 2017       Tuesday, August 29, 2017     8/29/17 3:58 PM     8/29/17 9:42 PM                  5.73
Vivian Peng                                                                                                                   Sum Of Total time:   5.73          5.73        0.00              $7.50
Vivian Peng   212SH119   Sunday, September 10, 2017     Friday, September 08, 2017      9/8/17 4:09 PM     9/8/17 11:26 PM                  7.28
Vivian Peng   212SH119   Sunday, September 10, 2017    Sunday, September 10, 2017      9/10/17 4:12 PM     9/10/17 9:41 PM                  5.48
Vivian Peng                                                                                                                   Sum Of Total time:   12.76         12.76       0.00              $7.50
Vivian Peng   212SH119   Sunday, September 17, 2017     Friday, September 15, 2017     9/15/17 3:50 PM     9/15/17 6:50 PM                  3.00
Vivian Peng   212SH119   Sunday, September 17, 2017    Sunday, September 17, 2017      9/17/17 4:10 PM     9/17/17 9:59 PM                  5.82
Vivian Peng                                                                                                                   Sum Of Total time:   8.82          8.82        0.00              $7.50
Vivian Peng   212SH118   Sunday, September 24, 2017      Friday, September 22, 2017    9/22/17 3:51 PM    9/23/17 12:02 AM                  8.18
Vivian Peng   212SH118   Sunday, September 24, 2017   Saturday, September 23, 2017     9/23/17 4:03 PM    9/23/17 11:17 PM                  7.23
Vivian Peng   212SH118   Sunday, September 24, 2017    Sunday, September 24, 2017      9/24/17 3:57 PM    9/24/17 10:36 PM                  6.65
Vivian Peng                                                                                                                   Sum Of Total time:   22.06         22.06       0.00              $7.50
Vivian Peng   212SH118     Sunday, October 01, 2017      Friday, September 29, 2017    9/29/17 3:55 PM    9/29/17 11:19 PM                  7.40
Vivian Peng   212SH118     Sunday, October 01, 2017   Saturday, September 30, 2017     9/30/17 4:01 PM    9/30/17 11:38 PM                  7.62
Vivian Peng   212SH118     Sunday, October 01, 2017        Sunday, October 01, 2017    10/1/17 4:01 PM    10/1/17 10:30 PM                  6.48
Vivian Peng                                                                                                                   Sum Of Total time:   21.50         21.50       0.00              $7.50
Vivian Peng   212SH118     Sunday, October 08, 2017      Tuesday, October 03, 2017     10/3/17 4:20 PM    10/3/17 10:50 PM                  6.50
Vivian Peng   212SH118     Sunday, October 08, 2017       Sunday, October 08, 2017     10/8/17 3:51 PM    10/8/17 11:33 PM                  7.70
Vivian Peng                                                                                                                   Sum Of Total time:   14.20         14.20       0.00              $7.50
Vivian Peng   212SH118     Sunday, October 15, 2017      Saturday, October 14, 2017   10/14/17 2:58 PM 10/14/17 11:20 PM                    8.37
Vivian Peng                                                                                                                   Sum Of Total time:   8.37          8.37        0.00              $7.50
Vivian Peng   212SH118     Sunday, October 22, 2017      Saturday, October 21, 2017   10/21/17 5:34 PM 10/22/17 12:03 AM                    6.48
Vivian Peng                                                                                                                   Sum Of Total time:   6.48          6.48        0.00              $7.50
Vivian Peng   212SH118     Sunday, October 29, 2017        Friday, October 27, 2017   10/27/17 4:23 PM 10/27/17 11:18 PM                    6.92
Vivian Peng   212SH118     Sunday, October 29, 2017      Saturday, October 28, 2017   10/28/17 4:04 PM 10/28/17 9:35 PM                     5.52
Vivian Peng                                                                                                                   Sum Of Total time:   12.44         12.44       0.00              $7.50
Vivian Peng   212SH118   Sunday, November 05, 2017        Tuesday, October 31, 2017   10/31/17 3:56 PM    10/31/17 9:45 PM                  5.82
Vivian Peng   212SH118   Sunday, November 05, 2017        Friday, November 03, 2017    11/3/17 4:08 PM    11/4/17 12:34 AM                  8.43
Vivian Peng   212SH118   Sunday, November 05, 2017     Saturday, November 04, 2017     11/4/17 4:03 PM    11/4/17 11:04 PM                  7.02
Vivian Peng                                                                                                                   Sum Of Total time:   21.27         21.27       0.00              $7.50
Vivian Peng   212SH118   Sunday, November 12, 2017      Monday, November 06, 2017      11/6/17 3:57 PM 11/6/17 10:39 PM                     6.70
Vivian Peng   212SH118   Sunday, November 12, 2017      Tuesday, November 07, 2017     11/7/17 4:00 PM 11/7/17 10:42 PM                     6.70
Vivian Peng   212SH118   Sunday, November 12, 2017        Friday, November 10, 2017   11/10/17 4:14 PM 11/11/17 12:07 AM                    7.88
Vivian Peng   212SH118   Sunday, November 12, 2017     Saturday, November 11, 2017    11/11/17 3:50 PM 11/11/17 11:34 PM                    7.73
Vivian Peng   212SH118   Sunday, November 12, 2017       Sunday, November 12, 2017    11/12/17 3:54 PM 11/12/17 10:58 PM                    7.07
Vivian Peng                                                                                                                   Sum Of Total time:   36.08         36.08       0.00              $7.50
Vivian Peng   212SH118   Sunday, November 19, 2017     Monday, November 13, 2017      11/13/17 4:00 PM 11/13/17 11:20 PM                    7.33
Vivian Peng                                                                                                                   Sum Of Total time:   7.33          7.33        0.00              $7.50

                                                                                          Page 91 of 94
          Case 1:22-cv-00518-JLR-RWL         Document 116-5             Filed 11/16/23         Page 92 of 94
                                     Exhibit 5 - Group 1 unpaid wages


                                                       Full                        Total tip       Total   Total
                 Bates                               minimum Hourly tip Overtime    credit      unpaid OT unpaid
      Name      number        Week-end date           wage    credit    premium     taken        premium   SOH
Vivian Peng                                           $11.00   $3.50      $5.50     $62.02         $0.00
Vivian Peng    212SH119   Sunday, September 03, 2017 $11.00
Vivian Peng                                           $11.00   $3.50      $5.50     $20.06        $0.00
Vivian Peng    212SH119   Sunday, September 10, 2017 $11.00
Vivian Peng    212SH119   Sunday, September 10, 2017 $11.00
Vivian Peng                                           $11.00   $3.50      $5.50     $44.66        $0.00
Vivian Peng    212SH119   Sunday, September 17, 2017 $11.00
Vivian Peng    212SH119   Sunday, September 17, 2017 $11.00
Vivian Peng                                           $11.00   $3.50      $5.50     $30.87        $0.00
Vivian Peng    212SH118   Sunday, September 24, 2017 $11.00
Vivian Peng    212SH118   Sunday, September 24, 2017 $11.00
Vivian Peng    212SH118   Sunday, September 24, 2017 $11.00
Vivian Peng                                           $11.00   $3.50      $5.50     $77.21        $0.00
Vivian Peng    212SH118     Sunday, October 01, 2017  $11.00
Vivian Peng    212SH118     Sunday, October 01, 2017 $11.00
Vivian Peng    212SH118     Sunday, October 01, 2017 $11.00
Vivian Peng                                           $11.00   $3.50      $5.50     $75.25        $0.00
Vivian Peng    212SH118     Sunday, October 08, 2017 $11.00
Vivian Peng    212SH118     Sunday, October 08, 2017 $11.00
Vivian Peng                                           $11.00   $3.50      $5.50     $49.70        $0.00
Vivian Peng    212SH118     Sunday, October 15, 2017 $11.00
Vivian Peng                                           $11.00   $3.50      $5.50     $29.30        $0.00
Vivian Peng    212SH118     Sunday, October 22, 2017 $11.00
Vivian Peng                                           $11.00   $3.50      $5.50     $22.68        $0.00
Vivian Peng    212SH118     Sunday, October 29, 2017  $11.00
Vivian Peng    212SH118     Sunday, October 29, 2017 $11.00
Vivian Peng                                           $11.00   $3.50      $5.50     $43.54        $0.00
Vivian Peng    212SH118   Sunday, November 05, 2017 $11.00
Vivian Peng    212SH118   Sunday, November 05, 2017 $11.00
Vivian Peng    212SH118   Sunday, November 05, 2017 $11.00
Vivian Peng                                           $11.00   $3.50      $5.50     $74.45        $0.00
Vivian Peng    212SH118   Sunday, November 12, 2017 $11.00
Vivian Peng    212SH118   Sunday, November 12, 2017 $11.00
Vivian Peng    212SH118   Sunday, November 12, 2017 $11.00
Vivian Peng    212SH118   Sunday, November 12, 2017 $11.00
Vivian Peng    212SH118   Sunday, November 12, 2017 $11.00
Vivian Peng                                           $11.00   $3.50      $5.50    $126.28        $0.00
Vivian Peng    212SH118   Sunday, November 19, 2017 $11.00
Vivian Peng                                           $11.00   $3.50      $5.50     $25.66        $0.00

                                              Page 92 of 94
                                Case 1:22-cv-00518-JLR-RWL      Document 116-5             Filed 11/16/23    Page 93 of 94
                                                        Exhibit 5 - Group 1 unpaid wages


                                                                                                                                                          Spread Tip credit
        Bates                                                                                                                                   Overtime of hours minimum
Name   number   Week-end date           Clock in date           Time in             Time out      Total hours worked Weekly hours Regular hours  hours     shifts  wage




                                                                 Page 93 of 94
  Case 1:22-cv-00518-JLR-RWL        Document 116-5            Filed 11/16/23   Page 94 of 94
                           Exhibit 5 - Group 1 unpaid wages


                                             Full                       Total tip    Total   Total
         Bates                            minimum Hourly tip Overtime    credit   unpaid OT unpaid
Name    number      Week-end date            wage      credit   premium   taken    premium   SOH
                                          Vivian Peng subtotal:         $1,195.01    $0.00  $11.00




                                    Page 94 of 94
